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                        U NITED S TATES C OURT OF A PPEALS
                             FOR THE F OURTH C IRCUIT


                                         No. 24-4201


                             U NITED S TATES OF A MERICA ,
                                      Plaintiff-Appellant,
                                               v.

                                K EITH R ODNEY M OORE ,
                                     Defendant-Appellee.


                          Appeal from the United States District Court
                              for the Eastern District of Virginia
                                         at Richmond
                         The Honorable John A. Gibney, District Judge


                              C ORRECTED J OINT A PPENDIX
                          V OLUME IV OF VI (P AGES 1252–1643)


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        These files were confirmed virus-free through virus scan by Trellix Endpoint
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division




              THE UNITED STATES OF AMERICA,

                                                                Plaintiff,

                         versus                                       3:21 CR 021

              KEITH RODNEY MOORE,

                                                                Defendant




                        Before: HONORABLE JOHN A. GIBNEY, JR.
                             United States District Judge




                                     Day I (pages 1 - 151)



                                         July 18, 2022

                                      Richmond, Virginia




                                        GILBERT F. HALASZ
                                    Official Court Reporter
                                         U. S. Courthouse
                                     701 East Broad Street
                                       Richmond, VA 23219


                                           JA1252
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                                     The Defendant
                                In his own proper person




                                         JA1253
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         1          THE CLERK:      Case number 3:21 CR 42.

         2          United versus Keith Rodney Moore.

         3          Mr. Shea Gibbons, Erik Seibert and Richard Cooke

         4    represent the United States.

         5          Ms Laura Koenig and Amy Austin represent the

         6    defendant.

         7          Are counsel ready to proceed?

         8          MR. GIBBONS:     United States.

         9          MS KOENIG:      Defense is ready, Your Honor.

        10          THE COURT:      All right.    So we are here today on

        11    really I guess two motions in this case.             One is a

        12    motion to suppress some evidence.             And I believe I have

        13    already heard all the evidence on that.             The other is a

        14    motion to dismiss the indictment because of what the

        15    defendant alleges is a pattern of, I guess, unlawful

        16    enforcement of the traffic laws against

        17    African-American drivers.

        18          There are -- I have received some briefs on this,

        19    and I appreciate that.       Thank you.

        20          I have also gotten an exhibit list and witness

        21    list for both the government and Mr. Moore.

        22          I think on this motion to dismiss Mr. Moore bears

        23    the burden of proof, so we will move ahead with his

        24    evidence.    But before we do that, there are motions to

        25    exclude Mr. Moore's expert testimony.            There are two


                                          JA1254
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         1    motions.     There is a sort of a standard Daubert motion

         2    about Dr. Coston.       Dr. Coston is some sort of expert in

         3    social matters at VCU and has done a statistical

         4    analysis of traffic stops in the Richmond area from

         5    which he appears to conclude that the police over

         6    enforce laws against African-American drivers.

         7          And the challenge to Dr. Coston is that Dr. Coston

         8    does not use proper statistical methods to reach a

         9    reliable result about whether the police have

        10    unlawfully targeted African-American drivers.                  And,

        11    candidly, it is all pretty complicated stuff dealing

        12    with chi factors and progression analysis and things

        13    like that.     I certainly think that the way I need to

        14    resolve that is to hear what Dr. Coston says, to hear

        15    Dr. Coston's explanation of what Dr. Coston did.                 And

        16    then to hear I guess Dr. -- the government expert, Dr.

        17          MS KOENIG:       Smith.

        18          THE COURT:       Dr. Smith.    How could I forget that

        19    name?     To hear Dr. Smith's criticism of it.           And I

        20    guess Dr. Coston has seen Dr. Smith's criticism.                 And I

        21    guess probably should be prepared to address those as

        22    he goes through his testimony.           And then Dr. Smith, we

        23    could have a standard debate like we would have in a

        24    civil case about the legitimacy of an expert.

        25          So, here is how I think that needs to play out.


                                              JA1255
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         1          Since I need to hear the testimony in order to

         2    decide whether it is reliable under Daubert, I think it

         3    probably makes sense to hear Dr. Coston's testimony and

         4    Dr. Smith's testimony in the ordinary course of things.

         5    And then your argument at the end, you could tell me

         6    whether I ought to toss out the testimony of Dr. Coston

         7    because he uses a chi factor or the Cramer V, whatever

         8    it is that the government contends is wrong.           And then

         9    Ms Koenig and Ms Austin can respond to that.           That is

        10    how I propose to address that.

        11          There is a different issue with respect to

        12    Dr. Chiles.    Dr. Chiles is an expert who is offered

        13    because he has knowledge that is useful to The Court.

        14    An expert is a witness who is qualified as an expert by

        15    knowledge, skill, experience, training and education,

        16    Such an expert can testify in the form of an opinion or

        17    otherwise.    So I think this is an otherwise.         It is

        18    little hard to tell what Dr. Chiles is proposing to say

        19    because he characterizes the expert witness disclosure

        20    as brief, which is understating.

        21          But, I mean, it seems to me there are couple

        22    problems with the disclosure of Dr. Chiles in the case.

        23    One is that the disclosure was late.         Two is that the

        24    disclosure really doesn't say under Rule 16 -- Rule 16

        25    requires the defendant offering an expert to disclose a


                                         JA1256
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         1    written summary of any testimony the defendant intends

         2    to use.     Well, that is not what this is.        That rule

         3    exists for two reasons.      One is to sort of limit the

         4    scope of the expert's testimony.         The other is to allow

         5    the government to get ready to cross-examine him.            If I

         6    looked at that thing and if Dr. Chiles got up and

         7    testified today I would have a hard time figuring out

         8    what he was -- in advance -- what he was going to talk

         9    about.     I mean, apparently he is going to say that

        10    Richmond has a long history of segregation and racism.

        11    And that is -- I probably could probably take judicial

        12    notice of that.

        13           But, the third question is this.        What does

        14    Dr. Chiles -- what does his opinion or his knowledge

        15    about things that happened in the distant past have to

        16    do with the Richmond City's enforcement of laws today?

        17    There was a time -- and it was not all that long ago --

        18    pretty much when I first came to Richmond -- that there

        19    were hardly any African-American officers and there was

        20    a different world then.      But I am not sure we are there

        21    now.      We have an African-American police chief, mayor,

        22    African-American mayor, majority of City Council for

        23    many years.      So I am just a bit flummoxed as to the

        24    relevance of it.

        25           Do you want to address any of those points?


                                         JA1257
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         1          MS KOENIG:      Yes, Your Honor.

         2          THE COURT:      Let me just say that if I decide that

         3    this guy can testify the government needs an

         4    opportunity -- you know, his disclosure was so late in

         5    the game the government needs an opportunity to --

         6    well, maybe they will tell me they don't want an

         7    expert.   But the government deserves an opportunity to

         8    some sort of an expert on history of their own.

         9          MS KOENIG:      That is fine, Your Honor.        As I said

        10    in the -- this is in ECF number 86.           The reason that we

        11    are calling Dr. Chiles is that this court knows I tried

        12    to get a copy of what the Richmond Police Department

        13    holds out as a 1977 police precinct neighborhood plan.

        14    And any amendments updates to that plan that would help

        15    us and The Court determine why it is that we have three

        16    of the four police precincts in the City of Richmond

        17    that are devoted to the black parts of town.

        18          In response to that subpoena the Richmond Police

        19    Department indicated that they don't have a copy of the

        20    1977 precinct plan, didn't have any other documents

        21    that were responsive, aside from essentially a printout

        22    of their Richmond Police Department history that is

        23    available on the Richmond Police Department's web site,

        24    as well as a year book history which had not much more

        25    detail than that.


                                          JA1258
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         1           So because of that, the reason that we are calling

         2    Dr. Chiles is that this Court remembers on the July 26,

         3    2021 hearing --

         4           THE COURT:       I remember like it was yesterday.

         5           MS KOENIG:       Part of what we introduced at that

         6    hearing was the University of Virginia, the public

         7    school, the public, Weldon School of Public Service.

         8    Has created a racial dot map that plots out according

         9    to census data each individual response by race, and

        10    the data throughout the country.            But what we submitted

        11    on July 26 of 2021 was exhibit R-2, which is the

        12    plotting data for the Richmond area.

        13           THE COURT:       Shows where, essentially how

        14    segregated the community is.

        15           MS KOENIG:       Correct.

        16           What Dr. Chiles is going to testify about is how

        17    it got that way because that was not by happenstance at

        18    all.      And the other part of what he will be able to

        19    tell us about is that around 1977 there was a concerted

        20    effort by the council members in the City of Richmond

        21    to start policing the black neighborhoods because the

        22    City Council believed that it was very important

        23    financially for the City to survive financially after

        24    decades of white flight to be able to police the black

        25    neighborhoods so that white people felt safe coming


                                            JA1259
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         1    back to the community.

         2          So those are to the areas that I anticipate he

         3    will testify about.

         4          I have provided, because Dr. Chiles has written

         5    about this extensively, I provided those articles.            As

         6    I indicated to The Court in ECF 86, the timing -- I am

         7    not -- frank to say it was not a lot of notice for the

         8    government, but the timing was, we did not intend to

         9    call Dr. Chiles until we knew, or even find Dr. Chiles

        10    for that matter, until we knew that the Richmond Police

        11    Department did not have any data related to the 1977

        12    precinct plan.

        13          THE COURT:      It seems a lot of problems in this

        14    case come from the fact that the Richmond Police

        15    Department doesn't have much data and didn't provide it

        16    to you without pulling some teeth.

        17          MS KOENIG:      Correct.

        18          So to the extent that that explained the timing of

        19    our disclosure, I tried to get it out of the government

        20    as fast as I could.      And so that is where we are at,

        21    Your Honor.

        22          THE COURT:      And as I recall, the Arlington Heights

        23    case a historical review of things can be relevant in

        24    determining whether there is a current -- there is

        25    current racial animus.


                                          JA1260
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         1          MS KOENIG:      Absolutely, Your Honor.       Because of

         2    the -- this case relies on not only the traffic stop

         3    data, in terms of how many black people are stopped

         4    versus white people are stopped, and how many black

         5    people are arrested versus searched, things like that.

         6    It relies not only on that data, but also where the

         7    stops are happening specifically as it relates to the

         8    police precincts.      So this information I think is

         9    highly relevant for this Court to consider, and

        10    absolutely Arlington Heights does enumerate the history

        11    as one factor that The Court explicitly shall consider.

        12          Now, The Court obviously after hearing the

        13    testimony will decide what weight to give the

        14    testimony, or whether Dr. Chiles is credible, et

        15    cetera.   But those are factors that determine the

        16    significance that The Court places, if any, on the

        17    testimony, not admissibility.

        18          THE COURT:      Let's hear from whoever is going to

        19    talk for the government.

        20          Again, you all are welcome to not wear your mask.

        21          MR. GIBBONS:     Thank you, Your Honor.        A few points

        22    on that, Your Honor.

        23          I took --

        24          THE COURT:      Here is what I don't want to have

        25    happen in this case is to exclude something that is


                                          JA1261
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         1    marginally relevant and then at some later stage to

         2    have a challenge to the conviction because I didn't

         3    give them a chance to put that in.            That is what I am

         4    concerned about.

         5          MR. GIBBONS:     That is a valid concern, Your Honor.

         6    That is a little separate from the issues that are

         7    before The Court today.

         8          I will tell The Court, I spent the weekend, hardly

         9    saw my kids, so I could review all 568 pages that were

        10    disclosed in relation to Dr. Chiles.           The simple

        11    statement that Ms Koenig just said, in 1977 a decision

        12    was made to over enforce black areas to make whites

        13    feel safe, that was not apparent in any of the 568

        14    pages that I reviewed.       I don't know why that couldn't

        15    have been disclosed in the first place.

        16          THE COURT:      Well, assuming, I guess he is -- the

        17    problem with Dr. Chiles is that they don't really say

        18    what he is going to say.        The rule is quite clear that

        19    we have to give a summary of the testimony.             And it

        20    doesn't say, well, you can go look it up in the library

        21    and read all of the things he said were written.              You

        22    can do that, but that is not what the rule says.              The

        23    rule says you have to give a written summary of what he

        24    is going to say.       And that is not what that is.          That

        25    is not what that disclosure is.


                                          JA1262
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         1          This is how I am going to deal with it.               I hate to

         2    do this because I would like to have the case resolved

         3    before I die or retire, whichever comes first.                    Death

         4    probably is coming before I retire.              But I will keep

         5    the record open at the end of this hearing.                Dr. Chiles

         6    will not testify tody.          Is he here?

         7          MS KOENIG:      Yes.

         8          THE COURT:      In the room?

         9          MS KOENIG:      He is outside in the anteroom.

        10          THE COURT:      Well, all right.

        11          Bring him in at some point and I will apologize to

        12    him about that.       I will take the heat for it.               But,

        13    then you will have to, Ms Koenig, you will have to

        14    prepare a report that contains a summary of what he is

        15    going to say.     He has got to say this is what the

        16    summary from Dr. Chiles is going to say.               It's not just

        17    enough to say Dr. Chiles is going to say that in 1976

        18    to '77 the City was white people coming back to town.

        19    You have got to bring in details so that the government

        20    can then do two things; one is they can figure out how

        21    to cross-examine him, and the other is they can decide

        22    whether they need to have an expert of their own.                     I

        23    mean, as I recall, Ed Ayers at the University of

        24    Richmond is quite an expert on Richmond segregation.

        25    And he probably has something to shed on this.                    I


                                             JA1263
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         1    remember very well that that was -- I lived here.              I

         2    moved here in '76 into an area of the City that had

         3    been annexed from Chesterfield County.            And I remember

         4    the many, many discussions of that, and it was a pretty

         5    fraught political environment then.

         6          So, how long will you need to come up with a

         7    summary, a true summary, of his testimony?

         8          You ought to be pretty much ready for it if you

         9    have him ready to testify today.

        10          MS KOENIG:       It don't think it would take him long.

        11    I just need to know the schedule as to when he has

        12    time.

        13          THE COURT:       I can't understand you.       What?

        14          MS KOENIG:       I don't think it will take him long,

        15    but I need to know his schedule about how many days it

        16    will take for him to have time in his schedule to write

        17    it out.

        18          If I could consult with him very briefly I could

        19    have an answers for The Court.

        20          THE COURT:       Why don't you go out and ask him that,

        21    then.     And bring him back in.

        22          MR. GIBBONS:      Would you like me to take a seat?

        23          THE COURT:       Thank you.

        24          MS KOENIG:       Your Honor, Dr. Chiles.

        25          THE COURT:       Dr. Chiles, stay right there.


                                           JA1264
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         1          MS KOENIG:      Dr. Chiles anticipates being able to

         2    prepare such a report by next Wednesday.

         3          THE COURT:      Next Wednesday.

         4          MS KOENIG:      Yes, Your Honor.

         5          THE COURT:      All right.

         6          Well, let's give him a little more time than that

         7    to do that.

         8          Dr. Chiles, unfortunately we have got kind of a

         9    procedural problem with your testimony today.                 I

        10    appreciate you coming up here to testify.            Do you live

        11    down in Norfolk?

        12          THE WITNESS:     Virginia Beach.

        13          THE COURT:      I appreciate you coming up from the

        14    Beach to be here.      I hope you will be able to get back

        15    before traffic jambs up.        But I want to -- you will

        16    need to prepare a summary of your testimony, and you

        17    think you can do that in 14 days?

        18          THE WITNESS:     Yes.

        19          THE COURT:      All right.

        20          Do that in 14 days.       And give that to Ms Koenig,

        21    and she then will help you get it into proper form.

        22          So, I will give you 21 days to file that, Ms

        23    Koenig.

        24          MS KOENIG:      Yes, Your Honor.

        25          THE WITNESS:     So you have 14 days to get it to


                                            JA1265
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         1    her, and then she can massage it into correct form.

         2    Okay?

         3           MS KOENIG:     Thank you.

         4           THE COURT:     Thank you very much for coming.          You

         5    are a professor at Old Dominion?

         6           THE WITNESS:    Yes, sir, I am.

         7           THE COURT:     The Monarchs.     What exactly do you

         8    teach there?

         9           THE WITNESS:    I teach American history,

        10    African-American history, and --

        11           THE COURT:     Great.    Well, I am glad you do that.

        12           I look forward to hearing your testimony at some

        13    point in the future.      Thank you very much for coming,

        14    sir.

        15           THE WITNESS:    Thank you.

        16           THE COURT:     You are excused.        You may leave.

        17           THE WITNESS:    Okay.

        18           Okay.

        19           THE COURT:     Now, then Mr. Shea, does that take us

        20    to -- today is the 18th.         Her summary under Rule 16 is

        21    due on August 8.       Do you think that by August 22 you

        22    can review that and decide whether you need to get an

        23    expert of your own?

        24           MR. GIBBONS:    Yes, Your Honor, that should be

        25    fine; yes, sir.


                                             JA1266
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         1           THE COURT:     By August 22 your job is to let us

         2    know whether you need -- whether you need an expert of

         3    your own.    Also you could file a second Daubert motion

         4    about him on August 22.        And then we will get together

         5    and schedule a time for Dr. Chiles' testimony, and it

         6    shouldn't take more than an hour or so, should it?

         7           MS KOENIG:     I would think between cross and if the

         8    government has an expert, probably no more than two

         9    hours.

        10           THE COURT:     Okay.   That will be enough time.        All

        11    right.    So now let's move on to the meat of things here

        12    today.

        13           We have the, I have got the -- the Government now

        14    has -- so, given that we don't have Mr. Chiles, is

        15    Mr. Hush going to need to testify?

        16           MS KOENIG:     Your Honor, I would simply designate

        17    Mr. Hush as our advisory witness to move to and from

        18    the courtroom.        I notified the Government of this. I

        19    don't think they have the equivalent of that that they

        20    intend to designate, but the Government and I have also

        21    agreed that both Dr. Coston and Dr. Smith can be around

        22    for each other's testimony.

        23           THE COURT:     That is fine.      Are they both in here

        24    now?

        25           MS KOENIG:     Dr. Coston is not.       Yes.


                                            JA1267
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                                         Coston - direct                                 17


         1           THE COURT:       Which one is he?        There he is.     Okay.

         2    Well, go bring Dr. Coston in.

         3           MS KOENIG:       Thank you, Your Honor.

         4           THE COURT:       And so, my question was a different

         5    one.      Is Mr. Hush going to testify?

         6           MS KOENIG:       I don't know yet, Your Honor.            Depends

         7    on The Court's ruling on a couple different matters

         8    that can be introduced through Dr. Coston.

         9           THE COURT:       Have a seat, Dr. Coston.

        10           Are you going to call Dr. Coston?

        11           MS KOENIG:       I call Dr. Coston, Your Honor.

        12           THE COURT:       All right.

        13           Raise your right hand and face the clerk.

        14                                 ELI COSTON

        15                  AFFIRMED AND TESTIFIED AS FOLLOWS:

        16                             DIRECT EXAMINATION

        17    BY MS KOENIG:

        18    Q      Doctor, can you state your name for the record,

        19    please?

        20    A      Dr. Eli Coston.

        21    Q      Can you spell the last name for us?

        22    A      C-O-S-T-O-N.

        23    Q      How are you employed?

        24    A      I am an assistant professor at Virginia

        25    Commonwealth University.


                                            JA1268
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                                     Coston - direct                              18


         1    Q     Do you hold a PhD in sociology from stoney Brook?

         2    A     Yes, I do.

         3    Q     When did you will get that degree?

         4    A     I received that degree in 2017.

         5    Q     Before that, do you have two masters of art and a

         6    bachelor of arts?

         7    A     Yes, I do.

         8    Q     Do you have any specialty research area?

         9    A     I have specialty research areas in statistics and

        10    methodology, race and gender, as well as the criminal

        11    legal system.

        12    Q     How long have you been studying statistical

        13    analysis?

        14    A     I have been studying statistical analyses since my

        15    undergraduate degree, but primarily during graduate

        16    school and subsequently.

        17    Q     How long have you been studying research

        18    methodology?

        19    A     The same amount of time.

        20    Q     Have you published articles that require

        21    specialized knowledge of statistical analysis and

        22    research methodology?

        23    A     Yes.

        24    Q     I want to turn your attention, if you can look in

        25    white binder in front, specifically what has been


                                         JA1269
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                                      Coston - direct                             19


         1    marked defendant's exhibit one.          Do you recognize what

         2    is listed in defendant's exhibit one?

         3    A     I do.

         4    Q     What is that?

         5    A     My curriculum vitae.

         6    Q     Is that something that you provided to us to

         7    demonstrate what it is that you have done in the terms

         8    of publication and teaching, et cetera?

         9    A     Yes.

        10          MS KOENIG:      Your Honor, I move to admit

        11    defendant's exhibit one.

        12          MR. GIBBONS:     No objection.

        13          THE COURT:      All right.    Admitted.

        14    BY MS KOENIG:

        15    Q     Do some of the articles you have published require

        16    specialized knowledge of statistical analysis and

        17    research methodology as listed in the C V?

        18    A     Yes, they are.

        19    Q     Have you given presentations that require

        20    specialized knowledge about statistical analysis and

        21    research methodology?

        22    A     Yes, I have.

        23    Q     Are those also listed ted in your C V?

        24    A     Yes, they are.

        25    Q     Have you taught courses at VCU as well as other


                                          JA1270
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                                      Coston - direct                             20


         1    colleges on statistical analysis and research

         2    methodology?

         3    A     Yes.

         4    Q     Do you hold the position as peer reviewer of

         5    articles that others publish that require your

         6    specialized knowledge of statistical analysis and

         7    research methodology?

         8    A     Yes.

         9    Q     Are some of those listed in your C V as well?

        10    A     Yes.

        11          MS KOENIG:      I move to qualify Dr. Coston as an

        12    expert in the area of statical analysis and research

        13    methodology?

        14          THE COURT:      All right.

        15          Any cross examination.

        16          MR. GIBBONS:     No, Your Honor.

        17          THE WITNESS:     All right.

        18          Do you have any objection?

        19          MR. GIBBONS:     No, Your Honor.

        20          THE COURT:      All right.    He is recognized as an

        21    expert on statistical analysis.

        22    BY MS KOENIG:

        23    Q     Let's start with the data that you analyzed in

        24    this case.    Specifically what entity provided us the

        25    data that you analyzed?


                                          JA1271
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                                      Coston - direct                             21


         1    A     The Virginia Department of State Police.

         2    Q     Who had collected that data at first?

         3    A     Well, that is compiled by the Virginia Department

         4    of State Police from individual localities.              So the

         5    Richmond data coming from the Richmond Police

         6    Department.

         7    Q     Why did the Richmond Police Department collect

         8    this data?

         9    A     In compliance the Virginia Community Policing Act

        10    data is collected about information related to stops,

        11    like the characteristics of the driver, race, age,

        12    gender, as well as characteristics of the stop itself

        13    what occurred during those stops.             So, why the stop

        14    occurred.    What the outcome of the stop was.            What

        15    particular code section was violated, whether searches

        16    or arrests occurred during those stops.

        17    Q     You mentioned that Virginia Community Policing Act

        18    that you just described?

        19    A     Yes.

        20          MS KOENIG:      Your Honor, I am asking The Court to

        21    take judicial notice of what was submitted in

        22    defendant's exhibit 3, which is the Virginia Criminal

        23    Code or Criminal -- Virginia code, 52-30.2.

        24          THE COURT:      All right.

        25          I don't know that I need to take judicial notice


                                          JA1272
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                                       Coston - direct                            22


         1    of it, but clearly it is a statute.

         2          MS KOENIG:       Thank you.

         3    BY MS KOENIG:

         4    Q     Under the Community Policing Act, Dr. Coston, do

         5    local --

         6          MR. GIBBONS:      Excuse me, Your Honor.        Could we

         7    clarify that is the 2020 version.

         8          MS KOENIG:       I'm sorry.    It is the 2020 version

         9    Your Honor.

        10          THE COURT:       All right.    Exhibit 3 is the 2020

        11    version?

        12          MS KOENIG:       It is, Your Honor.

        13    BY MS KOENIG:

        14    Q     Dr. Coston, was there a later change in July of

        15    2021 that required police departments moving forward

        16    from July of 2021 to collect additional data beyond

        17    what you just described?

        18    A     Yes, there is.

        19    Q     So we were operating on the stats that we were

        20    looking at from July of '20 to December 6 of '20; is

        21    that right?

        22    A     That's correct.

        23    Q     Okay.

        24          THE COURT:       Is that the date he was stopped?

        25          MS KOENIG:       December 5th is the time that the stop


                                           JA1273
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                                      Coston - direct                             23


         1    initially occurred and it bled over into the morning

         2    hours of the 6th, Your Honor.

         3    BY MS KOENIG:

         4    Q     Let's turn to the data itself.          We just, I think I

         5    just spilled the bag, but what is the date for each of

         6    the data you analyzed?

         7    A     July 1st to December 6.

         8    Q     What year?

         9    A     Of 2020.

        10          MS KOENIG:      Was the data you analyzed only for

        11    traffic stops?

        12    A     Yes.

        13    Q     How many traffic stops did the Richmond Police

        14    Department report conducting during that time period?

        15    A     2,578.

        16    Q     Before you conducted specific analyses of the data

        17    did you omit some of the stops before refining

        18    analysis?

        19    A     Yes.

        20    Q     Specifically did you omit locations that were

        21    ultimately outside of the Richmond Police Department's

        22    jurisdiction?

        23    A     Yes, I did.

        24    Q     How did you determine which stops were outside of

        25    the jurisdiction?


                                          JA1274
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                                       Coston - direct                            24


         1    A     So it was a multi-stop process.           Initially what is

         2    reported on the data is actual street locations or

         3    intersections.        Sometimes, you know, what block of a

         4    particular street.       That information was called

         5    Geocodio that converts that text data --

         6          THE COURT:      Spell that.

         7          THE WITNESS:      G-E-O-C-O-D-I-O.

         8          THE COURT:      Tell us what Geocodio is.

         9          THE WITNESS:      So essentially it takes the street

        10    locations.    For example, if you have an individual

        11    street address and it converts that into latitude and

        12    longitude coordinates.        Then you can later use for

        13    mapping in, for example, a graphical information

        14    systems program.       Geocodio also provides information

        15    about the reliability of the geographic coordinates it

        16    provides.    So, ranging from zero to one.           For those

        17    that were less than .6, so there was indicated by

        18    Geocodio only kind of moderate certainty about the

        19    latitude and longitude coordinates provided.

        20          Those were checked by an intern at the Public

        21    Defender's office and verified and/or corrected.

        22    Subsequent to that I also overlaid all of the

        23    coordinates, both the corrected coordinates and the

        24    original coordinates provide by Geocodio on to a map.

        25    That was over laid with the Richmond Police


                                           JA1275
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                                      Coston - direct                              25


         1    Department's police precincts.

         2          So there were some that still fell outside of

         3    those boundaries, and those I manually recoded in order

         4    to -- because there was sufficient information.               But,

         5    for example, Broad and Harrison.

         6    BY MS KOENIG:

         7    Q     Maybe let's take a minute just for a second.

         8          I want to show you, if we can provide, Ms Tuck,

         9    the witness what is marked defendant's exhibit 14.              I

        10    have it up on my screen here.

        11          Should be connected.

        12          There we go.

        13          Dr. Coston, do you recognize what I am showing you

        14    on this screen?

        15    A     Yes.

        16    Q     What is this?

        17    A     This is the Excel file that contains the data for

        18    the traffic stops.

        19    Q     Was this the specific exhibit that is in

        20    defendant's exhibit 14, is this your final sample?

        21    A     Yes.

        22          MS KOENIG:      Your Honor, I move to admit

        23    defendant's exhibit 14.

        24          MR. GIBBONS:     Your Honor, we have an objection to

        25    this.


                                          JA1276
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                                       Coston - direct                            26


         1          THE COURT:       All right.    What is that?

         2          MR. GIBBONS:      We don't know what version of the

         3    RPD stop data is contained in this document.              At what

         4    stage of the RPD -- we have done our witness first.

         5    There were separate stages to the quality control

         6    process.    We are not sure at what stage.

         7          THE COURT:       I'm sorry.    Separate stages to the

         8    quality control process of what?           Of pulling this

         9    information together?

        10          MR. GIBBONS:      Yes, Your Honor.

        11          THE COURT:       So you don't know whether this is the

        12    final information or not.

        13          MR. GIBBONS:      That's correct, Your Honor.

        14          THE COURT:       What do you say about that?

        15          MS KOENIG:       Your Honor, let's maybe, let me talk

        16    to Dr. Coston first about something else.

        17          Dr. Coston, were you aware that the defense had

        18    subpoenaed the Richmond Police Department for

        19    information and reports on all traffic stops that

        20    happened from July of 2020 to December 6 of 2020?

        21          THE WITNESS:      Yes.

        22    BY MS KOENIG:

        23    Q     And did we discuss that the subpoena was going to

        24    ask for individualized police reports for each of those

        25    stops?


                                             JA1277
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                                     Coston - direct                              27


         1    A     Yes.

         2    Q     I want to show you what has been marked

         3    defendant's exhibits 15, which, Your Honor, is ECF 52,

         4    which is already in the record.

         5          But, the subpoena, Dr. Coston requested copies of

         6    net viewer event information, net viewer event unit,

         7    and net viewer chronology records for all traffic stops

         8    by the Richmond Police Department from July 1st, 2020

         9    through December 5 of 2020; is that right?

        10    A     Yes.

        11    Q     Is that in fact what the Richmond Police

        12    Department supplied us?

        13    A     No, that is not what I received.

        14    Q     Did we receive a series of spreadsheets from the

        15    Richmond Police Department that had the columns, the

        16    column information that is in defendant's exhibit 14?

        17    A     Yes.

        18    Q     Did you simply take -- and each spreadsheet was

        19    defined by a period of time; is that right?

        20    A     That's correct.

        21    Q     You received one spreadsheet for three months and

        22    then individually separate spreadsheets for October,

        23    November, and December?

        24    A     The December contained more information than just

        25    December, but yes, that is correct.


                                         JA1278
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                                       Coston - direct                            28


         1    Q     The information that you have in defendant's 14,

         2    aside from the columns that have the latitude

         3    longitude, accuracy, and corrected, and control number,

         4    did the exhibit compilation of what you put into one

         5    spreadsheet rather than four?

         6    A     The control numbers were initially indicated on

         7    this spreadsheets that we received, but the latitude

         8    longitude, accuracy, and corrected were added

         9    subsequent.

        10    Q     By the --

        11          THE COURT:      Let me see if this is correct.          You

        12    requested information, all sorts of information about

        13    the traffic stops from the Richmond Police Department.

        14          MS KOENIG:      That is right.

        15          THE COURT:      And the Richmond Police Department

        16    supplied you with some of that information.

        17          MS KOENIG:      Correct.

        18          THE COURT:      And the information that you got from

        19    the Richmond Police Department was placed in to this

        20    spreadsheet?

        21          MS KOENIG:      Correct.

        22          THE COURT:      Who did that?

        23          Did you do that, or did you the Public Defender's

        24    Office do that?

        25          MS KOENIG:      I will break that down.       I will break


                                          JA1279
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                                       Coston - direct                              29


         1    it down.

         2          So, Dr. Coston, if we can look at defense exhibit

         3    14, specifically column B.          Tell us what column B is.

         4          THE WITNESS:      Column B is location information

         5    that was provided by the Richmond Police Department

         6    initially.     In some cases this represents an exact

         7    address, and in some cases an intersection.              And in

         8    other cases a block of a street.

         9    BY MS KOENIG:

        10    Q     For example, if we look at entry number two on

        11    defendant's exhibit 14 we see that -- what is this

        12    intersection?

        13    A     Oliver Hill Way and Hospital Street.

        14    Q     So what did we work as a defense team to do, to

        15    take the location information to generate the latitude

        16    and longitude by columns that are just to the right of

        17    the location column?

        18    A     That location, the initial location is provided by

        19    the Richmond Police Department were sent to Geocodio.

        20    What they sent back is in the following four columns.

        21          THE COURT:       Let's cut to the quick on this.         Rule

        22    1006 allows the proponent to use, produce a summary

        23    of -- I believe -- the records produced by the Richmond

        24    police were voluminous, I take it.

        25          MS KOENIG:       They were.


                                           JA1280
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                                      Coston - direct                             30


         1          THE COURT:      How voluminous were they?

         2          MS KOENIG:      There were 2,578 stops from the time

         3    period we are looking at.

         4          THE COURT:      You got a report on each one?

         5          MS KOENIG:      We had this data that is reflected in

         6    defendant's exhibit 14.

         7          THE COURT:      All right.

         8          So, Mr. Shea, do you want to be heard on that?

         9          MR. GIBBONS:     We still don't know what version

        10    this data came from, the corrected or --

        11          THE COURT:      This was produced to you in advance,

        12    and you have had an opportunity to examine it.

        13          MR. GIBBONS:     There is two issues, Your Honor;

        14    there is an authentication issue, which is so far

        15    unresolved.    And then there is an issue of what shape

        16    the data was in.

        17          THE COURT:      Well, if you have questions about

        18    whether the data is accurate, that is something that

        19    you could have looked at, the charts, information,

        20    beforehand and compared it.         And you can cross-examine

        21    him about it.     We have -- I am sure you have got an arm

        22    full of inaccuracies you are going to point out to me

        23    at some point.

        24          MR. GIBBONS:     That is true, Your Honor.

        25          THE COURT:      Well, all right.


                                          JA1281
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                                       Coston - direct                            31


         1          MS KOENIG:       Thank you, Your Honor.

         2          THE COURT:       Fourteen is admitted.

         3    BY MS KOENIG:

         4    Q     So, Dr. Coston, once you had taken -- so the

         5    latitude longitude you have explained came from

         6    Geocodio, is that right?

         7    A     That is right.

         8    Q     What did you make as the information in the

         9    accuracy score that is reflected in column E?

        10    A     So the accuracy score ranges from zero,

        11    essentially no accuracy; to one, high accuracy.

        12          And so scores that had lower accuracy, less than

        13    .6 those were validated by an intern in the Public

        14    Defender's Office.       And I also engaged in additional

        15    verification of the latitude longitude information.

        16    Q     When there was a correction noted, was that

        17    correction noted in columns G and L for the latitude

        18    and longitude?

        19    A     Yes, it was.

        20    Q     So, the original Geocodio latitude longitude is

        21    reflected in column C and D; is that right?

        22    A     That's correct.

        23    Q     And the corrected latitude longitude is in column

        24    G and H?

        25    A     That's correct.


                                           JA1282
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                                      Coston - direct                             32


         1    Q     Right.   Some of the information in the corrected

         2    columns came from the intern at the Federal Public

         3    Defender's Office and some came from you?

         4    A     That's correct.

         5          THE COURT:      Let me ask you this.

         6          Did you rely on this data in forming the opinions

         7    you were about to offer us in this case?

         8          THE WITNESS:     Yes, I did.

         9          THE COURT:      Is this the sort of facts or data that

        10    people in your expertise routinely organize in forming

        11    an opinion on this kind of subject?

        12          THE WITNESS:     This type of data along with other

        13    types of data, yes.

        14          THE COURT:      I understand there are all kinds of

        15    data, but this is acceptable in your field of

        16    expertise?

        17          THE WITNESS:     Yes.

        18          THE COURT:      All right.

        19    BY MS KOENIG:

        20    Q     Thank you, Your Honor.

        21          Dr. Coston, you were talking about the things that

        22    you had omitted.       Once you had a corrected sheet, what

        23    did you omit from the total number of stops that you

        24    analyzed?

        25    A     Eighty-one stops were omitted.          And those fell


                                            JA1283
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                                     Coston - direct                              33


         1    outside of the Richmond Police Department's' precinct

         2    boundaries.    Most of those occurred in Chesterfield.

         3    Q     When you deleted something, that is something that

         4    you yourself manually checked to see if in fact it was

         5    not within the City limits; is that right?

         6    A     That's correct.     And I verified it with the

         7    location that was provided by the Richmond Police

         8    Department, as well as the latitude and longitude.

         9    Q     When talking about the control numbers here, each

        10    one of these stops has a control number assigned to it,

        11    right?

        12    A     That's correct.

        13    Q     Why?

        14    A     Control numbers are essentially a record-keeping

        15    device.   So that every individual entry is entered one

        16    time.

        17    Q     Does it also allow for later questioning

        18    comparisons so we can look at a particular stop if need

        19    be?

        20    A     Yes.

        21    Q     So did you prepare a spread sheet of the control

        22    numbers of the stops that you excluded --

        23    A     Yes.

        24    Q     -- from this report, or from this spreadsheet?

        25    A     Yes.


                                         JA1284
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                                     Coston - direct                              34


         1    Q     I want to so you show you what has been marked

         2    defendant's exhibits 18.

         3          Can you see exhibit 18?

         4    A     Yes.

         5    Q     Dr. Coston, please tell us what is in this exhibit

         6    18.

         7    A     So this is a list of the control numbers that were

         8    excluded due to being outside of the jurisdictional

         9    boundaries of the Richmond Police Department.

        10    Q     Did you prepare this list in response to a report

        11    we received on Friday from the government --

        12    A     Yes.

        13    Q     -- questioning some of the counting or the

        14    accuracy of some of the information; is that right?

        15    A     Yes.

        16    Q     Did you go back and double check these things over

        17    the weekend?

        18    A     Yes.

        19    Q     Did you confirm that there are 81 stops that you

        20    still found remember outside of the City limits that

        21    you excluded from the analysis?

        22    A     Yes, I did.

        23    Q     Just because a stop is outside of the City limits

        24    does it mean that the Richmond Police Department did

        25    not have jurisdiction to do the stop?


                                         JA1285
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                                        Coston - direct                             35


         1    A     No.    Not necessarily.       The police are typically

         2    able to pursue outside of their jurisdictional bounds,

         3    and for this reason I conducted the analysis both with

         4    these stops included and with the stops excluded.               And

         5    it didn't change the overall findings of conclusions.

         6    The statical significance of results remained the same.

         7    Q     Okay.

         8          Give us some examples of same of the stops that

         9    were excluded?

        10    A     Yes.     So as you can see here, for example, many of

        11    these stops, stop 582 for example, I believe occurred

        12    at the Powhite toll booth, which is just outside of the

        13    Richmond Police Department jurisdiction boundary.

        14          THE COURT:        What?

        15    Q     Powhite Parkway toll booth?

        16    A     Yes.

        17    Q     That stop --

        18          THE COURT:        Downtown here?

        19          THE WITNESS:       No.

        20          THE COURT:        Over --

        21          THE WITNESS:       Farther south.

        22          THE COURT:        Over by the Midlothian Turnpike.

        23          THE WITNESS:       Yes.

        24          THE COURT:        So the Richmond police -- that is over

        25    there by Hull Street.


                                              JA1286
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                                      Coston - direct                             36


         1          THE WITNESS:     This is where, there is where it was

         2    noted in terms of the specific location.            This is what

         3    the Richmond Police officer wrote.

         4          In many of these instances, but, again, that is

         5    outside of the jurisdictional boundaries, so I excluded

         6    those particular cases.

         7    BY MS KOENIG:

         8    Q     Because it's -- so it's possible that stops were

         9    valid traffic stops in terms of jurisdiction by the

        10    Police Department, right?

        11    A     That is possible.

        12    Q     But because we don't have further details about

        13    the stops themselves, who initiated it, where it was

        14    initiated, you just chose to exclude it for the

        15    validity of the data?

        16    A     That's correct.

        17    Q     At a particular type of analysis that you

        18    conducted, the chi-square analysis that you did, did

        19    you exclude --

        20          THE COURT:      The what analysis?

        21          MS KOENIG:      The chi-square analysis, Your Honor.

        22          THE COURT:      All right.

        23    BY MS KOENIG:

        24    Q     Did you exclude any particular races from the

        25    final analytical sample?


                                          JA1287
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                                      Coston - direct                             37


         1    A     Yes.   Asian, native American and drivers of other

         2    races were excluded from the final analysis due to

         3    there being too few drivers who were stopped during the

         4    time period of those races to be able to conduct that

         5    type type of statistical analysis.

         6          THE COURT:      Do you want to admit exhibit 18?

         7          MS KOENIG:      I do, Your Honor.

         8          THE COURT:      All right.

         9    BY MS KOENIG:

        10    Q     Dr. Coston, let's first have you tell us briefly

        11    about what a chi-square analysis is.

        12    A     So, a chi-square analysis examines the

        13    relationships between two variables.

        14          THE COURT:      C-H-I?

        15          THE WITNESS:     Yes.

        16          THE COURT:      A Greek letter.

        17          THE WITNESS:     Yes.     Yes.

        18          THE COURT:      Okay.    Go ahead.

        19          THE WITNESS:     So, chi-square analysis examines the

        20    relationship between two variables for statistical

        21    significance.

        22    BY MS KOENIG:

        23    Q     Why was the chi-square analysis the most

        24    appropriate statistical test to use on the data set

        25    that we have?


                                             JA1288
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                                       Coston - direct                            38


         1    A     So, this was the most appropriate analysis for a

         2    few reasons.

         3          Firstly, these are both -- many of the analyses

         4    contains what we call categorial variance.               Meaning

         5    that they fall into a category instead of being, for

         6    example, on an interval or ratio scale.

         7          THE COURT:      What?

         8          THE WITNESS:      So, for example, interval level data

         9    occurs at regular intervals versus being in a category.

        10    So numerical data versus categorical data.

        11    BY MS KOENIG:

        12    Q     Can you give us an example, Dr. Coston?

        13    A     Sure.   So, for example, interval or ratio data

        14    might be something that we think of as temperature.

        15          THE COURT:      As what?

        16          THE WITNESS:      Temperature.      Like the temperature

        17    outside, for example.         That would be interval level

        18    data.

        19          THE COURT:      What the temperature is every hour.

        20          THE WITNESS:      Yes.

        21          These are merely categories.             Black drivers or

        22    white drivers.        Those aren't inherently ordered or

        23    numbered.     In terms of analysis they are assigned a

        24    number to do that actual statistical analysis, but they

        25    are categories themselves.         So a chi-square test is


                                             JA1289
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                                     Coston - direct                              39


         1    appropriate for analyzing this type of categorical data

         2    to determine the relationship between two different

         3    variables.

         4    BY MS KOENIG:

         5    Q     Tell us in terms of the chi-square analysis why

         6    did you ultimately exclude Asian and American Indian

         7    drivers with unknown races from the final analytical

         8    sample.

         9    A     So one of the assumptions or rules that needs to

        10    be met when conducting a chi-square analysis is that

        11    there needs to be minimum of five expected observations

        12    in each cell of the analysis.        So, in a two-by-two

        13    table, for example, there are four different cells.

        14    And there needs to be a minimum of five observations

        15    that we would expect to see in each of those cells.

        16          As you expand the number of categories that you

        17    are examining, so, for example looking at race and

        18    whether the person, whether the individual was arrested

        19    or not.   If we are comparing only black and white and

        20    arrest, yes and no, that is a two-by-two.           Four cells.

        21    And a minimum of 80 percent of those cells need to have

        22    five expected observations.

        23          If you expand that to include drivers that are

        24    Asian, native American, and other races, you know have

        25    a two-by-five table.      And that is ten individual cells.


                                         JA1290
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                                       Coston - direct                            40


         1    You need to have a minimum of five observations in each

         2    of those individual cells.         Because of the very small

         3    number of Asian, native American, and drivers of other

         4    races.

         5    Q     But unknown?

         6    A     Yes.   Other unknown races.         That criteria wouldn't

         7    have been met.        And so drivers who were Asian, native

         8    American and other races or unknown races were excluded

         9    from the analysis.       Only concerning black and white

        10    drivers in terms of that statistical relationship.

        11    Q     Is that simply how chi-square analysis works?

        12    A     Yes.

        13    Q     That is the kind of analysis that you would do in

        14    in day-to-day work when you are doing statistical

        15    analysis, right?

        16    A     Yes.

        17          THE COURT:      Okay.

        18          I understand why you didn't include the people.

        19    What is it you are trying to figure out from chi-square

        20    analysis?

        21          THE WITNESS:      A chi-square analysis is asking, is

        22    there a relationship between these two variables?

        23          THE COURT:      What does that mean?

        24          THE WITNESS:      In the example that I just gave,

        25    black and white drivers and whether an individual was


                                            JA1291
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                                       Coston - direct                            41


         1    arrested, for example, is there a relationship between

         2    the race of the driver and whether they were arrested

         3    or not.

         4          THE COURT:      So, what I am puzzling with here is

         5    what you mean by a relationship.           You mean --

         6          THE WITNESS:      Are these two things related --

         7          THE COURT:      That is --

         8          THE WITNESS:      -- in a statistical sense?

         9          THE COURT:      Let's pretend like I am an English

        10    major, which is what I was.

        11          So, tell me what it means for them to be related

        12    to each other.        Does that mean that --

        13    BY MS KOENIG:

        14    Q     Dr. Coston, for a statistical significance that

        15    can be found with this chi-square analysis --

        16    A     Yes.

        17    Q     -- is there statistical significance, what does

        18    that mean?

        19    A     It means that what we see occurring in the data is

        20    more likely than we would expect to find by chance.

        21          THE COURT:      That is what you would call a

        22    relationship.

        23          THE WITNESS:      Yes.

        24          THE COURT:      Or if it was less likely, that would

        25    be a relationship, too.


                                             JA1292
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                                       Coston - direct                            42


         1          THE WITNESS:      Yes.

         2          But if it is what we expect to see by chance, then

         3    there is no relationship at all.

         4          THE COURT:       Like a coin flip.       That would be no

         5    relationship.      But if it turned out that all of the

         6    people who got stopped were white, or all the people

         7    were African-American, then we would have a pretty

         8    strong relationship; is that right?

         9          THE WITNESS:      Essentially.

        10          If we are using a coin flip example it might be

        11    better to say that if it is near fifty-fifty then the

        12    dice isn't, or the coin isn't loaded, but if we see a

        13    strong in one way or the other, then it is loaded.

        14          THE COURT:       Okay.   So if it was -- and what does

        15    that relationship tell me?

        16          THE WITNESS:      In this instance it tells you

        17    whether black or white drivers are more likely to be

        18    arrested, more likely to be -- have their vehicle

        19    searched.     Essentially based on the race of the driver

        20    what of these various instances that occurred during

        21    stops are more likely.

        22          THE COURT:       All right.    Hold on a second while I

        23    do this.

        24          MS KOENIG:       We are going to go through in more

        25    detail as we go through each piece.


                                             JA1293
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                                       Coston - direct                            43


         1          THE COURT:       Well, okay.    But let me get to what I

         2    think is an important issue here.              Let's just assume

         3    for a second that you were going down Jefferson Davis

         4    Highway.    I can't remember what it called.             Richmond

         5    Highway.    South Richmond down in Chesterfield County.

         6          And that is an economically disadvantaged part of

         7    Chesterfield County.       Do you know anything about that

         8    area?

         9          THE WITNESS:      I am aware of it.        I haven't spent

        10    much time there.

        11          THE COURT:       Well, I have spent my time.         And so

        12    there are a lot of people driving cars that aren't in

        13    very good shape around there.          And it seems to me that

        14    like people who drive cars that aren't in very good

        15    shape are more likely to be stopped than people who

        16    aren't because tail lights go out and cracks in the

        17    windshield.

        18          So how does this -- how does this chi-square

        19    analysis account for things that like that?

        20          THE WITNESS:      So the chi-square analysis doesn't

        21    simultaneously account for every single factor that

        22    could impact a traffic stop.          It is also true that we

        23    don't have data on everything that could impact a

        24    traffic stop.

        25          THE COURT:       And it would be almost impossible to


                                           JA1294
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                                       Coston - direct                            44


         1    get.

         2           THE WITNESS:     That's correct.

         3           But one of the things that was included in this

         4    analysis using a chi-square test was to examine reasons

         5    for stops.     So, for example, equipment.          Were people

         6    pulled over for reasons related to having faulty

         7    equipment?     If that was one of the reasons for a stop,

         8    I did look at the outcomes related to those stops.

         9           THE COURT:      So, here is what I think the

        10    Government is saying about this.

        11           They say there are a lot -- one of the things they

        12    say is that there are a lot of reasons why people get

        13    stopped.    And one of the ways you can tease out the

        14    reasons for a stop is through progression analysis.

        15    Candidly -- well, can you tell me why it is you didn't

        16    do that here?

        17           THE WITNESS:     Because the data provided wasn't

        18    appropriate to a regression analysis.

        19           THE COURT:      Why is that?

        20           THE WITNESS:     So, there are also many rules for,

        21    just like there are rules to chi-square, there are

        22    rules for conducting regression analyses.             There are a

        23    lot of -- there are in fact many more assumptions made

        24    about the underlying data in a regression analysis than

        25    there are chi-square analysis.           So, for example,


                                           JA1295
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         1    assumptions about the normality of the underlying data.

         2    That it looks like a bell curve rather than being

         3    looking some other way.

         4          The assumption that there is not

         5    multi-collinearity between --

         6          MS KOENIG:      What does that mean?

         7          THE WITNESS:     -- variables in the models.            And

         8    essentially what that means is that some variables

         9    would be related to other variables in the same model.

        10    Right.

        11          And so given there is also the assumption that

        12    there is, that data on most, if not all of those

        13    factors involving a stop, are included in the

        14    regression model.      And that much of that data was asked

        15    for and not supplied.         I chose the chi-square analysis

        16    because that was the appropriate statistical test for

        17    the level and type of data that was supplied.

        18          THE COURT:      So, have you done other studies on

        19    statistical studies, on the interaction between police

        20    and civilians?

        21          THE WITNESS:     Yes.

        22          THE COURT:      Okay.

        23          In those other studies did you use chi-square

        24    analysis?

        25          THE WITNESS:     I have used chi-square analysis in


                                            JA1296
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                                      Coston - direct                             46


         1    some of my published work and regression analysis in

         2    others.

         3           THE COURT:     Okay.

         4    BY MS KOENIG:

         5    Q      Dr. Coston, did you do so when the data set that

         6    was before you leant itself to a particular type of

         7    analysis?

         8    A      Yes.

         9    Q      In this case was it possible for you to do a

        10    regression or multi-varied analysis given the data we

        11    had?

        12    A      I do not believe regression analysis would have

        13    been appropriate for this data, no.

        14           THE COURT:     The question was a different one.

        15    Was, is it possible?      That is what she asked.

        16           THE WITNESS:    So in statistics, is it possible to

        17    run those numbers even if they violate the underlying

        18    assumptions of a test?        So, you could put those numbers

        19    in and you would get a statistic out, but it would not

        20    be a reliable test statistic.

        21           THE COURT:     Okay.

        22    BY MS KOENIG:

        23    Q      And that is the follow-up, Dr. Coston, is that,

        24    yes, it is possible, but it would not produce reliable

        25    data; is that right?


                                            JA1297
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         1    A     It would not produce reliable results.

         2    Q     Okay.

         3          THE COURT:      Well, let's just sort of in the

         4    reality of this case, let's use my example I gave to

         5    you earlier.    Many of these arrests occurred in areas

         6    that are less wealthy than others.            And that would make

         7    it, it seems to me, possible that there could be cars

         8    there that were maybe -- that would get additional

         9    police attention because they have inspection problems,

        10    lights out, but your analysis doesn't tell us whether

        11    the police are looking at the race of the driver or

        12    whether the tail light is out.

        13          THE WITNESS:     Regression analysis also would not

        14    tell you that.

        15          THE COURT:      Well, whether there is a relationship

        16    between the stops and the tail light being out.               So is

        17    that, right?    Your analysis wouldn't tell us that.

        18          THE WITNESS:     Could you repeat the question?

        19          THE COURT:      Well, your analysis wouldn't tell us

        20    whether the -- whether there was a relationship between

        21    the number of stops and the number of tail lights that

        22    were out.

        23          You didn't do that.       Didn't run that data.         You

        24    couldn't run that data.

        25          THE WITNESS:     Right.    Because the police didn't


                                          JA1298
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         1    note on their information other than it being an

         2    equipment violation or something else.           Other reasons,

         3    or a traffic violation.       There were three categories,

         4    the reasons for the stop, equipment, traffic or other.

         5          THE COURT:      There are a lot of different potential

         6    relationships.

         7          THE WITNESS:     Yes, there are many potential

         8    relationships.

         9          THE COURT:      And the existence of a relationship

        10    does not tell us why the police do something.                 Or does

        11    it?

        12          THE WITNESS:     Are you asking about an individual

        13    officer, why an individual officer does something,

        14    or --

        15          THE COURT:      Well, I think --

        16          THE WITNESS:     -- or more general?

        17          THE COURT:      I think the theory in this case is

        18    that the Richmond Police stopped black people more than

        19    they stopped white people.

        20          THE WITNESS:     Well --

        21          THE COURT:      And I think the theory is that they do

        22    it because they are African-American people.

        23          THE WITNESS:     So, what we can do with data, what

        24    we attempt to do with statistics is to understand large

        25    scale patterns.       We cannot work backwards from those


                                          JA1299
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         1    large scale patterns to say this is why one individual

         2    person --

         3          THE COURT:       You can't say --

         4          THE WITNESS:      -- did the thing they did.

         5          THE COURT:       -- that Mr. Moore was stopped because

         6    he was an African-American.

         7          THE WITNESS:      No.

         8          THE COURT:       And it just happened to work out that

         9    everybody who was stopped was an African-American.

        10          THE WITNESS:      So when we look at large scale

        11    patterns what we can say is whether or not black people

        12    are disproportionately stopped at higher rates,

        13    disproportionately experience adverse outcomes when

        14    they are stopped.

        15          THE COURT:       Okay.   Well, let's take -- let's go

        16    into that a little farther.

        17          It seems to me that it might be a legitimate thing

        18    to do for the police to have more officers or greater

        19    presence in areas where there is more crime.              Do you

        20    agree with that?        Well, you don't have to agree with

        21    that.     That is policing technique.

        22          THE WITNESS:      I do understand that, yes, that is a

        23    popular deployment strategy for police, yes.

        24          THE COURT:       So if they do that wouldn't there be

        25    more traffic stops where there are more police driving


                                             JA1300
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                                      Coston - direct                              50


         1    around?

         2          THE WITNESS:     Yes.    That is part of the deployment

         3    hypothesis.

         4          THE COURT:      If there was more crime in

         5    African-American areas of town it would be more police

         6    there, right, if that is the strategy they chose.             I

         7    mean, they could just ignore it, I guess, but I don't

         8    think the Richmond Police do that.

         9    BY MS KOENIG:

        10    Q     Dr. Coston, do we know if in fact that assumption

        11    is a valid one, that black people are committing more

        12    crime?

        13          THE COURT:      We don't know whether that is valid,

        14    but if there is area where there are more calls for

        15    police assistance.

        16          THE WITNESS:     So what we know from the research on

        17    this, is that in areas of town that experience more

        18    crime they deploy more officers.          At the same time,

        19    when more officers are deployed to those areas they

        20    also end up enforcing a greater degree of laws, so what

        21    we see is increases for lower level violations when

        22    this occurs.    But essentially that creates a feedback

        23    loop in which you are sending more officers, because

        24    you have more officers observing more crime.             Does this

        25    have spillover effects to traffic stops, are there more


                                            JA1301
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                                      Coston - direct                             51


         1    officers looking for traffic stops when they are in

         2    areas that they have been deployed to where they are

         3    not finding other types of crime?             Absolutely.

         4          THE COURT:      Have you ever read a book called

         5    Locking Up Our Own?

         6          THE WITNESS:     I have not read that book.

         7          THE COURT:      Well, it is about -- it seems to me

         8    that there is sort of a -- there are two interests.

         9    One is that I think African-American people have a very

        10    legitimate interest in not having the police patrol

        11    their area like some sort of police state.              Like it

        12    is -- like there are cops everywhere picking on them

        13    about every little thing they do.             The other interest,

        14    however, is that people who live in African-American

        15    sections of town -- and if you -- excuse me -- I am

        16    assuming what I have observed in 50 years living in

        17    Richmond -- which is, that there is housing

        18    segregation, de facto segregation.            But the people who

        19    live in African-American sections of town also deserve

        20    to have the police protect them from crime.              And this

        21    case presents to me a conundrum.          If you have more

        22    police there, you get more tickets.            But if you have

        23    fewer police there, I guess the thought was when they

        24    started defunding the police, that you had more, you

        25    were not addressing crime.        And Ms Koenig stands before


                                          JA1302
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         1    me time and time again and points out to me that the

         2    horrible problems caused by adverse childhood

         3    experiences.    And among those adverse childhood

         4    experiences are living in high crimes area where you

         5    get up in the morning and sometimes on the way to

         6    school you find syringes or you find dead bodies or

         7    whatever.

         8           MS KOENIG:     Your Honor, I think we have some

         9    interesting things to bring to The Court that will

        10    answers The Court's questions.

        11           THE COURT:     Well, I ought to let you try the case.

        12    You are the lawyer.

        13           MS KOENIG:     I appreciate the questioning, Your

        14    Honor.

        15    BY MS KOENIG:

        16    Q      Dr. Coston, I want to turn your attention to

        17    defense exhibit number two.         Did you write a report in

        18    this case, Dr. Coston?

        19    A      Yes, I did.

        20    Q      Is that what is depicted in defendant's exhibit

        21    two?

        22    A      Yes.

        23           MS KOENIG:     I move for the admission of

        24    defendant's exhibit number two?

        25           THE COURT:     Well, that is hearsay.


                                          JA1303
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                                        Coston - direct                            53


         1          MS KOENIG:       It is his own report.

         2          THE COURT:       I know it is his report, but it is an

         3    out-of-court statement introduced to prove the truth

         4    contained in it.

         5          MS KOENIG:       I am going to point The Court to

         6    Federal Rule of Evidence 803.18 which accepts from

         7    hearsay evidence that the expert relies on in direct

         8    examination and is reliable, as Dr. Coston is about to

         9    testify.

        10          THE COURT:       Well, his report is not information he

        11    is relying on.

        12          MS KOENIG:       If The Court wants to see it, that is

        13    fine.

        14          THE COURT:       I have already seen it.        It is in the

        15    record in the case, and I have read it.

        16          MS KOENIG:       Okay.

        17          Dr. Coston --

        18          THE COURT:       You filed it, right?

        19          MS KOENIG:       I did.

        20          THE COURT:       Okay.    And we have Dr. Smith's report

        21    filed as well.         I read that as well.      I don't think it

        22    is technically evidence in the case because it is his

        23    out-of-court statement.

        24    BY MS KOENIG:

        25    Q     All right.       Fair enough.


                                              JA1304
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                                     Coston - direct                              54


         1          Dr. Coston, on page one under the area where it

         2    says "traffic stop."      What was the purpose of including

         3    this information in your analysis of the stop here?

         4    Why did you talk about whether or not there is evidence

         5    that shows that black or white drivers commit more

         6    traffic infarctions than others?

         7    A     So there is often a question about whether we are

         8    seeing these differences because there are in fact

         9    differences in the driving behaviors of black and white

        10    drivers.    When we look at many studies they find there

        11    are no differences between black and white drivers.

        12    New Jersey Turnpike study is a notable exception.            It

        13    indicated specifically that young black drivers may be

        14    more likely to engage in excessive speeding, over

        15    15 miles an hour over.      But, I think that that the

        16    notable difference here is that the New Jersey Turnpike

        17    is substantially different than most Richmond City

        18    streets.    So I don't know that that particular finding

        19    extrapolates to traffic data being analyzed, that I

        20    analyzed for this case.

        21    Q     Meaning that ultimately at the end of the day we

        22    do not have data that indicates that black drivers in

        23    Richmond are more likely to commit traffic infractions

        24    than white drivers, right?

        25    A     No, we do not have that data.


                                         JA1305
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                                     Coston - direct                              55


         1    Q     If we could take my screen down.         Thank you.

         2          So let's turn now to your analysis, Dr. Coston.

         3    If you need to refer to the report let us know.

         4    A     Okay.

         5    Q     Let's first look at your summary data.           And I

         6    believe you are turning to page six of the report to

         7    refresh your recollection; is that right?

         8    A     Yes.    My pages aren't numbered, but I believe that

         9    is correct.

        10    Q     Tell us what you found in terms of whether or not,

        11    or did you make any determinations about the frequency

        12    with which Richmond Police Department was stopping

        13    black drivers?

        14    A     Yes, summary data presents accounts by race of

        15    driver, and also out of the total number of stops

        16    determines what percentage of those stops were

        17    particular races, as well as including in that summary

        18    table other select variables that were included in

        19    later analyses.

        20    Q     Let's first talk about the race of the driver.

        21    What did you specifically find as it relates to the

        22    frequency of black and white drivers being stopped?

        23    A     So, 77 percent of the drivers stopped in the data

        24    analyzed were black.      And that means that black drivers

        25    were 12.67 times more likely to be stopped than white


                                         JA1306
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                                       Coston - direct                            56


         1    drivers.

         2    Q     Go back for that.       I think 12.67 relates to the

         3    arrest; is that right?

         4    A     I'm sorry.       I was referencing the wrong number

         5    there.

         6          Yes.    That is for arrests.        35.13 times more

         7    likely to be stopped.

         8          THE COURT:       So let me just ask you a question,

         9    Ms Koenig.     Do you need this report to be in evidence

        10    in order to get all these charts into evidence?

        11          MS KOENIG:       It would be helpful, Your Honor --

        12          THE COURT:       All right.    I will reconsider my

        13    ruling and admit it okay.

        14          MS KOENIG:       Thank you, Your Honor.       I have no

        15    objection --

        16          THE COURT:       This report is admitted.

        17          MS KOENIG:       -- no objection to Dr. Smith's report,

        18    Your Honor.     I mean for the admission, Your Honor.

        19          All right.       Let's look at table one then, which is

        20    on page six, Dr. Coston.         So if we have 1,925 black

        21    drivers that were stopped and 354 white drivers that

        22    were stopped, tell us what you were just telling us

        23    about what that means about the likelihood that black

        24    drivers are going to be stopped more than white drivers

        25    in Richmond.


                                           JA1307
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                                     Coston - direct                              57


         1          THE WITNESS:    Black drivers are 5.13 times more

         2    likely to be stopped than white drivers.

         3    BY MS KOENIG:

         4    Q     Again, the statistics are 77 percent of the

         5    drivers that were stopped were black, 14.16 percent of

         6    the drives were white; is that right?

         7    A     That's correct.

         8    Q     Do what can you say about proportionality of the

         9    race of the drivers that the Richmond Police Department

        10    stopped in our sample?

        11    A     There was substantially greater proportion of

        12    black driers arrested, or both stopped and arrested.

        13    Q     That's pretty easy math.       We don't need a lot of

        14    special statistics to figure that out, right?

        15    A     Correct.

        16    Q     Let's look now at the arrest data, which I believe

        17    that you have depicted on page seven and table two; is

        18    that right?

        19    A     Yes.   Includes all the stops, whether individual

        20    received a warning, a summons, or citation, or whether

        21    they were arrested.

        22    Q     So, if we are looking at arrests in particular,

        23    what statistical analysis did do you to determine if

        24    race had any effect on the result of the stop?

        25    A     I conducted a chi-square analysis with race being


                                         JA1308
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                                      Coston - direct                               58


         1    one variable, and outcome of the stop being the other

         2    variables.

         3    Q     What did you determine?

         4    A     I determined that this was a statistically

         5    significant relationship.        That race was in fact

         6    related to the outcome of the stop.

         7    Q     Why do we look for whether or not there is

         8    statistical significance?        If something is

         9    statistically significant, what does that mean?

        10    A     So, the statistical significance indicates to us

        11    that these results didn't happen just by chance.               That

        12    there is a relationship that we wouldn't expect to find

        13    by chance.

        14          THE COURT:      Hold on for a second.      Tell me first,

        15    tell me, what is statistically significant in this

        16    table two?

        17          THE WITNESS:     So the entire table is statistically

        18    significant.    So the relationship within the two

        19    variants is what is statistically significant.                And

        20    then we can examine the individual cells.

        21          THE COURT:      Hold on a second.       Two variables of

        22    black drivers and white drivers, right?

        23          MS KOENIG:      No, the race of the driver is one?

        24          THE WITNESS:     Outcome of the stop is the other.

        25          THE COURT:      But there are three parts of the stop.


                                          JA1309
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                                      Coston - direct                             59


         1           THE WITNESS:     Yes.    But race and outcome are the

         2    things that, the two variables that we are discussing.

         3    So race and outcome are related.

         4    BY MS KOENIG:

         5    Q      So, Dr. Coston, did you run a chi-square analysis

         6    on the drivers as they were arrested?

         7    A      So, when we are looking at this table we actually

         8    do is we examine the individual cells.           By that I mean

         9    when we look at black drivers and arrests there were

        10    152 black drivers arrested.         When we look at black

        11    drivers, that is one cell.

        12           Black drivers who received a summons or citation,

        13    390.      So each of those represents an individual sell.

        14           When we look at each of these cells contributes

        15    overall to whether the chi-square test is statistically

        16    significant.

        17    Q      Let's break this down.

        18           So, when we are looking at the race of the driver

        19    as it relates to whether or not they got an arrest,

        20    summons, or citation, and a warning, tell us what you

        21    found in terms of percentages for black drivers on each

        22    three of those possible outcomes.

        23    A      So black drivers were arrested 7.91 percent of the

        24    time, received a summons or citation 20.29 percent of

        25    the time, and a warning 71.8 percent of the time.


                                             JA1310
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                                       Coston - direct                            60


         1    Q     Then tell us the same information for white

         2    drivers.

         3    A     White drivers received -- were arrested

         4    3.39 percent of the time.         They received a summons or

         5    citation 33.05 percent of the time.            And a warning

         6    63.56 percent of the time.

         7    Q     What did the chi-square analysis tell you about --

         8    let's start with the arrest data.

         9    A     Black drivers were arrested more often than would

        10    be expected by chance.

        11    Q     So, were you able -- you made a finding that there

        12    was a weak to moderate, but substantive effect of race

        13    of the driver on the results of the stop; is that

        14    right?

        15    A     Yes.

        16          THE COURT:       On the arrest part of the stop.

        17    BY MS KOENIG:

        18    Q     Yes.

        19    A     The substantive effect is for the relationship

        20    between the outcome and the race of driver.

        21          THE COURT:       Tell me what that means.

        22          THE WITNESS:      Substantive effect means if it is

        23    statistically significant and meaningful, but that it

        24    is a weak relationship.        So it can range anywhere from

        25    very heavily, a very strong relationship between these


                                           JA1311
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                                       Coston - direct                            61


         1    two things, one and the other are almost entirely

         2    related to a weak relationship in which there is a

         3    relationship that exists, but not a terribly strong

         4    one.

         5           THE COURT:      Let me just go back and look at this.

         6    It seems to me if -- that there ought to be a strong

         7    relationship between the race of the driver and the

         8    fact of the stop based on the fact that 77 percent of

         9    the people stopped are black and 14 percent are white.

        10    BY MS KOENIG:

        11    Q      Significant disproportionality; is that right,

        12    Dr. Coston?

        13    A      I think the question that you are asking, though,

        14    is about whether an individual is actually stopped or

        15    not, is that correct?

        16           THE COURT:      No.   You have got two kinds of data

        17    there.    Table one contains in the very top column, this

        18    is a list of everybody that got stopped, right?

        19           THE WITNESS:     Yes.

        20           THE COURT:      So all we are looking at is whether

        21    the police pulled them; is that right?

        22           THE WITNESS:     In that to the left, yes.

        23           THE COURT:      So would you characterize that as a

        24    strong substantive relationship between race and being

        25    stopped?


                                             JA1312
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                                      Coston - direct                              62


         1          THE WITNESS:     I would say that there exists a

         2    significant -- there exists a large disparity here.

         3    With this particular type of data, though, just the

         4    frequency and percents we can't determine statistical

         5    significance.

         6          MS KOENIG:      On that particular question, right?

         7          THE COURT:      Why not?

         8          THE WITNESS:     On table one?

         9          THE COURT:      Yes.     On the first part of table one,

        10    the race of the driver that gets stopped.

        11          THE WITNESS:     Because we would have to, in that

        12    instance we would have to know also what the population

        13    of drivers who were not stopped was.              So we don't know

        14    how many drivers end up, what races were not stopped.

        15          THE COURT:      So, if you had --

        16          THE WITNESS:     We would need that in order to

        17    actually conduct a statistical test.

        18          For that particular item.

        19          THE COURT:      So would you need traffic information

        20    for a particular -- the traffic count for some part of

        21    the road?

        22          THE WITNESS:     Well, we would need to know all the

        23    drivers that were on the road during the same time that

        24    all of these stops occurred.

        25          THE COURT:      Right.     So, if we had one of those


                                             JA1313
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                                        Coston - direct                           63


         1    counters the Virginia Department of Transportation puts

         2    across the road, a little wire, you could figure out

         3    the number of drivers.

         4          THE WITNESS:      We wouldn't know the race those

         5    drivers.

         6          THE COURT:       So you would need to know the drivers

         7    and numbers --

         8          THE WITNESS:      That's correct.

         9          THE COURT:       -- in order to determine that.

        10          MS KOENIG:       That the stops themselves are

        11    statistically significant, right?

        12          THE WITNESS:      Yes.

        13          THE COURT:       Well, why isn't it significant that so

        14    many more African-American people are stopped than

        15    white people?

        16          THE WITNESS:      So in terms of statistical

        17    significance, that is a very specific statistical term.

        18    I do think in the way that the every-day person would

        19    use the word "significant" as being larger in the

        20    courtroom, yes, that 77 percent is a large disparity

        21    and a notable one.

        22          THE COURT:       All right.    Go over then to table two.

        23          Am I correct then that it looks like

        24    African-American people are less likely to get a ticket

        25    than white people?


                                             JA1314
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                                      Coston - direct                             64


         1          THE WITNESS:     Yes.    That's correct in terms of raw

         2    percentages.

         3          THE COURT:      And more likely to get a warning as

         4    opposed to a ticket; is that right?

         5          THE WITNESS:     Yes.

         6          MS KOENIG:      More likely to get arrested?

         7          THE COURT:      And more likely to get arrested.

         8          THE WITNESS:     The summons citations portion of

         9    data was close enough that that could be due to chance.

        10    The difference on both arrests and warnings, though,

        11    was significant or was more notable.

        12    BY MS KOENIG:

        13    Q     Statistically significant?

        14    A     Again, overall table is statistically significant,

        15    we can't talk about the statistical significance of

        16    individual cells.      Only how much they contribute to the

        17    overall model.

        18    Q     Ultimately what you determined was that black

        19    drivers were more likely than white drivers -- or black

        20    drivers were arrested more often and white drivers were

        21    arrested less often than expected by chance?

        22    A     That's correct.

        23    Q     Next I want to look at the search data, which is

        24    displayed on page eight of the report and table three.

        25          So, again, this is relating to searches of persons


                                            JA1315
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         1    and searches of vehicle by race, right?

         2    A     Correct.

         3          THE COURT:      All right.    Let's define what a search

         4    is.   I know what a search of a person is.           For purposes

         5    of this if an officer looks in your car with a

         6    flashlight from outside, is that defined as a search?

         7          THE WITNESS:     The police themselves are the ones

         8    who classified whether they searched the vehicle when

         9    they submitted this data to the Virginia Department of

        10    State Police.

        11          THE COURT:      So we don't know --

        12          THE WITNESS:     This is based on police's own

        13    classification as to whether they searched the vehicle

        14    or a person.

        15          THE COURT:      So we don't know whether this means

        16    somebody just looked in through the windows to see what

        17    is going on inside, or got inside and tossed around

        18    inside the car to see what is in the glove box.

        19    BY MS KOENIG:

        20    Q     We did not get any definitions; is that right,

        21    what police meant when entered the term "search?"

        22    A     No, I did not receive definitions.

        23    Q     What statistical analysis did you do to determine

        24    to if race had any effect on whether Richmond Police

        25    Department officers searched a person or a car involved


                                          JA1316
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                                      Coston - direct                             66


         1    in a traffic stop?

         2    A     I conducted chi-square analysis for this as well.

         3    Q     What did you determine?

         4    A     The results were for both stops of, searches of

         5    person and searches of vehicles were statistically

         6    significant.

         7          THE COURT:      Was it weak or strong significance?

         8          THE WITNESS:     So, in regards to a person being

         9    searched there was weak effect.          And the same is true

        10    for vehicle searches.

        11    BY MS KOENIG:

        12    Q     Now, Dr. Coston, let's talk about sample sizes

        13    versus overall population.        Why do you even do this

        14    statistical analysis with a sample?

        15    A     Okay.   So, essentially samples we can use to

        16    generalize to a larger population of stops.             So,

        17    essentially it is virtually impossible -- well not

        18    virtually impossible -- very, very difficult to account

        19    for an entire population of something.           This is why we

        20    only conduct a census every ten years.           And even then

        21    we are not able to reach every single person in the

        22    United States.

        23          So because we don't know every single instance in

        24    a larger population we can use statistics to generalize

        25    from a particular sample to what occurs in the


                                          JA1317
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         1    population.

         2          When we talk about statistical significance we are

         3    saying that the relationship that exists in our sample

         4    also exists in a larger population.

         5    Q     Meaning that if something is statistically

         6    significant, it has been reliable to extrapolate out to

         7    the population itself.

         8    A     Yes.

         9          THE COURT:      So you would think if something is

        10    statistically significant, then if we look over the

        11    years we would find that 7.91 percent of

        12    African-American people get arrested after car stops.

        13          THE WITNESS:     We wouldn't necessarily find that

        14    exact percentage, but we would likely find that

        15    African-Americans are more likely, still more likely

        16    than chance, to be arrested than whites are during

        17    traffic stops.

        18          THE COURT:      Okay.

        19          MS KOENIG:      So let's look now at table four.

        20          THE COURT:      Before we get to table four, are you

        21    going to discuss Cramer V?

        22          MS KOENIG:      Haven't gotten there yet.        Just about.

        23          THE COURT:      I thought Cramer V was discussed with

        24    respect to a lot of these.

        25    Q     Kendall Tau was related to table four.            Can you


                                            JA1318
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                                      Coston - direct                             68


         1    tell us what Kendall Tau is, Dr. Coston?

         2          THE COURT:      About what?

         3    BY MS KOENIG:

         4    Q     Kendall Tau.     K-E-N-D-A-L-L.         T-A-U, separate

         5    word.

         6    A     Kendall Tau and Cramer V are both statistics that

         7    that are used to calculate strength of a relationship

         8    after conducting chi-square test.

         9          So the differences are largely based on the number

        10    of cells in a table.      But both measure the strength of

        11    a relationship.

        12    Q     Is Kendall Tau and Cramer V, are those typical

        13    tools that you use in your day-to-day professional life

        14    of when you conduct statistical analysis?

        15    A     When I would conduct a chi-square, yes.             Those

        16    measures wouldn't be appropriate go other types of

        17    statistics.

        18          THE COURT:      Dr. Smith says that chi-square is not

        19    an appropriate way to analyze traffic stops.

        20          What do you think about that?

        21    BY MS KOENIG:

        22    Q     You can answer honestly, Dr. Coston.

        23    A     I disagree.      I think given the nature of the data

        24    here that is incorrect.       I disagree with Dr. Smith's

        25    analysis of the data and application of the regression


                                          JA1319
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         1    techniques.

         2          THE COURT:      Okay.   Is he in your department?

         3          THE WITNESS:      No.   But even if he was, I would

         4    would still disagree.

         5          THE COURT:      Still disagree.

         6          If he was chairman of the department would you?

         7          THE WITNESS:      Yes, I would.

         8          THE COURT:      Okay.

         9    BY MS KOENIG:

        10    Q     So tell us, Dr. Coston, about what you found in

        11    table four.

        12    A     So table four looks at the association between

        13    race of driver and the result of the stop for both

        14    traffic stops.        They are traffic violations and also

        15    separately those are equipment violations.

        16    Q     So, it is similar to what was depicted in table

        17    three, it just breaks down the stops into stops that

        18    were based on traffic violations versus stops based on

        19    equipment violations?

        20    A     That's correct.

        21    Q     Okay.   Again, what statistical test or analysis

        22    did you do determine if race had any effect on this

        23    table?

        24    A     Chi-square analysis was conducted.

        25    Q     What did you determine?


                                            JA1320
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                                       Coston - direct                            70


         1    A     That for equipment violations and race of driver

         2    that there is a relationship between those two.

         3    Q     A statistically significant relationship?

         4    A     Yes.

         5          THE COURT:      Let's back up a second.       Kendall Tau

         6    and Cramer V, are these -- is there a number that is,

         7    that is Kendall Tau, like seven or something like

         8    that --

         9    A     So both of these --

        10          THE COURT:      -- or are these techniques you use?

        11          THE WITNESS:     No, essentially these are numbers

        12    that can range from strength of association, ranges

        13    from zero, essentially that would no association

        14    whatsoever; to one or negative one, which would mean

        15    that there was, that these two were completely aligned

        16    with one another.

        17          THE COURT:      When up say "association," is that the

        18    same as relationship like you said earlier?

        19          THE WITNESS:     Yes.

        20          THE COURT:      Okay.

        21          So, how do you figure out what Kendall Tau is?

        22          THE WITNESS:     There is a formula for calculating

        23    either Kendall Tau or Cramer V.

        24          THE COURT:      You can figure these things out at one

        25    point.


                                            JA1321
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                                        Coston - direct                              71


         1           THE WITNESS:      Yes, they figure these things out.

         2    BY MS KOENIG:

         3    Q      So, meaning that it was more likely than, that the

         4    data released black drivers got arrested on equipment

         5    violations at stops more often than white drivers got

         6    arrested less often on equipment violation stops than

         7    expected by chance; is that right?

         8    A      That's correct.

         9    Q      Okay.

        10           THE COURT:       Are you, we have gone an hour and a

        11    half now.      Is this a stopping point?

        12           MS KOENIG:       A natural stopping point, Your Honor.

        13           THE COURT:       Let's take a ten minute beak.           All

        14    right.

        15                            (A recess was taken)

        16    BY MS KOENIG:

        17    Q      Your Honor, I am going to continue with Dr. Coston

        18    now.      Let's turn to the mapping visualization you

        19    created now.

        20           First, start with the cluster map.            What is that?

        21    A      Essentially a cluster map groups together stops

        22    that occurred in close proximity to one another.                 For

        23    this particular cluster map I set that threshold to

        24    five stops in close proximity.

        25    Q      So how did you, and when talking about the cluster


                                            JA1322
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         1    map, looking specifically at figures one and two on

         2    page 89 of the report?

         3    A     That's right.      Figure one presents the individual

         4    stops.    Figure two presents the clustered stops.

         5    Q     Okay.   So let's talk about first, how did you

         6    create these maps?

         7    A     So the coordinates, the latitude longitude

         8    coordinates were imported into R GIF, which is a

         9    geographical information system program.             And plotted

        10    it onto a map.        The Richmond Police precincts were also

        11    overlaid on top of that.         And the precinct maps comes

        12    directly from the City of Richmond geo hub.

        13    Q     If we can pull defense exhibit two up on to the

        14    larger screen.

        15          We talked about this, but we have some interesting

        16    technology in this courtroom that allows to you touch

        17    on screen in front of you.         And to draw on if need be.

        18    You talked about overlaying the map first with the

        19    precinct data.        When we see on the left hand side the

        20    precinct, the blue line, is that what is indicative of

        21    the precinct line?

        22    A     Yes, it is.

        23    Q     So when we see on the left hand side the area that

        24    covers Stratford Hills and West Hampton, is that the

        25    third precinct for Richmond Police Department?


                                           JA1323
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         1    A     Yes.

         2    Q     If we go to the right of that moving clockwise,

         3    and see an area that covers Highland Park, not East

         4    Highland Park, but where it is covered in red dots, is

         5    that the fourth precinct?

         6    A     Yes.

         7    Q     And if we keep moving down clockwise we see an

         8    area that says Church Hill.          Is that the first

         9    precinct?

        10    A     Yes.

        11    Q     If we go one more on the clock we get down to the

        12    south side of Richmond; is that the second precinct?

        13    A     Yes.

        14    Q     And so you overlaid the precinct lines on to the

        15    map itself, right?

        16    A     Yes, that's correct.

        17    Q     Tell us about the dots in figure one.

        18    A     The dots represent individual traffic stops.             And

        19    these are color coded for the race of the driver.              Red

        20    dots indicating black drivers, and blue dots indicating

        21    white drivers.        Purple Asian.    And orange, yellow and

        22    orange, native American.         And those are also mapped

        23    individually.

        24    Q     On this map what does the green mean?

        25    A     Green is drivers of unknown race.


                                           JA1324
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         1    Q     Meaning the data was just not recorded?

         2    A     I am not sure.    I believe that the officers could

         3    probably record unknown.       There were some instances in

         4    which there was, that field was entirely blank, so

         5    unknown I believe is the officer recording it was

         6    unknown versus just not submitting that data.

         7    Q     Okay.   So tell us why you created this map in

         8    figure one.

         9    A     So, the map in figure one, again, represents

        10    individual stops.     It helps us get a sense of the kind

        11    of overall spread of those stops and where they

        12    occurred in Richmond.

        13    Q     And what does this map show us about whether black

        14    and white drivers are stopped in Richmond?

        15    A     So, I think that is actually a little bit easier

        16    to see on the cluster map itself.

        17    Q     Okay.

        18    A     But essentially this shows the disbursement of

        19    drivers of multiple races, and we can see to some

        20    degree in this first map that the blue dots are kind of

        21    randomly disbursed across the map whereas we do see

        22    higher concentrations of red dots.

        23    Q     Let's move then to figure two.

        24          When you talk about clusters you said you set the

        25    threshold for a cluster at five?


                                         JA1325
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                                     Coston - direct                              75


         1    A      Yes.

         2    Q      So any dot we see on figure two does that mean

         3    there were at least five stops at that particular race

         4    at that area?

         5    A      Yes.   And larger dots indicate more stops in close

         6    geographic proximity to one another.          So smaller dots

         7    would be closer to five, and more dots would be more

         8    than that.    Or bigger dots would be more than that.

         9    Q      So what does this visualization help us see?

        10    A      So I think it illustrated here that we do see

        11    clusters of stops of black drivers in all of the

        12    precincts, but really only see clusters of white

        13    drivers stopped in the third precinct.

        14    Q      I want to draw your attention now to what has

        15    already been admitted as exhibit R-2 in this case.

        16           Are you familiar with the University of Virginia

        17    Weldon Copper Center for Public Services racial dot

        18    map?

        19    A      Yes.

        20    Q      Was that program analyzing the census data from

        21    2010?

        22    A      Yes.

        23    Q      Did the Center plot each reported race of the

        24    individuals that were counted in the 2010 census and

        25    create maples of that effect?


                                         JA1326
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                                      Coston - direct                             76


         1    A     Yes.

         2    Q     Does so in R-2 we can see here that in this map

         3    white persons are depicted in blue dots, right?

         4    A     That's correct.

         5    Q     And black people are depicted in green dots,

         6    right?

         7    A     Yes.

         8    Q     Okay.

         9          So if we were to look at the left hand side of the

        10    map, is that consistent with what we see in the third

        11    precinct?

        12    A     Yes.

        13    Q     Then moving around the fourth, first, and second,

        14    we see that we would have more green dots in the, far

        15    more green dots in the fourth, second and first

        16    precincts; is that correct?

        17    A     Yes, that's correct.

        18    Q     Okay.

        19          THE COURT:      Well, go back to that --

        20          MS KOENIG:      Yes, Your Honor?

        21          THE COURT:      -- for a second.

        22          Does this include only -- is this area in the City

        23    of Richmond?

        24          MS KOENIG:      This map is not.        Just limited to the

        25    precincts.


                                          JA1327
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                                       Coston - direct                            77


         1          THE COURT:      That is what I thought.

         2    BY MS KOENIG:

         3    Q     Is that right, Dr. Coston?

         4    A     This is not limited to only the precinct, no.

         5    Q     Okay.

         6          THE COURT:      Limited only to the City?

         7          MS KOENIG:      Correct.

         8          THE WITNESS:      Some of this is in Henrico and

         9    Chesterfield, looks like.

        10          MS KOENIG:      Correct.

        11    BY MS KOENIG:

        12    Q     So let's go back to figure two.

        13          I started, I was interrupting you about what you

        14    could tell in terms of the, what this information

        15    visually tells us about where people of different races

        16    are stopped in the City of Richmond?

        17    A     So black drivers are stopped in all precincts.

        18    Black drivers are stopped in clusters in predominantly

        19    white neighborhoods.       Also in predominantly black

        20    neighborhoods.        And predominantly Hispanic.        White

        21    drivers cluster only in neighborhoods predominantly

        22    white.

        23    Q     Meaning precinct neighborhoods?

        24    A     Correct.

        25    Q     Now, let's turn to figure three.           You have


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         1    discussed the heat map.         What is a heat map?

         2    A     So heat maps essentially display the density of

         3    traffic stops.         So, instead of looking at the

         4    individual dots and also not clusters, these heat maps

         5    allow us to look at the overall spread as well as the

         6    density.     So the bright yellow and red areas indicating

         7    higher densities of stops.

         8    Q     Okay.

         9          THE COURT:       Hold on.    I was writing something down

        10    and missed part of that.

        11          Ask the question again.

        12          THE WITNESS:       So that heat maps allow us to look

        13    at both the overall spread of the stops, and also areas

        14    of increased density.         So that areas in the bright

        15    yellow, oranges and reds are higher density, while the

        16    blue areas are lower density.

        17    BY MS KOENIG:

        18    Q     So if we look at figure three, what does figure

        19    three depict for us?

        20    A     So the interesting feature of figure three is the

        21    areas of high density concentration.             We see one over

        22    on the south side.        Kind of close to the James River

        23    Park.     We also see one in central Richmond.            And then

        24    one just north, slightly north of Church Hill.

        25    Q     Figure three is the heat map or the density of


                                            JA1329
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         1    traffic stop of black drivers?

         2    A     That's correct.

         3    Q     And then if we look at figure four, what is figure

         4    four showing us?

         5    A     That is the heat map of density of stops of white

         6    drivers.    And here we really only see one of those very

         7    high density points.       Again --

         8          THE COURT:       Same place that there is a high

         9    density of blank drivers.

        10          THE WITNESS:      Those are similar, yes.

        11    Q     And so --

        12          THE COURT:       Go ahead.

        13    Q     What can, what does this visualization tell us

        14    about the density of where stops are happening in

        15    Richmond of white drivers?

        16    A     Well, that particular set of stops, if we look at

        17    the map that overlays; this number one occurs in the

        18    third district, primarily white district.             Whereas when

        19    we compare it to the map of high density stops of black

        20    drivers, those occur in multiple precincts.              Relatively

        21    white.

        22    Q     Is the overall density of white drivers more

        23    disperse throughout all parts of Richmond?

        24    A     Yes, it is.

        25    Q     Let's look now at figure five.           Tell us just how


                                           JA1330
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         1    you created figure five.

         2    A     So figure five overlays the heat map showing stops

         3    of black drivers with the racial demographics of the

         4    City from the most recent American Community survey.

         5    Q     What is the American Community Survey?

         6    A     It is used to supplement census data.             Because we

         7    only take census every ten years, population shifts

         8    during that ten-year time period.             The American

         9    Community Survey includes information that updates much

        10    of that information, and also provides additional

        11    information above and beyond census takes, because that

        12    is limited.    But essentially this provides us with more

        13    accurate data about the change in racial composition

        14    versus using, for example, the 2010 census information.

        15    Q     The data that you pull from American Community

        16    Survey, what were the years for that data?

        17    A     I believe that is 2015 to 2019.

        18    Q     Would looking at your report help refresh your

        19    recollection?

        20    A     Yes.   Yes.     2015 to 2019.     That is correct.

        21    Q     And who conducts the American Community Survey?

        22    A     The American Community Survey is conducted --

        23    Q     Does the Census Bureau do it, or some other

        24    organization do it?

        25    A     It is under the Census Bureau, it is a supplement


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         1    to the census.

         2    Q     Okay.

         3          Basically you don't want to wait for another ten

         4    years to see what is happening in the population.            So

         5    they go out and do these smaller samples to get data

         6    that they generate, right?

         7    A     That's correct.

         8    Q     So, when you got the American Community Survey

         9    data, what does that show us on figure five?            How did

        10    you plot that data?

        11    A     So this is a graphical overlay.         The Census Bureau

        12    has available maps on R GIF's data hub that are

        13    publicly accessible.      So I overlaid their Community

        14    Survey racial demographics over the map that also have

        15    the heat map.     And precinct map.      So what we see is

        16    that the brown sections are predominantly non Hispanic,

        17    white; the yellow sections are predominantly black; and

        18    the blue sections, which are a little bit harder to see

        19    here given the coloring, unfortunately you can't alter

        20    much of the coloring because these are thermos; is

        21    predominantly Hispanic or Latino.

        22    Q     And so when you were looking at this information

        23    you have used worry "dominantly," right, in how you

        24    phrase this.    When we look at the UVA racial dot map,

        25    that shows us it is really more than predominant,


                                         JA1332
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                                     Coston - direct                              82


         1    right?    That the west end of town in Richmond is almost

         2    entirely white families, right?

         3    A     That's correct.

         4    Q     And the other parts of town almost entirely black

         5    with some areas of latino families, right?

         6    A     Yes.    And you see it is difficult to see the

         7    predominance on the map, the colors are slightly darker

         8    for the racial categories when they are more

         9    predominant, but, yes, these are largely segregated

        10    neighborhoods.

        11    Q     Okay.

        12          So tell us what we see in terms of the high

        13    density areas as it relates at high density area as

        14    relates to the south, the south of the river near

        15    Janhke Road in the third precinct.

        16    A     This is, this is an area of, high area of density

        17    for stops.    And what we see is that most of the density

        18    occurs in what is a predominantly white area of town,

        19    but also overlaps so where a predominantly white and

        20    predominantly black area of town butt up against each

        21    other.

        22    Q     So if we compare the cluster map that you

        23    generated in figure two --

        24    A     We are looking at this cluster.

        25    Q     -- so we see red dot there, right?


                                         JA1333
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                                       Coston - direct                            83


         1    A     Yes, predominantly red dots, even though that is a

         2    higher density area or white drivers there is no

         3    corresponding cluster of white drivers there.

         4          THE COURT:       Well, there is.

         5          THE WITNESS:      Higher density, but there is --

         6          THE COURT:       If you look at figure two.

         7          MS KOENIG:       Figure four, Your Honor?

         8          THE COURT:       Yes, figure four.       There is a cluster

         9    there of white drivers as well.

        10          THE WITNESS:      It is higher density, but it is not

        11    the same, it's not a cluster larger than five.

        12          THE COURT:       But it is -- the heat map shows that

        13    there is a --

        14          THE WITNESS:      The heat map doesn't indicate the

        15    number, but the cluster does.

        16    BY MS KOENIG:

        17    Q     Tell us a little more specifically about that.           We

        18    have got --

        19          THE COURT:       It's not -- there is not a white

        20    cluster.    So where that is is where the Boulevard

        21    intersects Jahnke Road, which is an area that is, as

        22    you pointed out, area where there is a large black

        23    population bordering a white population.

        24          THE WITNESS:      Correct.

        25    BY MS KOENIG:


                                           JA1334
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                                      Coston - direct                               84


         1    Q     So, just to make sure I am clear.           So it is not

         2    that there were no white drivers that were stopped in

         3    that area, just that it wasn't enough no generate

         4    cluster dots, unlike the black drivers that were

         5    stopped in that area?

         6    A     That's correct.

         7    Q     All right.

         8          Let's go back to figure five.           Let's look at the

         9    high density area of stops that is in the fourth

        10    precinct north of downtown.

        11          THE COURT:      Can you get that purple thing off

        12    that, Wendy?

        13          All right.      Thank you.

        14    BY MS KOENIG:

        15    Q     Circle the area I am talking about, Dr. Coston.

        16    A     Could you repeat that?

        17    Q     High density area of stops that we see that is in

        18    the fourth precinct a little north of downtown.                Tell

        19    us about that area.

        20    A     So, again, this is area in which we see

        21    predominantly black neighborhood butting up against a

        22    predominantly white neighborhood.             And both high

        23    density of stopped of black drivers as well as cluster

        24    of black drivers contained there.

        25    Q     So let's compare that area of figure five to the


                                          JA1335
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                                      Coston - direct                             85


         1    cluster area in figure two.

         2    A     Which would be right here.

         3    Q     Circling for the record essentially the lowest

         4    large cluster dot in the fourth precinct?

         5    A     That is correct.

         6    Q     Okay.

         7          Do you ever --

         8          THE COURT:      Do you know what street that is?

         9    Approximately what intersection that is?

        10          THE WITNESS:     This would be near the Jackson Ward

        11    Leigh Street area.

        12          THE COURT:      Okay.

        13    BY MS KOENIG:

        14    Q     Going back to figure five again, Dr. Coston, do we

        15    see that that area of high density of stops of black

        16    drivers happened in an area where there is a white

        17    neighborhood that abuts a black neighborhood?

        18    A     Yes.

        19    Q     Dr. Coston, have other academics used similar

        20    tools, cluster maps and heat maps to visualize data

        21    when studying racial profiling?

        22    A     Yes, they have.

        23    Q     I am gong to show you if can look in the folder

        24    what has been marked defendant's exhibit four.

        25          Your Honor, there had been previously submitted in


                                            JA1336
USCA4 Appeal: 24-4201    Doc: 22-4       Filed: 09/04/2024   Pg: 100 of 406


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                                       Coston - direct                            86


         1    the case as ECF number 72.          Exhibit K.

         2          Is this an article, Dr. Coston, in which the

         3    accuracy in this article used similar source of

         4    mapping?

         5    A     Yes.

         6    Q     I want to show you what has been marked as exhibit

         7    five.     If you could turn to that one in your book.

         8    Again, defense exhibit five, which, Your Honor, has

         9    already been submitted as ECF number 72, exhibit N.

        10          Is that another example of when accuracy used

        11    similar source of mapping in similar studies?

        12    A     Yes.

        13          THE COURT:       All right.    Exhibit four and five are

        14    admitted.

        15          Do either of these use the chi-square technique?

        16          THE WITNESS:      No, that is a separate technique.

        17          THE COURT:       Okay.

        18    BY MS KOENIG:

        19    Q     Dr. Coston, I want to talk to you about, you are

        20    not the only person to find disproportionate effects of

        21    black drivers in Richmond; is that right?

        22    A     That is correct.

        23    Q     Let's take a look at a few other analyses of the

        24    relationship between race and training stops in

        25    Richmond.     First I want to turn your attention to


                                             JA1337
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                                      Coston - direct                             87


         1    defendant's exhibits exhibit six, which, Your Honor, is

         2    I think the same as Government's exhibit one.

         3          Dr. Coston, have you specifically learned about

         4    Virginia's Department of Criminal Justice Services

         5    which analyze similar data was presented to you in this

         6    case?

         7    A     Yes.

         8          THE COURT:      And government has moved for exhibit,

         9    or offered exhibit six as an exhibit as well.

        10          MS KOENIG:      I think it as Government's exhibit

        11    one, Your Honor, that has already been submitted in

        12    this case as ECF 72, exhibit G, just to keep things in

        13    order.

        14    BY MS KOENIG:

        15    Q     So the Department of Criminal Justice Services

        16    produced a report about the amount they conducted,

        17    right?

        18    A     Yes.

        19    Q     The report was overall state-wide data generally,

        20    right?

        21    A     Yes.   Census data out by localities as well.

        22    Q     Then, as you said, specific information from

        23    localities that were submitted, right?

        24    A     Yes.

        25    Q     So let's take a look at page 58 here.


                                          JA1338
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                                       Coston - direct                             88


         1          THE COURT:       Page 58?

         2          MS KOENIG:       Your Honor, I have a different, in

         3    order for me to pull it up on the PDF it is a different

         4    page, but when you look at the pagination that is

         5    native to the document it is page 58.

         6          THE COURT:       Okay.   On the map.     Got it.

         7    BY MS KOENIG:

         8    Q     All right.

         9          So, Dr. Coston, what does this information on page

        10    58 tell about what the Department found in terms of

        11    Richmond and drivers being stopped by the Richmond

        12    Police Department?

        13    A     So, it showed moderate over-representation of

        14    black drivers and no over-representation of white

        15    drivers.

        16    Q     Let's look at the next page, page 59.             What does

        17    this information on native page 59 tell us about what

        18    the Department found in terms of Richmond?

        19    A     Again, moderate over-representation of black

        20    drivers and no over-representation of while drivers.

        21    Q     Then look at page 60 of this report.            What did the

        22    Department find in terms of Richmond on this page?

        23    A     Moderate over-representation of black drivers and

        24    no over-representation of white drivers.

        25    Q     Okay.


                                             JA1339
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                                      Coston - direct                             89


         1          Now, on the left hand side of each of those maps

         2    where it has the colors that represent the level of

         3    over-representation in the parenthesis we see something

         4    that says DI, right?

         5    A     Yes.

         6    Q     Is DI a statistical tool you would use in your

         7    normal day-to-day career?

         8    A     No.    DI stands for disparity index, and this was

         9    something that they created within the Department to

        10    represent the level of disparity in terms of

        11    representation in the population, essentially.

        12    Q     So it wasn't a statistical tool, right, that you

        13    would use in your expert analysis?

        14    A     No, this is not a tool that I would use.

        15    Q     But ultimately what they found, the findings are

        16    similar to what you found in terms of your statistical

        17    significance analysis?

        18    A     Yes, they still found there were disparities.

        19    Each of these in terms of arrests of drivers, searches

        20    of drivers, and stops of drivers all indicate moderate

        21    disparities for black drivers and no

        22    over-representation of white drivers.

        23    Q     Dr. Coston, you had also helped the Richmond

        24    transparency, transparency and accountability project

        25    in 2018 analyze data that it had obtained from the


                                         JA1340
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                                      Coston - direct                             90


         1    Richmond Police Department, right?

         2    A     That's correct.

         3    Q     That group is commonly referred to as R TAP?

         4    A     Yes.

         5    Q     Did R TAP produce a report about that analysis?

         6    A     Yes, they did.

         7    Q     Look at what has been marked defendant's exhibit

         8    16.

         9          Do you recognize this defendant's exhibit 16 as R

        10    TAP report from 2018?

        11    A     Yes, I do.

        12          MS KOENIG:      Your Honor, I move to admit

        13    defendant's exhibit 16.

        14          THE COURT:      Admitted.

        15    BY MS KOENIG:

        16    Q     Specifically let's take a look at page 11 of that

        17    report.   In the R TAP analysis did you make any

        18    findings about traffic arrests of black people in

        19    Richmond?

        20    A     Yes.

        21          For the time period under investigation,

        22    January 2017 to October 2018, black people accounted

        23    for 75 percent of all traffic arrests or arrests from

        24    traffic stops.

        25    Q     So what did that mean in terms of the likelihood


                                          JA1341
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                                       Coston - direct                            91


         1    that black people were going to be arrested during the

         2    traffic stop?

         3    A     Black people were 31 percent more likely than

         4    white people.

         5    Q     Now, as part of your work in this case you have

         6    reviewed some materials that Dr. Michael Smith, the

         7    government's expert, prepared, right?

         8    A     That's correct.

         9    Q     I want to first draw your attention to defendant's

        10    exhibit seven.        Did Dr. Smith write an article about a

        11    traffic study or traffic stop study that he conducted

        12    from February 14 of 2000 to March 31 of 2000?

        13    A     Yes.

        14    Q     Is that what is reflected in exhibit seven?

        15    A     Yes.

        16          MS KOENIG:      Your Honor, I move for admission.

        17          THE COURT:      Admitted.

        18    BY MS KOENIG:

        19    Q     So, specifically, let's look at page 12 as it is

        20    paginated in the article.

        21          What did Dr. Smith find in his 2001 article based

        22    on the 2000 data in terms of the percentage of traffic

        23    strops conducted by race?

        24    A     White drivers accounted for 32.1 percent of all

        25    stops, and black drivers accounted for 64.2 percent.


                                           JA1342
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                                     Coston - direct                              92


         1    Q     Now, the analysis that Dr. Smith did was of a

         2    different set of data than we had access to, right?

         3    A     That's correct.

         4    Q     And was Dr. Smith's study conducted in conjunction

         5    with cooperation with the Richmond Police Department?

         6    A     Yes.

         7    Q     Meaning that he was able to work with them to set

         8    the variables of the data to be collected; is that

         9    right?

        10    A     I wouldn't be personally privy to the extent of

        11    his involvement in that process.

        12    Q     Certainly had a larger scope of variables than

        13    what we had access to in this case?

        14    A     I only had access to what was collected by someone

        15    else, yes.    Whereas in a jointly prepared study you

        16    would likely have more access or access to decide what

        17    variables were included.

        18    Q     For example, in this case Dr. Smith had

        19    information about the officer's age, or the officer's

        20    race, different things like that, right?

        21    A     Yes, that is correct.

        22    Q     So, Dr. Smith's report discusses using a

        23    multivariate regression analysis?

        24    A     Yes.

        25    Q     We talked about what that is already.           Tell us


                                         JA1343
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                                       Coston - direct                            93


         1    more about what happened in the regression analysis in

         2    this case.    In this study.

         3    A     Well, Dr. Smith conducted more than a regression

         4    analysis in this study.        So it depends which one you

         5    are referring to.

         6    Q     Did he do one specifically about -- well, how did

         7    he use race of the driver in this case?

         8    A     So, in the first regression analysis this

         9    presented essentially race was included as the

        10    dependent variable rather than one of many independent

        11    variables.    So this is part of the reason when you

        12    asked whether I agreed with Dr. Smith, race is almost

        13    never used as a dependent variable.

        14    Q     Why?

        15    A     It is almost always used as an independent

        16    variable.

        17          THE COURT:      Let's pretend I don't know the

        18    difference.

        19          THE WITNESS:     Sure.    So usually when we are

        20    talking about dependent variables we are talking about

        21    an outcome.

        22          Independent variables are things that are used to

        23    predict the particular outcome.

        24          Well, race isn't really an outcome that you are

        25    trying to predict.      And so, yes, he frames it in terms


                                          JA1344
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                                      Coston - direct                             94


         1    of predicting the race of the driver stopped, but most

         2    regression analyses would not do that.          They would

         3    include race as an independent variable looking at, for

         4    example, what the outcome of the stop was, whether

         5    people received a summons or a vio -- a summons or were

         6    arrested or a warning similar to the data I looked at.

         7    BY MS KOENIG:

         8    Q     Well, so because you talked about earlier in your

         9    testimony, it was not, you who would not have been able

        10    to produce reliable data if you had done a regression

        11    analysis, right?

        12    A     That's correct.

        13    Q     So does that mean in your finding showing various

        14    pieces of data that we talked about already are

        15    statistically significant, does that mean that your

        16    findings are less valid because of that?

        17    A     No.    My findings are less valid.

        18    Q     Okay.     That is what I mean, because you had to use

        19    the chi-square analysis as opposed to the regression

        20    analysis?

        21    A     So all of these statistical tests are equally

        22    valid if they are conducted in accordance with the

        23    rules for conducting them.       So, multiple different

        24    types of tests actually might be used to come to

        25    similar results given different types of data.


                                         JA1345
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                                        Coston - direct                           95


         1          So, the validity of a test is really -- what you

         2    are asking about is whether it was appropriate to the

         3    data and whether when you model that, for example, by

         4    choosing what variables go into a regression that you

         5    are doing that appropriately.           Just because you can

         6    make race the dependent variable doesn't mean you

         7    should make race the dependent variable.

         8    Q     I want to talk with now about benchmarking.

         9          What is benchmarking?

        10    A     So, benchmarking is essentially a means of

        11    determining, okay, what are we making this in

        12    comparison to.         So, for example, are we comparing when

        13    looking at drivers, we can't know the entire population

        14    of drivers without observing every single driver that

        15    has driven in the City of Richmond at any given point

        16    in time.     So therefore we have to use benchmarks to

        17    infer about the larger population of drivers.

        18    Q     And so Dr. Smith has -- what's the benchmark you

        19    used again?

        20    A     So the benchmark is the American Community Survey

        21    data.     That is the supplement to census data.

        22    Q     So the census projection data, right?

        23    A     Yes.

        24    Q     And so Dr. Smith had suggested in his review of

        25    your work that you could have done other forms of


                                            JA1346
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                                         Coston - direct                          96


         1    benchmarking in this case.          For one he suggests you

         2    could have done direct field observation.              Is that

         3    true?     Could you have done direct field observation at

         4    the relevant times in this case?

         5    A     No.    Because we can't go back in time to observe

         6    all of those stops.

         7    Q     And even if you could, are there very many direct

         8    field observations that are done in cases like this?

         9    A     No.    They tend to be cost prohibitive.

        10    Q     Dr. Smith also suggests that you could have done a

        11    veil of darkness survey.          What is a veil of darkness

        12    analysis?

        13    A     So the veil of darkness proposes that when

        14    officers can't see the race of a driver, when it is

        15    dark outside, the racial disparities would be

        16    eliminated because officer bias can't present itself in

        17    the equation.       That type of analysis couldn't be done

        18    because there was no time stamp data on the data that

        19    was provided.

        20    Q     Had we received time stamp data, in theory that

        21    could have been done, right?

        22    A     Yes.

        23    Q     But we did not have that data?

        24    A     No.

        25          THE COURT:        H Low would you get that data?


                                            JA1347
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                                       Coston - direct                            97


         1    BY MS KOENIG:

         2    Q     Would we have gotten that gotten data if the

         3    Police Department had given us potentially reports for

         4    individual stops?

         5    A     Yes.     I believe that was the data that was

         6    actually requested from them that they declined to

         7    provide.

         8    Q     Dr. Smith also suggests that you could have done a

         9    crash data analysis.      That is a benchmarking tool that

        10    he helped create; is that right?          Or form?

        11    A     Yes.     That is another type of benchmarking

        12    analysis.

        13    Q     Did you have crash data to be able to utilize for

        14    analysis in this case?

        15    A     No.

        16    Q     So, ultimately you said you used the American

        17    Community Survey data, which is census data as the

        18    benchmark; is that right?

        19    A     Yes.

        20    Q     And --

        21    A     And census benchmarking is very common in studies

        22    of traffic stops.       In fact, Dr. Smith uses census

        23    benchmarking in the 2001 study.

        24    Q     So did the Department of Criminal Justice Services

        25    in analyzing the Virginity, excuse me, the Virginia


                                          JA1348
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         1    Community Policing Act data in defendant's exhibit six?

         2    Right?

         3    A     Yes.     The Department of Criminal Justice Services

         4    also used census benchmarking.

         5    Q     Let's take a look at defendant's exhibit eight.

         6          Dr. Coston, do you recognize defendant's exhibit

         7    eight as an article where academics were studying the

         8    New York City Police Department stop and frisk policy

         9    in 2015?

        10    A     Yes.

        11    Q     Did this, did the -- Your Honor, that has already

        12    been submitted as ECF 72, exhibit J, in this case.

        13          THE COURT:        All right.    That doesn't put it in

        14    evidence.

        15    BY MS KOENIG:

        16    Q     I do.

        17          But the academics in this article, Dr. Coston, did

        18    they also use census data as benchmark for their study?

        19    A     Yes, they used the American Community Survey

        20    projections based on census.

        21          THE COURT:        All right, admitted.

        22    BY MS KOENIG:

        23    Q     Is any benchmark perfect?

        24    A     No.

        25    Q     And is census data in your experience widely


                                            JA1349
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         1    utilized in academic studies as a benchmark?

         2    A     Yes.

         3          THE COURT:      Well, I guess it could be a more

         4    accurate benchmark in some areas than others, right?

         5    Census data doesn't really tell you everything that

         6    about who is on the road.        It might tell you everybody

         7    about who is living on a particular set of blocks,

         8    right?

         9          THE WITNESS:     That's correct.        But, the other

        10    types of benchmarking we have don't tell us exactly who

        11    is on the road --

        12          THE COURT:      Well --

        13          THE WITNESS:     -- at all times, either.

        14          THE COURT:      Well, other than parking a student out

        15    there and monitoring all the traffic could tell you

        16    that.

        17          THE WITNESS:     Right.    But we would also have to be

        18    at all of these locations simultaneously, which is why

        19    direct observation isn't typically used.

        20    BY MS KOENIG:

        21    Q     Dr. Coston, at the end of the day did you have an

        22    opinion or a finding, did you make findings about what

        23    the data showed in this case?

        24    A     Yes, I did.

        25          Based on the analysis of available data, and the


                                          JA1350
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                                        Coston - cross                           100


         1    statistically significant findings about black drivers

         2    being disadvantaged across multiple aspects of these

         3    stops ranging from arrests to searches, et cetera, in

         4    terms of traffic stops there are disparate impacts of

         5    policing on black people who are stopped in Richmond.

         6          MS KOENIG:       No further questions, Your Honor.

         7          The government will probably have some questions

         8    for you.

         9          THE WITNESS:      Okay.

        10          THE COURT:       Probably will.

        11          All right.       Cross examination?

        12          MR. GIBBONS:      I do have cross examination, yes.

        13          THE COURT:       Mr. Shea, let's hear from you.

        14          Did you introduce all the exhibits you wanted to?

        15                            CROSS EXAMINATION

        16          MS KOENIG:       Yes, Your Honor.

        17          MR. GIBBONS:      Your Honor, between me and him I am

        18    not sure Mr. Seibert understood the statistics well

        19    enough to --

        20          THE COURT:       Well, Mr. Seibert and I are in the

        21    same boat on this.

        22          Go ahead, Mr. Shea.

        23          MR. GIBBONS:      Let me make one note, Your Honor, so

        24    I make sure to come back to it.

        25          THE COURT:       How long do you think cross will take?


                                           JA1351
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                                        Coston - cross                           101


         1          MR. SIEBERT:      Might take us to 5:00 o'clock, Your

         2    Honor.

         3          THE COURT:       Okay.   Well, the question I meant to

         4    ask -- sorry -- you are not Mr. Shea, you are Mr.

         5    Gibbons.    Sorry.

         6          That was my fault.

         7          Shea is the first name.

         8          One question I meant to ask him.           First of all,

         9    Dr --

        10          THE WITNESS:      Coston.

        11          THE COURT:       -- Coston, are you being paid?

        12          THE WITNESS:      Yes.

        13          THE COURT:       And what is your compensation for

        14    testifying?

        15          THE WITNESS:      $150 per hour.

        16          THE COURT:       Is that the same compensation for

        17    preparation for testimony?

        18          THE WITNESS:      Yes.

        19          THE COURT:       Okay.

        20          How much have you billed so far in the case?

        21          THE WITNESS:      I am not certain the exact number.

        22    I only submitted a bill for producing the report.

        23          THE COURT:       How much did you bill for producing

        24    the report?

        25          THE WITNESS:      That was 40 hours.


                                             JA1352
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                                       Coston - cross                            102


         1          THE COURT:      So that was roughly $60,000.

         2          THE WITNESS:     No, not, 60.      6,000.

         3          THE COURT:      Sorry.

         4          THE WITNESS:     Yes.

         5          THE COURT:      That is why I am not a statistician.

         6    6,000 to produce the report.         And then you spent time

         7    getting ready for today?

         8          And have you testified in the past?

         9          THE WITNESS:     No, I have not.

        10          THE COURT:      Ever been recognized as an expert

        11    before?

        12          THE WITNESS:     Yes.     Not by a court.

        13          THE COURT:      Okay.

        14          THE WITNESS:     I am an expert advisor to the Bureau

        15    of Justice Statistics.

        16          THE COURT:      What is the Bureau of Justice?

        17          THE WITNESS:     Bureau of Justice of Statistics

        18    maintains all the statistics for the Bureau of Justice.

        19    So, uniform crime reports, national crime victimization

        20    survey, national data collection related to issues

        21    of --

        22          THE COURT:      Is the Bureau of Justice some kind of

        23    government agency?

        24          THE WITNESS:     Yes.     Federal agency.

        25          THE COURT:      Is that like a Department of Justice?


                                             JA1353
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                                       Coston - cross                            103


         1          THE WITNESS:     Yes.

         2          THE COURT:      Okay.

         3          THE WITNESS:     Bureau of Justice Statistics is

         4    associated --

         5          THE COURT:      Part of the Justice Department?

         6          THE WITNESS:     Yes.

         7          THE COURT:      And you are what with them?

         8          THE WITNESS:     I am an expert advisor to them of

         9    their statistics and data collection.

        10          THE COURT:      Great.    Thank you.

        11          Go ahead.

        12          So sorry to foul up your name.

        13          MR. GIBBONS:     That is quite all right, Your Honor.

        14          THE COURT:      Good thing I didn't call you Seibert.

        15          MR. GIBBONS:     It would have been an insult, Your

        16    Honor?

        17          THE COURT:      No, it wouldn't.        He is a terrific

        18    lawyer.

        19    BY MR. GIBBONS:

        20    Q     Dr. Coston, are you aware of the time line from

        21    the passage of the Community Policing Act until the

        22    effective date of the act?

        23    A     I am aware it was a short period of time, yes.

        24    Q     About 11 weeks, correct?

        25    A     I would say that is about accurate.


                                             JA1354
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                                        Coston - cross                           104


         1    Q     So is it fair to say that only having 11 weeks

         2    from finding out about a data collection requirement

         3    until actually being forced to collect data is not

         4    ideal?

         5    A     Probably not ideal, but I don't know how the

         6    implementation for that program exactly rolled out.

         7    Q     Are you aware that data collection under the

         8    Community Policing act was an unfunded mandate for RPD?

         9    A     Yes.

        10    Q     This data collection was mandated in the early

        11    days of the COVID 19 panic?

        12    A     Yes.

        13    Q     During the time that RPD was attempting to comply

        14    with this Community Policing Act without any additional

        15    money, there was significant civil unrest in Richmond?

        16    A     That is, for a portion of that time, yes.

        17    Q     RPD went through three police chiefs in three

        18    weeks during that time?

        19    A     Yes.

        20    Q     RPD was stretched particularly thin during the

        21    summer of 2020 when the Community Policing Act became

        22    effective?

        23          THE COURT:       Well, how do you mean that, stretched

        24    thin?     Because they were trying to do all of the BLM

        25    demonstrations and deal with all that?


                                           JA1355
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                                       Coston - cross                            105


         1          MR. GIBBONS:     Yes, Your Honor.

         2          THE COURT:      So you are familiar with the fact that

         3    were BLM demonstrations and the police department had

         4    to respond to those, right?

         5          THE WITNESS:     Yes.    I don't know how I would

         6    qualify spread thin at that point in time compared to

         7    now given that amount of mandatory overtime that police

         8    are still working now.

         9          THE COURT:      All right.

        10    BY MR. GIBBONS:

        11    Q     I will move on, Your Honor.

        12          Have you been involved in large data collection

        13    projects?

        14    A     Yes.

        15    Q     In a new data collection project it would be ideal

        16    to have training for collecting data before they start

        17    collecting the data?

        18    A     It depends on how complicated the data collection

        19    is, but generally, yes.

        20    Q     Would you classify data collection under the

        21    Community Policing Act as complex?

        22    A     In this instance, no.

        23          The Richmond Police Department was already

        24    collecting this type of data for their own internal

        25    records prior to this.


                                            JA1356
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                                     Coston - cross                              106


         1    Q     There was nothing different about the Community

         2    Police data collection that differed from prior data

         3    collection efforts?

         4    A     There are some differences, but based on the data

         5    that they were collecting, the items of information

         6    they were collecting, it was largely similar.           I don't

         7    know that retraining would be incrementally difficult

         8    even in a short time frame.

         9    Q     And you are not aware of any training for those

        10    RPD officials that were responsible for data

        11    collection?

        12    A     I am aware that the Department of Criminal Justice

        13    Services provided training to departments at some point

        14    in time.    But that wasn't rolled out until after the

        15    beginning of data collection.

        16    Q     So it was some time after the traffic stop

        17    involving Mr. Moore?

        18    A     I am not sure exactly when the Richmond Police

        19    Department received that training.          I am aware that

        20    they didn't roll out training until after data

        21    collection began, but I don't know if that training

        22    occurred prior to or after the stop in question.

        23    Q     One of the benefits of training for those doing

        24    data collection is it creates consistency among the

        25    data collectors so the data is more reliable.           Is that


                                         JA1357
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                                        Coston - cross                           107


         1    correct?

         2    A      That's correct.

         3    Q      And not having consistent data entry procedures

         4    can lead to inconsistent data?

         5    A      That is possible.

         6    Q      And it is a serious problem if not all of the data

         7    is collected, if some don't collect data at all?

         8    A      I'm sorry.      Could you repeat that?

         9    Q      It is a serious problem if some people, some of

        10    the data collectors, simply fail to collect any data at

        11    all?

        12    A      I don't know if I would qualify that as a serious

        13    problem.    It depends on the extent of the data that is

        14    omitted, what its impact is on the overall quality of

        15    the data.

        16    Q      So, for example, if officers in the third precinct

        17    have a leader that doesn't believe in the validity of

        18    the Community Policing Act, for example, and they don't

        19    collect data in the third precinct for a portion of the

        20    period, then that could skew the results?

        21    A      If no one in a particular district collected data

        22    for the entire time?       Yes, that would be a problem.

        23    Q      Even if they were disproportionate at rates of

        24    data collection compliance throughout Richmond?

        25    A      It would be beneficial to be able to gauge the


                                           JA1358
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                                       Coston - cross                            108


         1    extent of the non compliance.

         2    Q     Are you aware for all of 2020 RPD officers were

         3    required to log Community Policing Act data in a simple

         4    Google document?

         5    A     Yes.

         6    Q     Filling out this Google document required an extra

         7    step in addition to the paper work that was required to

         8    complete a police stop, traffic stop, excuse?

         9    A     Yes.

        10    Q     It could be difficult for somebody to learn a new

        11    habit when they have been doing traffic stops for a

        12    significant period of time?

        13    A     It may be.

        14    Q     Talking about the census data, when a citizen

        15    identifies their own race on census paperwork, that is

        16    a person's self perception of their own racial

        17    identity; is that correct?

        18    A     That's correct.

        19    Q     And when an officer identifies a citizen's race

        20    during a traffic stop the officer is left to guess the

        21    citizen's racial identity?

        22    A     They enter that information based on their

        23    perception of the individual's race.

        24          THE COURT:      Well, let's stop a second here.

        25          Is a police officer's perception of the race of a


                                          JA1359
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                                       Coston - cross                              109


         1    person they are dealing with a common point of data

         2    that is used in your field?

         3           THE WITNESS:    Yes.

         4           THE COURT:     Go ahead.

         5    BY MR. GIBBONS:

         6    Q      But there is a mismatch.       We are comparing apples

         7    and oranges when we talk about self perception of race

         8    on census forms and the officer's perception of race

         9    during a traffic stop; is that correct?

        10           THE COURT:     Well, let's see.        Are you aware of any

        11    studies that show that people don't know what race they

        12    are?

        13           THE WITNESS:    No.

        14           THE COURT:     Are you aware of any studies that show

        15    there is an enormous amount of disparity between what

        16    officers perceive as race and what the race is?

        17           THE WITNESS:    That data exists for perceptions of

        18    ethnicity.    Often officers don't record Hispanic

        19    ethnicity for individuals, even when that is a form or

        20    a field that they are supposed to fill out, because

        21    they are uncertain.      But typically officers do fill out

        22    racial information based own perceptions.

        23           THE COURT:     Are you aware of any studies that show

        24    that officers aren't able to understand which people

        25    are African-American and which people aren't?


                                            JA1360
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                                       Coston - cross                            110


         1          THE WITNESS:     No.   Sometimes they are mistaken,

         2    but typically they perceive an individual's race when

         3    they encounter them.

         4          THE COURT:      Well, is the race ever in racial

         5    identification of such a nature you would think that

         6    those officers' perception of people's race is not

         7    reliable?

         8          THE WITNESS:     No.   And I think that the officer's

         9    perception is what is most important any way.

        10    BY MR. GIBBONS:

        11    Q     About eight percent of the Community Policing Act

        12    data collected by RPD was classified as "unknown race,"

        13    is that right?

        14    A     Yes, there might be instances in which officers

        15    are uncertain and put "unknown."          But I don't see how

        16    that is problematic to the data itself.

        17    Q     Unless it is officers have difficulties with cross

        18    race, cross racial identification, is that correct?

        19    That might skew the numbers from one race to another?

        20          THE COURT:      Cross racial identification has

        21    several different meanings.         Like cross racial

        22    identification, do you mean identification of a culprit

        23    or identification of race?

        24    BY MR. GIBBONS:

        25    Q     Identification of race, Your Honor.


                                           JA1361
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                                        Coston - cross                           111


         1          Let's say we have a white police officer, isn't it

         2    true that research indicates that white police officer

         3    would be less good at identifying the race of a black

         4    person as compared to another white person?

         5          THE COURT:       Do you have evidence that shows this

         6    is true?

         7          MR. GIBBONS:      I am attempting to demonstrate that

         8    a person's --

         9          THE COURT:       Do you have same evidence that shows

        10    that this is true, or is this just hypothetical cross

        11    examination?

        12          MR. GIBBONS:      I don't have evidence, Your Honor.

        13          THE COURT:       Okay.   Well, move on to that something

        14    that is real as opposed to saying police officers don't

        15    know what race people are.         Come on.

        16    BY MR. GIBBONS:

        17    Q     Dr. Coston, the data that you used for your

        18    analysis you obtained that data from RPD?

        19    A     That was passed to the Federal Public Defender's

        20    Office, and I get it from them.

        21    Q     So you don't know at what stage analysis or

        22    quality control that you received that analysis from?

        23    Or that from.

        24    A     That data is consistent with data that is in the

        25    data of Virginia Community Policing Act.


                                             JA1362
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                                       Coston - cross                              112


         1    Q     Did you go line by line to confirm it matched data

         2    on the online portal?

         3    A     I didn't go line by line, but the overall

         4    statistics are the same.        When you look at the summary

         5    data it is consistent with the data that I was

         6    provided.

         7    Q     Which summary data did you look at?           What fields?

         8    A     The race, the gender, other markers.           This is

         9    something that I checked on the web site, and I didn't

        10    report one for every single field that I checked.              So,

        11    but, there were no major differences between the data I

        12    received and the publically accessible data.

        13    Q     Were you aware that the RPD Community Policing Act

        14    data contained duplicate values?

        15          THE COURT:      What do you mean by "duplicate data?"

        16          MR. GIBBONS:     Multiple traffic stops that occurred

        17    at the same location for a person of the same race of

        18    the same age and for the same statutory violation.

        19          THE COURT:      Well, you mean if they stopped the

        20    same person twice?

        21          MR. GIBBONS:     That is what it appears as if it

        22    occurred in the data, Your Honor.

        23          THE WITNESS:     In the data in some of these

        24    instances that you are referencing characteristics of

        25    the individual were different.          There was a different


                                          JA1363
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                                       Coston - cross                             113


         1    reason for the stop indicated.          Or a different code

         2    violation noted.       Even age of an individual being

         3    different.    So --

         4    Q     Just to be clear --

         5    A     -- taking about --

         6          THE COURT:      Let him finish his answer.

         7          MR. GIBBONS:     Yes, Your Honor.

         8          THE WITNESS:     So, I cannot conclude for certain

         9    whether those are the same stops or different stops

        10    because the information about the individuals is

        11    different.    The violation is different.          I am not

        12    convinced that those are duplicates.

        13    BY MR. GIBBONS:

        14    Q     What about instances where the information within

        15    the traffic stop entry is completely the same for two

        16    or three or four traffic stops?

        17          Is that a duplicate?

        18    A     That may or may not be a duplicate.           Especially if

        19    there is other information that is missing.             Without a

        20    time stamp it is incredibly difficult to verify that

        21    the information is actually duplicate.           For example, an

        22    officer might sit in one spot, pull multiple people

        23    over for speeding in the same spot.           Those people may

        24    be the same race.      It is possible that even those

        25    people could be the same age in some of those


                                          JA1364
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                                       Coston - cross                            114


         1    instances.    Without information such as time stamp that

         2    would actually confirm that those are duplicates I am

         3    not convinced that they are, the number of duplicates

         4    in that data set that has been suggested.

         5    Q     So, for example, if there is four instances of

         6    someone being stopped at the same location on the same

         7    day, and the age, gender, statutory violation and post

         8    stop outcomes are identical, that was mostly a

         9    duplicate rather than four people with identical

        10    demographic markers and traffic violations at the same

        11    location on the same day; do you agree?

        12    A     Those could potentially be duplicates.

        13    Q     You did not address the issue of duplicate values

        14    in your report at all?

        15    A     I did not.

        16    Q     You didn't exclude duplicate values in your

        17    analysis?

        18    A     I was not able to determine the number of

        19    duplicate values based on the information that was

        20    provided in the data.

        21          MS KOENIG:      Mr. Gibbons, how many duplicate values

        22    are there?

        23          MR. GIBBONS:     There are 321 traffic stops entries

        24    that have a twin or triplet or quadruplet.

        25          THE COURT:      Okay.


                                            JA1365
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                                       Coston - cross                            115


         1          MR. GIBBONS:     That is roughly 11 or 12 percent of

         2    the data.

         3          THE COURT:      All right.    Go ahead.

         4    BY MR. GIBBONS:

         5    Q     The majority of the stops in the Community

         6    Policing Act data for Richmond were for

         7    African-Americans; is that correct?

         8    A     That's correct.

         9    Q     Because you didn't exclude the duplicate values

        10    you included more stops for African-Americans than were

        11    actually conducted if those were duplicates?

        12    A     I would not say that that is correct.

        13          Again, I am not convinced that all 312 of those

        14    instances that you have pointed to were duplicates, and

        15    this also doesn't exclude the potential of duplicates

        16    of white drivers.      So to conclude that it is only

        17    African-American drivers that were duplicated in the

        18    file, in the absence of evidence that those were

        19    duplicates that only impacted African-American drivers

        20    would be incorrect.

        21    Q     I am not saying that.

        22          But if the majority of stops involved

        23    African-Americans, then African-Americans would be over

        24    represented due to the duplicate values in that data;

        25    is that correct?


                                          JA1366
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                                       Coston - cross                                 116


         1          MS KOENIG:      I am going to object about speculation

         2    here because we have control numbers on each one of

         3    these things.     If Mr. Gibbons has specific ones he

         4    wants to go over with Dr. Coston --

         5          THE COURT:      I am sure we will hear about that in

         6    the future.    Am I right?

         7          MR. GIBBONS:     That is right, Your Honor.

         8          THE COURT:      All right.

         9    BY MR. GIBBONS:

        10    Q     We talked about the exclusions that you made in

        11    the data.    Are you aware that as part of the quality

        12    check process DCJS when they wrote their state wide

        13    report they excluded categories of data that were

        14    incomplete or unreliable?

        15    A     Yes, I am aware they made exclusions.

        16    Q     You didn't make any exclusions on the same basis

        17    that DCJS did?

        18    A     I made exclusions where those were relevant.              So,

        19    for example, if that was, if they didn't record race at

        20    all I obviously didn't use that data in the analysis

        21    that involved race.      If they didn't record whether a

        22    search was conducted or not, I didn't use that.                Rather

        23    than eliminating the entire incident I eliminated them

        24    when the missing information was relevant.             For

        25    example, if age is not recorded, but age is not part of


                                          JA1367
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                                      Coston - cross                             117


         1    one of the analyses I conducted, there is no reason to

         2    exclude that entire case if the rest of the information

         3    is valid.

         4    Q     But you didn't -- you said you made exclusions for

         5    arrests and searches when you were missing values in

         6    those columns; is that correct?

         7    A     That's correct.

         8          If there is no information recorded in those

         9    columns then those can't be included in the analysis.

        10    Q     Did you note in the report that you made

        11    exclusions a post hoc basis?

        12    A     That is not on a pro hoc basis.        That is on the

        13    basis of missing data.      And yes, that was noted in the

        14    report.

        15    Q     You made exclusions for missing data for searches

        16    and arrests?

        17    A     I mentioned that I made exclusions where there was

        18    missing data, and indicated that varied by analysis.

        19    For each of those analyses conducted you can find the

        20    total number of cases, though, reported in the tables.

        21    Q     So --

        22    A     This is a common way of reporting statistics and

        23    also dealing with missing data.

        24    Q     So were you aware in the data you used there were

        25    147 rows out of 2,578 where no age was recorded?


                                         JA1368
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         1    A     Yes.

         2    Q     And six rows with no gender reported?

         3    A     That sounds about correct.

         4    Q     Five rows with no value for action taken as a

         5    result of the stop?

         6    A     That also sounds about correct.

         7    Q     Two rows no value for whether a person was

         8    searched?

         9    A     Again, I am not sure of the exact numbers, but

        10    yes, that sounds about correct.

        11    Q     And 266 rows with no value for whether a person

        12    was arrested?

        13    A     Again, sounds about right.

        14    Q     So, in all, about 14 percent of the data that you

        15    used in your analysis would have been excluded by DCJS

        16    for data integrity issues?

        17          THE COURT:       Wait a second.     He has not examined

        18    them.     The integrity of gender is not important, is it?

        19          MR. GIBBONS:      We will talk about that I think

        20    tomorrow with Mr. McDonough.

        21          THE COURT:       Why don't we talk about it now?

        22          MR. GIBBONS:      Mr. McDonough would say it is, who

        23    works with DCJS.        He is a doctor, Jim McDonough he is

        24    the research director for DCJS, who prepared the DCJS.

        25          THE COURT:       What has that got to do with race?


                                           JA1369
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                                          Coston - cross                         119


         1          MR. GIBBONS:     That they need this wholesale

         2    exclusions because they determined that an entire

         3    traffic stop was more likely to have invalid data if

         4    not completely filled out.

         5          THE COURT:      Oh.    So the fact that they didn't

         6    write down the gender means that it is less likely they

         7    were able to identify the race of the driver?

         8          MR. GIBBONS:     Or just the data entry in toto was

         9    inaccurate or less likely to be accurate.

        10          THE COURT:      Okay.    Thank you.

        11    BY MR. GIBBONS:

        12    Q     Dr. Coston, you also excluded about ten percent of

        13    data because the race identified in the data was Asian,

        14    native American, or unknown?

        15    A     Correct.

        16    Q     You excluded that ten percent of the data because

        17    your particular statistical test record larger group

        18    site; is that correct?

        19    A     That's correct.

        20    Q     So it was because of your choice of the

        21    statistical test that led you to exclude that

        22    ten percent of that data?

        23    A     That would be a common way of handling that type

        24    of data in a chi-square analysis.

        25    Q     But if you had chosen a different statistical test


                                            JA1370
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                                      Coston - cross                             120


         1    you may not have excluded those values?

         2    A     I chose the test that was appropriate to the data.

         3    Even if that led to the exclusion of some other data.

         4    The comparison between white and black drivers is still

         5    valid.

         6    Q     Did you know in the report that there were 266

         7    stops for which there is no data for when a person was

         8    arrested?

         9    A     I noted that total number of stops analyzed when

        10    it included that arrest in the tables.         But that was

        11    not specifically noted in the body of the report.

        12    Q     Talking about location.      You used a service called

        13    Geocodio to convert the location recorded in the CPA

        14    data for latitude longitude coordinates?

        15    A     That's correct.

        16    Q     Geocodio will produce a confidence estimate in its

        17    coordinates with an accuracy score?

        18    A     That's correct.

        19    Q     And then when the accuracy score was less than .6

        20    you had interns with the Office of Public Defender

        21    double check those locations?

        22    A     That's correct.

        23    Q     Generally -- you said this before -- the higher

        24    the location the better?

        25    A     Generally, yes.    But not always.


                                         JA1371
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                                      Coston - cross                             121


         1    Q     And then, but isn't that what Geocodio explains

         2    how their accuracy score works?

         3    A     Yes.   Not every score with a high accuracy will be

         4    high, though.     For example, the stop that occurred at

         5    Broad and Harrison in the data set was noted in another

         6    city because there was a Broad and Harrison there.           I

         7    corrected those latitude longitude coordinates for

         8    Harrison and Broad in Richmond, Virginia.

         9    Q     And you verified a random selection of the

        10    locations that the interns had checked through manual

        11    review?

        12    A     That's correct.

        13    Q     If the interns noticed -- well, if the interns or

        14    you noticed an issue with the location that Geocodio

        15    produced, they would insert the correct latitude and

        16    longitude, in columns G and H for corrected latitude

        17    and longitude?

        18    A     That's correct.

        19    Q     So we took the corrected latitude and longitude

        20    from column G and H and put that into a map, that would

        21    produce a stop within Richmond for those stops that you

        22    had corrected?

        23    A     That's correct.

        24    Q     So if the results if the latitude longitude

        25    recorded in columns G and H result to a location that


                                         JA1372
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                                       Coston - cross                                122


         1    was far outside Richmond, how would you explain that?

         2    A     I don't believe they do.

         3          THE COURT:      Well, that is not the question.

         4          Say your question again.

         5    BY MR. GIBBONS:

         6    Q     If the latitude longitude in column G and the

         7    latitude H result in a location that is far outside

         8    Richmond, say in Scottsville, how would you explain

         9    that?

        10    A     I would explain that by saying that potentially

        11    one didn't have the latitude longitude correctly.

        12    Q     If there were dozens like that, how would you

        13    explain that?

        14    A     I think you are insinuating that --

        15          THE COURT:      No, no.   The question is, how would

        16    you explain that?      Try to answer the question.             Okay?

        17          THE WITNESS:     I would not have an explanation for

        18    how there would be dozens of them.

        19    BY MR. GIBBONS:

        20    Q     So in your report there were, you did a heat map,

        21    or you did a plot mapping.        You plotted some of these

        22    locations within Richmond and outside of Richmond; is

        23    that correct?

        24    A     Yes.

        25    Q     And there were some plots on your maps that were


                                          JA1373
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                                      Coston - cross                             123


         1    outside of Richmond; is that correct?

         2    A     Yes.

         3          In the proximity of Richmond.

         4    Q     You didn't see any plots that were far outside

         5    Richmond when you did that plotting?

         6    A     No.

         7          In the initial I did see items that were far from

         8    Richmond.      In Charlottesville.     Again, those are ones

         9    that I went back and manually corrected based on the

        10    location data provided in the spread sheet by the

        11    Richmond Police Department.

        12    Q     When you map these stops on pages nine through

        13    eleven of your report you didn't notice that hundreds

        14    of them were outside Richmond?

        15    A     I did not see hundreds of points outside of

        16    Richmond in this map, no.

        17    Q     So RPD officers can conduct some stops from

        18    defined distances outside the City of Richmond?

        19    A     That is correct.

        20    Q     Did you conduct an analysis to insure that only

        21    those stops that occurred within these boundaries were

        22    included in your analysis?

        23    A     When I conducted the chi-square analyses I ran the

        24    analyses for the cases, which is what you would

        25    commonly do in statistical modeling to insure those


                                         JA1374
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         1    locations, those stops that occurred just outside the

         2    jurisdictional boundaries versus those within didn't

         3    have any impact on the overall verdict.

         4    Q     When you run tests with or without a variable, for

         5    example, either clearly inside Richmond or clearly, or

         6    just all of them, you are only testing one type of

         7    error at a time; is that correct?

         8    A     You are only doing one statistical analysis at a

         9    time, yes.

        10    Q     If you have multiple sources of statistical error,

        11    such as hundreds of instances of unreliable data, or

        12    hundreds of stops that occurred outside of Richmond,

        13    you wouldn't necessarily see the interaction of that

        14    when you included all of that of data in your analysis?

        15          THE COURT:      I didn't understand the question.

        16    BY MR. GIBBONS:

        17    Q     Sorry, Your Honor. I will rephrase.

        18          When you run an analysis with or without the

        19    location that are outside Richmond, you do that with

        20    one source or error at a time; is that correct?

        21    A     Yes.   Every test is, has a potential error rate,

        22    that is correct.

        23    Q     When you combine multiple sources of statistical

        24    error, such as the stops that DCJS excluded for

        25    unreliability, and the stops that are outside Richmond,


                                          JA1375
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                                     Coston - cross                              125


         1    and the duplicates, you are testing those one at a time

         2    to the extent that you are aware of them; is that

         3    correct?

         4    A     You are conducting each analysis at once, but,

         5    yes, there are multiple sources of statistical error

         6    for each statistical test that you run.

         7    Q     You weren't aware of the DCJS exclusions when you

         8    did your analysis; is that correct?

         9    A     That is correct.

        10    Q     So you didn't run a test with or without that data

        11    to determine if it was the same with or without?

        12    A     No, because I wasn't aware of those exclusions,

        13    and that is not data that I would have chosen to

        14    exclude.

        15    Q     And the same with the duplicates.         You weren't

        16    aware of that at the time you ran your analysis.              So

        17    you didn't even test to see whether your analysis was

        18    correct with or without the duplicates?

        19    A     I don't believe that there were 312 duplicates.

        20    Q     Let's talk about the basis of comparison or what

        21    is called the benchmarking problem.

        22          Once a researcher identifies the percentage of

        23    each range that was actually stopped, the next step is

        24    comparing it against the race percentages of those

        25    eligible to be stopped; is that correct?


                                         JA1376
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                                      Coston - cross                             126


         1    A     That is, yes, that is one method of benchmarking.

         2    Q     To do this research one needs to determine the

         3    percentage of drivers on the road?

         4    A     That is one method of benchmarking.

         5    Q     What are other methods of benchmarking?

         6    A     For example, it crash data benchmarking.          The

         7    benchmarking standards that we reviewed a few minutes

         8    prior.

         9    Q     But aren't those different methods of analysis to

        10    determine who is driving, who is on the road?

        11    A     Yes, and that is what benchmarking attempts to

        12    capture.

        13    Q     That was my question.

        14          And there are multiple ways to do the benchmarking

        15    like you just alluded to?

        16    A     That's correct.

        17    Q     And these other methods would have been more

        18    reliable than what you ended up doing if you had access

        19    to that data?

        20    A     It is possible that other benchmarks would produce

        21    different results, but I didn't use the benchmarking

        22    for the statistical analyses.       Only used the census

        23    benchmark to creates the maps.

        24    Q     So you only produced raw statistical disparities

        25    for your statistical analyses?


                                         JA1377
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                                         Coston - cross                          127


         1    A     That's correct.

         2    Q     And that was the sole basis on which you

         3    determined that blacks were more likely to be stopped?

         4    A     Yes, using the appropriate statistical test.

         5    Q     Didn't do any benchmarking at all when you

         6    determined whether blacks were more likely to be

         7    stopped?

         8    A     The chi-square does not make assumptions about the

         9    underlying distribution of the data.

        10    Q     So your analysis does not even begin to consider

        11    the percentage of drivers on the road?

        12          THE COURT:        I think you made clear he didn't look

        13    at the number of people on the road because he didn't

        14    have that data.         Isn't that right?

        15          THE WITNESS:       No.   It didn't have data on the

        16    percentage of drivers on the road.

        17    BY MR. GIBBONS:

        18    Q     But you didn't use census data at all to aid you

        19    in your benchmarking analysis?

        20    A     No.

        21    Q     Which census, which census data did you use in the

        22    analysis?

        23    A     The American Community Survey, 2016 to 2019

        24    supplement.

        25    Q     Are you aware that the exhibit R-2 dot map that


                                             JA1378
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                                       Coston - cross                            128


         1    was shown to you by the defense is from 2010?

         2    A     Yes, I am.      That is census data.

         3    Q     But it is old census from ten years ago?

         4    A     Yes.

         5    Q     And the stop data here is from 2020?

         6    A     Yes.

         7    Q     When you did your, when you used your census data,

         8    you included people that were zero to 14 years old, who

         9    were ineligible to drive?

        10    A     That's correct.

        11    Q     You would include those non drivers in your

        12    estimate of the driving population within Richmond?

        13    A     I didn't estimate the driving population of

        14    Richmond.    And the reason I am using the demographic

        15    information from the American Community Survey is

        16    really looking at where people are getting pulled over,

        17    and in relationship to the racial composition of that

        18    particular neighborhood.        Where people drive isn't

        19    necessarily where they live, but where people are

        20    pulled over is relevant to the demographics of those

        21    neighborhoods.

        22    Q     So your analysis assumes people are pulled over

        23    only in their own neighborhoods?

        24    A     No, I actually just said that, not that.            The

        25    opposite of that.      People are pulled over in all kinds


                                          JA1379
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                                     Coston - cross                                 129


         1    of places.    They don't necessarily live there.             People

         2    in Richmond can be pulled over in other cities, other

         3    states.   People from other cities and states are pulled

         4    over here.    But what I am saying is that the race of

         5    the driver is important, as is the area in which they

         6    are pulled over, the location that they are pulled

         7    over.

         8    Q     So when your overlay traffic stop data on to

         9    census residential data --

        10    A     You are asking the question, pulled over where?

        11    Q     You are essentially comparing apples and oranges

        12    because where people live is not the same as where they

        13    are pulled over.

        14    A     I would not say that is true.

        15    Q     Why not?

        16    A     Where an individual experiences a traffic stop,

        17    where an individual is pulled over, where they happen

        18    to be in geographic space, whether it is one

        19    neighborhood or another isn't important.

        20    Q     If somebody can be pulled over somewhere not close

        21    to their home, then why did you overlay demographic

        22    census data with traffic stop data as you did in figure

        23    five of your report?

        24    A     To understand where people of different races are

        25    being, where people of different races are being pulled


                                         JA1380
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                                        Coston - cross                             130


         1    over in the City in relation to the racial composition

         2    of those neighborhoods.        Black drivers are pulled over

         3    in predominantly white neighborhoods.            Black drivers

         4    are also pulled over in predominantly black

         5    neighborhoods.        White drivers are not pulled over in

         6    predominantly black neighborhoods.             Where and how black

         7    drivers experience policing when they are stopped for a

         8    traffic stop is relevant.

         9           That is my argument.

        10    Q      Okay.   I will move on.

        11           When you ran your statistical analyses, despite

        12    the extensive community environment of Richmond your

        13    analysis not account for or explain the presence of

        14    commuters.

        15    A      Again, it is who is pulled over where.            They are

        16    still driving in Richmond, it is still possible for

        17    them to be pulled over whether they are commuting or

        18    not.

        19    Q      But people can come in from Henrico or

        20    Chesterfield County and get pulled over in Richmond; is

        21    that correct?

        22    A      Yes.    Absolutely.

        23    Q      That wouldn't be accounted for when you use census

        24    data from within the City of Richmond and overlay that

        25    on to traffic stops that occur within the City of


                                           JA1381
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                                      Coston - cross                             131


         1    Richmond?

         2    A     If you are a black person being pulled over in a

         3    white neighborhood, you are a black person in a white

         4    neighborhood regardless of the neighborhood it is and

         5    regardless of where you are driving from.

         6    Q     But when you overlay residential census statistics

         7    onto traffic stops you don't know whether -- be -- let

         8    me try to find a good way to explain this.

         9          You are using census data to estimate the racial

        10    background of the area in which traffic stops occur; is

        11    that correct?

        12    A     Yes.

        13    Q     But because people don't always get pulled over

        14    where they live, you are comparing apples and oranges

        15    when you overlay residential census data and traffic

        16    stop data.

        17    A     That is still -- you are still talking about a

        18    relationship between two things, even if it is housing

        19    and driver race.      I think that my point still stands.

        20    If black people are being pulled over in white

        21    neighborhoods, black people are being pulled over in

        22    white neighborhoods regardless of whether they are

        23    black people that live close by or they live in another

        24    state and happen to be driving through.

        25    Q     Were you aware of the DCJS report at the time you


                                         JA1382
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                                       Coston - cross                            132


         1    completed your report?

         2    A     Yes.

         3    Q     You didn't include any of the caveats that DCJS

         4    included in their report in your report?

         5    A     I don't agree with all the caveats in the DCJS

         6    report.

         7    Q     That is not the -- question's was, the question

         8    was, did you include them in your report?

         9    A     No, because I don't agree with them.

        10    Q     Are you aware of the practice of police deploying

        11    more officers to areas in which crime rates and calls

        12    for service are higher?

        13    A     Yes.

        14    Q     And your analysis does not account for that common

        15    practice.

        16          THE COURT:      Well, his analysis doesn't even

        17    consider that, does it?

        18          THE WITNESS:     No.

        19          THE COURT:      He and I talked about that earlier.

        20    BY MR. GIBBONS:

        21    Q     Instead your analysis assumes that any statistical

        22    disparity is a result of discrimination, correct?

        23    A     Of racial disparity policing, yes.

        24    Q     So of all the different factors that could cause

        25    differential outcomes in traffic stops, you just


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                                      Coston - cross                             133


         1    assumed that race is the cause for that disparity in

         2    traffic stops?

         3    A     I would say that there are statistically

         4    significant findings that race is a factor in traffic

         5    stops and their outcomes.

         6    Q     So just assume for me, kind create a picture of

         7    words here.    We have, trying to determine a

         8    relationship between two variables.         Call them A and B.

         9    In your analysis determined -- well, it is a bivariate

        10    analysis; is that correct?

        11    A     That's correct.

        12    Q     By a bivariate analysis is just a fancy way of

        13    saying determining the relationship between two

        14    variables?

        15    A     Yes.

        16    Q     And your analysis determined that there is some

        17    kind of relationship between race and traffic stop; is

        18    that right?

        19    A     Yes.

        20    Q     But you didn't account for differential policing

        21    patterns; is that correct?

        22    A     Differences in outcome by race are differential

        23    policing; but interpretive external factors in

        24    differential policing, no.

        25    Q     Sure.   So police deployment patterns, you didn't


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                                            Coston - cross                             134


         1    consider that?

         2    A     No.    Total number of stops.           Police designated,

         3    policing patterns still don't dictate who is stopped.

         4    Police are still making the individual unit

         5    determinations about who to stop and who not to stop.

         6    Q     And your analysis didn't consider the effect of

         7    socioeconomic status?

         8    A     No, that wasn't a variable in the data set.

         9    Q     So you just took the data that you had and

        10    performed the best analysis you could based on that?

        11    A     That is how statistics work.                We don't always have

        12    all possible data.        We take the best data that is

        13    available to us, and analyze it in a way that is

        14    appropriate to that data.

        15    Q     Are you aware DCJS stated that the poor quality of

        16    the data prevented drawing any further conclusions

        17    about whether traffic stops were caused by bias?

        18    A     My understanding is that the data quality differed

        19    across jurisdictions.

        20          THE COURT:        No.    Please just answer the question.

        21    If you do that we will get out of here a lot sooner.

        22          The question was, are you aware that DCJS said you

        23    can't reach any conclusions about causation from the

        24    data that they have?

        25          THE WITNESS:       I am not making conclusions about


                                              JA1385
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         1    causation.

         2          THE COURT:      Okay.

         3          Well, isn't one of the things we have to prove in

         4    this case is that race caused this disparity?

         5          THE WITNESS:     I am trying drawing conclusions

         6    about the large scale patterns and relationships

         7    between race and the other variables that were

         8    examined, but I can't -- I am not characterizing those

         9    as a causal relationship.

        10          THE COURT:      Well, isn't that statistical analysis

        11    doesn't deal with causation, does it?

        12          THE WITNESS:     There are some statisticnal models

        13    that deal with causation, but chi-square does not.               And

        14    even regression techniques.

        15          THE COURT:      Does regression deal with causation?

        16          THE WITNESS:     Some people infer causation from

        17    regression, but from a typical regression model, no.

        18    Advanced regression models sometimes you can use to

        19    determine causation.

        20          THE COURT:      Can you determine causation from

        21    chi-square ever?

        22          THE WITNESS:     No.

        23          THE COURT:      No.

        24    BY MR. GIBBONS:

        25    Q     Let's talk about your analysis.            You ran your


                                            JA1386
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         1    analysis on data beginning July 1 of 2020 and ending

         2    December 6 of 2020?

         3    A     That's correct.

         4    Q     Did you consider any other date ranges for your

         5    analysis?

         6    A     No.

         7    Q     So you found if the date range is July 1 of 2020

         8    to December 6 of 2020, the adjusted data shows

         9    African-Americans accounted for 77 percent of stops and

        10    whites 14 percent of stops.

        11    A     Yes.

        12          THE COURT:        Mr. Gibbons, do you agree that the

        13    burden is on the defendant to prove that race caused

        14    this disparity?

        15          MR. GIBBONS:        Your Honor, emphatically.

        16          THE COURT:        Do you agree that the witness just

        17    admitted that doesn't show that?

        18          MR. GIBBONS:        Yes, Your Honor.

        19          THE COURT:        And why are you continuing to ask

        20    questions?

        21          MR. GIBBONS:        I could rest, Your Honor.

        22          THE COURT:        Well, no --

        23          MR. GIBBONS:        I have a few more questions.

        24          THE COURT:        You are the lawyer.       I already messed

        25    up their case.          I don't want to mess up yours.


                                             JA1387
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                                       Coston - cross                            137


         1          MR. GIBBONS:     I will make it very brief.

         2          THE COURT:      That is okay.     Ask whatever you feel

         3    like you need, but I think that was a pretty

         4    significant answer there.

         5    BY MR. GIBBONS:

         6    Q     Dr. Coston, were you aware if you include the

         7    first full year of traffic stops from July 1 of 2020 to

         8    June 30th of 2021 the percentages of stops of

         9    African-Americans drops to 68 percent of stops and the

        10    percentage of stops of whites rises to 24 percent of

        11    stops?

        12    A     That doesn't surprise me.         It is a different

        13    sample.   Varies from sample to sample.

        14    Q     So you chose the sample that showed the highest

        15    raw statistical disparity?

        16    A     I didn't chose the sample focused on the

        17    disparity.    The end date for the sample was due to when

        18    the time of the stop occurred.          And July first

        19    obviously being the earliest data that was available.

        20    Q     Dr. Coston, you are in the -- let's talk about

        21    your employment.      You are a professor in the Department

        22    of Gender, Sexuality, and Women Studies at VCU?

        23    A     That's correct.

        24    Q     In your official VCU biography you describe

        25    yourself as an "activist scholar?"


                                          JA1388
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                                       Coston - cross                            138


         1    A      That is correct.

         2    Q      You are teaching research primarily involved LG,

         3    LGBTQ issues?

         4    Q      I have two main research, one of them is LGBTQ

         5    issues, and other focuses on disparities in policing.

         6    Q      Dr. Coston, are you active in social media going

         7    back to at least 2018 and continuing to the present?

         8    A      Yes.

         9    Q      Your Twitter handle is "@ Eli Coston?"

        10    A      I think so, or "@ Dr. Eli Coston."

        11    Q      And when you tweet something, that is indicating

        12    your opinion or thoughts about a particular topic?

        13    A      Sometimes.     If I tweet it myself.      Retweets maybe

        14    not.

        15    Q      You have made several public statements on social

        16    media recording policing in Richmond; is that correct?

        17    A      Yes.

        18    Q      And that involves work with the Richmond

        19    Transparency and Accountability Projects, Or R TAP?

        20    A      That's correct.

        21    Q      You have also been heavily involved in trying to

        22    institute a civilian review board for RPD?

        23    A      That is correct.

        24    Q      And in that capacity you have been public in

        25    criticizing the police chief and the mayor because they


                                          JA1389
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                                       Coston - cross                                139


         1    didn't adopt your proposal?

         2    A      I don't know that I would characterize it in that

         3    way.      I have been critical of the inaction about moving

         4    toward civilian oversight that was asked for by

         5    community members, yes.

         6    Q      So did you tweet on March 22, 2022 at 1:14 p.m.

         7    "Richmond, Virginia, TAP, or the accountability

         8    committee, now offering public comment to oppose the

         9    mayor's proposal.       I will be speaking against it as

        10    well?"

        11    A      Yes.

        12    Q      Did you tweet on June 2nd of 2020 at 12:5 p.m.

        13    "Speakers are calling out the racism of police.                Black

        14    people are being targeted by the police.            Out," which I

        15    believe means "or our," police force is racist and

        16    brutal."      Did you tweet that?

        17    A      I don't remember.

        18    Q      If it came from "@Eli Coston" with your picture as

        19    your profile picture, would you dispute that is your

        20    tweet?

        21    A      I wouldn't dispute it.       I don't specifically

        22    remember tweeting it.       I believe I was -- I believe I

        23    was recapping what was happening at a City Council

        24    meeting, in the public comments.

        25    Q      Did you tweet on August 5 of 2018, "RPD still


                                          JA1390
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                                        Coston - cross                           140


         1    won't release data on traffic stops or Terry stops in

         2    Richmond.    These practices are often racially biased."

         3    A     Yes.

         4    Q     You believe that that, that traffic stops and

         5    Terry stops are racially biased?

         6    A     Well, there are many studies that show that

         7    especially Terry stops or racially biased.

         8    Q     That was before you were retained as an expert in

         9    this case to opine whether traffic stops in Richmond

        10    were racially biased?

        11    A     Yes.

        12          MR. GIBBONS:      No further questions, Your Honor.

        13          THE COURT:      All right.

        14          Redirect?       Do you need a few moments to gather

        15    your thoughts?

        16          MS KOENIG:      I don't, Your Honor.

        17          I do want to point The Court's attention to some

        18    cases we cited in the ECF 66, which are also cited in

        19    some other of the supplemental briefing.             But the law

        20    says that is in some cases blunt statistical

        21    evidence --

        22          THE COURT:      I understand.

        23          MS KOENIG:      -- can be used to demonstrate.

        24          THE COURT:      I can infer from that --

        25          MS KOENIG:      Correct.


                                           JA1391
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                                     Coston - redirect                            141


         1          THE COURT:      -- there is a problem.

         2          MS KOENIG:      Correct.

         3          THE COURT:      Okay.

         4                          REDIRECT EXAMINATION

         5    BY MS KOENIG:

         6    Q     Dr. Coston, I am going to talk to you little bit

         7    about the deployment effect.         Tell us what is the

         8    deployment effect.

         9    A     So essentially when officers are deployed to

        10    particular areas officers are trained to look for crime

        11    in those areas.       What we see is when more officers are

        12    deployed in more areas they tend to find more crime,

        13    also engage in issuing summons or citations for lower

        14    level offenses than were previously issued.

        15    Essentially, police are trained to look for crime, and

        16    so when you deploy more officers to an area they will

        17    find more crime.       If you put a hundred officers in one

        18    neighborhood, one officer in another neighborhood,

        19    clearly you are going to have more citations, clearly

        20    you are going to have more summones issued in a place

        21    where there is a hundred officers versus where there is

        22    one or where there is ten.

        23          THE COURT:      Before we get too far into this, your

        24    expertise is in the area of statistics.            How do you get

        25    knowledge about the deployment?


                                            JA1392
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                                    Coston - redirect                            142


         1          THE WITNESS:    So, I also study policing.         I study

         2    LGBTQ treatment.      Study policing in racial disparities

         3    and how those interact with the criminal legal system.

         4    BY MS KOENIG:

         5    Q     Dr. Coston, if we could turn your attention to,

         6    turn your attention to defendant's exhibit five, which

         7    has already been admitted.

         8          Does this article talk about the deployment effect

         9    and how it can be sort of a negative feedback to where

        10    you send more officers out they find more crime, they

        11    send more officers out, they find more crime?

        12    A     Yes.

        13    Q     Essentially what we were just taking about?

        14    A     Yes.

        15    Q     So as a part of your work in analyzing such

        16    statistics, is that how you have come across that kind

        17    of theory?

        18    A     Yes.

        19    Q     Okay.

        20          When we have the question of whether that there is

        21    deployment effect, does it beg the question as to why

        22    different areas are being policed or over-policed?

        23    A     Yes.

        24    Q     And how it could reinforce patterns of high crime

        25    areas?


                                         JA1393
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                                      Coston - redirect                           143


         1    A     Yes.

         2    Q     Sort of a continuous negative feedback, right?

         3    A     Yes.

         4    Q     Okay.

         5    A     And likewise, there have been studies conducted

         6    about how race is implicated in that feedback group as

         7    well.

         8    Q     I want to turn your attention now to questions

         9    Mr. Gibbons was asking you about the duplicates.               So

        10    when we talked about and looked at defendant's exhibit

        11    14, which is the final sample you ultimately used for

        12    analysis in this case, we talked about the control

        13    number column, right?

        14    A     Yes.

        15    Q     Did we include the control number column so that

        16    we, if we had to go back later and talk about specific

        17    stops that we could refer to specific control numbers,

        18    right?

        19    A     Yes.

        20    Q     Have you, have we ever been given by the

        21    government any control stop list of what they believe

        22    are duplicates?

        23    A     No.

        24    Q     Have we ever been given any control stops for what

        25    they think are data that should be excluded?


                                          JA1394
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                                      Coston - redirect                          144


         1    A     No.

         2    Q     And have we ever been given any control stop

         3    numbers that they believe were, I think we have been

         4    given three in briefing, of stops that the government

         5    thought were incorrectly captured in the City data,

         6    right?

         7    A     That may be correct.       I am not sure if we were

         8    given control numbers.       I know that there were specific

         9    locations referenced in by Dr. Smith, but I am not

        10    aware of seeing control numbers.

        11    Q     From that we were able to ourselves determine the

        12    control numbers of the three incidents, right?

        13    A     Yes.

        14    Q     Have we ever been given a list of control numbers

        15    of the stops that the government thinks are outside of

        16    the City of Richmond --

        17    A     No.

        18    Q     -- these hundreds of stops, right?

        19    A     No.

        20    Q     You went back after reading a report indicating

        21    that that is something that the government was looking

        22    into, and you verified the information that you had

        23    that it was 81 stops that were outside of the City?

        24    A     That's correct.

        25    Q     Okay.


                                          JA1395
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                                    Coston - redirect                            145


         1          And you were a professor -- you teach some

         2    statistics classes, right?

         3    A     Yes.

         4    Q     One of basic principles of teaching students of

         5    how to start doing statistical analysis, you have to

         6    chose the right analysis from the beginning?

         7    A     That's correct.

         8    Q     When we were talking, I want to make sure I am

         9    understanding the point that you are trying to make in

        10    terms of using American Community Survey data for the,

        11    to create the heat map, right?

        12    A     Yes.

        13    Q     But you didn't use that because you could not

        14    determine the overall population of drivers in

        15    Richmond, correct?

        16    A     That's correct.

        17    Q     And that is why you couldn't do a chi-square

        18    analysis on the variable simply of who was stopped

        19    according to race, right?

        20    A     Correct.    You could conduct a different analysis

        21    if you knew the races of all the people who are driving

        22    in Richmond.     But, again, that is not a knowable

        23    number.

        24    Q     But what you do know is that, as you said earlier,

        25    it is significantly disproportionate, right?


                                         JA1396
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                                    Coston - redirect                            146


         1    A     That's correct.

         2    Q     In terms of the race of the drivers that are

         3    ultimately stopped?

         4    A     The race of the drivers and the outcome of that

         5    stop, yes.

         6    Q     And when you are looking at the American Community

         7    Survey data in relation to the stop, we could possibly

         8    describe the conclusion, not conclusion, but the

         9    visualization that we see, we could arguably interpret

        10    that as policing the borders, right?

        11    A     Yes, I do.

        12    Q     And we know from the information that is depicted

        13    in figure one, which is where you plotted all of the

        14    traffic stops according to race that ran our data set,

        15    right?

        16    A     Yes.

        17    Q     We saw that white people were stopped throughout

        18    the City, right?

        19    A     Yes.

        20    Q     And we saw that in despite the fact that white

        21    drivers are pulled throughout the City, we still -- and

        22    black drivers are pulled in the white parts of town as

        23    well, right?

        24    A     Yes.

        25    Q     Okay.


                                         JA1397
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                                     Coston - redirect                           147


         1    A     This is why race is important, because white

         2    drivers are stopped predominantly in white areas of

         3    town, but black drivers are stopped everywhere.

         4    Q     When we talk about the information in the

         5    Department of Criminal Justice Services report, again

         6    they didn't do the same statistical significance impact

         7    analysis that you did, but ultimately the findings for

         8    Richmond were the same as yours, right?

         9    A     They also found disparities, yes, for black

        10    drivers.

        11    Q     And they, I want to make sure we are clear, you

        12    were given from the, from the Federal Public Defender

        13    Office the date that the analysis was to happen, right?

        14    A     That's correct.

        15    Q     We did receive a whole year of data from the

        16    Richmond Police Department, right?

        17    A     Yes.

        18    Q     But we only did the analysis up until the date

        19    that Mr. Moore was stopped, right?

        20    A     Yes.

        21    Q     Okay.

        22          Talking a little bit about the end, not going to

        23    go through the social media account, but when you were

        24    working with R TAP how long did it take for Richmond

        25    Police Department and City of Richmond to turn over the


                                         JA1398
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                                    Coston - redirect                                148


         1    data that you all had been seeking to do that analysis?

         2    A     That took years.     Two and a half to three years I

         3    think to receive all of it.

         4    Q     Was that after many, many, many hours of meetings

         5    and negotiations and requests to get them to turn over

         6    that data?

         7    A     Yes.   We submitted numerous Freedom of Information

         8    requests to the police department.           Many of which

         9    remember denied.      Some of which simply weren't

        10    responded to.     It required a sit-down meeting between

        11    the chief of police at the time, members of R TAP,

        12    including myself, Mayor Stoney, and also the I T and

        13    people from I T and City legal to actually come to an

        14    understanding about what data would be released.               And a

        15    time line for releasing that.        Even subsequent to the

        16    meeting I think it took a full nine months before we

        17    got all of the data that was requested subsequent to

        18    that meeting.

        19    Q     Was it a fair summary or assessment that Richmond

        20    Police Department did not seem eager to turn over the

        21    data that was requested?

        22    A     In fact, the first time that they submitted the

        23    data to us, the data did not receive, did not contain

        24    all of the items that were initially requested and

        25    agreed upon.    We had to send that back and wait another


                                         JA1399
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                                     Coston - redirect                           149


         1    several months before they turned over that

         2    information.

         3    Q     No further questions.

         4          THE COURT:      All right.

         5          Anything further?

         6          MS KOENIG:      Not from the defense, Your Honor.

         7          THE COURT:      May he be excused?

         8          MS KOENIG:      I agree with the Government,

         9    Dr. Coston will be allowed to stay to listen to the

        10    remainder of the witness in an advisory capacity.

        11          THE COURT:      You can stay.       Okay.

        12          THE WITNESS:     Thank you.

        13                          (Witness stood aside)

        14          All right.      Well, do you have more witnesses?

        15          MS KOENIG:      No.

        16          THE COURT:      So --

        17          MS KOENIG:      Sorry, Your Honor, I do have --

        18          THE COURT:      Are you going to, will Mr. Chiles or

        19    Dr. Chiles we moved off to a future date -- can you

        20    help him get out of there?

        21          MS KOENIG:      The only other exhibit, Your Honor,

        22    aside from the exhibits --

        23          THE COURT:      I can't understand you.

        24          MS KOENIG:      Sorry, Your Honor.

        25          The only other exhibits that have not yet been


                                            JA1400
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                                     Coston - redirect                            150


         1    admitted that are on my list are defendant's exhibit

         2    nine through 12, which relate to Dr. Chiles.             And then

         3    defense exhibit 13, which is in ECF number 81, which is

         4    the Richmond Police Department's response to the

         5    subpoena that The Court issued about the police

         6    precincts.    And I do ask The Court to take judicial

         7    notice of that because it is already in The Court's

         8    file.

         9          THE COURT:      All right.    I will take notice.        I

        10    guess it is admitted.

        11          MS KOENIG:      No evidence at this stage.

        12          THE COURT:      All right.

        13          So you are not going to call then your other

        14    witness, Mr. Hush?

        15          MS KOENIG:      Right.

        16          THE COURT:      All right.

        17          So they are done for the day.           And we will start

        18    off tomorrow morning, okay?

        19          MR. GIBBONS:     Yes, Your Honor.

        20          THE COURT:      And we will start at nine tomorrow.

        21    Is that all right with everybody?

        22          MR. GIBBONS:     Yes, Your Honor.

        23          THE COURT:      Thank you.    You know, I will look

        24    forward to seeing you then.         Thank you very much.

        25          Recess for the afternoon.         Thank you all very much


                                             JA1401
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                                       Coston - redirect                         151


         1    for coming and good job putting on the evidence.

         2          I will see you in the morning.           Thank you.

         3          I gave you a date to give your summary to

         4    Mr. Gibbons, right?

         5          MS KOENIG:       Yes, Your Honor.

         6          THE COURT:       Okay.   And then your date to respond.

         7          MR. GIBBONS:      Yes, Your Honor.

         8          THE COURT:       Thank you all very much.

         9                             HEARING ADJOURNED

        10

        11          THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT.

        12                      GILBERT FRANK HALASZ, RMR

        13                          OFFICIAL COURT REPORTER

        14

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                                             JA1402
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                                    Coston - redirect                            152


         1

         2    Coston - direct                                    18        16
              Coston - cross                                    101        15
         3    Coston - redirect                                 142         4

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                                         JA1403
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division




              THE UNITED STATES OF AMERICA,

                                        plaintiff,

                         versus                        3:21CR42

              KEITH RODNEY MOORE,

                                        defendant,




                        Before: HONORABLE JOHN A. GIBNEY, JR.
                             United States District Judge




                                Day II (pages 152 - 345)



                                         July 19, 2022

                                      Richmond, Virginia




                                        GILBERT F. HALASZ
                                    Official Court Reporter
                                         U. S. Courthouse
                                     701 East Broad Street
                                       Richmond, VA 23219


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                               Assistant Public Defenders

                                     for the defendant

                        The defendant in his own proper person




                                          JA1405
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                                                                                  154


         1          THE CLERK:      Case number 3:21 CR 42.

         2          United States versus Keith Rodney Moore.

         3          Mr. Erik Seibert and Mr. Shea Gibbons represent

         4    the United States.

         5          Ms Laura Koenig and Ms Amy Austin represent the

         6    defendant.

         7          Are counsel ready to proceed?

         8          MS KOENIG:      Defense is ready, Your Honor.

         9          MR. SIEBERT:      United States is ready, Your Honor.

        10          THE COURT:      All right.

        11          MS KOENIG:      Good morning, Your Honor.         Before we

        12    start with the evidence in the case I wanted to bring

        13    to The Court's attention an issue that has been brewing

        14    between the parties for the last several days.

        15          As I think the Government is essentially asking us

        16    to raise this with The Court, which is fine.

        17          So on Friday afternoon, this past Friday, July 15,

        18    the Government disclosed to the defense a report a

        19    report that is dated July 15th, 2022.            One of the

        20    signatures indicates July 13 or it could be 15th, I

        21    can't read it.        But on July 15 of 2022 the Government

        22    disclosed a report by Agent Josh Valot, who is a

        23    special agent, I believe with the ATF.            That report

        24    details a review of the traffic stop data that we had

        25    provided to the Government, and indicates that there


                                           JA1406
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                                                                                 155


         1    are counts of certain numbers of stops that the

         2    Government believed happened outside of the City of

         3    Richmond, as well as instances that the Government

         4    thought appeared to be duplicate records in the

         5    information.    That report had no identification of

         6    which line items or which control numbers the

         7    Government believed were erroneous.         And so over the

         8    weekend we had Dr. Coston check Dr. Coston's work

         9    specifically for the locations that the Government

        10    perceived to be outside the City of Richmond.             During

        11    that discussion with Dr. Coston Dr. Coston indicated to

        12    us that before Dr. Coston had run the analysis in

        13    January, December and January of this past year, that

        14    Dr. Coston had taken the data that the Federal Public

        15    Defender office had provided, which was both the raw

        16    data that the Richmond Police Department had sent us,

        17    as well as the Geocodio accuracies that the intern at

        18    the Federal Public Defender office had done, and

        19    corrected the items that were below a .6 accuracy.

        20          But what Dr. Coston found in plotting all of that

        21    data is that there were additional instances of stops

        22    that were outside of the City of Richmond.           So

        23    Dr. Coston as Dr. Coston testified yesterday had gone

        24    through and manually checked each one of those stops as

        25    it related to the street information that was provided


                                         JA1407
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         1    in the location column in defense exhibit 14.

         2    Dr. Coston had done that prior.        We don't know exactly

         3    the date.    We tried to figure that out last night.         But

         4    it was definitely prior to January 9 of 2002.

         5          I did not learn that Dr. Coston had taken that

         6    additional step until we started drilling down this

         7    weekend once we had a report that said that the

         8    Government had made these findings.         Certainly the

         9    Government in its motion limine, which is ECF 70, had

        10    reported these but never provided any substance, any

        11    reports that indicated that they had done further

        12    analysis.    Nothing in their expert report indicates

        13    that the expert had found these alleged discrepancies,

        14    alleged discrepancies or information.         And so

        15    Dr. Coston's report in defense exhibit two reports that

        16    Dr. Coston had excluded 82 stops as being outside of

        17    the City of Richmond.     When Dr. Coston this past

        18    weekend had verified to see if that was accurate

        19    Dr. Coston found that there were 81 stops that were

        20    excluded.    Once we did that verification I provided it

        21    to the Government.     That is how Dr. Coston testified

        22    yesterday to explain the process of when Dr. Coston did

        23    these corrections.     And Dr. Coston testified yesterday

        24    that Dr. Coston had excluded 81 of the stops as being

        25    outside of the City of Richmond.


                                         JA1408
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         1          Also, the Government provided between 9:00 and

         2    10:00 p.m. last night for the first time a list of

         3    control numbers that the Government believed were

         4    duplicate entries.        I provided data about an hour later

         5    to Dr. Coston.         Dr. Coston by 7:00 a.m. this morning

         6    was able to review that, and may be in a position to

         7    say that some of those, or potentially many of them, or

         8    nearly all of them, may be duplicate records.

         9          What Dr. Coston was able to determine as of, you

        10    know, between last night and this morning is that

        11    76.8 percent of the alleged duplicates were from black

        12    drivers, and 14.5 percent of the duplicates were white

        13    drivers.

        14          THE COURT:       That is almost the same percentage as

        15    the number of stops.

        16          MS KOENIG:       It is, Your Honor.       So it's very

        17    possible that these alleged duplicates may have no

        18    impact on Dr. Coston's findings.            But because it may

        19    impact the sample size I believe for the accuracy of

        20    Dr. Coston's report and the integrity of the data in

        21    this case it would be important for Dr. Coston to be

        22    able to run those numbers again, and the test again,

        23    with these duplicates in mind.

        24          So I indicated -- I discussed that with

        25    Dr. Coston.     Because Dr. Coston is in this courtroom


                                            JA1409
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         1    today and has meetings scheduled all day tomorrow, the

         2    earliest --

         3          THE COURT:      This hearing is going to be done

         4    today.    This part of it.

         5          MS KOENIG:      So, what I am telling The Court is

         6    that because the information that we have that we

         7    received on the duplicates was given to us on Friday

         8    afternoon Dr. Coston -- we didn't get the actual

         9    duplicates that Government believed, or the line items

        10    that the Government believed were duplicate -- I think

        11    it is appropriate for Dr. Coston to submit a supplement

        12    on whether or not these duplicates impact any of the

        13    other findings.

        14          THE COURT:      What do you have to say about that,

        15    Mr. Gibbons?

        16          MR. GIBBONS:     Good morning, Your Honor.

        17          THE COURT:      Good morning.

        18          MR. GIBBONS:     The data was provided to the United

        19    States on January 14th, 2022.         In that e-mail Ms Koenig

        20    sent a first e-mail saying, I am going to send you all

        21    two more e-mails as well.        One will contain the raw

        22    data as we received it from the Richmond Police

        23    Department; the other will contain the spread sheets as

        24    prepared for final analysis.

        25          True to word, we received two emails.            One


                                          JA1410
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         1    contained the raw data, one contained what we call

         2    corrected data.       The Government used corrected data in

         3    all of its analyses over the last six and a half

         4    months.   Yesterday we found out that that was not

         5    actually the data that Dr. Coston relied upon.

         6    Yesterday was the first time we saw that data.                 And

         7    when --

         8          THE COURT:      That was last night?

         9          MR. GIBBONS:     That was yesterday morning, Your

        10    Honor, at 8:00 a.m.      When I talked to Ms Koenig

        11    yesterday morning, I said, what is the difference

        12    between this data and the data we have?            And was told

        13    the only difference is that the data in exhibit 14 had

        14    the stops removed, the 81 stops separated out from the

        15    data.

        16          THE COURT:      Eighty-one --

        17          MR. GIBBONS:     Outside of --

        18          MS KOENIG:      -- potentially duplicate.

        19          MR. GIBBONS:     -- outside Richmond.

        20          THE COURT:      Eighty-one stops outside Richmond.

        21    Okay.

        22          MR. GIBBONS:     So on that assumption we did not

        23    object to exhibit 14 on the basis that it contained

        24    improvements or corrections that the United States had

        25    no knowledge of.


                                          JA1411
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         1          Dr. Coston never apparently provided the final

         2    data set to the defense until this weekend.              And the

         3    Government never received it until yesterday morning.

         4          We found out after the hearing last night, after

         5    we went to double check some of the numbers how this

         6    was a different data set than the Government had access

         7    to the entire time.

         8          Your Honor, we raised all of these concerns about

         9    the stops outside Richmond and the duplicates in our

        10    April 8 filing.       We did not identify control numbers,

        11    but we raised the issue there.          We have concerns about

        12    the forthrightness of Dr. Coston's report.              Dr. Coston

        13    said in their report in talking about the location

        14    data, I verified a random selection -- well, let me

        15    read one more sentence.       I'm sorry, Mr. Court Reporter.

        16          "For all locations with less than a .6 accuracy

        17    score locations were checked and corrected by an intern

        18    with the Public Defenders Office.             I verified a random

        19    selection of these to insure accuracy and corrected

        20    latitude and longitude, and found no discrepancies in

        21    the corrections."

        22          Dr. Coston did not disclose that they corrected a

        23    minimum of 128 data entries.         Never disclosed that to

        24    the Government at all, didn't put that in the report.

        25          THE COURT:      What do you want me to do?


                                          JA1412
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         1          MR. GIBBONS:     We are in a difficult position, Your

         2    Honor.    We agree to withdraw the location arguments we

         3    made to Dr. Coston and in our report.           That took dozens

         4    of hours to put together on the data that we had.

         5          THE COURT:      The location arguments are that --

         6    what location argument?

         7          MR. GIBBONS:     The 209 stops located outside the

         8    City of Richmond.      I think the parties are in agreement

         9    that 81 of those are outside the City of Richmond.

        10    These extra 128 we don't have time to run that

        11    analysis, so we are just going to drop that argument,

        12    Your Honor.

        13          We do believe that the failure to disclose the

        14    final data set is a Rule 16 violation, either by the

        15    defense, if they didn't know Dr. Coston had a

        16    additional data set, but we are in a difficult position

        17    because we are talking with two different data sets

        18    that are 99 percent similar, but have significant

        19    differences.

        20          THE COURT:      Well, if they are 99 percent similar

        21    there is one percent difference.

        22          MR. GIBBONS:     That is why we are a little bit spun

        23    up about this issue, because we have done dozens and

        24    literally hundreds of hours of work on the old data set

        25    that we believed was the final one and now come to find


                                          JA1413
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                                       Smith - direct                            162


         1    out yesterday it's a totally different data set.

         2          THE COURT:      So what do you want me to do?

         3          MR. GIBBONS:     I don't believe there is anything we

         4    can do at this point, Your Honor.             We just wanted to

         5    notify The Court that when we were kind of talking past

         6    each other yesterday, Dr. Coston and I, it was a

         7    misunderstanding about --

         8          THE COURT:      I understand how it makes a little

         9    more sense now.

        10          MR. GIBBONS:     That is all we wanted to say, Your

        11    Honor.

        12          THE COURT:      Thank you.

        13          All right.

        14          Well, it looks like there is a minor difference in

        15    the data Dr. Coston had, that the Government -- that

        16    the defense had provided to the Government back in the

        17    winter and the evidence that was presented yesterday.

        18    But it appears to me that it's very minor.

        19          So, let's hear from the Government.

        20          MR. GIBBONS:     Government calls Dr. Michael Smith.

        21          THE COURT:      All right.    Dr. Michael Smith, the

        22    long-awaited Dr. Michael Smith.

        23          Thank you for coming, sir.

        24                             MICHAEL SMITH

        25                AFFIRMED AND TESTIFIED AS FOLLOWS:


                                          JA1414
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                                      Smith - direct                             163


         1                           DIRECT EXAMINATION

         2    BY MR. GIBBONS:

         3    Q     Good morning, Dr. Smith.

         4    A     Good morning.

         5    Q     Please introduce yourself to The Court.

         6    A     I am Michael Smith, professor of criminology and

         7    criminal justice at the University of Texas in San

         8    Antonio.

         9    Q     Let's start with a little bit of your background

        10    and history.     Did you formerly work as a Richmond

        11    Police Department patrol officer?

        12    A     I did.

        13    Q     How long ago was that?

        14    A     More than 30 years ago.       Late '80s.

        15    Q     What effect does your work as a RPD patrol officer

        16    35 years ago have on your scientific work today?

        17    A     None whatsoever.

        18    Q     You received a B S?

        19    A     Yes.

        20    Q     Where did you receive that bachelors from and

        21    when?

        22    A     Right here, Virginia Commonwealth University.

        23    Q     Then you went on to receive your juries doctor; is

        24    that correct?

        25    A     I did.


                                         JA1415
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                                      Smith - direct                             164


         1    Q     Where was that and when was that?

         2    A     University of South Carolina in 1993.

         3    Q     Then after that you received an additional degree,

         4    correct?

         5    A     That's correct.

         6    Q     Tell us about that.

         7    A     PhD Justice Studies from Arizona State University

         8    that I obtained in 1996.

         9    Q     You have been actively engaged in the field of

        10    criminology and racial justice research since 1996?

        11    A     Correct.     I have.

        12    Q     Approximately how many published articles, how

        13    many articles have you published on the topics of

        14    criminology and racial disparity in policing?

        15    A     I don't know.    I haven't counted them, but I would

        16    say between 15 and 20, maybe, just on this particular

        17    issue.

        18    Q     How many total in the field of criminology

        19    generally?

        20    A     More than 50.

        21    Q     In fact, you wrote one of the very first

        22    peer-reviewed racial disparity papers; is that correct?

        23    A     That's correct.

        24    Q     Tell us about that.

        25    A     That was an analysis from here, from Richmond.


                                           JA1416
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                                       Smith - direct                            165


         1    The analysis was done probably in 1999.            I think the

         2    paper came out in 2000.       To my knowledge it is the

         3    first peer-revieweded paper in this field.

         4    Q     How many times has that peer reviewed paper been

         5    cited in the literature?

         6    A     Close to 300 the last time I checked.

         7    Q     Is it accurate to say that you were one of the

         8    foremost authorities in the country on racial

         9    disparities in policing?

        10          MS KOENIG:      Objection.    Calls for something that

        11    is speculation on the witness' behalf, and also not

        12    appropriate vouching for the Government.

        13          THE COURT:      Well, go ahead, toot your horn.          I

        14    guess the answer will be yes.         You are not going to say

        15    no, I am not an authority, are you?

        16          THE WITNESS:     So I am not going to.        I think most

        17    people in our field who work this area would agree that

        18    I am one of the leading figures in the discipline.

        19    Q     Let's talk about work with quantitative methods.

        20    What is your familiarity with data collection

        21    procedures?

        22    A     I am very familiar with them.

        23    Q     How long have you been performing quantitative

        24    research in the field of criminal justice?

        25    A     For more than 25 years.


                                          JA1417
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                                        Smith - direct                           166


         1    Q     Does that include methods of data quality control?

         2    A     Yes.

         3    Q     How often do you use statistics in your research?

         4    A     Regularly.       All the time.

         5          THE COURT:       So, Dr. Smith, would you -- I

         6    neglected to write this down.          You are -- what did you

         7    get your PhD in at Arizona State?

         8          THE WITNESS:      Justice studies.

         9          THE COURT:       What does that entail?

        10          THE WITNESS:      I am trained as a sociolegal

        11    scholar.     So, it is the intersection of law and social

        12    science's.

        13          THE COURT:       Okay.

        14          And what school are you in at UT San Antonio?

        15          THE WITNESS:      That is the University of Texas at

        16    San Antonio.

        17          THE COURT:       I mean what --

        18          THE WITNESS:      I am in the department of

        19    criminology and criminal justice.

        20          THE COURT:       Thank you.

        21          THE WITNESS:      Yes, sir.

        22    BY MR. GIBBONS:

        23    Q     In fact are you chair of that department?

        24    A     No, not any more.        I was the chair.

        25    Q     Okay.


                                             JA1418
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                                      Smith - direct                             167


         1    A     Back on faculty now.

         2    Q     What is your level of experience performing

         3    research with quantitative methods?

         4    A     As I said, I have been doing it for more than 25

         5    years.

         6    Q     You talked about some illustrative examples of the

         7    kind of work you do that involves quantitative methods?

         8    A     Sure.   In this particular, with respect to this

         9    particular issue in this case it is one of my primary

        10    areas of research expertise.        As you mentioned earlier,

        11    asked earlier, I published many papers on this

        12    particular topic, on racial disparities in

        13    police-civilian contacts.       All of them involved

        14    statistical analysis going back to that very first

        15    paper in 2000.

        16    Q     Can you give a couple of examples of the types of

        17    engagements that you do as an expert and as a

        18    consultant?

        19    A     Sure.

        20          In the early 2000s I served as the United States

        21    Department of Justice's special litigation section's

        22    methodology expert in a series of consent decree cases

        23    in the early 2000s.     I have served as parts, either

        24    held or served as parts of teams that have examined

        25    large-scale data sets and done these sorts of analyses


                                         JA1419
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                                       Smith - direct                               168


         1    that are at issue in this case in many agencies.               Some

         2    of the larger ones would include state level, state

         3    police agencies in Arizona.         There is a highway patrol,

         4    Washington State Patrol.        I did a major study with the

         5    Miami Dade Police Department, with the Los Angeles

         6    Police Department, with, most recently with the San

         7    Jose Police Department in California.

         8    Q     Does your work as an expert witness include

         9    representing plaintiffs in civil rights lawsuits?

        10    A     Now and then, yes.

        11    Q     Tell us about that.

        12    A     I am currently an expert in a case in the Southern

        13    District of New York that involves allegations of

        14    racial disparate treatment and targeting of Latino

        15    motorists in Suffolk County, New York.           And I am the

        16    designated expert for the plaintiff in that case.

        17          THE COURT:      So, he asked you I think, do you don't

        18    represent people.      You don't handle those as the

        19    plaintiff's lawyer?

        20          THE WITNESS:     No, sir.     I am an expert.

        21          THE COURT:      As an expert, okay.

        22          THE WITNESS:     Yes.

        23    BY MR. GIBBONS:

        24    Q     Dr. Smith, have you ever worked for the Government

        25    in your capacity as a social scientist who studies


                                            JA1420
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                                       Smith - direct                                169


         1    racial disparities in policing?

         2    A     I mentioned that I have in the past served as a

         3    consultant, an expert consultant to the USDOJ.                 So in

         4    that capacity I was paid for that work.            So, yes.

         5          MR. GIBBONS:     Your Honor, I tender Dr. Smith as an

         6    expert in racial disparities and law enforcement and

         7    quantitative methods?

         8          MS KOENIG:      No objection, Your Honor.

         9          THE COURT:      Thank you.    He is recognized as an

        10    expert.   You obviously have testified in litigation in

        11    the past.

        12          THE WITNESS:     I have.

        13          THE COURT:      Have you had any cases that have gone

        14    to trial, or all been settled?

        15          THE WITNESS:     I had one -- I actually testify as

        16    an expert relatively rarely.         I have in the past.         One

        17    of those cases went to trial.         It wasn't a racial

        18    disparity case, it was a use of force case.

        19          THE COURT:      Thank you.

        20    BY MR. GIBBONS:

        21    Q     If we could pull up what has been marked a

        22    Government's exhibit three.

        23          This is your expert report, Dr. Smith?

        24    A     Yes, it is.

        25    Q     I believe this has already been admitted, Your


                                          JA1421
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                                       Smith - direct                            170


         1    Honor.

         2          THE COURT:      Right.

         3    BY MR. GIBBONS:

         4    Q     Exhibit four?

         5          THE COURT:      His CV.    I have looked at it.

         6          MR. GIBBONS:     Has that been that admitted already,

         7    Your Honor?

         8          THE COURT:      It is now.

         9          MR. GIBBONS:     Great.

        10          This is your CV, Dr. Smith?

        11          THE WITNESS:     Yes.

        12    BY MR. GIBBONS:

        13    Q     Dr. Smith, as an expert in the field of racial

        14    disparities in law enforcement have you reached

        15    opinions in response to the opinions reached by

        16    Dr. Coston?

        17    A     Yes, I have.

        18    Q     What are those opinions?

        19    A     Well, the primary, I guess the primary conclusion

        20    is that the analysis that Dr. Coston did cannot be

        21    reliably relied upon to draw the conclusion that race

        22    was a contributing factor to the decision-making that

        23    occurred in this case.

        24    Q     What are your opinions with regard to Dr. Coston's

        25    quantitative methods?


                                             JA1422
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                                        Smith - direct                             171


         1    A     The primary quantitative analysis that she

         2    conducted, that Dr. Coston conducted, was discussed at

         3    length yesterday.       The chi-square analysis.         It is a

         4    well established sort of bivariate technique.

         5          THE COURT:       A bivariate?

         6          THE WITNESS:      Bivariate, two variables.         Race and

         7    race and search.

         8          Obviously that test is a statistical test that has

         9    been around for, I don't know, a couple hundred years

        10    probably, but it is used extensively in this field as a

        11    stepping stone, a means to more involved and more

        12    detailed analysis that typically follow that, what I

        13    would consider an intermediate step in examining this

        14    question of whether race had an influence on the

        15    outcome or on the decision to stop.

        16    Q     We will talk more about that in detail, but first

        17    I want to talk about data collection and quality

        18    control.    Are you familiar with state-wide efforts to

        19    collect traffic stop data?

        20    A     Yes, I am.

        21    Q     How are you familiar?

        22    A     As I said, I worked on analytic teams that

        23    examined state-wide data collection, or the data

        24    produced by state-wide data collection efforts in

        25    Arizona and in the State of Washington.             As part of the


                                           JA1423
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                                      Smith - direct                             172


         1    Arizona work, our team actually advised the Arizona

         2    Highway Patrol on the fields and the process.            We

         3    helped design the system that was in place.

         4    Q     What are some of the common issues with state wide

         5    efforts to collect traffic stop data?

         6    A     Well, you know, there are, it is a fraught, it is

         7    a fraught industry.     So what I mean by that is that we

         8    have upward of 18,000 police departments in the United

         9    States.   And they range from one person police

        10    departments with a single police chief, up to the NYPD

        11    with 35,000 police officers, and everything in between.

        12          So when you are talking about trying to coordinate

        13    data collection across an entire state, you are talking

        14    even in small states of dozens or hundreds, and

        15    sometimes, in some cases in larger states, thousands of

        16    police departments, with varying sizes and

        17    capabilities.     And you are trying to get them all on

        18    the same page to collect the same data elements in the

        19    same way in a consistent manner accurately.            And then

        20    to enter them accurately into some system, some data

        21    base, some interface that then can be, where the data

        22    can be warehoused and eventually analyzed.

        23          There are multiple opportunities throughout that

        24    entire process for error to be introduced.            In my

        25    experience it is very, very common that that is the


                                         JA1424
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                                      Smith - direct                             173


         1    case across statewide efforts.         It is even common with

         2    single agencies for them to struggle with, particularly

         3    early on when data collection efforts are new to enter

         4    the data correctly and accurately and reliably.

         5    Q     What methods of data quality control do

         6    researchers in the field of racial disparities use with

         7    newly collected stop data?

         8    A     So there are a wide variety of what I would term

         9    data audit techniques that I use, that the teams that I

        10    work on, typically use to understand the nature of the

        11    data we are operating under.        In fact, we undertake

        12    those data audits, those extensive data audits before

        13    we begin to analyze the data in any substantive way.

        14    And so, we check.     We check first of all for the

        15    accuracy or in the completeness of each of the data

        16    fields that are collected.       So, race, age, type of

        17    stop, whether a search was conducted.          Each one of

        18    these fields that may appear in the data we audit to

        19    see how much of those data are missing, first of all.

        20    That is one check that we undertake.          We do that across

        21    all the fields.

        22          Then we undertake an internal logic test or audit

        23    to check to see whether or not variables that should be

        24    related to one another in certain ways are in fact

        25    related to each other in certain ways.


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         1          So, as an example, if the data collection regime

         2    asks the police department to indicate whether a search

         3    was conducted and whether contraband was found, then

         4    you should not have any instances where contraband was

         5    found but a search wasn't conducted because contraband

         6    is a product of the search.

         7          So we call these internal logic checks.

         8          So we do that across all potential variables that

         9    could interact in a way that you would expect, or not

        10    expect to see whether or not those data align, to see

        11    whether there are internal consistencies or

        12    inconsistencies across data fields.

        13    Q     Go ahead.

        14    A     Then the final type of check that we prefer to do

        15    is to check the data that is collected by the police

        16    department against an external data source.            This is an

        17    overall validity check.      It helps answer the question

        18    whether the police are accurately entering the data

        19    into the system, whether they are doing that, doing

        20    that accurately.      And it helps us understand whether or

        21    not there are systemic patterns of differences that one

        22    might not expect.

        23          So, as an example, it's often a question in these

        24    kinds of data collection processes, it is often a

        25    question from stakeholder groups or from the community,


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         1    there are lots of skeptics in the audience about

         2    whether the police are really accurately entering

         3    information, for example, on driver race.            You know,

         4    the perception among some stakeholder groups of course

         5    is that the police have every incentive not to enter

         6    that data accurately.

         7          So, an external audit would compare the stop data

         8    that the police have entered into the system to some

         9    external data source that should align with that stop

        10    data.     For example, traffic citations.        So, in some

        11    states traffic citations contain the race of the

        12    driver.    The race of the driver is also entered into

        13    the data collection system that is at issue.

        14          We spent some time talking yesterday about control

        15    numbers, and what we call case IDs, that is why they

        16    are very important because they typically would, you

        17    will be able to link a stop that has been cataloged in

        18    the data collection system with the traffic, the

        19    corresponding traffic citation that was issued in that

        20    case to see whether or not the race that was indicated

        21    on the traffic citation for the driver is the same as

        22    the race that was indicated in the data collection

        23    system.    An external audit check.          I do that in the way

        24    that I just described with traffic citations.             You can

        25    also, you know, in Miami Dade, for example, we took


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         1    random sample of drivers whose race ethnicity was

         2    entered into the stop data system, and we obtained

         3    their digital driver's license photos from DMV.               And we

         4    had a panel of people review those driver's license

         5    photos against the race and ethnicity indicator that

         6    the officer provided in the data collection fields to

         7    see whether or not there were obvious mismatches.

         8    Officer indicates that the person is white when the

         9    drivers license seems to indicate that they are

        10    African-American, for example.

        11          So that is another method that we use as an

        12    overall check for validity.

        13    Q     You talked about instances where there is missing

        14    data in the traffic stop entry.         What is the data audit

        15    standard for when a traffic stop entry contains one or

        16    more cells of missing data?

        17    A     Well, we typically like the agencies that we work

        18    with, like to see less than a five percent missing data

        19    rate in every field.      Often times, particularly early

        20    on in the data collection process, if it is a new

        21    system, or a new, you know, a new mandate, never been

        22    in place before, you will see large percentages of

        23    missing data.     And then through the process of

        24    engagement with the agency that I worked with over the

        25    years we work with them to help them get better to


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         1    collect their data more accurately so that those

         2    missing data percentages shrink.

         3          Again, we hope -- there are certain rules of thumb

         4    is less than five percent missing data.            Obviously the

         5    smaller the better, but five percent is sort of the max

         6    that we really wouldn't want to be able to see any

         7    given data field.

         8    Q     When you identify missing data when you go to

         9    perform your analysis, what do you do with that data?

        10    A     Well, if there is a case, when I say case, let's

        11    say a traffic stop, that contains a missing piece of

        12    information so the race of the driver isn't there,

        13    there is a field, mandatory field that says you are

        14    supposed to indicate whether a search was or was not

        15    conducted and that is missing.          So if a single record,

        16    single case, a single traffic stop has any piece of

        17    missing information in it, then we exclude that case

        18    from the analysis.

        19          THE COURT:      Wait a second.     Suppose you were

        20    checking to see race and they had forgotten to put in

        21    gender.   You would exclude, still exclude that?

        22          THE WITNESS:     Yes.

        23          THE COURT:      Why is that?

        24          THE WITNESS:     So that is, that is just a careful

        25    data management practice that most experienced social


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         1    scientists follow.

         2          THE COURT:      Well, but I don't understand how it

         3    affects the validity of the racial data if they haven't

         4    written down the gender.

         5          THE WITNESS:     There was some discussion yesterday

         6    about the idea that if a traffic, if a single record of

         7    data contains missing information it at least raises

         8    the question about whether there are other fields that

         9    may not be accurately represented.            And so, granted, it

        10    is a conservative approach to eliminate that data in

        11    entire record, but that is the approach that most

        12    social scientists that I am familiar with will take

        13    with missing data.      And that is how I treat missing

        14    data.

        15          THE COURT:      I just don't understand if you are

        16    concerned about race and there is -- I don't understand

        17    why, why that --

        18          THE WITNESS:     Well --

        19          THE COURT:      -- why that says, well, we are going

        20    to ignore those.

        21          THE WITNESS:     Because often times, Your Honor,

        22    race ends up being analyzed in conjunction with other

        23    variables in that data set.         So if other variables that

        24    interact with race are missing, then that would affect

        25    the outcome of the analysis.


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         1          THE COURT:      So if you weren't checking for other

         2    variables, then it wouldn't -- for instance if you were

         3    looking to see whether there was an unusual number of

         4    African-American women who were stopped, if we weren't

         5    worried whether they were women, the identification

         6    wouldn't affect that, would it?

         7          THE WITNESS:     Probably not.      But in the analysis

         8    that we typically do there are multiple interaction

         9    effects that we examine.        It is almost never the case

        10    that we would simply look at a variable in isolation

        11    and not part of a larger set of analyses.            There is

        12    more than one variable would be considered either in a

        13    bivariate analysis like was conducted here, or in a

        14    regression model.      So, again, the more conservative

        15    approach is simply to eliminate any case that has

        16    missing data in it it.

        17    BY MR. GIBBONS:

        18    Q     How do researchers in the field of racial

        19    disparity research deal with duplicate data?

        20    A     You have to diagnosis why -- first of all you have

        21    to diagnosis what you are looking at.           Do you really

        22    have truly duplicate cases?         If you truly have

        23    duplicate cases, then it raises real questions about

        24    why that is.    There is, you know, throws the data

        25    collection process itself into question.


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         1          If the system is not designed to have duplicate

         2    records in it, and it has duplicate records in it, then

         3    that is a real problem, a real concern.            Obviously you

         4    would eliminate those, but more fundamentally you would

         5    be concerned that there is something wrong in the way

         6    that the data were collected.

         7          THE COURT:      So your concern that this, as with the

         8    exclusion of things missing one of the cells, is

         9    essentially that what you are worried about is that

        10    there are overall sloppy collection techniques?

        11          THE WITNESS:     That is part of the concern, Your

        12    Honor, yes.

        13          THE COURT:      What is the rest of it?

        14          THE WITNESS:     Well, as I mentioned earlier, a

        15    missing cell in and of itself, if that cell weren't of

        16    concern to the analysis would probably be trivial.             But

        17    because we interact so many of these variables with

        18    each other, then it becomes non trivial or potentially

        19    non trivial.

        20          THE COURT:      So it has a statistical significance

        21    in the way you run the statistical program.

        22          THE WITNESS:     It could.

        23          THE COURT:      But, I mean, like your main concern is

        24    that these folks are doing that sloppy job gathering

        25    the data.


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         1          THE WITNESS:     Statistically true of the larger,

         2    the more missing data that there is the greater the

         3    concern.    In cases of true duplicate records when there

         4    shouldn't be duplicate records -- there are instances

         5    you would expect to see duplicate records.            For

         6    example, some traffic stop data collection regimes

         7    collect data on everyone in the vehicle.           Driver and

         8    passengers, for example.       So, the single traffic stop

         9    which has the, which has an appropriate RMS system,

        10    records management system, or CAD system, computer

        11    aided system, would assign a unique ID number.                You

        12    might expect to see multiple entries for that unique ID

        13    number associated with the driver and let's say a

        14    passenger, or a driver and two passengers, you know.

        15    So you would see duplicate records under the same case

        16    ID, but involving different individuals in the vehicle.

        17    But when you have a data collection process where the

        18    only information being collected is on the driver, you

        19    might say, and you have duplicate records that appear

        20    to be the same driver who has entries for him or her

        21    more than once, then that is a systemic problem that is

        22    of concern.

        23    BY MR. GIBBONS:

        24    Q     And if a researcher in the field of racial

        25    disparity research happens to be stuck with wrong data


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         1    for one reason or another, what does that researcher do

         2    about it?

         3    A     Well, it depends how poor it is.           You know, there

         4    is degrees of these things.          On some level the data may

         5    be so poor that, you know, a reputable social scientist

         6    would look and say these data are --

         7          MS KOENIG:       I am going to object to that, they are

         8    missing.    Testifying about what other people would do.

         9    He can testify what he would do.

        10          THE COURT:       I think what he is testifying is about

        11    what the standard is in the field and tying this into

        12    Dr. Coston's analysis of the data that he received.

        13    And what he is saying, what I suspect he is going to

        14    eventually say is Dr. Coston's methodology doesn't

        15    comply with the standard in the field, and that it is

        16    therefore unreliable so under Daubert I should not

        17    consider it.

        18          I think that is where we are going.

        19          MR. GIBBONS:      Yes, Your Honor.

        20          THE COURT:       So, what was the question?        The

        21    question -- he was talking about there are degrees of

        22    inaccuracies.      And what was the question about?

        23          MR. GIBBONS:      The question was, if a researcher is

        24    --

        25          THE COURT:       What do you?


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         1          MR. GIBBONS:      What are, what do you do with it?

         2          THE WITNESS:      I mentioned sort of a rule of thumb

         3    of five percent, you know, missing data standard for

         4    example.    It if it is under five percent then, of

         5    course, as I said, we eliminate any case that is

         6    missing a piece of information.           But, you know, I would

         7    continue to proceed ahead to analyze those data.                If

         8    the data were missing a larger percentage of

         9    information, then at some point I believe, again

        10    certainly myself and other researchers that I work with

        11    regularly in this field -- would be concerned about

        12    analyzing the data at all.

        13          THE COURT:       So there is a degree of inaccuracy

        14    above which you simply decide, well, this data is not

        15    an appropriate subject of statistical investigation, is

        16    that right?

        17          THE WITNESS:      Yes, sir, Your Honor.

        18          Usually there is conversation that is involved.

        19    Often times, as I say, it's a continuum, right?                 So

        20    often times you will have data that falls above the

        21    five percent threshold that we would like to see, but

        22    nothing like, you know, not missing fifty percent of

        23    the data.     So maybe 20 percent, let's say, my example.

        24    Typically a conversation involved with the

        25    stakeholders.      Sometimes that may be the City or the


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         1    police department.       Sometimes that might be, you know,

         2    whoever commissioned the study or the analysis.                 If it

         3    is a federal grant you might have to have a

         4    conversation with the granting agency.            But typically

         5    there is a conversation that looks something like, hey,

         6    we have taken a look at these data, we have audited the

         7    data, we are missing 25 percent of the fields across

         8    the data set.      We can proceed with the analysis, but

         9    understand that that degree of missing data could

        10    influence the outcome.        So depending on how that

        11    conversation goes, we may or may not proceed.              If we do

        12    proceed then we typically caveat the findings pretty

        13    heavily in terms of what can be legitimately concluded

        14    based upon them.

        15          THE COURT:       Well, if the data is not reliable why

        16    would you as reputable social scientist provide that to

        17    your client who is presumably going to do something

        18    with it?

        19          THE WITNESS:      Because, you know, the primary

        20    stakeholders' opinion matters, you know.             And they, you

        21    know, have a voice and they should have a voice.                So

        22    once the information is accurately presented to them

        23    about what the data audit has revealed, and if it

        24    reveals significant problems and they wish to proceed

        25    with the analysis, then we would proceed.             But, again,


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         1    we will do that with full recognition on the part of

         2    everyone that the data are missing significant pieces

         3    of information or are otherwise unreliable, and

         4    therefore the results have to be taken with a very

         5    large grain of salt.

         6          THE COURT:      So you would tell them, we will

         7    proceed, you have got to understand you are getting a

         8    Yugo and not a Mercedes?

         9          THE WITNESS:     Yes, sir.

        10    BY MR. GIBBONS:

        11    Q     Dr. Smith, we talked about data collection

        12    procedures and collecting the data.

        13          Now I would like to go to the next step, which is

        14    benchmarking.     Specifically with reference to racial

        15    disparity research.      What is the main problem that

        16    researchers face in benchmarking?

        17    A     Well, the problem with benchmarking, we call that

        18    the benchmarking problem.        The basic idea is that it is

        19    relatively easy, we have been talking here this morning

        20    about collecting data and the difficulties and the

        21    complexities of that, which is all true, yet when the

        22    processes mature enough and has sort of passed that,

        23    you know, that five percent missing data reliability

        24    check box and, you know, internal validity checks are,

        25    you know, aligning and so forth, we would have fairly


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         1    high degree of confidence the data are being collected

         2    appropriately.        So, then ascertaining the race, for

         3    example, or ethnicity of the driver as indicated by the

         4    officers when they make traffic stops is sort of

         5    relatively easy, you know.         The cops are required to

         6    enter this information.        They enter that information

         7    reliably, and so we know that over a period of time

         8    they have made X number of traffic stops and some

         9    percentage of them are of white drivers and some

        10    percentage African-American driers or Spanish drivers

        11    and so forth.     So that is administrative data that sort

        12    of serves as a foundation of the analysis.

        13          But knowing that a percentage of -- that the

        14    percentage of a population of stops is comprised of

        15    some percentage of whites, blacks, Hispanics and Asian,

        16    for example, is meaningless unless you can compare that

        17    to a meaningful population.          That's in the, that is the

        18    heart of the benchmarking problem.             So identifying what

        19    that -- that meaningful population should be an

        20    estimate, a reliable estimate, of the people who are at

        21    risk or available to be stopped in that jurisdiction.

        22          That is the definition of what a benchmark, good

        23    benchmark, should be.

        24          THE COURT:      Let me see if I understand correctly.

        25          You said, I think, a second ago, ascertaining the


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         1    race is the easy part.

         2          THE WITNESS:     Yes.

         3          THE COURT:      Because you can know how to identify

         4    people's race.

         5          But the difficult thing is comparing that to a

         6    meaningful population of the people who are essentially

         7    available to be stopped.

         8          THE WITNESS:     That's correct, Your Honor.

         9          THE COURT:      In this case, that would be the

        10    motoring public during the relevant time period.

        11          THE WITNESS:     That is exactly right.

        12          THE COURT:      So if there are -- if there are a

        13    hundred thousand drivers motoring in a particular area,

        14    and you would need to know -- let's back up a second.

        15          I am trying to see how the plays out.

        16          Well, let's just look at our case here.

        17          If, well, 77 percent of the people are stopped by

        18    the police are African-American, would you, would it be

        19    important to know whether 77 percent of the people who

        20    were driving around are also African-American, in which

        21    case it would not be surprising that 77 percent of

        22    people stopped are African-American?

        23          THE WITNESS:     That's right, Your Honor.

        24          THE COURT:      But in contrast, if ten percent of the

        25    people who are driving around are African-American and


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         1    77 people, or percent of the people who were stopped

         2    are African-American, that would be a more meaningful

         3    statistic in terms finding some sort of discrimination.

         4          THE WITNESS:     Correct.

         5          THE COURT:      And okay.

         6          Now, how do I make -- I may be getting ahead of

         7    myself here.    I apologize.

         8          How do you decide what kind of -- how do you

         9    determine a disparity for motor vehicle stops,

        10    benchmark for motor vehicle stops?            I take it you are

        11    doing this in this Suffolk County case you are working

        12    on?

        13          THE WITNESS:     Actually, we are not.

        14          THE COURT:      Why are you not?

        15          THE WITNESS:     Because we don't have the data.

        16          THE COURT:      So what are you going to testify

        17    about?    Are you going to be the Dr. Coston in that

        18    case, that was consulted by some statistician from a

        19    university?

        20          THE WITNESS:     Well, so the benchmark question is

        21    the key in the -- if the -- if the question at issue is

        22    whether the police are disproportionately targeting

        23    minority drivers, then the only way to answer that

        24    question is if you have an estimate of the population

        25    of persons who are available to be stopped and the


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         1    racial composition of those people.

         2          THE COURT:       Right.

         3          THE WITNESS:      We estimate that -- there have been

         4    a variety of ways that have been attempted over the

         5    years, and there is kind of three main ones that sort

         6    of surfaced in the peer-reviewed literature over the

         7    last 20 years, I would say, of ways to do that.

         8          One is direct field observation.           Some might

         9    consider that the gold standard of benchmarking.                That

        10    literally means you put a research assistants typically

        11    on street corners making observations of drivers.               More

        12    sophisticated ways of doing that involve actually

        13    looking at traffic violations as well.            So, I did an

        14    observation study once in Miami Dade County, for

        15    example, where we measured not only systematically the

        16    perceived race and ethnicity of people passing by in

        17    vehicles at selected intersections, but we also looked

        18    at traffic violations at those selected intersections.

        19    So we had researchers with radar guns looking at speed.

        20    We looked at red light violations.             And we looked at

        21    controlled intersections like stop sign violations as

        22    well.     So there is a range of ways that you can do it.

        23    But basically the idea is you are putting people out on

        24    the roadways actually making observations of who is

        25    driving and who is committing traffic violations at


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         1    certain places.       It's an excellent way to estimate who

         2    is out there driving and who is out there violating

         3    traffic laws.     The problem with it is very time

         4    consuming and expensive to do.          So there haven't been

         5    that many of those kinds of studies done.            Primarily

         6    because of the time and expense that is involved.              That

         7    is one technique, though.

         8          Another technique that has again emerged I think

         9    in the scientific literature was mentioned yesterday,

        10    veil of darkness approach.        It is actually, it is

        11    useful and doesn't require an external benchmark.              It's

        12    an analysis of the stops themselves based on the time

        13    of the day.    Now, there is some significant assumptions

        14    built into that recently, for example, been called into

        15    question.

        16          But the basic idea with veil of darkness approach

        17    is that the researcher compares stops of drivers by

        18    different races during the day to stops of those

        19    drivers of different races at night.           They use, we use

        20    natural variation in daylight and daylight savings time

        21    to do that type analysis.        So, for example, at

        22    5:00 p.m. in December it is dark in a lot of places in

        23    the country.    At 5:00 p.m. on July 1st it is broad

        24    daylight in a lot of places.         So, the veil of darkness

        25    uses that natural variation in daylight and in daylight


                                          JA1442
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         1    savings time to look at windows of stops that are

         2    sometimes at night in full darkness, and sometimes at

         3    day, in the day, depending on the time of the year, to

         4    see whether or not those daytime and nighttime stops

         5    vary by the race or ethnicity of the driver.            So the

         6    basic picture here is that if you assume, and this is

         7    one of the assumptions, the untested assumptions of the

         8    veil of darkness approach.       But if you assume that

         9    officers, that it is more difficult to ascertain the

        10    race and ethnicity of the driver prior to the stop when

        11    it's dark outside, if you make that assumption then the

        12    nighttime set of stops represent a less biased estimate

        13    of traffic stop behavior because presumably the

        14    officers can't tell who they are stopping until they

        15    walk up to the car.     And you compare that the stops

        16    that are made during the day of that same racial group.

        17    And if you see higher rates of stops of minorities, for

        18    example, during the day compared to the percentage of

        19    minorities who are stopped at night, then that is some

        20    indication that there may be a biased mechanism

        21    involved that.

        22          I have done that analysis a number of times myself

        23    and reported it in the peer-reviewed literature.              So it

        24    is an accepted technique, Your Honor, to estimate the

        25    benchmark, a benchmark of drivers compared stops.


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         1          The other technique that has appeared a number of

         2    times in the literature is use of traffic crash data to

         3    estimate the population of persons at risk for being

         4    stopped.

         5          So this technique was developed in the early

         6    2000s.    I was actually part of the team that pioneered

         7    this technique.

         8          It has been replicated a number of times now in

         9    the peer-reviewed literature as well.          So the idea and

        10    this comes from traffic safety literature going all the

        11    way back to the '50s.      The idea is that when people are

        12    victims of traffic crashes, meaning they are not at

        13    fault, they were just run into, that over time and over

        14    a large enough sample of those not at fault drivers in

        15    crashes that population provides a reliable estimate of

        16    who is actually out there driving available to be run

        17    into if you will look at it that way.

        18          So, if 40 percent of your not-at-fault traffic

        19    crash victims are African-American then that gives you

        20    a pretty good idea that about holder groups percent of

        21    your drivers are African-American.

        22          So, this analysis then compares the percentage of

        23    people who are not-at-fault drivers in two vehicle

        24    crashes by race against, that is the benchmark, against

        25    which police stops by race are compared.


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         1          So that is a long answer to the question, Your

         2    Honor, but those are the three main techniques I think

         3    emerged in the peer-reviewed literature in the last 20

         4    years.

         5          THE COURT:      Okay.   See if I have it correctly.

         6    Three ways to do this.        One is to count noses.           Two

         7    is -- three is to look at crashes.            And two is veil of

         8    darkness.

         9          THE WITNESS:     Yes.

        10          THE COURT:      Okay.

        11          THE WITNESS:     There are a few others that have

        12    been attempted.       Looking at red light cameras, for

        13    example, things like that.

        14          THE COURT:      All right.    Go ahead.

        15    BY MR. GIBBONS:

        16    Q     You are doing my job for me, Your Honor.

        17          THE COURT:      Well, no, I am not.      I am fouling up

        18    your case for you, probably.         You wouldn't be alone.

        19    BY MR. GIBBONS:

        20    Q     Dr. Smith, census data was used, especially

        21    initially, or is used as a benchmark.           Talk about the

        22    advantages and disadvantages of using census data as

        23    benchmark.

        24    A     Census data is what I have termed a first

        25    generation benchmark.         It was the earliest type


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         1    benchmarking that people in the field did.

         2          THE COURT:      In a traffic stop.

         3          THE WITNESS:     In traffic stop analysis.

         4          So first generation benchmark.          We did this around

         5    2000 in a few years on either side of it primarily.

         6    Frankly, because the science had not evolved beyond

         7    that.

         8          When I did that first paper in Richmond in 2000,

         9    for example, there was no peer-reviewed literature.

        10    There was some agency reports, expert witness reports a

        11    little bit that had been done.          But there was no

        12    literature base, no scientific base to draw upon when

        13    trying to figure out how do we, what do we compare

        14    against the percentage of drivers who have been stopped

        15    by the police who have given us, given race or

        16    ethnicity.

        17          So, you know, an easy way, and in some ways sort

        18    of an intuitive way, is to say, let's just look at the

        19    census data, look at, you know, who resides in a

        20    particular jurisdiction and compare those racial

        21    composition of who lives there to the composition of

        22    who is stopped.

        23          So, that is the first generation, sort of set of

        24    analyses that were done using census data as a

        25    benchmark.


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         1           We were pretty quickly, even then, for example,

         2    look at my Richmond paper from 22 years ago, there is

         3    some recognition, you know, some recognition that we at

         4    least ought to look at the sort of age-adjusted

         5    population, look at people who are 16 and older, for

         6    example.    If you have to be 16 to get a driver's

         7    license we thought then at least we ought to be looking

         8    at the population that is 16 and older in a given

         9    jurisdiction to at least rule out, you know, the three

        10    year olds who can't drive a car.         So that is what we

        11    did.

        12           When I say we, this is literally what I did in the

        13    early, in the early 2000s, but what other researchers

        14    did in a number of other papers that were published in

        15    those days.

        16           It pretty quickly evolved, though, to the point

        17    where we began to recognize that the census population

        18    is really a poor benchmark.        It as poor estimate for

        19    actually who is driving in a population.           That is

        20    really what we care about.       We need to compare apples

        21    to apples.     If we are comparing police stops we need to

        22    be comparing that to who is available to be stopped.

        23    Which means you have to be driving to be available to

        24    be stopped.     You can't just be living there.

        25           So, there were some many comparative studies that


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         1    began to look at how do we, if we can estimate the

         2    population using one of these techniques I just

         3    mentioned, and we compare it to the census population,

         4    we begin to see big divergences.         In some places

         5    significant divergences.       So you can think about, you

         6    know, any given large urban area that has suburbs.                 We

         7    have large numbers of people, at least pre COVID, who

         8    commuted to work every day.        Those suburbs often look

         9    very different from a race and ethnicity standpoint

        10    than the residential population of the City being the

        11    core, the urban core of the city where the stops are

        12    occurring.    So research began to uncover that.              We

        13    began to realize, hey, using the census as an estimate

        14    for who is driving is really not good science.                And so,

        15    you know, people who work in this area regularly,

        16    analysts like me, who work in this area regularly,

        17    stopped using the census as a benchmark at some point

        18    around, you know, 2005 to 2010 primarily.

        19    Q     How well does census data account for factors such

        20    as police deployment patterns, or potential driving

        21    differences among racial groups?

        22    A     Well, it doesn't account for those at all.              So the

        23    answer is, it doesn't account for them at all.

        24    Q     Despite the movement away from census data and

        25    racial disparity research, do you still occasionally


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         1    see census data being used in articles?

         2    A     You know, I have not seen census data used as a

         3    benchmark in the peer-reviewed literature, and I would

         4    review a lot of these papers.         I want to say in the

         5    last five to seven years I have not seen that.

         6          Now, some people will submit papers using the

         7    census benchmark.      Reviewers typically reject those for

         8    the reasons I just articulated.          I can't say there has

         9    not been a paper that used census as benchmark against

        10    traffic stops, but it has certainly fallen out of

        11    regular use in favor among experienced social

        12    scientists who work in this field.

        13    Q     Yesterday defense talked about a New York stop and

        14    frisk article that relied on census data.            Why is that

        15    comparison inapt?

        16    A     So, a stop and frisk analysis compares the racial

        17    composition of people stopped and frisked by the

        18    police.   That is analogous to the traffic stop data

        19    that the police collect.        In that case it seems, and

        20    again, I haven't read than paper, but at least from the

        21    representation in the courtroom yesterday, to the

        22    census population of people who live in particular

        23    areas of New York.

        24          MS KOENIG:      I think I just heard -- objection, I

        25    just heard Dr. Smith say he had not read the paper.            I


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         1    don't know that it as appropriate for him to comment on

         2    something he hasn't read.

         3          THE COURT:       Well, I think what he is commenting on

         4    is not so much the paper but on how you benchmark stop

         5    and frisk to something else.

         6          Is that fair to say, Mr. Gibbons?

         7          MR. SIEBERT:      I can rephrase the question.             I

         8    think it will help.

         9          THE COURT:       Rephrase.

        10    BY MR. GIBBONS:

        11    Q     Dr. Smith, what population of citizens does the

        12    New York stop and frisk study analyze?

        13          THE COURT:       He doesn't know.        He hasn't read it.

        14          THE WITNESS:      There have been many studies that

        15    have been done of NYPD stop and frisk practices, some

        16    of which have used some version of the census, not

        17    necessarily as a benchmark, but as part of the analysis

        18    that is done.

        19    Q     In particular that article that was referenced

        20    yesterday, did that concern pedestrian stops?

        21    A     Stop and frisk study, it concerns pedestrians, not

        22    drivers.

        23    Q     What is the difference between pedestrian

        24    benchmarks and driving benchmarks?

        25    A     Well, again, benchmark the science of benchmark,


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         1    benchmarking is about trying to identify the best

         2    estimate that we have of who is driving in a

         3    population.    Who is available to be stopped if it is a

         4    traffic stop study.     Or in a pedestrian stop study, it

         5    is trying to define the best estimate of who is

         6    available to be are stopped on the street as a

         7    pedestrian by the police.

         8          And some would argue that census data is a better

         9    estimate, closer estimate for pedestrian stop studies

        10    than it would be for traffic stop studies because it is

        11    a representation of who lives and circulating on foot,

        12    presumably, in an area, particularly in an urban area.

        13    Q     I would like to talk now about the reasons that

        14    motorists be stopped by the police.          What are the risk

        15    factors that would lead to a traffic stop from the

        16    motorists' perspective?

        17    A     Number one factor is how you drive.          So, violating

        18    behavior is a significant risk factor.          The type of

        19    vehicle that is driven.      So, traffic codes across the

        20    country have lots of provisions that regulate the

        21    condition of the vehicle that are citable if the

        22    vehicle doesn't meet those conditions.          So that is a

        23    risk factor for stops by the police.

        24          The deployment or the concentration of police

        25    officers in certain places in proximity to large


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         1    numbers of drivers matters.          So it's not uncommon to

         2    see a cluster of traffic stops, for example, along

         3    major thoroughfares because they carry not only higher

         4    volume of, they carry high volume of cars, but they

         5    also carry higher volumes of cops who are out there

         6    looking for people who are violating traffic laws.

         7          So that can matter.

         8          Those are a few.       The main ones.

         9    Q     Speaking across the nation, does it appear that

        10    there is a raw statistical racial disparity in who

        11    police stop?

        12    A     So it's not uncommon for the traffic stop

        13    literature to uncover racial disparities in traffic

        14    stops even applying the appropriate benchmarks that I

        15    mentioned.

        16    Q     What can a researcher determine about whether bias

        17    is an issue in that particular traffic stop when they

        18    discover a raw statistical disparity?

        19          THE COURT:       Are you asking if whether you can

        20    conclude that a particular stop is based upon racial

        21    bias?     Is that what you are asking from overall

        22    statistics?

        23          MR. GIBBONS:      Or or how inference is made given

        24    the raw statistical few disparities in question, Your

        25    Honor.


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         1          THE COURT:       Whether they are not with regard to a

         2    particular stop, but with regard to a pattern of stops?

         3          MR. GIBBONS:      Yes, Your Honor.

         4          THE COURT:       Okay.

         5          So the question is, from a statistical, or from a

         6    numerical disparity of stops what can you conclude

         7    about whether there is an overall problem, I guess?

         8          THE WITNESS:      I understand the question, Your

         9    Honor.

        10          The crux of the issue in a lot of these cases.            So

        11    I will say this.        Careful social scientists that work

        12    routinely with these kinds of data and do these kinds

        13    of analyses do not purport to reach conclusions about

        14    discrimination or potential discrimination based

        15    upon -- based on the findings of disparity in traffic

        16    stops.

        17    BY MR. GIBBONS:

        18    Q     I would --

        19          THE COURT:       What you are saying is that a

        20    disparity in the number of stops does not justify a

        21    conclusion that there is biased policing; is that

        22    correct?

        23          THE WITNESS:      That's correct.        And that is because

        24    there are -- for a number of reasons.            First of all, it

        25    is, you know, benchmarking is, as we have just been


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         1    discussing, is an inexact science in and of itself.

         2    Every benchmark as its limitations.            Some are worse

         3    than others and have been largely discarded by the

         4    scientific community.        Even the ones that remain

         5    standing are estimates, right.           Who is driving out

         6    there on any given day.        That is one problem or one

         7    reason why careful researchers don't make claims about

         8    discrimination based on estimates of bias -- of

         9    disparity.

        10          And then in the other reason is for, going back to

        11    the previous question, that there are typically a host

        12    of factors that can cause racially disparity results in

        13    traffic stops.        Many of which have nothing, logically

        14    nothing to do with potential bias decision making by

        15    the police.    And some of those variables are often

        16    times not well measured.         We don't have them in the

        17    data, or they are -- they can't otherwise be measured

        18    or controlled.        And so, you know, you are left with

        19    some often times, back to the question you just asked,

        20    you are often times left with disparities in traffic

        21    stop study findings.       That is probably more common than

        22    not across the literature.         But what you typically

        23    won't find, in the peer-reviewed scientific literature

        24    any way, are claims that those disparities mean that

        25    the police are out there targeting people because of


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         1    their race.

         2          THE COURT:      So then unfortunately, or fortunately,

         3    depending how you look it, our country has come a long

         4    way from the days of Sheriff Bull Connor down in

         5    Alabama or Georgia, wherever he was, saying that he is

         6    going to treat African-American people badly.             People

         7    just don't say that any more.         How do you prove that

         8    there is bias in policing without a smoking gun,

         9    somebody saying, let's go arrest all the

        10    African-Americans?

        11          THE WITNESS:     Well, from a social science

        12    standpoint, good social scientists don't make claims

        13    that, we say, go beyond your data.            You know you have

        14    to be humble in this field and recognize that you are a

        15    social scientist, you are not working inside a

        16    laboratory.    You are not a physicist or chemist who can

        17    control the environment.        You are working with real

        18    world data that is often messy.          And where a whole host

        19    of real world factors can impact the results that you

        20    are interested in analyzing.

        21          So, what you have to be very careful of is

        22    getting, not making claims that get out ahead of your

        23    data where you say things that the data cannot support

        24    from a scientific standpoint. So, you know, it is

        25    proceedings like this and people like yourself and the


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         1    attorneys that ultimately have to decide, you know,

         2    based on legal standards what equals discrimination or

         3    what doesn't.     It is people like me that can only help

         4    inform you that there are limits to what we can say and

         5    not say about that ultimate question.

         6          THE COURT:      Well, but I have got to make the

         7    decision in this case.       And I guess there will are

         8    probably other judges out there that that need to make

         9    similar decisions in similar cases.           And going beyond

        10    me, there are political leaders who need to make

        11    similar decisions for moral grounds.           You don't want a

        12    society that allows that.

        13          But what are telling me is that a simple disparity

        14    doesn't justify my making a decision that there is

        15    biased policing.       So what do I need on top of that if,

        16    assuming once again that I am not going to have police

        17    officers saying let's go arrest all the

        18    African-Americans, or whatever.

        19          THE WITNESS:     Well, sometimes there is direct

        20    evidence of that.      There is text messages, there is MDT

        21    messages, there is radio chatter that provide direct

        22    evidence of potential bias on the part of officers.

        23    But absent that smoking gun, you know, a high quality

        24    racial disparity analysis of traffic stops, for

        25    example, looks at a variety of the dimensions across


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         1    the data.     From the initial stop decision, the initial

         2    disparities potentially and who is stopped, to a

         3    variety of post-stop outcome, some of which Dr. Coston

         4    spoke to in his report.

         5          But, in a much more in depth and more

         6    sophisticated way that considers not just two variable

         7    together, but multiple variable, multiple inputs where

         8    we take account for and control for as many of the

         9    known variables that are the variables that are known

        10    to influence the outcome where we control for those in

        11    a multivariate progression model typically.            And then

        12    if you have a situation where you have multiple

        13    indicators that align so there are disparities in the

        14    traffic stop data itself applying the best available

        15    benchmarks that we have for estimating the driving

        16    population, and you have disparities in post-stop

        17    outcomes, after taking into account all of the relevant

        18    variables that potentially could influence those

        19    outcomes, when those factors align.          Then as a social

        20    scientist and as a police researcher who is often times

        21    asked this question by policymakers, I get closer to

        22    being able to be comfortable in saying you have a

        23    problem.

        24    BY MR. GIBBONS:

        25    Q     Dr. Smith, you talked about the importance of


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         1    controlling for other variable in order to determine if

         2    this initial statistical disparity actually means there

         3    is bias present.      Can you offer an example of where

         4    there existed statistical disparity after controlling

         5    for that disparity disappeared?

         6    A     Yes.   Let's take arrest as an example.

         7          So it's not uncommon in the peer-reviewed

         8    literature to find, for there to be findings in these

         9    kinds of post-stop analyses that minorities,

        10    African-American and/or Hispanics, are arrested more

        11    often than whites.     That is a common finding.

        12          And if do just a basic bivariate analysis you

        13    cross, you know, the outcome, arrest, no arrest, with

        14    race, you know, black or white, you often times find

        15    disparity.    That is what I alluded to earlier as an

        16    intermediate stop in the analysis.           That, you know, the

        17    better quality studies that either I have done or I am

        18    aware of don't stop there.       They go on to engage in

        19    regression analysis where we look at a variety of

        20    independent variables or factors that may contribute to

        21    that arrest outcome; that are known from either the

        22    theoretical literature or from the empirical literature

        23    to predict that outcome, and we control for those,

        24    statistically a regression equation, so that we can

        25    isolate the effect of race by itself independently of


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         1    those other factors.

         2          So I mentioned that at one point in my career I

         3    worked -- I did, I was part of the analysis team that

         4    analyzed the data from the Los Angeles Police

         5    Department during the time that it was under a consent

         6    decree with the United States Department of Justice for

         7    potentially biased policing, among other things.

         8          So, the team that I was a part of, and I was the

         9    chief methodologist for that team, were hired by the

        10    City of Los Angeles to analyze its data in response to

        11    the requirement that it do that from the consent

        12    decree.   So we analyzed nearly a million records, more

        13    than a million as I recall now, traffic stops in Los

        14    Angeles over a period of years.

        15          And one of the findings initially, one of the

        16    bivariate findings was exactly what I said.            That

        17    minority, minority drivers in L A are more likely to be

        18    arrested by the LAPD than non minority drivers.               When

        19    we controlled for the appropriate variables in the

        20    regression equations those disparities disappeared.

        21          The variable that made the most difference, there

        22    were a couple, but the one that made the most

        23    difference was controlling for whether the driver had a

        24    warrant on file when he or she was stopped.            So, if the

        25    police stop a driver and they run that individual's


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         1    information through NCIC or the state level equivalent

         2    and the driver comes back with a warrant for that

         3    individual's arrest, that is virtually a non

         4    discretionary arrest on the part of the officer.               The

         5    officer will always, almost always make that arrest.

         6    So if you have one racial group with more warrants on

         7    file than another racial group and you don't control

         8    for that then you will reach a spurious conclusion

         9    based on the bivariate analysis that you have just run

        10    that African-American drivers or Hispanic drivers are

        11    more likely to be arrested.

        12          THE COURT:      Well, arrest.     There are a lot of

        13    things that come into play in a multicultural society.

        14    So for instance in my neighborhood if you wanted to

        15    arrest young men, if you wanted to stop young men

        16    between 18 and 24 you could just drive around in your

        17    police car and eventually you would see dozens of

        18    little cars with no mufflers.         You would -- all of

        19    those people, everybody that drives them commit some

        20    sort of offense sooner or later.          And you just follow

        21    that car and you would stop it you could arrest

        22    77 percent of the people that you wanted to between the

        23    ages of 18 and 24.      That kind of cultural bias exists

        24    in, I am sure, in African-American drivers as well.

        25    You can identify -- you can use proxies for race and


                                          JA1460
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                                       Smith - direct                               209


         1    identify people.

         2          Do you agree with that?

         3          THE WITNESS:     Yes.

         4          THE COURT:      So how do you -- and yet that would

         5    come through in your regression analysis as, well, you

         6    stopped somebody because the car had no muffler, or

         7    stopped somebody because they didn't signal a turn.

         8    How do you deal with that?

         9          THE WITNESS:     So, thank you.         A good question.

        10          So, I mean you do that in regression model by

        11    controlling for the reason for the stop and the

        12    seriousness of the offense.         So those are the proxies

        13    that you have just identified.          So you control for

        14    equipment violation stops, for example.             If the outcome

        15    of interest is was the person arrested, or were they

        16    given a ticket, you control for the reason for the stop

        17    and you control for the seriousness of the offense.              So

        18    it matters, for example, if someone is stopped for

        19    going five miles an hour over the speed limit there is

        20    a qualitative difference between that and someone who

        21    is driving 25 miles over an hour over the speed limit.

        22    So ideally you want to control for those two factors

        23    when you predict whether race in those factors

        24    continues to predict the outcome of interest, whether

        25    it is a ticket or physical arrest or search.


                                            JA1461
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         1          So, what we have done over the years, 20 years of

         2    science, is we have gotten better at this, and we have

         3    been able to through, this is how science proceeds,

         4    right, in any field?      You know, when I did that first

         5    paper in 2000 there was virtually no literature, no

         6    road map.    Now there is.      There is a detailed road map

         7    of the kinds of things that you should consider and

         8    control for in a regression model when attempting to

         9    predict what the coming outcome of interest may be.

        10          There is very voluminous scientific literature on

        11    that now that emerged in the last 25 years.             So that is

        12    what we do, Your Honor.       The best studies have those

        13    data, and they control for those proxies, as you put

        14    it, before reaching a conclusion that there are

        15    disparities or no disparities in the outcome of

        16    interest.

        17          THE COURT:      All right.    Go ahead.

        18    BY MR. GIBBONS:

        19    Q     So am I understanding that answer correctly to say

        20    that if race was the true reason for the stop and there

        21    was a pre-textual reason for the stop that was offered,

        22    over a time using a sophisticated regression model that

        23    evidence of the racial bias would emerge from that

        24    regression model?

        25    A     You could, you know, when you have the correct


                                          JA1462
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         1    variables in a model -- again this goes back to the

         2    earlier question -- you can begin to rule out

         3    alternative hypotheses for the disparity in the outcome

         4    that you see.     That is basically the whole exercise.

         5    It's not enough from a causation standpoint to say two

         6    variables or correlated with one another.            That is just

         7    step one in the causation stream.

         8          What is also needed is, and what is crucial, is to

         9    to be able to rule out that there are not other

        10    variables that are also causing the outcome.             We call

        11    that, you know, exogenous or spuriousness.             You have to

        12    be able to, in order to reach the conclusion that A

        13    causes B you have to know that A and B are correlated.

        14    You have to know that A preceded B in time.             A occurred

        15    before B.

        16          And you have to know that there are not other,

        17    these other variables that may also be at work, like

        18    for existing warrants on file, for example, that aren't

        19    being considered, or you have to consider those and

        20    control for them in order to reach the calculation that

        21    A caused B.

        22          THE COURT:      All right.

        23          Are we a good spot to stop?

        24          MR. GIBBONS:     I was just going to suggest that.

        25          THE COURT:      When we get back I hope we will focus


                                          JA1463
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         1    in on Dr. Coston's study specifically.

         2          MR. GIBBONS:     We have bounced around.         I will try

         3    to narrow it down.

         4          THE COURT:      I apologize for causing that.            All

         5    right, let's take a break.         Thank you.

         6                          (A recess was taken)

         7          THE COURT:      All right.

         8          Resume your questioning of Dr. Smith.

         9    BY MR. GIBBONS:

        10    Q     Dr. Smith, I would like to very briefly talk about

        11    police deployment matters and then turn to Dr. Coston's

        12    analysis.    How do police typically deploy patrol

        13    officers?

        14    A     In most urban areas this is done based on two

        15    factors, crime and calls for service.

        16    Q     What do criminal justice researchers know about

        17    the incidental ratio effect of these police employment

        18    patterns?

        19    A     Well, the reality in the United States is that

        20    race and crime calls for service are often correlated.

        21    Q     And then how do you do criminal justice

        22    researchers view the instances of race versus crime and

        23    calls for service in --

        24          THE COURT:      When you say they are correlated, tell

        25    me what you mean by that in terms of African-Americans.


                                          JA1464
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         1          THE WITNESS:     So, if the police in most urban

         2    areas in the United States are deploying officers based

         3    on the crime and calls for service in particular

         4    precincts or areas of the city, those areas of the

         5    city, it is not uncommon for those areas of the city to

         6    also be disproportionally populated with minority

         7    citizens.    And so the end result then often times is

         8    that there is a higher concentration of police officers

         9    in minority communities than there are in majority

        10    white communities.

        11          THE COURT:      So here is the thing that I find

        12    interesting about all this.

        13          You could probably, do you know of an area of

        14    Richmond called Windsor Farms?

        15          THE WITNESS:     Yes, sir.

        16          THE COURT:      You could probably drive around

        17    Windsor Farms at 70 miles an hour and never see a

        18    police officer because it's all full of rich people,

        19    and I don't imagine there is much crime, or if there is

        20    everybody has their own burglar alarm.           Contrast that

        21    with Highland Park.      If you drove 70 miles an hour

        22    through Highland Park you would be stopped in a heart

        23    beat because there are police everywhere over there.

        24    So my question is this.       The fact that there is police

        25    everywhere means there is more arrests.            So it feeds


                                          JA1465
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                                        Smith - direct                                  214


         1    itself in this sort of a never-ending cycle with, if it

         2    is legitimate -- and I am not saying it's not -- to

         3    send police where the crimes are.              Where you send more

         4    police you find more crime.

         5          THE WITNESS:      Well, I would actually dispute that.

         6    Crime is a social fact that is out there.              I think when

         7    you send more police to a neighborhood and you give

         8    them, than in another neighborhood, and you give them

         9    the mission to go find crime, then they will do that.

        10    And they will make more arrests.           But arrests are not a

        11    measure of crime.       Arrests are a measure of police

        12    activity.    Crime is a social phenomena that occurs with

        13    or without the police being present.

        14          Now, we know from the social experiment that the

        15    country has just gone through that what happens when

        16    police disengage, or when, and when police departments

        17    are at half their strength, there is a long history of

        18    that, but most recently there is certainly a

        19    correlation between violent crime, for example, and

        20    lack of police.       But, police don't cause crime.             Police

        21    uncover crime.        And the arrests are a measure of police

        22    activity, they are not a measure of crime.

        23          THE COURT:      Okay.

        24          So a measure of police activity.            And if you send

        25    police to where there is more crime there is more


                                            JA1466
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                                         Smith - direct                            215


         1    police activity and therefore more arrests?

         2          THE WITNESS:       Yes.

         3          THE COURT:       So if you send police to areas that

         4    are -- if we are correct in assuming that there is more

         5    crime in African-American areas of town, and you send

         6    more police there, there will be more traffic stops

         7    there.    It is inevitable.

         8          THE WITNESS:       Yes.    So that is a --

         9          THE COURT:       So the question then is whether that

        10    is a sign of bias or a sign of responding to a

        11    social need.

        12          THE WITNESS:       Yes, sir, but -- that's right, but

        13    what it also tells us is that that is why the census

        14    can't be used as a benchmark for traffic stops.

        15          THE COURT:       Right.    But what that -- but if the

        16    City assigns more police officers to Highland Park, I

        17    mean, two results that come from that.             People in

        18    Highland Park, which is a predominantly

        19    African-American area, deserve to have lives that are

        20    free of crime.         They deserve to live in a safe

        21    community.     So they send police over there.            But they

        22    also deserve not to get an inordinate number of

        23    tickets.

        24          THE WITNESS:       This is the great debate going on

        25    right now in the wake of George Floyd is exactly this


                                              JA1467
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                                       Smith - direct                            216


         1    issue.    How do you deploy police officers from a policy

         2    perspective to control increasing levels of violent

         3    crime while at the same time not over-policing a

         4    community, particularly a community of color since

         5    violent crime tends to be concentrated where poverty

         6    exists, and poverty tends to be correlated with race.

         7          THE COURT:      There is an interesting book called

         8    Locking Up Our Own.      It deals with the phenomenon,

         9    among other things, of mandatory sentencing, and how

        10    those things come about from purposes that are good to

        11    results that are bad.       And I don't know how you

        12    separate that out.

        13          Well, I'm sorry.      Go ahead.

        14    BY MR. GIBBONS:

        15    Q     That is the work of a social scientist is to

        16    separate out the different effects of police deployment

        17    patterns underlying crime rates, calls for service and

        18    also race?

        19    A     To the extent that we can, absolutely.

        20    Q     What can a researcher say about individual stops

        21    with a city-wide statistical analysis?

        22    A     Can you rephrase that question?

        23    Q     Can anything be said about individual stops using

        24    a city-wide statistical analysis?

        25    A     I think if I could extrapolate on your question,


                                          JA1468
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                                      Smith - direct                             217


         1    if you are asking me can we conclude that there is

         2    racial discrimination in an individual stop based on

         3    aggregate analysis the answer is no.

         4    Q      Turn now to Dr. Coston's analysis specifically

         5    with regard to the mapping techniques.          How would you

         6    describe how Dr. Coston visualized whether traffic

         7    disparities are caused by race as opposed to other

         8    causes?

         9    A      Well, you know, Dr. Coston overlaid the incidents

        10    of traffic stops on a map that included some

        11    color-coded indicators for where people lived by race

        12    in Richmond.

        13    Q      What is the distinction between Dr. Coston's use

        14    of heat mapping versus census data?

        15    A      The census data is the underlay, underlay of the

        16    map.      It is -- that is the racial characteristics of

        17    the neighborhoods are driven by the American Community

        18    Survey that he used.

        19    Q      What are the problems with Dr. Coston's use of

        20    heat mapping to determine whether there are racial

        21    disparities in policing?

        22    A      Because it is essentially using data as your

        23    benchmark for traffic stops.        We talked at length this

        24    morning, that is not appropriate, not an appropriate

        25    benchmark to use residential census data as a


                                         JA1469
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                                       Smith - direct                            218


         1    comparator against traffic stops.

         2    Q     How does Dr. Coston rely on the definition of

         3    "predominant populations of minorities" in conducting

         4    this heat mapping analysis?

         5    A     I don't really know the answer to that question.

         6    Q     Why don't you know?

         7    A     It's not really clearly defined in his report what

         8    the racial percentage composition is in each of the

         9    color coded regions on that map.

        10    Q     Does Dr. Coston consider whether racial

        11    disparities are caused by any other factor other than

        12    race?

        13    A     Well, not in that analysis, because it is just a

        14    simply bivariate analysis.

        15          THE COURT:      But does heat map look at -- go ahead.

        16    I am sorry.

        17    BY MR. GIBBONS:

        18    Q     What does the failure of Dr. Coston to determine

        19    an appropriate benchmark mean about the ability to make

        20    inferences about racial bias?

        21    A     You can not make inferences about racial bias in

        22    traffic stops when you compare it to the census,

        23    residential census population of a region.             That is

        24    inappropriate to do.

        25    Q     You were present for Dr. Coston's testimony


                                          JA1470
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                                      Smith - direct                                219


         1    yesterday, correct?

         2    A     Yes, I was.

         3    Q     And you were present Dr. Coston's criticism of

         4    your 2001 or 2000 paper using the RPD data.            How do you

         5    respond to those criticisms?

         6    A     I didn't really hear it as a criticism.           He raised

         7    the question of why in one of the regression models or

         8    pointed out that in one of the regression models I had

         9    used race as the dependent variable in one of the

        10    models.   You will hear criticism, but I did hear him

        11    say that is not typically done.         And I would agree with

        12    him, that is not typically done.

        13    Q     And knowing what you know now would you perform

        14    that same research and statistical design the same way

        15    you did way back in 2000?

        16    A     Probably not, but again, there was no road map

        17    back then, right.     And we were developing the science

        18    as we went along.     And also, I would say also, there is

        19    many examples in the published literature of

        20    researchers using race as a dependent variable.               It is

        21    not mathematically wrong to do that.          Kroger and

        22    Ridgeway's seminal article on, that appeared in the

        23    Journal of the American Statistical Association, for

        24    example, on which it was founded the whole science of

        25    veil of darkness used race as a dependent variable in


                                         JA1471
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                                        Smith - direct                           220


         1    his regression equation.

         2    Q     What conclusions can be drawn from Coston's use of

         3    chi-square analysis?

         4    A     You can conclude the two variables are related to

         5    one another, that they are correlated.            There is an

         6    association between them.

         7    Q     What conclusion does --

         8          THE COURT:       Wait a second.     Let's put that in

         9    English.    What can you conclude?

        10          THE WITNESS:      That the two variables are related.

        11          THE COURT:       Two variables are African-American

        12    people getting stopped.

        13          THE WITNESS:      Well, the chi-square analysis had to

        14    do with outcomes, like arrests or citations

        15    or warnings, for example --

        16          THE COURT:       Well, didn't he also look at just

        17    plain stops?

        18          THE WITNESS:      Not using chi-square.

        19          THE COURT:       Okay.

        20    BY MR. GIBBONS:

        21    Q     What conclusions about causation can be reached

        22    from the chi-square analysis?

        23    A     There are no conclusions that can be reached

        24    reliably.

        25    Q     What is the statistical technique, very briefly,


                                             JA1472
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                                        Smith - direct                           221


         1    called Cramer V?

         2    A     It just a test for the strength of the

         3    relationship in a chi-square model.

         4    Q     What conclusions about causation can be drawn from

         5    the use of Cramer V?

         6    A     Same answer.      None.

         7          THE COURT:      What if it was a higher degree of

         8    correlation?    What if 90 percent of the traffic stops

         9    were African-American?        Could you reach a conclusion

        10    based on that?

        11          THE WITNESS:      No.   Not when the -- so, just to be

        12    clear, the chi-square analysis Dr. Coston performed,

        13    the analysis from what I can tell was done

        14    appropriately.        He talked, or Dr. Coston talked about

        15    the underlying assumptions that are required for each

        16    of these statistical tests, and that is exactly right,

        17    there are a number of those.          He talked about the

        18    minimum cell values and such, and the fact chi-square

        19    is appropriate when you have two variables, race and

        20    arrests, or race and search, that are categorical in

        21    nature.   Either you are black or you are white, you

        22    were searched or you weren't.          That is four-by-four or

        23    two by two table, four cells.

        24          So, you know, that is all appropriate to do that

        25    sort of preliminary analysis to see whether or not


                                            JA1473
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                                        Smith - direct                              222


         1    there is -- is there anything going on?              Is there a

         2    relationship between race and arrests at all?               We have

         3    got to start somewhere.         So one place --

         4          THE COURT:       What if all the people who were

         5    arrested were African-American?           What would you

         6    conclude from that?

         7          THE WITNESS:      I would concluded nothing unless I

         8    knew that --

         9          THE COURT:       Okay.   Thank you.      That is all I need.

        10    Thank you.

        11    BY MR. GIBBONS:

        12    Q     Just to follow up on that question, do you need to

        13    know the appropriate benchmark before you could make

        14    any conclusions about the raw statistical disparity,

        15    correct?

        16    A     In the case of stops, yes.          In the case of an

        17    arrest outcome, for example, you would need to know the

        18    factors other than race and arrest that were driving

        19    that outcome.      And there could be none.          But you

        20    wouldn't know that unless you controlled for them in a

        21    multi variate model, or there could be legitimate ones,

        22    like a hundred percent of the African-Americans that

        23    were arrested had pre-existing warrants on file and

        24    therefore every one of them were arrested.               But you

        25    wouldn't know that based simply on a chi-square


                                             JA1474
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                                       Smith - direct                             223


         1    analysis with race and arrest.

         2    Q     Is it generally accepted in the field of racial

         3    disparity research to make inferences of bias based

         4    solely on the chi-square test?

         5    A     No.

         6    Q     Is it generally accepted in the field of racial

         7    disparity research for researchers to ignore the

         8    presence of concinnity variables?

         9    A     No.

        10    Q     Is ignoring the presence of concinnity variables a

        11    reliable method of conducting scientific research in

        12    the field of racial disparity research?

        13    A     No, it is not.

        14    Q     Is it appropriate for Dr. Coston to make

        15    conclusions about race affecting stops based on the

        16    available data that they used?

        17    A     No, it's not.

        18    Q     Same question, but for arrests?

        19    A     No, that is not appropriate.            Without controlling

        20    for these other factors that also impact the arrest

        21    outcome.

        22    Q     Same question then for searches?

        23    A     Same answer.      We haven't talked much about

        24    searches.      But just as with arrests there are a number

        25    of known factors that contribute to search outcomes.


                                          JA1475
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                                      Smith - direct                                224


         1    For example, if someone is arrested, physically,

         2    custodially arrested, they will almost always be

         3    searched.     So unless you parse out of your data

         4    searches based on arrest then you will reach a

         5    potentially reach a spurious conclusion that race and

         6    search are inappropriately, or discriminatorily related

         7    when in fact they would simply be a function of the

         8    fact that more persons of one race were arrested and

         9    therefore searched than persons of another race.              So we

        10    always control for the nature of the search, the type

        11    of search that was conducted when we do search

        12    analysis.     And that wasn't done in this case.

        13    Q     Specifically with respect to Dr. Coston are you

        14    familiar with the scientific literature about racial

        15    disparities?

        16    A     I am.

        17    Q     There is a community of researchers within the

        18    field of racial disparities?

        19    A     In police outcomes, yes, that's correct.

        20    Q     How long have you been a part of that research

        21    community?

        22    A     From its inception.      For more than 20 years.

        23    Q     Are you familiar with Dr. Coston as a member this

        24    research community and racial disparities?

        25    A     No, I am not.


                                         JA1476
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                                       Smith - cross                                 225


         1    Q     Ever heard of Dr. Coston before you were retained

         2    in this case?

         3    A     I have not.

         4    Q     Have you ever read an article in which Dr. Coston

         5    has written by about racial disparities?

         6    A     Not that I recall, no.

         7    Q     Based on your experience in the field of racial

         8    disparity research, what are, again, your general

         9    opinions on Dr. Coston's analysis?

        10    A     The ultimate conclusions that he reaches at the

        11    end of his report, which are that race influenced the

        12    decision to stop and the outcomes that resulted from

        13    that stop, cannot be reached with the data that he had

        14    available to him and the analysis that he performed.

        15    Q     No further questions, Your Honor.

        16          THE COURT:      All right.

        17          Cross examination?

        18                           CROSS EXAMINATION

        19          MS KOENIG:      Just a minute to set up here, Dr.

        20    Smith.

        21          THE COURT:      Take your time.

        22          And the reason you can't reach that conclusion is

        23    because he didn't count all the other variables you

        24    would look at in a regression analysis?

        25          THE WITNESS:     That's correct, Your Honor.             Which


                                          JA1477
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                                         Smith - cross                           226


         1    we know empirically affect the outcomes.

         2          THE COURT:        All right.

         3    BY MS KOENIG:

         4    Q     Okay.

         5          Still morning.        Good morning, Dr. Smith.

         6          Let's talk about the data in this case.

         7          Did the Government provide you the spread sheets

         8    of the raw data in the case?

         9    A     No.

        10    Q     So you have not looked at any of the data

        11    underlying Dr. Coston's opinion?

        12    A     I have not.

        13    Q     You said you were retained, right?

        14    A     Yes, ma'am.

        15    Q     How much are you being paid?

        16    A     $450 an hour.

        17    Q     How many hours have you worked on the case so far?

        18    A     I don't know, but I billed around $6,000 prior to

        19    this trip.

        20    Q     Okay.

        21          THE COURT:        How much per hour?

        22          THE WITNESS:       450.

        23    BY MS KOENIG:

        24    Q     You talked about that you had been, you have been

        25    trained to do chi-square analysis?


                                              JA1478
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                                       Smith - cross                             227


         1    A     I have.

         2    Q     You talked about using chi-square analysis as a

         3    stepping stone, right?

         4          I an see you shaking your head.          You have got to

         5    say yes or nor.

         6    A     Sorry.    Yes.

         7    Q     That is okay.     You have to make a record.

         8          So, when you said that the stepping stone, like if

         9    you have an indication of statically significant

        10    evidence of disparities, or that there are measurably

        11    worse outcomes for particular races, you could use

        12    chi-square analysis and then you would go get more

        13    data, right?

        14    A     Yes, or you would -- you may have that data, so --

        15    Q     Or you would look at the data you already have or

        16    you could use that to go get more?

        17    A     Do further analysis with data you already have or

        18    if you didn't have that data you would ideally attempt

        19    to try to find additional data that would allow you to

        20    do more sophisticated analysis.

        21    Q     Like individual reports for each stop, right?

        22    A     Well, that is typically not how you get data from

        23    police agencies.       You don't typically get individual

        24    reports of stops.

        25    Q     What would you get?


                                          JA1479
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                                      Smith - cross                              228


         1    A     You would get data files, you might call raw data.

         2    That would include fields, the fields of interest that

         3    would inform the analysis that you did.

         4    Q     That wold presume that the police kept that data,

         5    right?

         6    A     Absolutely.

         7    Q     Do you know if in this case that the Richmond

         8    Police Department provided any of that more contextual

         9    data?

        10    A     I do not know.

        11    Q     Did ask you for it?

        12    A     I did not.

        13    Q     One of the main critiques of Dr. Coston's report

        14    that you have is that Dr. Coston did not evaluate other

        15    variable, such as whether the driver had an outstanding

        16    warrant, the reason for the search and driver behavior,

        17    demeanor, right?

        18    A     Yes.

        19    Q     And did you have any data on how many drivers in

        20    this sample had outstanding warrants?

        21    A     No.

        22    Q     Did you ask for it?

        23    A     No.

        24    Q     Did you have any data on the reasons for searches

        25    in this sample?


                                         JA1480
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                                         Smith - cross                           229


         1    A     No.

         2    Q     Did ask you for that data?

         3    A     No.

         4    Q     Did you have any data on driver behavior or

         5    demeanor of the drivers in this sample?

         6    A     No.

         7    Q     Did you ask for it?

         8    A     No.

         9    Q     Okay.

        10          Let's talk a bit about the 2001 study.              If you

        11    look in the folder in front of you and turn to

        12    defendant's exhibit seven.

        13    A     Sorry.     Did you say seven?

        14    Q     Seven, yes.

        15          THE COURT:        Do you have the book?

        16          MS KOENIG:        Yes, he does, Your Honor.

        17          THE WITNESS:       I am there.

        18    BY MS KOENIG:

        19    Q     You talked a couple of different dates and I want

        20    to make sure we are all talking about the same thing.

        21    Early on in your testimony today you said that your

        22    1999 paper that came out in 2000 was one of the few

        23    peer reviewed articles on racial disparity; is that

        24    right?

        25    A     Actually 2001.


                                            JA1481
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                                      Smith - cross                              230


         1    Q     I wanted to make sure we were looking at the --

         2    the article you are referring to is the same.

         3    A     It is the same paper.

         4    Q     Okay.   We can't talk over each other.

         5          So, when the article that you are looking at in

         6    defense exhibit seven, that is the same article you

         7    were referring to?

         8    A     Yes.

         9    Q     Okay.

        10          So in that article, the study that you did was

        11    based on six weeks of data from February to March of

        12    2000 right?

        13    A     Yes.

        14    Q     That data was collected with the cooperation of

        15    the Richmond Police Department, right?

        16    A     They collected the data and provide it to me.

        17    Q     But you helped to kind of set it up, right?

        18    A     Actually didn't.     I was not involved in the

        19    decisions about what type of data collection to collect

        20    or what fields to collect.       I wasn't involved in that.

        21    Q     Okay.   Then when the information was being

        22    collected supervisors from the Richmond Police

        23    Department had had meetings with their line officers

        24    about the data collection, right?

        25    A     I presume that is true.


                                         JA1482
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                                        Smith - cross                            231


         1    Q     Well, we don't have to presume, right?             We can

         2    look at your article.        So let's look at defendant's

         3    exhibit seven.        Specifically look at page, Page ten and

         4    11.

         5    A     Okay.

         6    Q     When looking at the bottom of page ten going on to

         7    11, you said in your report, right, that in this case

         8    the Richmond Police Department made a good faith effort

         9    to assure officers that the information reported would

        10    not be used against them for disciplinary purposes,

        11    right?

        12    A     Yes.

        13    Q     In fact, the chief of police and the department

        14    attorney met with all patrol roll calls before the

        15    study began to explain its purpose and allay any fear

        16    that the data would be collected or that the data

        17    collected would be used to target individuals for

        18    punishment --

        19    A     Correct.

        20    Q     -- is that right?

        21    A     Yes, that's correct.

        22    Q     All right.

        23          Despite all that, right, the officers knew they

        24    were being monitored.        And there was 64 percent

        25    compliance rate, right?


                                           JA1483
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                                      Smith - cross                              232


         1    A     Yes, I believe that is correct.

         2    Q     And surely the supervisors from the Richmond

         3    Police Department given that the police department's

         4    chain of command could have enforced compliance, right?

         5    A     Well, to the extent police departments are

         6    paramilitary organizations and, you know, there are

         7    orders that come down and the people who are below

         8    those that give the orders are, you know, normally

         9    expected to follow them.       It doesn't always mean that

        10    they do, but certainly that is how the organization is

        11    to function if it is functioning optimally.

        12    Q     All right.

        13          Let's talk about a couple of things that you have

        14    noted in your report from 2011.         On page 11 you talk

        15    about whether there is an expectation black drivers

        16    commit more traffic infractions that white drivers and

        17    vice versa, right?

        18    A     Okay.   Yes.

        19    Q     And you specifically noted that although it is

        20    possible that minorities commit more traffic

        21    infractions per capita than white, thus helping to

        22    explain the higher minority stop rate, this possibility

        23    appears unlikely.     Right?

        24    A     Yes.    So let's talk a little bit it yesterday.

        25    There is some research that has been done on this


                                         JA1484
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                                      Smith - cross                                233


         1    question, limited, some after this article came out,

         2    too, by the way, that looked at that specific question

         3    and found some evidence that there are differences in

         4    the way racial groups violate traffic laws.            So, it is,

         5    I would characterize that research as sort of mixed bag

         6    at that point.

         7    Q     You don't have any information showing that the

         8    drivers in Richmond in 2020, the black drivers

         9    committed more traffic infractions than white drivers,

        10    right?

        11    A     I do not have that information.

        12    Q     Let's talk about direct field observations.             Have

        13    you ever conducted a direct field observation study?

        14    A     Well, yes, I helped oversee one.

        15    Q     How many?

        16    A     One.

        17    Q     When was that?

        18    A     In the early 2000's in Miami Dade County, Florida.

        19    Q     How long did that take?

        20    A     The actual field observation portion, probably

        21    several months.

        22    Q     How much did it cost?

        23    A     I am not trying to avoid the question, I just

        24    don't know how much.      I can hazard a guess.        Maybe

        25    $30,000.


                                         JA1485
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                                       Smith - cross                                234


         1    Q     Okay.

         2          You have indicated, I think you testified on

         3    direct examination, that because of the cost and amount

         4    of time that it takes to do direct observation only a

         5    few studies, relatively few studies have used direct

         6    observation, right?

         7    A     That is right.

         8    Q     All right.

         9          All right.      Veil of darkness benchmark.        Let's

        10    turn to that.     You need to know what time of day the

        11    stop is made, right?

        12    A     Yes.

        13    Q     Are you aware that the defense asked for that data

        14    and the Richmond Police Department did not provide it

        15    in this case?

        16    A     I heard that yesterday.        I was not aware until

        17    yesterday.

        18    Q     Did you ask for that data in this case?

        19    A     I did not.

        20    Q     Talk about the crash data benchmark.           You

        21    explained that a little bit on direct examination.               Do

        22    you have the crash data report for Richmond from July

        23    2020 to December of '20?

        24    A     I do not.

        25    Q     Did ask you for that data?


                                          JA1486
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                                         Smith - cross                            235


         1    A     No.

         2          THE COURT:        Why didn't you look into all that?

         3    That would have helped to do a pretty decent study that

         4    night help the Richmond Police and help The Court and

         5    help everybody.

         6          THE WITNESS:       Just beyond the scope of my

         7    engagement with the Government.            My engagement revolved

         8    around the methods that Dr. Coston used and the

         9    problems with it.

        10          THE COURT:        So you were hired essentially to poke

        11    holes in the defendant's theory, not to poke holes, but

        12    to point out problems with it and not no come up with

        13    an analysis of data yourself.

        14          THE WITNESS:       That's correct, Your Honor.

        15    BY MS KOENIG:

        16    Q     Dr. Smith, you would agree that cluster maps and

        17    heat maps can be a useful technique for visualizing the

        18    spatial distribution of events in a city?

        19    A     I would agree.

        20    Q     And you have criticized Dr. Coston's overlay of

        21    black drivers over the racial composition of Richmond

        22    neighborhoods as merely a rudimentary type of census

        23    based benchmarking?

        24    A     Right.

        25    Q     Did you hear Dr. Coston testify yesterday that


                                            JA1487
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                                      Smith - cross                              236


         1    there was not a benchmarking that was used in that

         2    analysis, it was simply a visual representation?

         3    A     I heard him say that, or Dr. Coston say that, yes.

         4    Q     You talked a little bit with the Government about

         5    what it means to be predominantly a specific

         6    neighborhood?

         7    A     Yes.

         8    Q     Look at -- I would like to put this up on the

         9    screen, please, defendant's exhibit R 2 that had

        10    previously been admitted at an earlier hearing.

        11          So, Dr. Smith, you heard yesterday, right, that

        12    the University of Virginia racial dot map for the

        13    country is based on the 2010 census data?

        14    A     Okay.     Yes.

        15    Q     Did you know that before you came yesterday?

        16    A     No.    I have never seen this before yesterday.

        17    Q     Okay.     So, when you are looking at this map you

        18    can see that the black residents are in green, right?

        19    A     Yes.

        20    Q     And that the white residents are in blue, right?

        21    A     Yes.

        22    Q     So when I look at the neighborhood in Richmond

        23    it's not really that areas are predominantly one race

        24    or another, right, it is almost that a neighborhood is

        25    entirely black or entirely white according to this


                                         JA1488
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         1    information, right?

         2    A      In some cases that is true.       In some neighborhoods

         3    that is true.

         4    Q      All right.

         5           So you don't use the University of Virginia Racial

         6    dot map in any of your other work that you have ever

         7    done?

         8    A      No.

         9    Q      Let's talk about your report, which is

        10    Government's exhibit two.       Do you have that in front of

        11    you?      It's not in that folder.     We can pull it up.

        12           Do you have copy of your report with you?

        13    A      No, I don't.

        14    Q      If we could switch to the other screen, by chance.

        15    Thank you.

        16           Let's turn to page four, please.        Dr. Smith's

        17    report.

        18           Dr. Smith, do you remember writing in your report

        19    that one might logically expect, for example, that

        20    clusters of stops of black drivers might occur in such

        21    transitional zones as black drivers commuting from

        22    where they live, may live, to where they may work along

        23    major thoroughfares?

        24    A      I do remember writing that, yes.

        25    Q      Are you aware that many white people in Richmond


                                         JA1489
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                                      Smith - cross                              238


         1    that live south of the river and in west end of town

         2    travel to downtown to work?

         3    A     I would presume that is true.

         4    Q     So if we use the same kind of assumption that you

         5    just made about black drivers, wouldn't you expect to

         6    see clusters of white drivers in areas where they work,

         7    such as the first precinct?

         8    A     Yes, that is why traffic information is necessary

         9    to benchmark against stops.

        10    Q     Yet we have no clusters of stops of white drivers

        11    outside a hand full of clusters in the third precinct,

        12    right?

        13    A     I don't -- I don't know.       I mean, I would have

        14    to --

        15    Q     We can look at Dr. Coston's report.          If we could

        16    switch back to that.

        17          Let's look at figure two of Dr. Coston's report.

        18          We don't see any cluster of white drivers outside

        19    of the third precinct in Richmond, right?

        20    A     Part of the problem I am having is precinct

        21    numbers.

        22    Q     Okay.    It has been a little while since you were a

        23    police officer?

        24    A     The precincts were numbered differently then, too.

        25    Q     So if we have the third precinct is the large


                                         JA1490
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                                        Smith - cross                              239


         1    precinct that covers the area that says Stratford

         2    Hills?

         3    A     Yes, far left of the map.          Right.

         4    Q     Yes, that is third?

         5    A     Yes.

         6    Q     All right.

         7          So we don't see any clusters of white drivers

         8    outside of a hand full of small ones in the first

         9    precinct, right?

        10    A     So I see three clusters of white drivers in the

        11    third precinct.        And that is why what I see.        And they

        12    are smaller, which you would expect because there are

        13    fewer stops of whites than there were of

        14    African-Americans.

        15    Q     All right.

        16    A     So the dots are smaller.

        17    Q     So when we talk about deployment patterns in the

        18    City, looking at a map of the precincts that are out

        19    laid, do you have any information as to why Richmond

        20    Police Department has three of its police precincts in

        21    the black areas of town and just one in the white area

        22    of town?

        23    A     I don't know why.       I can --

        24    Q     I won't ask you to speculate.            You don't have any

        25    information, is that right?


                                           JA1491
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                                      Smith - cross                              240


         1    A     No, I don't.

         2    Q     All right.

         3          Let's also look -- in your report you indicated --

         4    and this is on pages four and five of your report -- if

         5    we could go back, Ms Dandridge and Ms Tuck, please.

         6          Pages four and five of your report, going from the

         7    bottom of pages four and five, you talked about how

         8    there may be some other explanation as to why arrests

         9    may be higher for certain drivers than others, right?

        10    A     Yes.

        11    Q     And one of the examples that you gave was if drunk

        12    drivers were involved because drunk drivers would be

        13    more likely to be arrested than somebody like a

        14    speeder, right?

        15    A     Correct.

        16    Q     Okay.   So do you have any information about how

        17    many drunk driving stops were in this sample?

        18    A     I do not.

        19    Q     Let's look at -- and switch back to me if that is

        20    okay -- let's look at defendant's exhibit 14, which is

        21    the raw data in this case.

        22          So Dr. Smith, I want to show you what we see at

        23    the top in column J, not column J, column Q.            Do you

        24    see it says specific violation about column Q -- in

        25    column Q?


                                         JA1492
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                                      Smith - cross                              241


         1    A     Yes.

         2    Q     You see there is a series of numbers that are

         3    listed below there?

         4    A     Yes.

         5    Q     Now, Dr. Smith you have a law license, right?

         6    A     I do.

         7    Q     You have been admitted to practice in Virginia

         8    since 1998, right?

         9    A     Yes.

        10    Q     And you have been admitted to practice in the

        11    Fourth Circuit since that same time, right?

        12    A     Yes.

        13    Q     Before you were admitted to practice in Virginia

        14    you had to take the bar exam, right?

        15    A     Sure did.

        16    Q     And before you took the bar exam you had to learn

        17    sufficient information about Virginia code, right?

        18    A     Sure.    Yes.   I am familiar with 46 Code of

        19    Virginia.

        20    Q     Okay.    Also title 18.2 of the criminal code of

        21    Virginia, right?

        22    A     Yes.

        23    Q     Great.   You know that Virginia code section 18.2

        24    dash 270 and 18.2 dash 266, those are the drunk driving

        25    codes for Virginia?


                                         JA1493
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                                          Smith - cross                          242


         1    A     I don't recall the exact statute subsections of

         2    the statute.      I will take your word that is true.

         3    Q     All right.

         4          So how many violations for drunk driving are

         5    listed in the stops in this sample?

         6    A     I don't know that.

         7    Q     But would it surprise you to find there are just

         8    ten violations for drunk driving listed?

         9    A     No, I guess I wouldn't.           Not surprise me.

        10    Q     For the record I will put on control numbers 150,

        11    151, 152, 944, 1046, 1168, 1387, 1388, 1652, and 2551.

        12    So, that information if we were to look at it, would it

        13    surprise you to find that there are six black drivers

        14    in that information, two white drivers, one Asian

        15    driver, and a person of unknown race?

        16    A     Would it surprise me?

        17    Q     If that is what the data showed.

        18    A     No.

        19    Q     Okay.

        20          One black man issued a warning, and all others

        21    were arrested.          Would that surprise you?

        22    A     No.

        23    Q     So, if we have a total of seven arrests then, five

        24    torr black drivers and two for white drivers, right,

        25    and Dr. Coston reported a total of 164 arrest that are


                                             JA1494
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                                         Smith - cross                           243


         1    made, did you run an analysis to see if those seven

         2    arrests for drunk driving impacted the overall analysis

         3    of Dr. Coston's findings?

         4          MR. GIBBONS:       Objection, Your Honor.

         5          THE COURT:        I can't hear you.

         6          MR. GIBBONS:       Objection.     This whole line of

         7    questioning, he said he hasn't reviewed any of this

         8    data.

         9          THE COURT:        Well, we hasn't reviewed any of the

        10    data, that is true, but go ahead.               Overruled.

        11    BY MS KOENIG:

        12    Q     You didn't run any analysis to see if the drunk

        13    driving arrests impacted the findings, right?

        14    A     No.

        15    Q     Right.     And fair to say drivers with outstanding

        16    warrants are more likely to be arrested, right?

        17    A     Yes.

        18    Q     Did the Government provide you any information

        19    about how many individuals in the sample were arrested

        20    based on outstanding warrants?

        21    A     No.

        22    Q     Did ask you for that data?

        23    A     No.

        24    Q     Without that data you can't quantify whether or

        25    not that has any impact on your overall finding in this


                                            JA1495
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                                      Smith - cross                              244


         1    case, right?

         2    A     In this particular case, no.

         3    Q     You also said that researchers must control for no

         4    discretion searches, like inventory searches?

         5    A     Correct.

         6    Q     An inventory searchers generally have to be

         7    conducted pursuant to specific department policy,

         8    right?

         9    A     Yes.

        10    Q     Not only are you a trained lawyer, but a former

        11    Richmond Police officer, right?

        12    A     Yes.

        13    Q     Were you a police department officer anywhere else

        14    besides Richmond?

        15    A     Fairfax.

        16    Q     How long were you an officer in Fairfax?

        17    A     About two years.     Little over two years.

        18    Q     How long were you an officer in Richmond?

        19    A     A little under two years.

        20    Q     Okay.

        21          So, you know generally because of your work and

        22    experience that generally a car has to be impounded

        23    before an officer can do an inventory search, right?

        24    A     Yes.

        25    Q     In the traffic stop, that is going to happen most


                                         JA1496
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                                       Smith - cross                             245


         1    of the time when the driver is arrested and nobody

         2    comes to up the car, right?

         3    A     Sorry.     Can you rephrase that more, or ask it

         4    again?

         5    Q     Most of the time when an officer is going to

         6    impound a car it is when somebody, the driver is

         7    arrested and nobody else can come pick up the car,

         8    right?

         9    A     That is often the case, yes.

        10    Q     Do you have any data about how many cars in this

        11    sample were searched pursuant to inventory searches?

        12    A     I do not.

        13    Q     Did you ask for it?

        14    A     No.

        15    Q     You talked also about, in your report about a 2015

        16    case from North Carolina, right?

        17    A     Yes.

        18    Q     The Johnson case, right?

        19    A     Yes.

        20    Q     The Johnson case involved, involved an agreement

        21    between the local county sheriff's office and the

        22    federal government to allow the local county to enforce

        23    immigration laws, right?

        24    A     I believe that is right.

        25    Q     That's what we call 287 G agreement, right?


                                         JA1497
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                                       Smith - cross                             246


         1    A     Correct.

         2    Q     So, the Department of Justice brought a case

         3    against that particular county in North Carolina,

         4    right?

         5    A     Yes.

         6          THE COURT:      Alamance County?

         7          MS KOENIG:      It is, Your Honor.

         8    BY MS KOENIG:

         9    Q     Alleging that that particular county had engaged

        10    in discriminatory practices?

        11    A     Right.

        12    Q     In that case the expert, the Government had

        13    experts and respondents or the defendants had experts,

        14    too, right?

        15    A     Yes.

        16    Q     And the experts involved, you know, offered

        17    competing analyses, right?

        18    A     Yes.

        19    Q     And the judge in that case, in that case found

        20    that the Government in that case, the plaintiff, right,

        21    the Government, the Department of Justice, their expert

        22    had had access to data that would have controlled for

        23    certain variables, right?

        24    A     I don't recall that level of specificity in terms

        25    of the facts of the case.


                                          JA1498
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                                      Smith - cross                              247


         1    Q     Do you recall then that the judge in that case

         2    found it very significant in the judge's findings that

         3    because the Government, the plaintiff's expert, had had

         4    access to that data but simply failed to analyze it,

         5    that that was a very significant piece of the judge's

         6    ruling?

         7    A     I don't recall that from the opinion.

         8    Q     All right.

         9          On direct examination you talked about, in your

        10    conservative practice in analyzing data fields if you

        11    have an entry that any piece of the data is missing you

        12    simply omit that entry altogether?

        13    A     Yes.

        14    Q     Is that a common practice in other fields, like

        15    the medical field, when they are analyzing large

        16    volumes of data?

        17    A     I would say a common data management practice in

        18    any sort of statistical analysis regardless of

        19    discipline.

        20    Q     Including market research?

        21    A     If it is done by academics.        I can't speak for

        22    what industry does.

        23    Q     Including survey data, social survey data?

        24    A     Again, if it is done by academics.

        25    Q     Do you have any percentages of the missing amounts


                                         JA1499
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                                      Smith - cross                              248


         1    of data in this case?

         2    A     I do not.

         3    Q     Did ask you for that?

         4    A     No.

         5    Q     Do you need benchmarking to analyze whether people

         6    are treated differently after they are stopped?

         7    A     No.

         8    Q     Is it feasible to control for every possible

         9    variable?

        10    A     No, not feasible to control for every possible

        11    variable.

        12    Q     You talked on direct examination that you have

        13    done, you know, examinations of large scale data sets

        14    in agencies around the country.         Did you ever do any of

        15    those in context of a criminal case?

        16    A     No.

        17    Q     You talked a little bit more, when talking about

        18    state-wide analyses of data, right, like the Virginia

        19    Community Policing Act, I think you said that you were

        20    familiar with that?

        21    A     Generally, yes.

        22    Q     All right.

        23          So the Virginia Community Police Act was designed

        24    to collect data to see if there is evidence of racial

        25    profiling, right?


                                         JA1500
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                                      Smith - cross                               249


         1    A     Presumably, yes.

         2    Q     They ask, not only requires the collection of

         3    data, but it requires the analysis of the data right?

         4    A     Yes.

         5    Q     So when you were talking about state-wide

         6    collections of data and how it can be difficult, you

         7    talked about disparities among different police

         8    departments and different resources that they may have

         9    access to?

        10    A     Yes.

        11    Q     The Richmond Police Department is not a

        12    mom-and-pop police department?

        13    A     That's correct.

        14    Q     When you are talking about Dr. Coston's report you

        15    made a lot about whether or not causation can be in

        16    inferred -- and you can look at defendant's exhibits

        17    two here if it helps refresh your recollection,

        18    specifically the last page before the references.             The

        19    last paragraph of the conclusion section.

        20    A     Yes.

        21    Q     Do you recall then that Dr. Coston said, while

        22    this report cannot say whether a specific traffic stop

        23    was the result of racial bias or racial profiling, this

        24    report does conclude that race is a significant factor

        25    in the decision to stop a driver, whether a person or


                                         JA1501
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                                       Smith - cross                             250


         1    vehicle is searched, the outcome of the stop, and the

         2    location where stops occur, right?

         3    A     I recall that sentence, yes.

         4    Q     Are you taking issue with that?          Do you think that

         5    is not true?

         6    A     Yes, I take issue with that.

         7    Q     All right.

         8          I will follow up on a series of questions the

         9    Judge was asking you.       If all of the drivers, if the

        10    data showed in this case that 90 percent of the drivers

        11    that were stopped were black, and ten percent were

        12    white, that would not be significant, that would not be

        13    a significant factor in the decision that race played a

        14    significant factor in the decision to stop a driver?

        15    A     Not without knowledge of who is driving and

        16    available to be stopped.

        17          THE COURT:      Without knowledge of what?

        18          THE WITNESS:     Who is actually driving on the

        19    street and who is available to be stopped.

        20    BY MS KOENIG:

        21    Q     If the evidence in this case had shown that it was

        22    90 percent of the arrests were black individuals after

        23    a traffic stop and ten percent were white, would you

        24    also say that is not a significant -- that race does

        25    not play a significant, a factor in whether to arrest


                                          JA1502
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                                         Smith - cross                           251


         1    someone?

         2    A     By itself that statistic is not helpful.

         3    Q     If you were to see data that said that 90 percent

         4    of the people in the cars were searched were black, and

         5    only ten percent white, again you find that not

         6    significant?

         7    A     By itself.       Correct.

         8    Q     So let's talk about that.

         9          So, you talked about how you have done several of

        10    these studies.         And I think I heard you say, but I want

        11    to make sure I heard properly, that you have, you would

        12    never find, you as careful researcher would never find

        13    that racial bias played a causal role in a pattern of

        14    policing?

        15    A     That's correct.

        16    Q     Never?

        17    A     Social scientist.        No.

        18    Q     You don't think any social scientist would ever

        19    say that?

        20    A     I am sure some would.          I would not.

        21    Q     All right.

        22          So you have never said that then, right?

        23    A     No, I have not.

        24          THE COURT:       Well, so then if you don't reach a

        25    conclusion like that, when you get hired by a locality


                                            JA1503
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                                       Smith - cross                             252


         1    to help them out, of what assistance are you?

         2           THE WITNESS:    Well, Your Honor, I hope we are a

         3    lot.

         4           THE COURT:     I mean, you obviously have a lot of

         5    knowledge in this area.       But if they are trying to

         6    figure out whether bias is a factor and how their

         7    police officers do things, and you are never willing to

         8    make that conclusion, even if a hundred percent of the

         9    arrests are of African-Americans --

        10           THE WITNESS:    Well, earlier --

        11           THE COURT:     -- how does that help them?

        12           THE WITNESS:    Sorry.

        13           THE COURT:     Go ahead.

        14           THE WITNESS:    Earlier I spoke about the

        15    convergence or the alignment of findings with respect

        16    to the various multiple kinds of analyses that go into

        17    a major study of the type that we are sort of talking

        18    about.

        19           And the extent to which those observed

        20    disparities, after controlling for appropriate factors

        21    that might explain them, when those observed

        22    disparities remain, we call those unexplained,

        23    unexplained disparities, meaning we have controlled for

        24    all -- all relevant variables available in the analysis

        25    and there remains disparities, and if those disparities


                                          JA1504
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                                       Smith - cross                                253


         1    align across multiple indicators, so, you see it in

         2    stops, you see it in arrests, and you see it in

         3    searches and so forth, I testified earlier that that

         4    begins to suggest to me that you have a problem.               You,

         5    the police department, has a problem.

         6          THE COURT:      And the problem is bias.

         7          THE WITNESS:     The problem is potential bias of one

         8    kind or another.       You know, that doesn't necessarily

         9    mean racial animus, but it could be a variety of things

        10    that are probably not healthy.          So, I worked on

        11    projects where I certainly found evidence of that sort

        12    of alignment across multiple indicators controlling for

        13    all the appropriate variables.          And I worked on

        14    projects that, where we didn't find that sort of

        15    alignment, right.

        16          THE COURT:      So then what do these localities do

        17    after they get your analysis?         They do training to make

        18    sure that the police officers follow proper procedure?

        19          THE WITNESS:     So typically our reports will

        20    include a series of recommendations.           Depending on the

        21    findings, of course.      It is not uncommon for those

        22    recommendations to include training; not uncommon for

        23    those recommendations to include better data

        24    collection, because there are, it is often the case

        25    that, particularly if the agency developed its data


                                          JA1505
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                                       Smith - cross                              254


         1    collection regime without the assistance of people like

         2    me, that they will, they won't be capturing the kind of

         3    information that they need to be capturing in order to

         4    answer more definitively the question that you asked.

         5    So a lot of times the recommendation is you need better

         6    data and here is how to collect it better.              Here are

         7    the fields that you need collect, or here is the

         8    process you need to put in place.             So there are often,

         9    again, a series of recommendations that follow the

        10    findings.

        11          THE COURT:      Thank you.

        12    BY MS KOENIG:

        13    Q     All right.

        14          So when you are making those recommendations, you

        15    talked about training and making recommendations for

        16    training that would often include training about how to

        17    treat people of different races more equally, right?

        18    A     Yes, I think that is fair, yes.

        19    Q     And I want to talk to you about how on earth we

        20    would control for some of the factors that may exist in

        21    Richmond.    How do we control for the fact that

        22    neighborhoods have been segregated in Richmond for over

        23    150 years?

        24    A     Well, it is not a matter of controlling for

        25    something like that.      I think the issue is


                                          JA1506
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                                      Smith - cross                              255


         1    understanding that distribution, well, maybe that isn't

         2    fair.     So we might actually control for that.

         3    Q     How would you do that?

         4    A     So you would have, you would get block level --

         5    depending on what your unit of analysis is, you may get

         6    block census data, for example.

         7    Q     And you would use census data to do that?

         8    A     Or neighborhood control.      Right.    To understand

         9    the racial composition of the neighborhood and how that

        10    may influence the outcome of interest, as one of a

        11    number of factors.

        12    Q     How would you control for three quarters of the

        13    police precincts being devoted to black parts of town,

        14    and just one being devoted to a white part of town?

        15    A     That is potentially a deployment issue.          And so

        16    you control for that in a number of ways.          One way is

        17    to examine each of them independently of the others.

        18    Another way is to actually, if you had actual

        19    deployment data, so you knew, for example, how many

        20    officers were deployed in each of these precincts and

        21    when, then you could potentially directly control for

        22    deployment.

        23    Q     How would you control for black people having

        24    potentially more arrest warrants out for them because

        25    of the long systemic over criminalization of black


                                         JA1507
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                                      Smith - redirect                           256


         1    individuals in the City?        You can't, right?

         2    A     Well, just, that is not a control variable, right,

         3    that you would include in a model like that.

         4    Q     Just a moment, Your Honor.

         5          THE COURT:      Sure.   Take your time.

         6    BY MS KOENIG:

         7    Q     One of the variables that you talked about on

         8    direct examination that you would try to control for is

         9    the driver's demeanor and the behavior of the driver,

        10    right?

        11    A     Ideally, yes.

        12    Q     How do you do that?       How you find that data?

        13    A     Typically that is self reported data from the

        14    police it exists.

        15    Q     Ever go back and look at body camera?

        16    A     Well, that is increasingly being done.            It's not

        17    on a regular practice, I would say, right now in the

        18    field.

        19    Q     No further questions, Your Honor.

        20          THE COURT:      All right.    Redirect?

        21                          REDIRECT EXAMINATION

        22    BY MR. GIBBONS:

        23    Q     Dr. Smith, is it the case that because statistical

        24    analysis is the best that could be done with the

        25    available data that it makes that analysis accurate or


                                            JA1508
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                                    Smith - redirect                              257


         1    reliable?

         2    A     No, that is not the case.

         3    Q     Despite Dr. Coston's disclaimer that they are not

         4    using census data to determine if bias exists, you

         5    disagree; is that correct?

         6    A     I disagree, yes.

         7    Q     Could you explain that, please?

         8    A     So, the heat maps, focus on the heat maps for a

         9    moment.   I think the primary conclusion from the heat

        10    maps is that stops, this is what I heard, not only what

        11    I read, but heard in testimony yesterday is that stops,

        12    cluster stops of African-Americans or black drivers

        13    cluster along racial boundaries between black and white

        14    areas.    And that they cluster in white areas.          And that

        15    there are no concomitant clusters of white stops in

        16    black neighborhoods.     So, the underlying conclusion

        17    then is that theres is bias, or that race influenced

        18    the decision of the police to stop in these areas.            And

        19    I think Dr. Coston says that directly.

        20          Without information about who is driving in those

        21    areas you can't reach the calculation that race had an

        22    influence on the outcome here, in this case traffic

        23    stops.    It may hypothetically be the case that there

        24    are no or very few white drivers in black neighborhoods

        25    in Richmond, for example.       In which case there are no


                                         JA1509
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                                        Smith - redirect                           258


         1    or very few white drivers available to be stopped in

         2    those neighborhoods.        That is why the benchmarking

         3    question is so key in reaching conclusions about

         4    potential bias in the initial decision to stop.

         5    Q     That would explain, for example, the clusters of

         6    white drivers in third precinct and in the other

         7    precincts?

         8    A     Yes.

         9    Q     What is your view of the fit between data that

        10    Dr. Coston relies upon and the conclusions that

        11    Dr. Coston reaches?

        12    A     I think Dr. Coston, with all due respect to a

        13    colleague, an academic colleague, I tink Dr. Coston's

        14    conclusions go beyond his data, beyond Dr. Coston's

        15    data.

        16    Q     No further questions.

        17          THE COURT:       All right.     May this witness be

        18    excused?

        19          MR. GIBBONS:       I believe so, Your Honor.

        20          THE COURT:       All right.

        21          Dr. Smith, thank you very much for joining us.             I

        22    appreciate it.         Headed back to Texas today?

        23          THE WITNESS:       Yes, Your Honor.

        24          THE COURT:       Well, have a safe trip.

        25          THE WITNESS:       Thank you, sir.


                                            JA1510
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                                      Turner - direct                              259


         1                          (Witness stood aside)

         2          THE COURT:      All right:    It is high noon.

         3          Why don't we take a lunch break and come back at

         4    12:45.

         5          You can go ahead.      Before we do that, let me ask

         6    you, do you have any idea how much evidence you have

         7    this afternoon?

         8          MR. GIBBONS:     We have three witnesses, and they

         9    will be much briefer.

        10          THE COURT:      Well, that ills good to know.

        11          MR. GIBBONS:     We estimate 2:00, 2:45?          2:30.

        12          THE COURT:      That is perfect.        We will see then you

        13    then at 12:45.

        14          MS KOENIG:      You meant 12:45, not start at 2:45.

        15          THE COURT:      Oh, did I say 2:45?       Thank you very

        16    much.

        17          Recess court.

        18                          (A recess was taken)

        19          THE COURT:      All right, good afternoon, everyone.

        20          We are ready for your first your witness,

        21    Mr. Seibert.

        22          MR. SIEBERT:     Yes, Your Honor.        The United States

        23    calls Keon Turner to the stand.

        24                               KEON TURNER

        25                AFFIRMED AND TESTIFIED AS FOLLOWS:


                                          JA1511
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                                      Turner - direct                            260


         1                           DIRECT EXAMINATION

         2          THE COURT:      All right, Ms Turner, thank you for

         3    coming.   You can take off the mask or keep it on when

         4    on the witness stand.       But please be sure to just speak

         5    directly into the microphone and that will help me.

         6          THE WITNESS:     Thank you.

         7          THE COURT:      Thank you.

         8    BY MR. SIEBERT:

         9    Q     Thank you.

        10          Ms Turner, can you spell your first and last name

        11    for the court reporter?

        12    A     Keon, K-E-O-N, last name Turner, T-U-R-N-E-R.

        13    Q     Ms Turner, how are you employed?

        14    A     I am employed by the Virginia State Police.

        15    Q     As a civilian?

        16    A     As a civilian, yes.

        17    Q     How long have been with the Virginia State Police?

        18    A     Since October of 2008, so going on 14 years.

        19    Q     What is your job at the Virginia State Police?

        20    A     Manager of the data analysis team, which I --

        21    don't know if you want me to go into detail -- we

        22    manage data collection, such as crime reports, use of

        23    force, the Community Policing Act.            Manage the

        24    repository for that information.

        25    Q     All right.      So is it fair to say you are


                                          JA1512
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                                       Turner - direct                           261


         1    essentially the supervisor over the group at VSP,

         2    Virginia State Police, that is in charge of collecting

         3    all the data for the state-wide Community Policing Act?

         4    A     That's correct.

         5    Q     What is the Community Policing Act just very

         6    quickly.

         7    A     Well, the Virginia Policing Act came about with

         8    house bill 1250. it is an act that initially --

         9          THE COURT:       You need to slow down there.

        10          THE WITNESS:      Sorry.

        11          THE COURT:       Thank you.

        12          THE WITNESS:      It was enacted on July 1 of 2020

        13    based on house bill 1250.         It is an act that requires

        14    that all traffic stops record certain data as listed in

        15    the Community Policing Act, including reason for stop,

        16    race, ethnicity, date of stop, location, and the result

        17    of the stop.

        18    Q     So as part of that VSP job with the Community

        19    Policing Act, you were entrusted with one, coming up

        20    with the criteria and standards for the state-wide

        21    collection effort; is that fair?

        22    A     Correct.

        23    Q     Also in charge of serving as a repository for all

        24    that data?

        25    A     Correct.


                                           JA1513
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                                     Turner - direct                             262


         1    Q     Correct?

         2          And then you also are in charge of somewhat

         3    quality control, and before you send it to another

         4    agency of the State?

         5    A     That is correct.

         6    Q     What is that other agency?

         7    A     Department of Criminal Justice Services, DCJS.

         8    Q     So at times when you were reviewing data you have

         9    to make decisions on whether the data is rejected back

        10    to the local agency, or accepted?

        11    A     Yes.   So when we receive the files, we initially

        12    created a technical specification which laid out the

        13    values that were allowed so that we could process it

        14    through our data warehouse to aggregate the information

        15    that we would then send to DCJS.         If that data was

        16    invalid, we would reject it, and if it was valid we

        17    would accept it.

        18    Q     When did you first become aware of these

        19    requirements that as supervisor of the DART team that

        20    you were supposed to implement?         Approximately when?

        21    A     We had about eight weeks to set this up.           It was

        22    during COVID, so it was March 2020 where the

        23    legislation was proposed, and we found out that it may

        24    be signed.    It was not signed until April.          We had to

        25    create that technical specification I spoke of in time


                                         JA1514
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         1    to disseminate to agencies.

         2          The first tech spec went out in May of 2020, and

         3    we should have started receiving data July 1 of 2020.

         4    Q     How would you describe I guess the planning phase

         5    or the phase right before the execution of July 1st

         6    from VSP standpoint?

         7    A     Extremely hectic.          Of course this was during

         8    COVID.    We also didn't have all staff in the office.

         9    Also there was civil unrest going on.              We had limited

        10    staff as well.          This was an unfunded mandate, so we

        11    were not given any additional finances to start this

        12    data collection.         And we also had to get this set up

        13    for nearly 400 agencies in the State.

        14          THE COURT:        By 400, you mean Police departments?

        15          THE WITNESS:        Police departments and sheriff's

        16    offices.

        17          THE COURT:        Right.

        18    BY MR. SIEBERT:

        19    Q     Was there anyone hired to assist the DART team

        20    with this collection effort for Community Policing?

        21    A     No.    My current analyst was there, and she was

        22    typically with crime reporting.             She assisted.         There

        23    was no position created at that time.              So it was just

        24    herself and myself.

        25    Q     As part of the planning phase your job and VSP's


                                               JA1515
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         1    job was to reach out to these local law enforcement

         2    agencies and kind of let them know what was going to

         3    happen, that there was criteria that they needed to

         4    start collecting; is that correct?

         5    A     That is correct.

         6    Q     And the criteria that was established was directly

         7    from the legislature, the Community Police Act.               You

         8    didn't get to make up what you wanted.

         9    A     Correct.     It was line-by-line verbatim from the

        10    statute.

        11    Q     When you reached out to these local law

        12    enforcement, what was their response?

        13    A     Stress.

        14    Q     Why stress?

        15    A     It was a very quick turn around to get data.              Also

        16    we were not able to hold any type of training.                Most

        17    people were stretched pretty thin during that time, and

        18    especially again because it was COVID and civil unrest.

        19    Q     All right.

        20          I think you might have answered this, but in your

        21    opinion was this sufficient time to plan, implement

        22    this roll out?

        23    A     Absolutely not.

        24    Q     So, you mentioned some resource issues for the law

        25    enforcement that needed to collect this data.            Did you


                                         JA1516
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                                      Turner - direct                             265


         1    have any issues for both -- were these issues for both

         2    big and small departments?

         3    A     Yes.

         4    Q     And can you describe both?

         5    A     Typically with your small departments they may not

         6    be fully electronic.      They may not have what is called

         7    a CAD, or computer aided dispatch, in their vehicles.

         8    So capturing this information at the time of stop

         9    becomes a little more tedious.          They may have to

        10    capture it manually by handwriting, and then have it

        11    aggregated at their agency through a records personnel,

        12    who will then send that information to us.

        13          Just about 70 percent of law enforcement agencies

        14    in Virginia have about 50 or less personnel.             So, with

        15    also having COVID and other issues going on at that

        16    time, they had limited manpower.          So they were doing

        17    all this with limited manpower.

        18          On the other side for your larger agencies they

        19    may have CAD systems that can capture this

        20    automatically or electronically, excuse me, but

        21    typically that requires getting your technical

        22    specifications to your vendor and taking anywhere from

        23    six months to a year to have that module recruited in

        24    their system.

        25          THE COURT:      So you are telling me that all of the


                                          JA1517
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                                      Turner - direct                             266


         1    local agencies have their own purchase of computer

         2    programs?

         3          THE WITNESS:     Correct.     We are not able to define

         4    or guide agencies into what software to purchase.

         5    There are about 20 different vendors, if not more,

         6    operating in Virginia at any one time.

         7    BY MR. SIEBERT:

         8    Q     All right.

         9          Let's go back to the criteria that was established

        10    one second.    Since the first six months initial roll

        11    out phase of the Community Policing Act has the

        12    criteria subsequently changed multiple times?

        13    A     Yes.

        14    Q     Can you tell The Court about that?

        15    A     It has changed multiple times for various reasons.

        16    There was additional legislation in Senate bill 530

        17    that required additional type of stops to be collected.

        18    So it went beyond traffic stops.          And, also, now record

        19    stop and frisk.       And it also recorded any involuntary

        20    detention.    So it expanded significantly.          With that we

        21    had to add additional parameters for the data

        22    collection.    Once we started noticing issues we were

        23    not able to tie those specific incidents back, so we

        24    added in what is called a record ID.           So that we could

        25    ID each stop as opposed to getting an aggregate of


                                          JA1518
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                                       Turner - direct                           267


         1    information that we couldn't follow.

         2    Q     So a record ID would be like an infinite number to

         3    a particular case or for a law enforcement agency?

         4    A     Correct.

         5    Q     But that did not exist in July 2020 to December of

         6    2020?

         7    A     Correct.     Didn't exist until July of 2021.

         8    Q     Now, under these new changes the Virginia State

         9    Police actually is going to have regulatory authority

        10    to update and change their criteria as needed, is that

        11    correct?

        12    A     That's correct.

        13    Q     Okay.    But they did not have that authority back

        14    in July of 2020 to December?

        15    A     We did not.       We were limited to explicitly what

        16    was stated in the --

        17          THE COURT:       So they changed the statute?

        18          THE WITNESS:      Yes.

        19    BY MR. SIEBERT:

        20    Q     Why did they change that?

        21    A     They changed it based on recommendations from both

        22    VS and DCJS.

        23    Q     Let me stop you there.         Were these recommendations

        24    coming directly from you?

        25    A     Yes.


                                             JA1519
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                                       Turner - direct                           268


         1    Q     All right.       Go ahead.

         2          The changes, and why did they adopt this new

         3    system of regulatory authority?

         4    A     It was discussed with myself and my analyst and

         5    with DCJS personnel what we could do to make it better.

         6    We found a lot of issues but we weren't able to tie

         7    those issues directly back to a stop.            So that was

         8    creation of the record ID.         When we were reviewing the

         9    files that we received we noted that there would be

        10    information we deemed being duplicate, would be the

        11    same race, set, date.        There were also additional

        12    issues such as quality control issues where we would

        13    have missing information or not using the correct

        14    value.    And as a way to support quality control we

        15    needed a record ID so we could notify that agency that

        16    this particular incident has invalid values or missing

        17    data.     Prior to that change we could only reject the

        18    entire file back to agency and say we couldn't accept

        19    it.

        20    Q     So the agency basically after being rejected would

        21    have to come up on their own somehow to fill in missing

        22    data or change the wrong data?

        23    A     Correct.

        24    Q     All right.

        25          So let's talk about the data collection and


                                           JA1520
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                                       Turner - direct                            269


         1    submissions you received in this July 2020 to December

         2    of 2020 period.        Did you receive law enforcement

         3    submissions during that time period?

         4    A     Yes.

         5    Q     Do you specifically hear, receive submissions from

         6    Richmond Police Department?

         7    A     Yes.

         8    Q     How often were these submissions in that first six

         9    months?

        10    A     So the initial quarter was received all at one

        11    time.     It was received by the due date.          So that would

        12    be July 1 through September 30.           We received on

        13    October 14th.      However, it had a lot of invalid values.

        14    It had to be rejected.         And then ultimately we received

        15    it again corrected.       We then received the October data

        16    in November, and we received the November data in

        17    December.     We did not receive the December data, and we

        18    had to reach out to them to let them know we are

        19    missing.

        20          THE COURT:       Reach out to whom?

        21          THE WITNESS:      Yes.

        22          THE COURT:       Who did you reach out to?

        23          THE WITNESS:      We reached out to Lt. Beasley.

        24          THE COURT:       At where?

        25          THE WITNESS:      Richmond P. D.


                                             JA1521
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                                        Turner - direct                             270


         1    BY MR. SIEBERT:

         2    Q     So you didn't receive the December 2020 data, so

         3    you reached out.        When did you actually receive the

         4    December 2020 data?

         5    A     We did not receive it until July 14.             There were

         6    still quality control issues, but they were quickly

         7    fixed, and it was returned on July 15.

         8          THE COURT:       What were the quality control issues?

         9          THE WITNESS:       There were several issues.         Things

        10    such as you using "Caucasian" instead of "white."                Or

        11    using "African-American" or "A" instead of "black"

        12    where we had specific values that should have been used

        13    such as "W" for "white" or "B" for "black" or "A" for

        14    "Asian."     So when we were receiving that information

        15    and it doesn't meet the technical specs we can't inject

        16    it into the data warehouse.

        17          Other issues were things like missing statute

        18    code.     Instead of having the actual statute code it

        19    would say "failure to yield" or, you know, another type

        20    of infraction.         And we actually needed the code section

        21    itself to ingest it.

        22    Q     So overall, how would you characterize these law

        23    enforcement submissions during the first phase?

        24    A     Initially, extremely poor.           And it was to be

        25    expected.


                                            JA1522
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                                      Turner - direct                                 271


         1    Q     Does that go for Richmond Police as well?               I know

         2    I have talked about law enforcement generally.                Is that

         3    fair for Richmond Police as well?

         4    A     Yes.

         5    Q     The reason you say it is poor is all of the

         6    reasons you just listed about incomplete reporting, is

         7    that right?

         8    A     That's correct.

         9    Q     And inconsistent reporting.

        10    A     Yes.

        11    Q     Did see any problem with duplicative data?

        12    A     Yes.     Typically if a person is given more than one

        13    citation we had notified agencies to only send over the

        14    most egregious offense, and agencies would send over

        15    every single citation that that person received.               That

        16    was an on-going issue.

        17    Q     So, your job Virginia State Police when you

        18    collected this data was to send back.          You never

        19    discarded data?

        20    A     No.

        21          Either accept or reject.

        22    Q     Okay.

        23          Is Richmond Police now currently up to date in

        24    terms of their submission?

        25    A     Yes.


                                         JA1523
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                                     Turner - direct                             272


         1    Q     The gap we already talked about from December data

         2    to July data, was it, is that the longest gap that was

         3    missing?

         4    A     Yes.

         5    Q     Did you drill down on why there was problems with

         6    the Richmond data?

         7    A     It was typically the same problem with several

         8    agencies.

         9    Q     Well, stop there.     Was there internal and external

        10    issues that were having an effect on the data

        11    collection efforts --

        12    A     Yes.

        13    Q     -- of RPD?

        14    A     Yes.

        15    Q     What were those?

        16    A     Initially we received data from a lieutenant who

        17    had either retired or was promoted but no longer in

        18    charge of it, which caused the longest gap.            But also

        19    during that time period of course it is 2020 so we are

        20    talking about a reduction of manpower, state-wide and

        21    specifically in Richmond during civil unrest and, of

        22    course, during COVID.      Those are the two major issues

        23    that affected it.

        24    Q     Was there also leadership issues at RPD that you

        25    are aware of?


                                         JA1524
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                                       Turner - cross                            273


         1    A     Yes, they had a lot of turnover, which is how we

         2    ended up, we being the contact initially was Lieutenant

         3    Beasley, and then it moved to Mr. Renne.

         4    Q     So is the step of the process is for you to send

         5    data to DCJS?

         6    A     That's correct.

         7    Q     That's the Department of Criminal Justice

         8    Services?

         9    A     Yes.

        10    Q     What do they do?

        11    A     So at that point they take the aggregated data,

        12    and they are required to create a report.            That report

        13    is then disseminated to the Governor, the General

        14    Assembly, and the Commonwealth Attorney.

        15    Q     Okay.

        16          As we already talked about, you are part of the

        17    process of recommending further changes to make better

        18    data collection efforts across the state?

        19    A     Correct.

        20          MR. SIEBERT:     One second, Your Honor.

        21          THE COURT:      Take your time.

        22          MR. SIEBERT:     No further questions.

        23          THE COURT:      All right.    Cross examination.

        24                           CROSS EXAMINATION

        25    BY MS AUSTIN:


                                          JA1525
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                                       Turner - cross                            274


         1    Q     Good afternoon, Ms Turner.

         2          THE COURT:      Do you work on Midlothian Turnpike?

         3          THE WITNESS:     I do.

         4    BY MS AUSTIN:

         5    Q     The Government Attorney asked you questions about

         6    Richmond Police Department submission of their data

         7    under the Community Policing Act from July '20 until

         8    December '20?

         9    A     Um hum.

        10    Q     You said that it was a while, the December 20

        11    report was somewhat delayed?

        12    A     Yes.

        13    Q     But isn't it true that by September 30th of 2021

        14    Virginia State Police and you had received all the

        15    months from July '20 to December '20?

        16    A     Yes.

        17    Q     And you have received those from the Richmond

        18    Police Department and looked at it and either accepted

        19    it or rejected it?

        20    A     Yes.

        21    Q     If you rejected it because there were mistakes; is

        22    that right?

        23    A     Invalid values.     I wouldn't know if they were

        24    mistakes, because I am not familiar with the stops

        25    themselves.


                                          JA1526
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                                       Turner - cross                            275


         1    Q     Invalid values.     I am glad you made that point.

         2    Meaning the Community Policing Act had a very strict

         3    protocol for reporting data?

         4    A     Right.

         5    Q     If the police officer reported that data but used

         6    the wrong terminology, you had to send it back?

         7    A     Wrong data value, yes.

         8    Q     Okay.    Then did you send it back for the purpose

         9    of Richmond Police Department correcting that?

        10    A     Yes.

        11    Q     And then when they would re-submit it you again

        12    had to make that decision whether you rejected it or

        13    accepted it, correct?

        14    A     Correct.

        15    Q     Okay.

        16          At some point you had accepted all the months from

        17    July '20 to December '20?

        18    A     Yes.

        19          THE COURT:      When did you do that?

        20          THE WITNESS:     July 15th would have been when we

        21    received that December file, so speaking from that time

        22    period, July 1 of 2020 to December 31 of 2020, all six

        23    of those months were accepted by July 15th of 2021.

        24          THE COURT:      Okay.

        25    BY MS AUSTIN:


                                            JA1527
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                                     Turner - cross                              276


         1    Q     You talked about how you are the, correct me if I

         2    get terminology wrong, the Data Collection Manager at

         3    Virginia State Police?

         4    A     Right.    Management Data Analysis and Reporting.

         5    Q     Okay.    In addition to data collection, gathering

         6    data law enforcement agencies for the Community

         7    Policing Act, what other purposes do you gather

         8    information from law enforcement?

         9    A     Information is gathered when there is a use of

        10    force.    Information is gathered when there is a crime

        11    that has been reported to law enforcement.            That would

        12    also include hate crimes, or what is known as LEOK, law

        13    enforcement officer killed or assaulted.           And we also

        14    manage the reported management system for Virginia

        15    State Police, as well as the evidence management

        16    system.

        17    Q     When up say the records management system for the

        18    Virginia State Police?

        19    A     Case management.

        20    Q     Case management.     So that deals strictly with the

        21    Virginia State Police?

        22    A     Yes.

        23    Q     You were receiving information from local law

        24    enforcement agencies on use of force?

        25    A     Um hum.


                                         JA1528
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                                         Turner - cross                          277


         1    Q     And how long had you been receiving that

         2    information?

         3    A     That was based on statutory requirement that came

         4    about in 2015.         Officer involved shooting.        It was

         5    elevated to use of force based on FBI requirement

         6    during 2019.

         7    Q     In that, when those provisions were passed and

         8    that information had to be collected, did you work with

         9    local law enforcement agencies at that time to make

        10    sure they complied with protocol?

        11    A     Yes.

        12    Q     Okay.

        13          So, this wasn't a new occurrence when the

        14    Community Policing Act was passed that, well now there

        15    is more information that law enforcement agencies have

        16    to submit to you, correct?

        17    A     Yes.

        18    Q     And you had been in contact with local law

        19    enforcement agencies over the years prior to passing of

        20    the CPA in getting them to report correctly data

        21    required by statute?

        22    A     Yes.

        23    Q     And that include the Richmond Police Department,

        24    correct?

        25    A     Yes.


                                            JA1529
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                                      Turner - cross                             278


         1    Q     When you talk about small law enforcement agencies

         2    that might not be on line and have individual, I think

         3    you called them CAD?

         4    A     Um hum.

         5    Q     That is the computer in vehicle.

         6          Richmond Police Department is not considered one

         7    of those small law enforcement agencies?

         8    A     No.

         9    Q     They are an agency that has the CAD in every

        10    vehicle?

        11    A     Correct.

        12    Q     Okay.

        13          You had been working with someone prior to passage

        14    of the CPA, you had been working with someone at

        15    Richmond Police Department whose responsibility it was

        16    to pass data on to you?

        17    A     Yes.

        18          Much smaller data collection, but yes.

        19    Q     And you said throughout, after the passage of the

        20    Community Policing Act there were changes to the

        21    legislation as to what needed to be collected?

        22    A     Yes.

        23    Q     And when those changes happened you than passed

        24    those on to law enforcement agencies?

        25    A     Correct.


                                         JA1530
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                                     Turner - cross                              279


         1    Q     Do you know when those changes, what changes you

         2    referenced in your direct examination, what changes

         3    were those?

         4    A     The changes that occurred on July 1 were based on,

         5    like I said, Senate bill 1530.

         6    Q     July 1 what year?

         7    A     2021.

         8    Q     So let me stop you right there.        That is the first

         9    change that was made, it was July of 2021?

        10    A     Yes.

        11    Q     Okay.

        12          When you were in the process of sending

        13    information back to a law enforcement agency saying

        14    corrections need to be made, and then sent back to you,

        15    you reviewed it one more time, of course, correct?

        16    A     Um hum.

        17    Q     Yes?

        18    A     Yes.

        19    Q     If it was accurate and complied with the statute

        20    you then did what with that information?

        21    A     That was forwarded to DCJS.

        22    Q     Okay.   So the Richmond Police Department reports

        23    to you from July 2020 to December 20.         Were all of

        24    those reports forwarded to the Department of Criminal

        25    Justice Services?


                                         JA1531
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                                      Turner - redirect                          280


         1    A     Yes, those particular six months would have been

         2    received sometime in July of 2021.            We would have sent

         3    it off in July.

         4    Q     You sent it off because they were reviewed and

         5    accepted?

         6    A     Yes.

         7    Q     One moment, Your Honor.

         8          THE COURT:      Take your time.

         9          MS KOENIG:      No further questions.

        10          THE COURT:      Redirect?

        11                          REDIRECT EXAMINATION

        12          MR. SIEBERT:      Very briefly.

        13          THE COURT:      Sure.

        14    BY MR. SIEBERT:

        15    Q     So just to be clear, VSP has no way to know the

        16    information receiving from individual departments is

        17    accurate?

        18    A     That is correct.        We can only say that the data as

        19    it is sent is either valid or invalid.

        20    Q     But there is no way to know if every officer on

        21    the street is actually complying with the CPA --

        22    A     That is correct.

        23    Q     -- or filling it out correctly?

        24    A     That is correct.

        25    Q     And you accept the accuracy of the data as you


                                            JA1532
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                                    Turner - redirect                               281


         1    receive it?

         2    A     Yes.   We are only a repository.

         3    Q     Going back to this December 2020 data set.             It was

         4    received by Virginia State Police, but the importance

         5    of it, I guess for today, is that it didn't make the

         6    March cutoff; is that correct?

         7    A     That's correct.

         8    Q     And tell The Court about this March cutoff.

         9    A     It would be legislation was written that a report

        10    needed to be created by July 1 of the following year.

        11    Which would have been July 1 of 2021.         That did not

        12    provide enough time for agencies to submit data, and

        13    for DCJS to review that data.       So DCJS and VSP, myself,

        14    we discussed a cutoff date.       It was decided that the

        15    first three months of the collection would make it into

        16    the report.    So that would have been all data submitted

        17    by April 15 of 2021.     The last month of Richmond was

        18    December 2020 of RPD was not received until July.             It

        19    would not have been included in the report.

        20    Q     But other law enforcement agencies across the

        21    state did have their December data included?

        22    A     Yes.

        23    Q     Now, just real brief.     You mentioned on cross

        24    examination about other data collection efforts that

        25    you have been involved in and VSP has been involved in?


                                         JA1533
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                                       Turner - redirect                          282


         1    A      Yes.

         2    Q      How would you rate the level of stress or -- I

         3    don't think that is the right word, the easiness of

         4    putting this together for the Community Policing Act as

         5    compared to the other data collection efforts you were

         6    involved in?

         7    A      Well, to provide some context.           Speaking

         8    specifically to use of force data, typically there is a

         9    pilot, there is a trial period where we collect that

        10    information.      The technical specifications are sent

        11    out.      And we were able to train agencies prior to

        12    requesting the data.        So looking at use of force data,

        13    we had about three years before we actually started

        14    collecting that data correctly.            And that is because we

        15    did have the time.        Using Community Policing Act we had

        16    eight weeks.

        17    Q      There was no pilot program period where you just

        18    ignored the data, you immediately had to start using it

        19    and collecting it?

        20    A      Correct.

        21           MR. SIEBERT:      No further questions, Your Honor.

        22           THE COURT:       Okay.   Thank.

        23           May she be excused?

        24           MR. SIEBERT:      From the Government, yes, sir.

        25           MS KOENIG:       Yes, Your Honor.


                                              JA1534
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                                      McDonough - direct                          283


         1          THE COURT:       Thank you very much for coming, ma'am.

         2          THE WITNESS:      No problem.

         3          THE COURT:       Have a good rest of the day.        Thank.

         4          THE WITNESS:      Thank you.

         5                           (Witness stood aside)

         6          MR. SIEBERT:      United States calls Jim McDonough,

         7    Your Honor.

         8          THE COURT:       All right.

         9          MR. SIEBERT:      I will go get him outside.

        10          THE COURT:       All right.

        11                             JAMES McDONOUGH

        12                 AFFIRMED AND TESTIFIED AS FOLLOWS:

        13                            DIRECT EXAMINATION

        14          THE COURT:       Thank you, sir.     Thank are for coming

        15    today.    I appreciate it.

        16          While you are testifying you are free to keep your

        17    mask on or off, whichever you are more comfortable

        18    with.     If you keep it on you need to speak loud and

        19    right into to the microphone.

        20          THE WITNESS:      I will.

        21          THE COURT:       Whichever you want.      Makes no

        22    difference to me.

        23          THE WITNESS:      Yes, sir.

        24    BY MR. SIEBERT:

        25    Q     All right.


                                           JA1535
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                                     McDonough - direct                          284


         1          Mr. McDonough, state your first and last name and

         2    spell it for the court reporter.

         3    A     James McDonough.     I work for the Virginia

         4    Department of Criminal Justice Services.

         5    Q     Can you spell the last name for the court

         6    reporter?

         7    A     M-c-D-O-N-O-U-G-H.

         8    Q     How long have you been with the Department of

         9    Criminal Justice Services?

        10    A     Thirty-two years.

        11    Q     Just give the Judge a quick background that is

        12    relevant to your current job.

        13    A     Yes, sir.

        14          I am the director of the Criminal Justice Research

        15    Center at the Department of Criminal Justice Services.

        16    I have been with that group for 32 years.           I have my

        17    training in experimental psychology.          I have a PhD that

        18    primarily focused on how you design and conduct

        19    experiments.     I also have president and vice-president

        20    of the Justice Research Statistics Association, which

        21    is a national network of the state criminal justice

        22    statistical analysis centers in all of the states in

        23    the U.S.

        24    Q     What is your exact job, and what do you do as the

        25    director of criminal research center, or the manager


                                         JA1536
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                                    McDonough - direct                           285


         1    for criminal Research Center at DCJS?

         2    A     We have a staff of five.      I oversee the assignment

         3    of research studies that we are given by the Governor,

         4    the Secretary, the legislature.        Essentiality I assign

         5    the work, I quality control the work.         I review the

         6    work that our analysts do and the reports that they

         7    write.    And basically just provide oversight in terms

         8    of seeing that it is done correctly.

         9    Q     As part of your portfolio you are in charge of the

        10    Community Policing Act for DCJS; is that right?

        11    A     Yes.

        12    Q     Obviously you are familiar with the Community

        13    Placing Act?

        14    A     Yes.

        15    Q     Just generally what is it, real quick?

        16    A     It is a law that was passed in 2020 that requires

        17    local law enforcement agencies when they make traffic

        18    stops to collect data on the circumstances of the stop,

        19    including the demographics of the drivers involved,

        20    report that data to the state police repository.             And

        21    we in turn at DCJS are required to receive that data

        22    from state police, analyze it, and write an annual

        23    report on the interpretation of the data.

        24    Q     Are you familiar with when the Virginia Policing

        25    Act went into effect in Virginia?


                                         JA1537
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                                     McDonough - direct                          286


         1    A     It went into effect on July 1st of 2020.

         2    Q     You became aware of prior to its passing and

         3    passing, that the act was coming and you started

         4    preparing for that; is that fair?

         5    A     Yes.    Prior to its passage we were aware the bill

         6    had been introduced, so we started doing some

         7    preliminary work, looking at how those types of data

         8    collection efforts had been tried in the past and how

         9    they went.

        10    Q     Were you provided any funding to fulfill the goals

        11    of the Community Policing Act?         When I say you,

        12    obviously, DCJS.

        13    A     We were provided funding to hire someone to work

        14    on the project, but we didn't receive the money to hire

        15    that person until several weeks before the first report

        16    was actually due.

        17    Q     That was the first report that was due in July of

        18    2021?

        19          So during the phase of July when it first went

        20    into implementation, until December of 2020, you did

        21    not have an individual funded for this Community

        22    Policing Act?

        23    A     No, we did not have a person funded and dedicated

        24    to that.

        25    Q     But you had, obviously, people working on it?


                                         JA1538
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                                      McDonough - direct                         287


         1    A     Yes.     Myself and one of our other statistical

         2    analysts did most of that work.

         3    Q     So how would you describe, I guess, the initial

         4    phase of the planning phase of this in terms of DCJS?

         5    A     The planning phase was first of all just trying to

         6    find out anything we could in the scientific literature

         7    about how those types of studies had been attempted

         8    before.     And we also began to receive some preliminary

         9    data from state police to look at so we could see what

        10    kind of data were coming in, and start assessing how

        11    well we thought it was and what we might be able to do

        12    with it.

        13    Q     In your estimation did DCJS and yourself have

        14    sufficient time to plan for this roll out in July of

        15    2020?

        16    A     No.    It was a very rushed process.

        17    Q     Was the scale of the project also significant in

        18    how you had to deal with?

        19    A     Yes.     It's one of the largest projects that we

        20    have had in my experience working.

        21    Q     Did you receive any training, or staff receive any

        22    training, how to deal with implementing the Community

        23    Policing Act?

        24    A     No.

        25    Q     During this initial phase, July of 2020 to


                                          JA1539
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                                      McDonough - direct                             288


         1    December of 2020, did you start receiving submissions

         2    as required by law from Virginia State police?

         3    A     Yes, we did.

         4    Q     And when?       Do you know rifle when started

         5    receiving that data?

         6    A     We started receiving some very, very early data in

         7    January of 2020, and then it kind of dribbled in.

         8    Q     You mean January of 2021?          I'm sorry.

         9    A     Twenty-one, I'm sorry, yes.

        10    Q     Okay.

        11          I cut you off.

        12    A     Then it sort of dribbled in between then and May

        13    of 2021 when we received the final set of data that we

        14    actually used for our report.

        15    Q     How would you characterize these law enforcement

        16    submissions, the quality of them?

        17    A     The quality was very shoddy.             There was -- there

        18    were a lot of missing reports, agencies that had not

        19    gotten up to speed yet on collecting and reporting it.

        20    The data that we did receive, it frequently had missing

        21    values in what was supposed to be reported.               There were

        22    values that were not valid values, for what should be

        23    reported.     So it was very shoddy and preliminary.

        24    Q     When you received data that either be incomplete

        25    or missing fields, or incorrect, what did you do with


                                           JA1540
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                                     McDonough - direct                            289


         1    that?

         2    A     Typically when we saw those type of things we

         3    would exclude those records from our analysis.

         4    Q     So if you had a traffic stop that was, say, on

         5    August 8, 2021 and it had every field in there except

         6    for gender, would that be something you discard?

         7    A     Yes, we would exclude a record if any of the

         8    values that were required to be there were not.

         9    Q     Why would you do that if you are looking for,

        10    presumably the Virginia Policing Act is about racial

        11    bias and racial bias in policing, why would you exclude

        12    gender if that is only field missing?

        13    A     Generally we wanted to work with only what we

        14    thought was the most clean complete data we had.               And

        15    in our experience when you have problems with one part

        16    of a record it is probably more likely that there may

        17    be other problems.      And we didn't want to get into

        18    excluding records because one would be missing this

        19    field and one would be missing just that field, and

        20    having to make decisions about which ones to throw out.

        21    We think the cleanest way to make the data the best it

        22    would be is if there were any problems with the record

        23    we would just exclude it.

        24          THE COURT:      Let me ask you.     Did Dr. Coston rely

        25    on data from DCJS?


                                          JA1541
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                                       McDonough - direct                        290


         1          MR. SIEBERT:       I think the --

         2          THE COURT:        I don't think he did.

         3          MR. SIEBERT:       The defense has argued the Virginia

         4    Policing Act data is further evidence of -- maybe Dr.

         5    Coston didn't, but I think their supplemental argument

         6    is that the Community Policing Act also shows a

         7    disparity.

         8          THE COURT:        All right.    Okay.

         9          MR. SIEBERT:       I think the Community Policing Act

        10    is a separate body of data.

        11          THE COURT:        Go ahead.    That is fine.     Okay.

        12    BY MR. SIEBERT:

        13    Q     So was this a surprise to you that in the first

        14    six months that you had to discard data?

        15    A     No.    For a project of this size in our experience

        16    it's not at all uncommon that you run into this these

        17    start up issues.

        18    Q     All right.

        19          So, did you, were you able to run statistical

        20    analysis, or your shop, the body that you supervise

        21    individuals, able to run any statistical analysis on

        22    this data?

        23    A     We ran just descriptive statistics to say these

        24    are what the numbers are.           We were not able to run any

        25    type of test of sophistical significance given the low


                                            JA1542
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                                      McDonough - direct                          291


         1    quality of the data.

         2    Q     So DCJS's opinion is essentially, and you as a

         3    supervisor, the data was so poor that you received

         4    during this first six-month period you didn't even

         5    attempt statistical analysis of any significance?

         6    A     No.    Did not.

         7    Q     Is it fair to say your report does not have any

         8    statistical validity or significance in any anything

         9    you have collected?

        10    A     Yes.     It is purely descriptive, it is not a

        11    statistical analysis.

        12    Q     Okay.

        13          Were you able to, based on the strength of the

        14    data, make any conclusions about, like a benchmarking

        15    standard for driving population in some place like the

        16    City of Richmond?

        17    A     Not any type of a valid benchmark, no.

        18    Q     We are going to get into that in a second.

        19          Let's talk about the DCJS annual report.            Can you

        20    tell The Court very briefly what that is?

        21    A     It is a report that DCJS is required to do

        22    annually where we will look at the prior years data

        23    collected by state police, analyze it, and then by

        24    July 1 of each year produce a report with the results

        25    of that analysis.


                                          JA1543
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                                      McDonough - direct                         292


         1    Q     You drafted this report?

         2    A     Yes.

         3    Q     You supervised and approved its final, I guess,

         4    send-off to your higher up officials?

         5    A     Yes.

         6    Q     Where did -- who did this report go to?

         7    A     The report goes to the Governor, the General

         8    Assembly, and the State Attorney General.

         9          MR. SIEBERT:      I believe the defense has already

        10    introduced this.       I was going to pull up certain pages

        11    of the report.        But, is it fair that I just provide

        12    this to the witness?

        13          THE COURT:      Give it to him.

        14          MR. SIEBERT:      Marked as Government's exhibit one,

        15    but the same thing as --

        16          THE COURT:      All right.     Already admitted.

        17          MS KOENIG:      For the record, defendant's exhibit

        18    six, so it is clear what we are talking about.

        19    BY MR. SIEBERT:

        20    Q     So, just looking at that, you recognize what that

        21    is, right?

        22    A     Yes, sir.       This the report that we produced.

        23    Q     Okay.

        24          So before we get to the report, I just want to

        25    deal with some quick threshold questions.             What were


                                           JA1544
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                                     McDonough - direct                          293


         1    your, what is the key take away from this report, or

         2    the key take away from this report.

         3    A     The key take away of this report is that we did

         4    find that given the measure we used there were

         5    instances where drivers of a given race were stopped at

         6    a higher rate than their percentage of the population.

         7    But given the quality of data, the lack of a valid

         8    benchmark and ultimately a range of other issues, we

         9    could not draw any conclusions at all regarding whether

        10    or not racial bias, or bias based policing, played any

        11    role in these disparities that we found.

        12          THE COURT:      When you say a racial group over

        13    represented, you are talking about African-Americans?

        14          THE WITNESS:     Yes.

        15          THE COURT:      Thank you.

        16    BY MR. SIEBERT:

        17    Q     You guys created what is reflected in the report

        18    called "disparity index," is that right?

        19    A     Yes.

        20    Q     Give The Court in layman's terms what a disparity

        21    index is.

        22    A     Okay.

        23          The disparity index is where we took the

        24    percentage of each racial group that was represented in

        25    the traffic stops for a given locality, and we compared


                                            JA1545
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                                     McDonough - direct                          294


         1    that to the percentage of the, each racial group's make

         2    up of the population in that locality.           The driving age

         3    population.    So we had something to compare the traffic

         4    stop percentage to give us at least a very early going

         5    in sense of how those things fall out.

         6    Q     Okay.    So the disparity index does not show racial

         7    bias, just says disparity?

         8    A     Correct.

         9    Q     In terms of getting this number explain how you

        10    get to like one point O disparity.            What is that?

        11    A     Essentially, if, for example, if 45 percent of the

        12    traffic stops in a locality were African-Americans and

        13    45 percent of the driving age population in that

        14    locality were African-Americans, that would be a

        15    disparity induction of one, meaning they are equal,

        16    there is no sign of a disparity between the two.

        17    Q     Okay.    One-on-one comparison is one point O?

        18    A     Yes.

        19    Q     The -- what was City of Richmond from the July

        20    1st, 2021 report disparity index?

        21    A     Disparity index 1.6.

        22    Q     How --

        23          THE COURT:      What does that mean?

        24          THE WITNESS:     What it meant was that driving

        25    African-American drivers were stopped at a higher rate


                                          JA1546
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                                     McDonough - direct                          295


         1    than the rate of drivers -- African-American people,

         2    African-Americans of driving age in the population of

         3    the City of Richmond.

         4          THE COURT:      So 1.6 times higher than with respect

         5    to the percentage of the population, is that what you

         6    are saying?

         7          THE WITNESS:     Yes, although I wouldn't say it's

         8    what we would expect, because we do not have a

         9    benchmark to give us what we would consider to be an

        10    accurate expected value.

        11          THE COURT:      Well, aren't you effectively using the

        12    population of African-Americans over the age of 16 as a

        13    rough benchmark in this case?

        14          THE WITNESS:     Yes, I would say very rough

        15    benchmark.

        16    BY MR. SIEBERT:

        17    Q     That is why throughout the report, we will get to

        18    it, you called this preliminary?

        19    A     Yes.

        20    Q     And are all over the report you talk about why you

        21    can not show racial bias from the data or the disparity

        22    index that you used?

        23    A     Yes.

        24    Q     What is the state average disparity index?

        25    A     The state average is also 1.6.


                                          JA1547
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                                      McDonough - direct                         296


         1          THE COURT:       It it is interesting to me,

         2    Mr. Seibert, all of these numbers show that a whole lot

         3    more African-Americans get arrested than white people,

         4    but nobody is willing to say, gee, there might be some

         5    bias.

         6          MR. SIEBERT:      Well, Judge, you want me, would you

         7    like me to answer?

         8          THE COURT:       I would like to hear what you think.

         9    I have been listening to Dr. Miller testify and now

        10    Mr. McDonough and I just don't -- it looks to me like

        11    everybody sort of dodges the bullet on this.

        12          MR. SIEBERT:      Well, one because these are all

        13    preliminary studies, and in order to find racial bias

        14    there would be rigorous testing because, Judge, we

        15    haven't heard this yet, but I think my answer to you

        16    would be the ramifications of making a finding about

        17    racial discrimination in a case like this would have,

        18    and it wasn't true, would have earthquaking, you know,

        19    results.

        20          THE COURT:       Well, might be some building shaking

        21    then.

        22          MR. SIEBERT:      Right.    But the point is, if it is

        23    deemed properly based on evidence and you wrong about

        24    it, imagine the study that Dr. Smith did in LA and that

        25    the court improperly found, or he improperly found


                                           JA1548
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         1    based on weak statistical evidence the effect of that.

         2    That is why the mayor, chief of police, in answer to,

         3    you know, the population, that they don't want the

         4    traffic stop they could make changes.            If this Court

         5    does that essentially would make every traffic stop

         6    involving an African-American, then the indictment

         7    would be dismissed, right?

         8          THE COURT:       Well, not necessarily.       I don't

         9    know -- you are confusing -- well -- you are equating a

        10    finding that there is bias with the remedy of dismissal

        11    when in fact, for instance in this case, we have got

        12    the gentleman driving around with a fake license plate

        13    on and all that.        Maybe that gets stopped regardless of

        14    bias.     This is -- these are very, very difficult

        15    issues.

        16          MR. SIEBERT:      I agree, Your Honor.        But it's not

        17    our burden.     The burden of the defense.          If there is

        18    racial disparity, that is a starting point.              This would

        19    be a starting point for any real statistician to come

        20    in here and dig in and look at all at variables.                There

        21    is plenty of states doing that now.

        22          THE COURT:       Dr. Coston agrees with that.

        23          MR. SIEBERT:      I wasn't talking to Dr. Coston.          I

        24    am just saying there is data collection efforts in I

        25    think 40 states around the country to varying degrees.


                                           JA1549
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         1    Some are better than others.          If Virginia wants to be

         2    serious about data collection, data collection efforts

         3    they could start collecting better data and give this

         4    individual an opportunity to make findings that are

         5    more than just preliminary.

         6          THE COURT:       Is it your contention that Virginia

         7    still has an inadequate collection system going?

         8          MR. SIEBERT:      I am not the expert in this field.

         9    I think they still need to dig into -- Dr. Smith

        10    provided many variables that need to be looked at that

        11    weren't on this January, or the July 2020 to December

        12    of 2021.

        13          THE COURT:       Dr. Smith's testimony was essentially

        14    that you don't have all the data.              And in particular

        15    it's almost impossible to have a benchmark.               That is

        16    pretty much what he said.         I suppose you could go look

        17    at the crash data, you could possibly go look at the

        18    veiled darkness data, whatever it is called, or you

        19    could station people on every corner to count heads.

        20    But, that is really a monstrous task.

        21          MR. SIEBERT:      I think the reason this is

        22    important, Judge, in my opinion, it's a starting point.

        23    So now if a department is wide spread, that will at

        24    least give the signal to start digging deeper.

        25          THE COURT:       Well, all right.


                                           JA1550
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         1          MR. SIEBERT:        The other problem is if you have

         2    individual rogue officers that are making the problem,

         3    go after them.          This will help identify and narrow down

         4    if there are certain parts of an area.              So there is bad

         5    actors on the individual level.             I think certainly this

         6    helps, you know, factor that in and have them dig

         7    deeper.     But to say that the Richmond Police force is

         8    designed, or their enforcement system to selectively

         9    enforce African-Americans I think is a step too far.

        10    That is all we have heard throughout today.

        11          THE COURT:        You know, ultimately this may be

        12    a political question.          Go ahead.     Sorry.

        13          MR. SIEBERT:        Yes, Your Honor.

        14          THE COURT:        You are doing good.

        15    BY MR. SIEBERT:

        16    Q     So there is a disparity in expert bias?

        17    A     No.

        18    Q     Is it fair to say there is multiple variables that

        19    could explain this disparity?

        20    A     Yes, that is why we were so cautious because we

        21    are aware there are multiple other variables that could

        22    explain why you could have a mismatch between the

        23    percentage of drivers of any given race stopped and the

        24    percentage of those, of driver-age in that racial group

        25    within a locality.


                                             JA1551
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         1          THE COURT:       Here is the thing.      The last witness

         2    said there were 400 police agencies in the state.

         3    Isn't that what he said?

         4          MR. SIEBERT:      Yes.

         5          THE COURT:       And if you add them all together it is

         6    still 1.6, a 1.6 disparity index.

         7          THE WITNESS:      Yes, that's correct.

         8          THE COURT:       Seems to me like that means there is a

         9    problem in Virginia that needs to be addressed.                 I mean

        10    I just -- everybody says we need more data, we need

        11    more data.     We have 400 contributors of data to this

        12    thing which collectively, including places that are as

        13    conservative as Brunswick County and as liberal as

        14    Fairfax, they all when you add them all together comes

        15    out to a disparity in stops.          I just don't understand

        16    why everyone is so cautious about saying the Emperor

        17    has no clothes on.

        18          THE WITNESS:      If I could, Your Honor, I certainly

        19    understand.

        20          THE COURT:       That wasn't a fair question.        I

        21    apologize.

        22          THE WITNESS:      As researchers what we were trying

        23    to do is determine to the extent to which we could or,

        24    couldn't make that statement based on the data that we

        25    have.     And we believe that there are many other factors


                                             JA1552
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         1    that contributed to that 1.6, whether it be Richmond or

         2    the State that could be contributing to that that are

         3    not based on race.       Race might be in there somewhere,

         4    but we don't know.

         5          THE COURT:       Over 400 agencies, whatever foul up in

         6    the data there are, it still comes to 1.6, and so we

         7    doubt that 1.6 is an accurate number?

         8          THE WITNESS:      Yes, we still doubt that that is an

         9    accurate number reflecting what we are trying to

        10    measure.

        11    BY MR. SIEBERT:

        12    Q     Well, let me ask one follow-up question.             I mean

        13    could police deployment patterns be a significant

        14    factor that change a variable that could cause this

        15    disparity index?

        16    A     Yes.    If, for example, police patrols are heavier

        17    or denser in a high-crime area that might be

        18    predominantly minority in population, well, that could

        19    skew these numbers to why we are getting more stops of

        20    African-American drivers.

        21    Q     Could calls for service that police are required

        22    to respond to also be another variable that could

        23    factor in, that could be, I guess, factor in to the

        24    disparity index?

        25    A     Yes.


                                           JA1553
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                                       McDonough - direct                         302


         1          THE COURT:        So is Pierre Redding in the Richmond

         2    Police Department going to tell us something about

         3    deployment patterns?

         4          MR. SIEBERT:       No, Your Honor.        A data collection

         5    individual that we have actually cut to move forward on

         6    this faster.      We incorporated some of Ms Turner's

         7    testimony.

         8          THE COURT:        All right.

         9    BY MR. SIEBERT:

        10    Q     So in drafting, I guess, this report were you and

        11    DCJS concerned certain officials could use the report

        12    to claim it showed racial bias?

        13    A     No.    We stated that the report should not be used

        14    to do that.

        15    Q     Right.     But is that why you put that in there

        16    because you thought it could be misused by officials --

        17    A     Yes.

        18    Q     -- to say the disparity index proves racial bias?

        19    A     Yes.

        20          THE COURT:        Go ahead.    Feel free to lead him.

        21    BY MR. SIEBERT:

        22    Q     So, you document throughout this limitations that

        23    we were going to get to of what your findings are?

        24    A     Yes.

        25    Q     And you already mentioned this, but one of the key


                                            JA1554
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                                     McDonough - direct                              303


         1    limitations was the benchmark problem?

         2    A     Yes.

         3    Q     And tell The Court what that is.

         4    A     Again, it is to determine whether or not there is

         5    bias you would have to have some measure of what those

         6    numbers would look like if there were not bias.               And we

         7    use that driver age population as that benchmark.              But

         8    given that there are no reliable benchmarks to our

         9    knowledge in any of the attempts to do this, we just

        10    recognize it as a very crude preliminary start toward

        11    trying to develop one.

        12    Q     So your benchmarking was taking out anyone under

        13    the age of 16 from the census data?

        14    A     Assuming they are not drivers.

        15    Q     Would you ever consider just using all the census

        16    data?     Was that ever a consideration?

        17    A     No, we did not, because given how much noise there

        18    is already in this data we assumed that using this

        19    chunk of the population that is highly unlikely to be

        20    out there driving and subject to being stopped would

        21    only make the data even noisier and of less quality.

        22    Q     All right.

        23          So let's go to, very quickly, can you bring up

        24    Government's exhibit one, I guess.           Can you blow up the

        25    bold area.     That paragraph.


                                         JA1555
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                                     McDonough - direct                             304


         1          THE COURT:      We are on Government's exhibit 1 A.

         2    Q     Yes, Your Honor.

         3          Can you read the bold there?

         4    A     "The information presented in this report is

         5    preliminary and should be interpreted with caution."

         6    Q     This is the first page of your report?

         7    A     Yes.

         8    Q     Why are you saying that this is preliminary and

         9    should be interpreted with caution?

        10    A     We are saying that because it was very challenging

        11    for the law enforcement agencies to begin collecting

        12    and reporting this data many agencies had trouble

        13    reporting it at all, or understanding exactly how it

        14    was to be reported.      Of the data that were reported

        15    there were various issues with the quality and the

        16    completeness of the data.        And some smaller agencies

        17    that did not have a lot of resources were not able to

        18    report many stops at all, so few, or so few that it was

        19    not possible to do any type of interpretation of the

        20    data.

        21    Q     Could we go to the next paragraph down?

        22          There is another reason in mentioning that.              Tell

        23    The Court about what the other limitations are.

        24    A     Yes.   Another one of the limitations is that there

        25    is no standard way right now for law enforcement


                                          JA1556
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                                     McDonough - direct                          305


         1    officers when they are making a stop to determine what

         2    the race or ethnicity of the driver is.            There is no

         3    indication of that on a driver's license or a D M V

         4    record, so it was left up to the officer's discretion

         5    to make that decision, or if they wished, to ask the

         6    driver what their race or ethnicity was.

         7    Q     All right.      Go to 1 D.    Go to the second

         8    paragraph.    Just blow that whole paragraph up.

         9          Yes.

        10          Can you read the bold on that?

        11    A     Yes.   "Although this analysis identified

        12    disparities in traffic stop rates related to race,

        13    ethnicity, it does not allow us to determine or measure

        14    specific reasons for these disparities."

        15    Q     All right.

        16          So, that applies to every police department in the

        17    country, in the state, is that right?

        18    A     Yes.

        19    Q     Including RPD?

        20    A     Yes.

        21    Q     All right.

        22          To next paragraph down.        Sorry.    Keep up what you

        23    just had.

        24          Talks about the various factors that could help

        25    explain why members of a given race may be stopped at


                                          JA1557
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                                     McDonough - direct                            306


         1    higher or lower rate.         What are those other factors?

         2    A     Among them are different driving rates or patterns

         3    by different racial groups.         Again, we don't know the

         4    details to benchmark this.        We know these differences

         5    exist, but some groups may be more likely or not to

         6    drive than others at given locations based on

         7    employment locations, whether or not they use public

         8    transportation, different rate of policing in different

         9    areas.    Again, high crime areas may have more police

        10    presence, therefore more stops.          And individually you

        11    see some cells may simply have different guidelines on

        12    what discretion they give to their officers in when to

        13    determine whether or not to make a stop.

        14    Q     Okay.

        15          Close that and go to the next paragraph down.            All

        16    the way down to the recommendation paragraph.

        17          THE COURT:      Hold on.   We are one.

        18          MR. SIEBERT:     One B still, Your Honor.

        19          THE COURT:      Okay.

        20    BY MR. SIEBERT:

        21    Q     So talks about major limitation of the study.

        22    Could you tell The Court what that limitation was?

        23    A     Sorry.   Could you repeat the question?

        24    Q     Yes.

        25          The first paragraph highlighted talks about the


                                            JA1558
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                                      McDonough - direct                         307


         1    major limitation of the study.           Tell The Court what

         2    that major limitation was.         We touched on it a little

         3    bit.

         4    A      Yes, sir.      The major limitation is, again, the

         5    benchmark problem.       We do not know what percentage of

         6    any given racial group's driving, actual driving habits

         7    or exposure to being stopped is.           That is what we need

         8    to compare the actual number of stops to.

         9    Q      All right.

        10           Then the recommendation one, so this is a

        11    recommendation that you are giving to state officials.

        12    A      Yes.

        13    Q      All right.     Tell The Court what is that

        14    recommendation?

        15    A      The first recommendation states the percentage and

        16    DI's presented in this preliminary report should not be

        17    interpreted to indicate that there are any individual

        18    law enforcement agencies practicing bias based policing

        19    given the limitations that we cite throughout the

        20    study.    And therefore we recommend that these things be

        21    used only to identify where there might be a potential

        22    for it, but not to conclude that there is.

        23    Q      All right.

        24           You recommend that in the areas where there is a

        25    disparity that requires further review and potentially


                                           JA1559
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         1    further action to either reduce or eliminate where

         2    there is this disparity?

         3    A     Yes.

         4    Q     That is your recommendation to the General

         5    Assembly, the Governor, the Commonwealth Attorney, and

         6    the Virginia Attorney General?

         7    A     Yes.

         8    Q     All right.

         9          We are not going through it, but later in the

        10    report you give recommendations on what some other

        11    studies that may be more accurate way to do this?

        12    A     Yes.

        13    Q     Just tell us quickly what those are.

        14    A     Based on research we have seen done elsewhere

        15    where they had more resources, time, whatever, breaking

        16    out this type of data by whether or not the stop

        17    occurred during daylight or darkness has been

        18    recommended as a method.       The assumption being that in

        19    the dark it may be less likely for a police officer to

        20    discern the race of a driver prior to deciding whether

        21    to stop.     We also recommended that if possible, if we

        22    could obtain data on the race of drivers within a

        23    locality that are involved in traffic accidents, that

        24    would provide a better benchmark of how often are

        25    different groups out there driving.          Because in those


                                         JA1560
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                                     McDonough - direct                            309


         1    cases police officers don't have the discretion to

         2    respond or not.       They are called.        So presumably any of

         3    those disparities that might exist in traffic stops

         4    would not be included there.         And that would give us a

         5    better representation how many drivers in different

         6    groups are actually on the road.

         7    Q     Okay.   Briefly, one C.

         8          And let's highlight the bold all the way down to

         9    the recommendation.      Sorry.     The second paragraph all

        10    the way down to the recommendation.            This is the final

        11    portion of your report; is that right, page 67?

        12    A     Yes.

        13    Q     These are your final recommendations?

        14    A     Yes.

        15    Q     And you are touching on the same issues audited

        16    before regarding disparity; is that right?

        17    A     Yes, we are basically summarizing most of what we

        18    talked about earlier in the report.

        19    Q     Okay.   The recommendation is what we previously

        20    just reviewed about disparity indexes?

        21    A     Yes.

        22    Q     Okay.

        23          Just almost done here.        Were you able to determine

        24    any methods to analyze or assess subjective motivation

        25    for individual officers?


                                          JA1561
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                                                                                    310


         1    A     No.

         2    Q     In this -- this annual DCJS report was released

         3    when?

         4    A     It was released July 1 of 2021.

         5    Q     Okay.

         6          And last question.        Does this report in any way

         7    suggest there is racial bias about police officers for

         8    any stop conducted in the Commonwealth of Virginia from

         9    2020 to 2021?

        10    A     No.

        11          MR. SIEBERT:       No other questions, Your Honor.

        12          THE COURT:        Thank you.

        13          Cross examination?

        14                             CROSS EXAMINATION

        15    BY MS AUSTIN:

        16    Q     Good afternoon, Mr. McDonough.             Did I pronounce

        17    that correctly, McDonough?

        18    A     That's correct.       Yes.

        19    Q     Your work at the Department of Criminal Justice

        20    Services you said is in research.               You are director of

        21    the research center, right?

        22    A     Yes.

        23    Q     So for the last thirty some years, correct?

        24    A     Yes.     Roughly thirty years, give or take a year.

        25    Q     Okay.     That is fine.      Over 30?


                                            JA1562
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         1    A     Yes.

         2    Q     We can agree on that.

         3          And so has it been your role there at the Research

         4    Center that you constantly analyze data coming in and

         5    prepare reports?

         6    A     Yes.

         7    Q     Where does that data usually come from?

         8    A     It comes from a variety of usually state agencies,

         9    the Department of Corrections, the Virginia State

        10    Police, the Supreme Court.      Various criminal justice

        11    agencies in Virginia.

        12    Q     Is that data transferred to your office usually by

        13    means of a statute directing that you receive that

        14    data?

        15    A     No.    Most of it is not required by statute.          We

        16    have very broad statutory requirement to analyze

        17    criminal justice data.      But each one is not listed in

        18    statute in terms of where it comes from.

        19    Q     But analyzing data from different state agencies

        20    is what your center does, --

        21    A     Correct, yes.

        22    Q     -- correct?

        23          And so, when you stated you didn't have any

        24    training on how to receive the data that was submitted

        25    to you pursuant to the Community Policing Act your job


                                         JA1563
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         1    for the last 30 some years has been receiving data from

         2    state agencies, correct?

         3    A      Yes.

         4    Q      And then analyzing that data?

         5    A      Yes.

         6    Q      And producing reports?

         7    A      Yes.

         8    Q      And you talked about when you started receiving

         9    data under the Community Policing Act, that some of it

        10    was shoddy, I think.     Did you say "shoddy?"

        11    A      Yes.

        12    Q      Okay.   And if found that to be the case you

        13    discarded it or didn't use it; is that correct?

        14    A      Yes, if we had the missing records or missing

        15    values in records or values there were clearly not

        16    within the range of what could be reported we would be

        17    discard those.

        18    Q      And do you -- is it your understanding that that

        19    information went through quality control at Virginia

        20    State Police before it came to you?

        21    A      It went through some level of qualaity control,

        22    yes.

        23    Q      And then you performed another level of quality

        24    control when you received it?

        25    A      Yes.


                                         JA1564
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                                                                                 313


         1    Q     Yes?

         2    A     Yes.

         3    Q     Okay.

         4          And then after that level of quality control at

         5    the Department of Criminal Justice Services you then

         6    set about with the help of your staff to analyze the

         7    data?

         8    A     Yes.

         9    Q     And as a result of analyzing the data under the

        10    Community Policing Act you had to submit a report by

        11    July of 2021 that we have been referring to as

        12    Government's exhibit one, correct?

        13    A     Yes.

        14    Q     Okay.

        15    Q     And you and your staff analyzers, or sorry,

        16    analysts, went through all of the data that was

        17    received and produced a report that was published,

        18    correct?

        19    A     Yes.

        20    Q     Okay.

        21          What kind of quality control did you perform or

        22    did this published report go through before it was

        23    released?

        24    A     It was viewed by our agency director.          It was

        25    reviewed by the Secretary of Public Safety.           Those two


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         1    reviews took place before the report would be, was

         2    officially published.

         3    Q     So the official report had quality control before

         4    published?

         5    A     It had review.    I wouldn't say it was a, you know,

         6    the same type of quality control we did where we get

         7    into the details.     The higher level you go, they are

         8    looking at in a more general sense, I guess, than the

         9    hard core research people do.

        10    Q     But at some point after the higher level review

        11    occurred, it was published?

        12    A     Yes.

        13    Q     It was published in key findings and conclusions

        14    were contained within the report, right?

        15    A     Yes.

        16    Q     Is it true that one of the findings is that the

        17    Department of Criminal Justice Services staff was able

        18    to identify differences in traffic stop rates for

        19    persons in different racial ethnic groups?

        20    A     Yes.

        21    Q     And there were differences between driver racial

        22    ethnic groups regarding the reasons the stop was made,

        23    whether a search of an individual or the vehicle

        24    occurred, and what action was taken toward the driver.

        25    Is that a finding in the report?


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         1    A     Yes.

         2    Q     Just to be clear, Richmond Police Department

         3    submitted all the required data before this report was

         4    produced, correct?

         5    A     No.    That's not correct.    The data that we

         6    received from the Richmond Police Department through

         7    the Virginia State Police covered the period from July

         8    1 of 2020 through November 30 of 2020.         The data that

         9    we used in the report, the full report, contained data

        10    that were submitted by agencies between July 1 of 2020

        11    and March 31 of 2021.     So we received fewer months of

        12    data from the Richmond P D than we received from many

        13    of the other localities.

        14    Q     But you went ahead and prepared the report based

        15    on the data received from all law enforcement agencies?

        16    A     Yes.

        17    Q     So you didn't perceive that as a problem in

        18    preparing your report?

        19    A     No.    We stated in the report that one of our

        20    caveats or concerns which was behind the reasons that

        21    we were very cautious about interpretation is because

        22    we knew that there were multiple agencies that reported

        23    different time periods depending on how quickly they

        24    were able to get their data collection going and up and

        25    running and reported to state police.         That was an


                                         JA1567
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         1    issue throughout the state.

         2          THE COURT:       Well, is it fair to say that you knew

         3    you had imperfect data, but you did your best with what

         4    you had?

         5          THE WITNESS:      Yes, sir, that is a very concise way

         6    of stating it.

         7          THE COURT:       All right.

         8    BY MS AUSTIN:

         9    Q     Thank you, Your Honor.

        10          Then doing the best with what you had you came to

        11    a conclusion that an analysis of traffic stops

        12    state-wide that black drivers were stopped at higher

        13    rates than white drivers?

        14    A     Yes.

        15    Q     And black drivers who were stopped were searched

        16    at higher rates than white drivers?

        17    A     Yes.

        18    Q     And you found that black drivers who were stopped

        19    were arrested at higher rates than white drivers?

        20    A     Yes.

        21    Q     And you didn't state in your report the data we

        22    received is just so bad our results are inconclusive?

        23    A     We didn't state it in those words, but I believe

        24    we essentially said that enough, multiple times.

        25    Q     But you didn't say it when you stated black


                                           JA1568
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         1    drivers were stopped at higher rates than white

         2    drivers.

         3          You were able to conclude that.

         4    A     We were able to conclude that the numbers that we

         5    had showed that.        But what we said throughout the

         6    report is that we know there are problems with those

         7    numbers.

         8          THE COURT:       Let me ask you.     Do you think that the

         9    problem was the people couldn't tell whether the

        10    drivers they stopped were black or white?

        11          THE WITNESS:      We couldn't say that, sir.         In any

        12    given situation we couldn't say that.            What we were

        13    saying is that there was no standard, and law

        14    enforcement officers typically are looking for a, you

        15    know, some type of standard.          So we are not saying we

        16    have any sense of like to what degree that may have

        17    played a role, but we are saying we believe that it is

        18    possible that is one of the things that could be

        19    muddying the interpretation of the data.

        20          THE COURT:       I will tell what.       You have been doing

        21    this for 30 years, right?

        22          THE WITNESS:      Yes, sir.

        23          THE COURT:       Have you found in the Commonwealth of

        24    Virginia a pattern of law enforcement officers who are

        25    unable to tell the race of people that they stop?


                                           JA1569
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         1          THE WITNESS:     No, sir, I haven't.

         2          THE COURT:      Okay.   That was a yes or no question.

         3          THE WITNESS:     Yes.

         4          THE COURT:      You haven't.

         5          THE WITNESS:     We have not.

         6          THE COURT:      Okay.   You know, I have been

         7    practicing law since 1976.        I haven't seen that either.

         8          Let's move on.

         9    BY MS AUSTIN:

        10    Q     Thank you, Your Honor.

        11          You talked about the disparity index.            When you

        12    began your discussion about the conclusions and

        13    recommendations isn't it true that in your report you

        14    stated that these figures should only be used to

        15    identify where the numbers indicate certain ethnic

        16    racial groups are being disproportionately stopped?

        17    A     Yes, that is what we stated.

        18    Q     Regarding the disparity index you stated that the

        19    State had a 1.6 --

        20    A     Yes.

        21    Q     -- index.

        22          Meaning if it is 1.1 to 1.9 it represents a

        23    moderate over representation for a group.            And how

        24    likely it is that a driver would be stopped; correct?

        25    A     Correct.


                                            JA1570
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         1    Q     Okay.

         2          So Richmond had an -- overall state index,

         3    disparity index is 1.6?

         4    A     Yes.

         5    Q     Meaning blacks, African-Americans, were

         6    disproportionately -- there was a disparate index to

         7    the stops regarding African-Americans?

         8    A     Yes.

         9    Q     Disproportionately high?

        10    A     Yes.    Relative to their driver age percentage of

        11    the population.

        12    Q     Okay.

        13          And then the state disability index is 1.6, but on

        14    page 40 of your report -- well, on several pages of

        15    your report in the table, this table 15 A, you break

        16    down every single law enforcement agency and what the

        17    black driver disparity index is; is that right?

        18    A     For every locality that reported data to us, yes.

        19    It did not every single locality law enforcement

        20    agency.

        21    Q     Okay.

        22          And Richmond Police Department was 1.6 disparity

        23    index, correct?

        24    A     Yes.

        25    Q     And as I understand it you have to submit a report


                                         JA1571
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         1    pursuant to the Community Policing Act every year?

         2    A     Yes.

         3    Q     And on July 1, correct?

         4    A     Yes.

         5    Q     You just recently submitted a report?

         6    A     No.    We have not yet submitted a report for July 1

         7    of this year, is that the question you are asking?

         8    Q     Yes.

         9    A     No, we are working on one, but we have not yet

        10    submitted one.

        11    Q     Isn't it mandated by statute that it be in by the

        12    first of July of every year?

        13    A     Yes, it is.        But it is also understood that

        14    sometimes these reports get backed up because of work

        15    issues, staffing, things like that.

        16    Q     So you can't report, or can you report to us what

        17    your findings were, or will be, in the July 2st, 2022

        18    report?

        19    A     We haven't finished it yet.

        20          THE COURT:        Well, the questions this.        We know you

        21    haven't put it in writing yet.            Do you know what the

        22    answer, what the disparity index is going to be for

        23    Richmond for African-American drivers in the report

        24    that is forthcoming, whenever it gets done?

        25          THE WITNESS:       Your Honor, I don't have that in


                                            JA1572
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         1    front of me what that number is.

         2           THE COURT:     He doesn't know what it is.

         3           MS AUSTIN:     Okay.

         4           May I have one moment, Your Honor?

         5           No further questions.

         6           MR. SIEBERT:    No further questions.

         7           THE WITNESS:    Thank you very much for coming, sir.

         8           Good to have a servant of the Commonwealth here.

         9    Thank you for coming.

        10           THE WITNESS:    Thank you, sir.

        11           THE COURT:     All right.    Call the next witness, if

        12    any.

        13           MR. GIBBONS:    Government calls Special Agent Josh

        14    Valot.

        15           THE COURT:     All right.

        16                          (Witness stood aside)

        17           MR. GIBBONS:    Our final witness, Your Honor.

        18           THE COURT:     All right.    Thank you.

        19                              JOSH VALOT

        20                AFFIRMED AND TESTIFIED AS FOLLOWS:

        21                           DIRECT EXAMINATION

        22           THE COURT:     All right.

        23           Now, when you testify you are welcome to keep your

        24    mask on or take it off.

        25           THE WITNESS:    Thank you.


                                            JA1573
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                                                                                 322


         1          THE COURT:      Is it V-A-L-O-T?

         2          THE WITNESS:     Yes, it is, Your Honor.

         3          THE COURT:      Okay.

         4    BY MR. GIBBONS:

         5    Q     Special Agent Valot, where are you employed?

         6    A     Employed with the Bureau of Alcohol, Tobacco

         7    Firearms and Explosives, ATF here in Richmond.

         8    Q     Are you case agent for the case against Keith

         9    Moore?

        10    A     I am.

        11    Q     As part of your work as case agent you reviewed a

        12    spread sheet of data that was produced yesterday to the

        13    Government by the defense?

        14    A     I did.

        15    Q     You analyzed that data at the request of the

        16    prosecutors?

        17    A     I did.

        18    Q     What did that data represent?

        19    A     The data represented traffic stops, information on

        20    traffic stops from Richmond Police Department from

        21    between July 1st of 2020 and December 6 of 2020.

        22    Q     How many traffic stops are recorded for the

        23    Richmond Police Department for this date range?

        24    A     Of the information that we analyzed 2500 traffic

        25    stops.


                                            JA1574
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                                                                                 323


         1    Q      I am going to show you what has been marked

         2    Government's exhibit 1.

         3           This has been admitted as defendant's exhibit six,

         4    also Government's exhibit one.

         5           The Court already heard all about the DCJS report.

         6    We will skip that.        Are you familiar with page 17 of

         7    DCJS report?

         8    A      I am.

         9    Q      What is contained on page 17 of that report?

        10    A      On page 17 it includes a table that has a list of

        11    records that were excluded from their analysis.

        12    Q      That is Government's exhibit 1 D as page 17?

        13           THE COURT:       Okay.   Trying to figure out what that

        14    was.      1 D.   I have got it right here.

        15    BY MR. GIBBONS:

        16    Q      Zoom in on the table, please.

        17           So these are exclusions for which reasons for

        18    which DCJS excluded data from the statewide data; is

        19    that correct?

        20    A      That's correct.

        21    Q      What are some of the reasons or criteria on which

        22    DCJS excluded statewide data?

        23    A      There was no age listed, no gender identified.

        24    There is no listing of the action taken by the officer.

        25    There is no mention of additional persons who were


                                              JA1575
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         1    arrested.

         2    Q      To be clear, you are not talking about the

         3    suitability of those exclusions, you are just talking

         4    about what the numbers are for those exclusions in the

         5    data provided to the Government by the defense?

         6    A      That is correct.

         7           THE COURT:      I think what he was saying is these

         8    are the reasons given by DCJS for not included?

         9           MR. GIBBONS:     Yes.    The next, I was moving on to

        10    the next question, Your Honor.           So he just identifying

        11    which of the RPD stops, how many are excludable for

        12    these reasons.

        13           THE COURT:      Are all of these Richmond stops on

        14    page 17?

        15           MR. GIBBONS:     Page 17 is the criteria by which

        16    DCJS has excluded.

        17           THE COURT:      Okay.

        18           MR. GIBBONS:     Then he is just going to give

        19    numbers, RPD data.

        20           THE COURT:      All right.

        21    BY MR. GIBBONS:

        22    Q      Go through each of these categories, if you will.

        23           Did you for stops in which there was a missing

        24    age?

        25    A      I did.


                                             JA1576
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                                                                                 325


         1    Q     How many missing-age entries were there in the RPD

         2    data?

         3    A     147 missing entries, or entries missing in age.

         4          THE COURT:      Missing age?

         5          THE WITNESS:     Correct.

         6          THE COURT:      Okay.

         7    BY MR. GIBBONS:

         8    Q     What about gender?

         9          THE COURT:      Is this case about age?

        10          MR. GIBBONS:     No, sir.

        11          THE COURT:      Okay.   Thank you.

        12          MR. GIBBONS:     We are giving the numbers, Your

        13    Honor.

        14          THE COURT:      All right.

        15    BY MR. GIBBONS:

        16    Q     What about missing gender?

        17    A     Six entries with no gender.

        18    Q     What about a blank for "listed action taken as

        19    result of the stop?"

        20    A     There is five.

        21    Q     What about stops that lacked entry for whether a

        22    person was searched?

        23    A     Two stops.

        24    Q     What -- did you check for stops in which there was

        25    no listed entry for whether a person was arrested?


                                            JA1577
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         1    A     Yes.   There is 249 entries that did not have

         2    anything listed for that.

         3    Q     Were there some traffic stop entries that were

         4    missing multiple items of data such that it would be

         5    excludable on separate grounds?

         6    A     Yes, there were.

         7    Q     So how many total stops were missing at least one

         8    item out of the 2500 stops?

         9    A     There 346 stops.

        10    Q     Let's talk about duplicates and pull up

        11    Government's exhibit 5.

        12          Special Agent Valot, did you also determine

        13    whether there were any duplicate traffic stops within

        14    the RPD data?

        15    A     Yes.

        16    Q     Exhibit 5 is the report of duplicate traffic stops

        17    within RPD data?

        18    A     Yes, sir.

        19    Q     Your Honor, we move to admit Government's exhibit

        20    five.

        21          MS KOENIG:      No objection, Your Honor.

        22          THE COURT:      Admitted.

        23    BY MR. GIBBONS:

        24    Q     What did you determine, Special Agent Valot?

        25    A     Determined that there appears to be that a total


                                          JA1578
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         1    of 311 entries, although there is only 142 traffic

         2    stops, so, of the 142 unique traffic stops a number of

         3    them were entered two times, three times or in a few

         4    occasions four times.

         5    Q     So let's walk through a few.             Scroll down to

         6    control numbers 1579 through 1582.

         7          THE COURT:      Well, that is not a lot a whole lot

         8    more legible.     This is on exhibit five?

         9          MR. SIEBERT:      Yes, Your Honor, we will make it

        10    bigger.

        11    Q     In the middle, Special Agent, do you see control

        12    1579 through 1582?

        13    A     Yes, sir.

        14    Q     Can you explain why these four stops are

        15    duplicates of each other?

        16    A     So all four of these stops appear to be duplicates

        17    of each other.        They have the same date, they have the

        18    same location where the traffic stop occurred, the

        19    longitude longitude listed is the same.              The race of

        20    the driver is identical.         The age of the driver is

        21    identical.

        22          THE COURT:      Of all the data?

        23    BY MR. GIBBONS:

        24    Q     Let's look at two more sets.             1915 and 1925.

        25          I will get you a page number, Your Honor.


                                           JA1579
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                                                                                 328


         1          THE COURT:      All right.    All right.     So these also

         2    have all the same information.          So you conclude they

         3    were identical; is that correct?

         4          THE WITNESS:     They appear to be so, yes.

         5          THE COURT:      The same thing I take it would be true

         6    of 1936 and 1947; is that correct?

         7          THE WITNESS:     Yes, sir, that's correct.

         8    BY MR. GIBBONS:

         9    Q     Looking briefly at 1915 and 1925, what do you

        10    notice about the latitude longitude of those two stops?

        11    A     The latitude longitude, corrected latitude

        12    longitude for the second listed stop is different than

        13    it is for the first stop.

        14    Q     So, one of the Federal Public Defender interns or

        15    Dr. Coston corrected latitude longitude for one of

        16    these but not the other?

        17    A     That's correct.

        18    Q     Were all of these 311 traffic stop entries perfect

        19    duplicates?

        20    A     No, they were not.

        21    Q     Could you explain that, please?

        22    A     Well, as we just discussed there is a few that had

        23    the latitude longitude, which was a little bit

        24    different.    There was two stops in which there was an

        25    age listed in one of the stops and in the other stop


                                          JA1580
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         1    there was, the age there was not a value there, just

         2    zero.     There was a few stops that were triple stops,

         3    listed three times for the stop, and one of the

         4    violations listed was different than the other.

         5    Q     Special Agent Valot, to summarize the work that

         6    you did, you determined that 346 traffic stop entries

         7    in the RPD data met at least one of the criteria that

         8    led DCJS to exclude that entry on the state-wide data?

         9    A     Yes, sir.

        10    Q     Determined that 311 traffic stop entries contained

        11    duplicate data?

        12    A     Yes.

        13    Q     If you eliminate those duplicates to one entry and

        14    excluded the other traffic stop entries 169 entries

        15    should be excluded?

        16    A     That's correct.

        17          THE COURT:       How many would you exclude if you only

        18    excluded the duplicates.

        19          THE WITNESS:      169.

        20    BY MR. GIBBONS:

        21    Q     Special agent, 169 --

        22          THE COURT:       So there were duplicates.

        23          THE WITNESS:      That's correct.        Duplicate and

        24    triple.

        25          THE COURT:       Multiple entries of the same thing?


                                             JA1581
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                                       Valot - cross                              330


         1          THE WITNESS:     Yes, sir.

         2          THE COURT:      So, of those 169 you say, does that

         3    include, are you excluding all of the entries under the

         4    duplicates, or just if there are two of them, you

         5    exclude one of them?

         6          THE WITNESS:     That's correct.        One entry, one stop

         7    and excluding the other.

         8          THE COURT:      Okay.   Thank you.

         9    BY MR. GIBBONS:

        10    Q     So taking those two numbers together, Special

        11    Agent Valot, 346 entries for data with missing or

        12    invalid values, and 169 duplicates, how many total

        13    traffic stops entries fall into one of these

        14    categories?

        15    A     507.

        16    Q     507 out of the 2500 traffic stops contained

        17    unreliable or missing data?

        18    A     Correct.

        19    Q     That is about 20 percent of the defense's data?

        20    A     Correct.

        21    Q     No further questions.

        22          THE COURT:      Cross examination?

        23                           CROSS EXAMINATION

        24    BY MS KOENIG:

        25    Q     Agent Valot, you are an officer with ATF, right?


                                            JA1582
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                                      Valot - cross                              331


         1    A     I am an agent, yes, ma'am.

         2    Q     Agent, I'm sorry.     You are not a data annalist,

         3    right?

         4    A     No.

         5    Q     Did you actually run the spreadsheets yourself?

         6    A     We ran them, myself and AUSA Gibbons ran them

         7    together.

         8    Q     You were observing Mr. Gibbons run the analysis,

         9    right, and then you made a report based on that?

        10    A     We did that last night, yes, ma'am.

        11    Q     Okay.     And you also wrote a report that is dated

        12    July 15 of 2022, right?

        13    A     Yes, ma'am.

        14    Q     Last Friday?

        15    A     Yes.

        16    Q     In that report you talked about reviewing a

        17    spreadsheet that the Government had provided you with

        18    traffic stop data from July 1st of 2020 through

        19    December 5 of 2020, right?

        20    A     Yes, ma'am.

        21    Q     When did you actually look at those spreadsheets?

        22    Was it July 15?

        23    A     No, ma'am.

        24    Q     When was that?

        25    A     It was, I looked at it several times in the week


                                         JA1583
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                                      Valot - cross                              332


         1    leading up to writing that report.

         2    Q     So starting July 8 or so?

         3    A     Actually probably would have been, I believe that

         4    it started at the end of, I think we received those

         5    close to the end of June.      And I reviewed those

         6    spreadsheets several times to make sure that I was

         7    comfortable in running those queries.

         8    Q     So that you received these spreadsheets the end of

         9    June of 2022, right?

        10    A     Yes, ma'am.

        11    Q     And Mr. Gibbons or Mr. Seibert gave you specific

        12    things that they wanted you to look for to verify some

        13    facts and felt comfortable coming in here and

        14    testifying to today, right?

        15    A     Yes, ma'am.

        16    Q     And so ultimately if we look at what you perceive,

        17    or Mr. Gibbons or somebody perceived to be duplicate

        18    entries, and we take out what may be non-unique

        19    entires, we are eliminating 169 entries, right?

        20    A     Yes, ma'am.

        21    Q     All right.

        22          You are certainly not trained in statistical

        23    analysis, right?

        24    A     No, I am not.

        25    Q     No further questions.


                                         JA1584
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                                      Valot - redirect                           333


         1          THE COURT:      Thank you.    Redirect?

         2                          REDIRECT EXAMINATION

         3    BY MR. GIBBONS:

         4    Q     The data values that you were looking for, is that

         5    really a replication of what the Government raised in

         6    its Daubert motion filed April 8 of 2022?

         7    A     It is.

         8    Q     Nothing further, Your Honor.

         9          THE COURT:      All right.

        10          Well, thank you for coming, sir.          I appreciate it.

        11    Have a good rest of the day.

        12          THE WITNESS:     Thank you, sir.

        13          THE COURT:      Thank you.    Good to see you.

        14                          (Witness stood aside)

        15          THE COURT:      All right.    Does the Government rest?

        16          MR. SIEBERT:     Yes, Your Honor.

        17          THE COURT:      All right.

        18          Now, the Government rests as to their part of

        19    things.   We still have the potential other evidence.

        20          MR. GIBBONS:     Yes, sir.

        21          THE COURT:      They will be able to put on Dr. Chiles

        22    if they deem it necessary.

        23          MR. GIBBONS:     Yes, Your Honor.

        24          THE COURT:      Now, do you have a rebuttal witness?

        25          MS KOENIG:      I do, Your Honor.


                                          JA1585
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                                       Coston - direct                           334


         1          THE COURT:       All right.    Let's hear your rebuttal

         2    witness.

         3          MS KOENIG:       I call Dr. Coston to the stand.

         4          THE COURT:       All right.    Let's take a break before

         5    we do Dr. Coston.       We are starting something new.

         6                           (A recess was taken)

         7                                ELI COSTON

         8        RESUMED AND STAND AND TESTIFIED FURTHER AS FOLLOWS:

         9                            DIRECT EXAMINATION

        10    BY MS KOENIG:

        11    Q     Doctor, I want to talk to you about two points.

        12          So, we just heard you were in the courtroom when

        13    Agent Valot testified?

        14    A     Yes.

        15    Q     You had reviewed Government's exhibit five, which

        16    is the Government's exhibit that was believed to be

        17    duplicate entries, right?

        18    A     Yes, correct.

        19    Q     Did you review that between last night and this

        20    morning?

        21    A     Yes.

        22    Q     Is it possible that in fact they are correct that

        23    there are out of these numbers 142 individual stops and

        24    potentially 169 duplicates?

        25    A     That is possible, yes.         There were two cases in


                                           JA1586
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                                       Coston - direct                           335


         1    which there was a different code section noted, but I

         2    wouldn't dispute their overall argument, no.

         3    Q     Okay.

         4          After receiving that data, and at some point

         5    today, did you go ahead and run all of the statistical

         6    analysis again without those 169 stops?

         7    A     Yes, I did.

         8    Q     I want to go through those with you.

         9          THE COURT:       Let me just ask, did it change the

        10    result any?

        11          THE WITNESS:      No, it does not change any of the

        12    results.

        13          THE COURT:       Any further questions?

        14          MS KOENIG:       The last thing I wanted to talk about,

        15    Dr. Coston, is that in our report on --

        16          THE COURT:       Is that because 169 is just a

        17    relatively small part of the sample?

        18          THE WITNESS:      It could have impacts if there had

        19    been a large difference in the racial proportionality

        20    versus the rest of the sample, but that wasn't the

        21    case.     Sometimes when a sample size decreases you don't

        22    have enough cases to have the power to determine

        23    differences, but, no, that wasn't a problem here.

        24          THE COURT:       Thank you.

        25    BY MS KOENIG:


                                           JA1587
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                                     Coston - direct                              336


         1    Q     On page four of your report where it says

         2    description of variables, there is a section that says

         3    location.     In that paragraph you had described that you

         4    had done spot checking, essentially for the corrections

         5    that the intern from the Federal Public Defender had

         6    done at geocodio data, right?

         7    A     That is correct.

         8    Q     Why did you specifically include mention of those

         9    corrections in your report?

        10    A     Because those were corrections that I myself had

        11    done, or data cleaning that I engaged in.

        12    Q     When you do a data study is it your normal

        13    practice to do what you call data cleaning?

        14    A     Yes, it is.

        15    Q     In this case did you, how did that play out as it

        16    relates to the location specifically?

        17    A     So in regards to the location, again some of that

        18    data was provided by an intern at the Public Defenders

        19    Office, and I described how I verified that.            But I did

        20    do additional data cleaning of my own.          Before I did my

        21    analysis of the data you always run cross checks, you

        22    know.     I also ran checks for the other variables in the

        23    data set aside from geolocation data.          I also didn't

        24    report that in my report because that is part of

        25    typical data cleaning procedures, to look for problems


                                         JA1588
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                                     Coston - direct                             337


         1    or issues in the data.

         2    Q     When you had done this data cleaning did you

         3    initially determine that there were 82 stops that fell

         4    outside of the City of Richmond?

         5    A     I believe it was 81 when I double checked, but

         6    yes, in the report I noted 82.        But it was 81.

         7    Q     After we saw Agent Valot's report -- I sent it to

         8    you right?    From July 15 of 2022, this past week end,

         9    did you go back and double check that?

        10    A     Yes.

        11    Q     You found that there were 81 stops outside of the

        12    City of Richmond?

        13    A     That's correct.

        14    Q     That is what you testified to yesterday?

        15    A     Yes.

        16    Q     And the data cleaning that you did in terms of

        17    manual correcting stops that happened outside of the

        18    City of Richmond, did that happen before you began

        19    drafting the report that you submitted in this case?

        20    A     Yes.   That was prior to me finalizing my analyses

        21    and that was all done in December and early January.

        22    Q     Can you say with certainty it was done by at least

        23    January 9 of 2020?

        24    A     Yes, because that is when I submitted my initial

        25    draft report.


                                         JA1589
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                                       Coston - dross                            338


         1    Q     Why.    Right.   In reviewing Agent Valot's report

         2    did we discuss this weekend, did you let defense know

         3    for the first time that you had corrected more of the

         4    stops in your initial data cleaning process?

         5    A     Yes.

         6    Q     And is that when we asked that you send us what

         7    ultimately is in defendant's exhibit 14, the final

         8    cleaned version of the data that you analyzed?

         9    A     Yes.

        10    Q     And you sent that to me, I think on Sunday

        11    afternoon, July 17 of 2022?

        12    A     I believe so, yes.

        13    Q     Okay.   No further questions.

        14          THE COURT:      All right.

        15          Cross examination?

        16                           CROSS EXAMINATION

        17    BY MR. GIBBONS:

        18    Q     Dr. Coston, these 311 potential duplicates, you

        19    didn't notice these duplicates when you, before you ran

        20    your analyses; is that correct?

        21    A     That's correct.

        22    Q     You didn't in fact do any determination or any

        23    analysis of duplicates at all until this weekend.

        24    A     I didn't do the analysis of duplicates.            I used

        25    the Excel spreadsheet that was provided to me last


                                          JA1590
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                                       Coston - dross                                339


         1    night.

         2    Q     Didn't even look for duplicates even after the

         3    Government raised the issue of over 300 duplicates on

         4    April 8 of 2022?

         5    A     I was not asked to do additional analysis at that

         6    point in time, so, no, I did not.

         7    Q     And you didn't mention on page four of the report

         8    when you were talking about fixes you made to the

         9    location in the data, you didn't mention that you had

        10    on your own fixed at least 128 traffic stop entries

        11    with regard to the location.

        12    A     I didn't mention my own data cleaning, no.

        13    Q     You didn't send the final data on which you relied

        14    for your fillings to Ms Koenig until this weekend?

        15    A     I don't believe I was asked for it prior to that

        16    date.

        17    Q     Nothing further, Your Honor.

        18          THE COURT:      Thank you.    Follow up?

        19          MS KOENIG:      Nothing else, Your Honor.

        20          THE COURT:      Thank you.    You may be seated.         Thank

        21    for coming back, Doctor.

        22                          (Witness stood aside)

        23          MS KOENIG:      And the defense has no other evidence

        24    at this point, Your Honor.

        25          THE COURT:      Unless we come back with Dr. Chiles.


                                          JA1591
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         1          MS KOENIG:      Right.    On this.

         2          THE COURT:      You can't -- when we come back on this

         3    you can't have anything other than Dr. Chiles, or if he

         4    should die, some other.

         5          MS KOENIG:      I appreciate that, Your Honor.

         6          Does The Court want to set a hearing date now for

         7    the next?

         8          THE COURT:      Hold on a second.       All right.

         9          Yes.   Well, I guess first -- what did I order

        10    yesterday?

        11          MS KOENIG:      Now that I am saying that.

        12          THE COURT:      I told you to --

        13          MS KOENIG:      Yes, we have Dr. Chiles' report.         We

        14    have to provide Dr. Chiles' report to the Government by

        15    August 8.

        16          THE COURT:      Fourteen days.

        17          MR. GIBBONS:     By August 22nd they are going to

        18    respond whether or not they intend to call their own

        19    expert, I believe.

        20          THE COURT:      You remember.

        21          MR. GIBBONS:     Yes, Your Honor.

        22          MS KOENIG:      Perhaps, I guess it makes sense to set

        23    a hearing once we know if the Government is going to

        24    call a witness, and so we know that person's

        25    availability.


                                             JA1592
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         1          THE COURT:       Contact chambers and we will set a

         2    date after we know if the Government wants to call a

         3    witness.    If they want to call a witness they have to

         4    go find a witness, and I can't imagine Richmond is a --

         5    they have a lot of historical interests.             I don't think

         6    that should be a problem.         Then here are some questions

         7    that we need to answer in this case.            And my

         8    questions are couple in a couple of different areas.

         9          And I guess the way I sort of thought about it for

        10    myself is what if this is a mixed motive case?                  That is

        11    what we call it in employment law where, yes, they had

        12    motive, but also a good motive.           So what if they were

        13    trying to, if they had a strategy that was we will

        14    fight crime.     That is certainly a legitimate interest

        15    of the Government and no one would contend that that

        16    was in any way improper.

        17          And their strategy, what if they adopted strategic

        18    measures, like assigning police here and there and that

        19    sort of thing, knowing that the strategy will result in

        20    the arrest or stopping or some adverse effect on a

        21    disproportionate number of African-Americans, or

        22    putting, to sort of put it in blunter terms, what if

        23    these areas where they have identified hot spots and so

        24    forth, what if the Government decided that, Richmond

        25    Government, decided this is a place where we need to,


                                           JA1593
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         1    we need to devote our limited resources to fighting

         2    crime because the people in this area deserve to have a

         3    life where they can go out at night and stroll around

         4    and all that sort of thing.

         5          But they did that knowing that one effect of that

         6    would be that many African-American people would get

         7    arrested.    Does that mean -- is that the kind of bias

         8    that the law forbids?     Does that in some way require

         9    dismissal of the indictment?       But, you know, I think

        10    you need to think about some of the things we talked

        11    about here purely in hypothetical terms, employment,

        12    strategy, the effect of a grat deal of crime.

        13          That is one question that needs to be answered.

        14          The second question that needs to be answered is

        15    let's assume for a second that there is a pattern of

        16    bias on behalf of the Richmond Police Department.            What

        17    effect does that have on this case where you had -- I

        18    remember the motion to suppress evidence in this case.

        19    Correct me if I am wrong on this, but as I recall,

        20    Mr. Moore was driving a car with one of these fake

        21    dealer tags on it.     And as the police had stopped

        22    several people on it, and had figured out that somebody

        23    was making some money selling fake dealer tags, or

        24    maybe the dealer was stealing cars -- you know, using

        25    the same tag instead of buying new ones, I don't know.


                                         JA1594
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         1    But there was something wrong with the tag.

         2          So we had evidence that they stopped a couple

         3    other people and said, hey, these tags aren't any good,

         4    you need to get some real tags for your car.            And then

         5    they sent these people on their way.

         6          But with Mr. Moore, as I recall, it was a little

         7    different.     Mr. Moore didn't stop when the police got

         8    behind him.     He drove away a little bit, eventually got

         9    out of the car, and he ran down the road and eventually

        10    he was caught by the police officers and brought back.

        11          And then there were statements that he made to the

        12    police at various times.       Okay.    So let's assume for a

        13    second that Mr. Moore -- that bias strategy that the

        14    City had resulted in Mr. Moore getting stopped.               Does

        15    that mean we have to throw out the evidence in this

        16    case?     That is really the question.       Well, not that we

        17    have to throw out the evidence, does that mean we have

        18    to throw out the case when you have somebody who does

        19    this kind of stuff that sort of makes people, that

        20    makes him a target for police activity?

        21          And then we also need to ultimately address the

        22    suppression issue.      As I recall, correct me if I am

        23    wrong, Mr. Seibert, that issue was fully briefed,

        24    wasn't it?

        25          MR. SIEBERT:     I believe fully briefed and argued


                                         JA1595
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         1    with Mr. Elliker.

         2          THE COURT:      This case has had a number of -- one

         3    of the things this case has had more of than

         4    prosecutors is law clerks.        Okay.       So we need to -- I

         5    will need to address that at some point.             But I don't

         6    think we need further briefing on the suppression

         7    issue.

         8          Okay.

         9          All right.      So let me know what you decide to do

        10    about Dr. Chiles' testimony.         And I urge the defendant

        11    to think carefully about whether Dr. Chiles adds

        12    anything to the evidence in this case.            Remembering

        13    that the Richmond that existed a hundred years ago is a

        14    different place than it is now.          You know, now it is an

        15    area that has an African-American major, and one time

        16    had a majority African-American City Council, and

        17    African-American police officers, police chief.                 So you

        18    need to sort of think about how far along -- how long

        19    the City has to suffer because of a racist past?                It is

        20    clear that Richmond had a racist past.            And the

        21    question is about the impact.         Think carefully about

        22    that.

        23          MR. SIEBERT:     I think the argument for the motion

        24    to exclude the defense expert, Dr. Coston, could be

        25    done at the later date as well.


                                          JA1596
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         1          THE COURT:        Do that in your brief in this case.

         2    Okay?     I have read your brief.         Do you have anything to

         3    add what is in there?

         4          MR. GIBBONS:       Not really, Your Honor.

         5          THE COURT:        Well, I will think about that.

         6          I will let you will know whether I think I need

         7    additional briefing.

         8          I have spent a lot of time reading those briefs.

         9    It is a Daubert issue.         Obviously if I exclude

        10    Dr. Coston's testimony it pretty much shoots the

        11    defense's claim in this case.           All right.     Anything

        12    else, counsel?

        13          MR. GIBBONS:       None from the United States.

        14          MS KOENIG:        Not from defense.

        15          THE COURT:        Thank you all very much.       We will

        16    recess court for the day, or adjourn.             We are

        17    adjourning court.         Thank you.

        18                            HEARING ADJOURNED.

        19          THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT.

        20                       GILBERT FRANK HALASZ, RMR

        21                           Official Court Reporter

        22

        23

        24

        25


                                            JA1597
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                                         JA1598
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

        UNITED STATES OF AMERICA                       )
                                                       )
        v.                                             )       Case No. 3:21cr42
                                                       )
        KEITH RODNEY MOORE,                            )
                 Defendant                             )


                      NOTICE OF EXPERT REPORT AND CURRICULUM VITAE

               Keith Moore, through counsel, files the attached report and curriculum vitae for Dr. Marvin

        Chiles in accordance with Federal Rule of Criminal Procedure 16 and with this Court’s Order in

        ECF No. 99. The report provides a written summary of Dr. Chiles’s anticipated testimony and the

        bases and reasons for Dr. Chiles’s testimony.          The curriculum vitae details Dr. Chiles’s

        qualifications to provide such testimony.

                                                               Respectfully submitted,
                                                               KEITH RODNEY MOORE

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                                                                                                              1


                Report to the Eastern District Court of Virginia
       Introduction to Report:
       Using newspaper accounts, court cases, archival collections, and peer-reviewed articles
       and monographs, this report makes the historical finding that in Richmond, Virginia,
       racial segregation has been systemically implemented to the detriment of black residents
       through public policy at the federal, state, and local levels. Byproducts of this are the
       separation of black and white people into distinct legal castes; unequal treatment under
       law inflicted upon black people; residential segregation of whites and blacks; endurance
       of systemic poverty among blacks; and historical animus between black residents and
       local law enforcement (Richmond Police Department—RPD). This report has been
       completed at the request of Judge John A. Gibney, Senior United States District Judge
       presiding over the United States v. Keith Rodney Moore case.

       Racial Segregation and Public Policy, 1865-Present:

       Founded in 1737 by businessman and slave owner William Byrd II, the City of Richmond
       was a commercial outpost for the Virginia Colony’s black slave market. Between the 1660s
       and 1737, the Virginia Colony, then governed by the House of Burgesses, passed a series
       of laws defining black people as a slave race—a people who were to have no rights or
       privileges beyond the whims of their owners. Slavery was a life sentence of forced
       servitude for black Virginians. The only exception to this rule were free blacks who were
       privately manumitted by their owners. The Virginia Colony banned slaves from owning
       personal property, engaging in commerce, and congregating without the supervision of
       whites. No such laws were inflicted upon white people as a race, poor, rich, or in-between. 1
       The American Revolution (1775-1783) compelled the House of Burgesses to make
       Richmond Virginia’s capital in 1781. While the Revolution liberated the North American
       colonies from British tyranny, the segregation of white and black people into distinct
       racial castes under law still existed in Richmond, Virginia, and most of the nation.
               The New Republic (1783-1820) and Antebellum (1820-1865) years begot the
       expansion of racial segregation in Richmond. During these periods, racial segregation
       expanded beyond the legal racialization of peoples into distinct castes (free—white and
       unfree—black) and breached the realm of residence. As the city’s black population (slave
       and free) grew to almost equal the white population, the Virginia Legislature—formerly
       House of Burgesses—instituted newer laws by 1806 requiring free blacks to either leave
       the Commonwealth within 6 months of their manumission, or be subject to rules (mainly
       white guardianship) where the ultimate punishment was re-enslavement. 2 By 1859, the
       1 William Waller Hening, ed., The Statutes at large; Being a Collection of All the Laws of Virginia,

       (Richmond, VA, 1810), 1-281; A. Leon Higginbotham, Jr., “Virginia Led the Way in Legal Oppression,”
       Washington Post, May 21, 1978,
       https://www.washingtonpost.com/archive/opinions/1978/05/21/virginia-led-the-way-in-legal-
       oppression/664bcdf4-8aaf-475f-8ea7-eb597aee7ecd/; and Marie Tyler-McGraw, At The Falls: Richmond,
       Virginia, and Its People, (Chapel Hill: University of North Carolina Press, 1994), 38.
       2 Midori Takagi, Rearing Wolves to Our Own Destruction: Slavery in Richmond, Virginia, 1782-1865,

       (Charlottesville, VA: University of Virginia Press, 1999), 19-21; Benjamin Campbell, Richmond’s Unhealed
       History, (Richmond, VA: Brandywine Publishers, Inc., 2012), 101; Tyler-McGraw, At The Fall, 64 and
       108; and Gregg D. Kimball, American City, Southern Place: A Cultural History of Antebellum Richmond,
       (Athens, GA: University of Georgia Press, 2000), 129.

                                                       JA1603
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       Richmond City Council passed its own “Ordinance Concerning Negroes,” barring free and
       enslaved blacks from consorting with one another without ‘proper’ white supervision. 3
       These new restrictions even impacted white non-slave owners. They were sometimes
       brought up on insurrection charges for consorting with slaves without the permission of
       their master, and for dealing with free blacks outside the purview of their legal white
       guardians. 4 Culture was downstream of law. Working-and-middle-class whites
       residentially segregated themselves from blacks by clustering in Union Hill and Fulton
       Hill in the East End, Oregon Hill in the Near West End, and Navy Hill just north of
       downtown. These whites used not-so-subtle tactics to keep upwardly mobile free blacks
       from moving near them, thus blacks congregated in the decrepit northern city limits of
       Jackson Ward and the backwater Shockoe Creek area of downtown. 5 By 1865, the legal
       division of people into racial castes evolved into a newer custom of racial segregation by
       residence. 6
               Between 1865 and 1930, white Richmond leadership (public and private) worked
       diligently to maintain residential segregation by race through newer laws that
       circumvented the legal changes brought about by Congressional Reconstruction (1865-
       1877). The Confederate defeat on April 9, 1865; Richmond’s subsequent territorial
       expansion between 1867-1914; and the city not having any laws prohibiting blacks and
       whites from living near one another generated white desires to maintain existing
       residential segregated housing patterns through law, and not just custom. 7 Blacks who
       tried to relocate beyond their enclaves and oppose segregated mass transit to racially
       identifiable areas of town between 1865 and 1900 faced resistance from white residents.
       This white resistance compelled the city council and Virginia Legislature to legally
       segregate city transportation in 1906 and housing in 1911 and 1929. 8
               Residential and transportation segregation worked in tandem to help maintain the
       “racial integrity” of Richmond’s black and white areas. When the Virginia Legislature
       considered forcibly segregating mass transit as early as 1901, the Virginia Passenger and
       Power Company (VPPC)—Richmond’s streetcar provider since 1888—resisted, arguing
       that such laws would require the purchase of newer streetcars and laying of newer rail
       lines that served both races on separate sides of town. But that was the point. The Virginia
       Legislature’s insistence on segregating transit services was a response to pressure from
       aspiring New South race-baiting white politicians, such as Richmond’s John E. Epps, who
       entered electoral politics on the promise to help make Richmond a fully segregated city.
       VPPC segregated its services in 1904, and the state required it of all urban areas two years
       later. Segregated transit helped solidify segregated housing, as white streetcars served the



       3 Tyler-McGraw, At The Falls, 131.
       4 Takagi, Rearing Wolves to Our Own Destruction, 67.
       5 Tyler-McGraw, At The Falls, 114-5.
       6 Takagi, Rearing Wolves to Our Own Destruction, 38-9 and 96.
       7 Campbell, Richmond’s Unhealed History, 142 and 167; and Christopher Silver, Twentieth-Century

       Richmond: Planning, Politics, and Race, (Knoxville, TN: University of Tennessee Press, 1984), 28.
       8 Marvin Chiles, “Down Where the South Begins: Black Richmond Activism before the Modern Civil
       Rights Movement, 1899-1930, Journal of African American History, Vol. 105, No.1, (Winter 2020): 66-
       82; T. B. Benson, “Segregation Ordinances,” Virginia Law Register, New Series, Vol. 1, No. 5 (September
       1915): 330-56; “Municipal Segregation Ordinances,” Virginia Law Review, Vol. 3, No. 4 (January 1916):
       304-9; and Benjamin Campbell, Richmond’s Unhealed History, 143.

                                                     JA1604
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                                                                                                                3


       burgeoning white suburban frontier in the West End and Northside, while black
       streetcars served black neighborhoods around the downtown area. 9
              Legal activism made Richmond’s residential segregation code legally untenable.
       Black Richmond attorney Joseph Roland Pollard, white attorney Alfred E. Cohen, along
       with funding from Richmond Planet Editor John Mitchell, Jr., 10 and the National
       Association for the Advancement of Colored People in New York fueled two separate legal
       attacks against Richmond’s segregated housing ordinance—Hopkins v. Richmond (1915)
       and Deans v. Richmond (1929). The latter resulted in local and federal court victories that
       ended Richmond’s segregated housing ordinance after city officials insisted on keeping it
       after losing in the circuit courts in winter 1929. 11 This decision, along with cases
       throughout the nation—Buchanan v. Warley (1917), Harmon v. Tyler (1927), Hurd v.
       Dodge (1948), and Shelley v. Kraemer (1948)—combined to make residential segregation
       (via private restrictive covenants or government legislation) a violation of the Fourteenth
       Amendment, which protects individuals’ rights to use their property (through use and
       sale) as they see fit. This did not, however, end racially segregated housing in Richmond
       or anywhere else for that matter. 12
              Richmond’s real estate community (realtors and mortgage lenders) along with
       policymakers colluded to maintain racially segregated housing between the Great
       Depression (1929-1938) and post-World War II era (1945-1970). They did this by
       enacting what scholar Christopher Silver later detailed as the “Greater Richmond” form
       of city planning. Relying on the public-private partnership of industry and city
       government, the plan involved local white elites controlling Richmond real estate through
       creating and buttressing racially identifiable, class-defined enclaves throughout the city
       using federal public housing funds for the black poor and private enterprise for middle-
       and-upper-class black housing. 13 The intended result was to remove blacks in aggregate
       from the central city to make room for industry and upper-class white residency, as
       annexations between 1914-1942 shifted black neighborhoods, once located along
       Richmond’s periphery, to the city’s core.
              This began in 1933, when the Richmond Chamber of Commerce, with support from
       the Richmond Real Estate Exchange, secured federal funds to begin building segregated
       public housing for blacks outside of the city’s core. 14 This, along with the subsequent
       creation of a local housing authority in 1939, led to the construction of the all-black Gilpin
       Court in 1941, Hillside Court in 1952, Whitcomb and Fairfield Courts in 1958, and Mosby
       Court in 1962. 15 Adjacent to these developments were slumlords (representing the private
       9 August Meier and Elliott Rudwick, “Negro Boycotts of Segregated Streetcars in Virginia, 1904-1907,”

       Virginia Magazine of History and Biography, Vol. 81, No. 4 (Oct., 1973), 479-487; Blair L.M. Kelley,
       Right to Ride: Streetcar Boycotts and African American Citizenship in the Era of Plessy v. Ferguson,
       (Chapel Hill: University of North Carolina Press, 2010), 117-64;
       10 The Richmond Planet was a black owned newspaper.
       11 Chiles, “Down Where the South Begins,” 73-5; Hopkins v. City of Richmond 86 S. E. (1915) 139; and

       City of Richmond v. Deans, 37 F.2d 712 (4th Cir. 1930).
       12 Buchanan v. Warley, 245 US 60 38 S. Ct. 16 L. Ed (1917) 70–82; Harmon v. Tyler, 273 US 668, 47 S.

       Ct. 471, 71 L. Ed (1927), 831; “Unconstitutionality of Segregation Ordinances,” Yale Law Journal, Vol. 27,
       No. 3. (January 1918): 393-7; Hurd v. Hodge, 334 U.S. 24, 68 S. Ct. 847; 92 L. Ed. 2d 1187, (1948); and
       Joe T. Darden, “Black Residential Segregation Since the 1948 Shelley v. Kraemer Decision,” Journal of
       Black Studies, Vol. 25, No. 6, (July 1995): 680-91.
       13 Silver, Twentieth-Century Richmond, 57-156.
       14 Silver, Twentieth-Century Richmond, 131-41.
       15 Silver, Twentieth-Century Richmond, 149-54.



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       sector) who helped pack poor blacks who did not qualify for public housing into specific
       areas in the East End, Northside, and Southside. These areas remained majority black
       and poor until the gentrification movement in the 2010s.
               Working and middle-class blacks were not spared from the Greater Richmond
       plan. In fact, the plan evolved because of them.
               By 1945, white city leaders (private and public) subscribed to famed urban planner
       Harland Bartholomew’s 1946 “Master Plan,” which instructed city leaders across the
       nation to preserve the centrality of their inner cities through zoning policies. 16 A part of
       this “zoning” was designating where socially-mobile blacks could live. Aiding this was the
       creation of the Home Owners’ Loan Corporation by the President Franklin D. Roosevelt
       administration in 1933. They classified urban neighborhoods across the country from best
       (A) to worst (D). Under this system, lending institutions could refuse mortgage loans to
       D areas. “Richmond’s [D] areas were exclusively black; none housed whites.”
       Furthermore, “neighborhoods were grade D simply because they were black,” said
       Christopher Silver. 17 This policy was furthered by Title I and II of the Federal Housing Act
       of 1934, which blocked federal mortgage insurance for homes located in ‘slum’ regions.
       These 1930’s housing policies incentivized local real estate barons to refuse black
       Richmonders mortgages and dissuade whites from living in neighborhoods near blacks,
       even as the city continued expanding through annexation in the 1940s. 18 In the 1950s, city
       leaders expanded their Greater Richmond plans further with the Main-to-the-James
       Development Strategy. Using federal highway funds issued through the President Dwight
       D. Eisenhower administration, later renewed through the President John F. Kennedy
       administration, city leaders cleared “slum” neighborhoods—in Richmond, code for
       black—through eminent domain for newer interstates, expressways, and highways to the
       expanding, ultra-white and affluent suburbs in Chesterfield and Henrico Counties. 19 This
       plan dislocated homeowning blacks from Idlewood and Carver in the Near West End and
       Fulton Hill in the East End. 20
               Helping to effectuate this plan was the local real estate community, who racially
       steered upwardly mobile blacks to the Northside and Southside, and then white
       Richmonders to the Chesterfield and Henrico suburbs. Long deemed by scholars as
       “blockbusting,” white realtors convinced many middle-class white Northsiders to relocate
       to the crabgrass frontier. To speed up the process, they worked with black realtors to gin
       up interest in black home ownership in the Northside between the 1940s and 1970s. Some

       16 Silver, Twentieth-Century Richmond, 160-4.
       17 Silver, Twentieth-Century Richmond, 143.
       18 Campbell, Richmond’s Unhealed History, 143-44; Silver, Twentieth-Century Richmond, 28; Tyler-

       McGraw, At The Falls, 113
       19 Ed Grimsley, “Downtown Virginia,” 23-9, The Commonwealth Magazine, The Magazine of Virginia,

       Virginia Chamber of Commerce, Vol. XXXIV, No.5, May, 1967, James C. Wheat Papers, Virginia Museum
       of History and Culture, Richmond, Virginia; Richmond District,” The Virginia Road Builder, April 26,
       1965; Robert L. Horn, Executive Director to the Richmond Regional Planning Commission to the
       Richmond City Council, June 1, 1965, Folder 11, Mss1 W5603 b FA2, James C. Wheat Papers. and
       “Continuous Transportation Planning process Richmond Regional Area,” Mss1 W5603b FA2, Series 1
       Expressways (1 of 2), James C. Wheat Papers.
       20 Silver, Twentieth-Century Richmond, 213-30 and 317; “Idlewood Ave. Residents Urged To Pack City

       Hall” and “Marsh Leads Drive To Save Homes,” Richmond Afro-American, November 19, 1966, 1, 2, and
       18; “Marsh Questions $$ Angle,” Richmond Afro-American, November 26, 1-2; “Idlewood Express Route
       is Again Criticized by Marsh,” Richmond Times-Dispatch, November 28, 1966, 1-2; and “Mundle’s
       Popularity Continues to Drop,” Richmond Afro-American, December 31, 1966, 1-2.

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       examples involved white realtors allegedly paying black couples, or sometimes just two
       young well-kempt black people (male and female), to walk around in white
       neighborhoods to scare whites into moving. Another tactic was strategically placing ads
       for homes they wanted to sell to whites in white newspapers, and placing ads they wanted
       to sell to blacks in black newspapers. Black realtors were privy to this activity. In many
       cases, they helped white realtors for a slight fee. This practice was so rampant that black
       realtor Milton Randolph claimed in 1968 that it was undeniable that, “The Establishment
       [white Richmond leaders] has created controlled areas into which the Negroes are
       allowed to move.” 21
               Racial segregation came to define the entire Richmond region by the late 1970s.
       Richmond’s white political leadership wanted to maintain their white majority in lieu of
       suburban flight between the 1950s and early 1970s. Thus, the city council annexed 23
       square miles, with around 45,000 white residents, from Chesterfield County on January
       1, 1970. This annexation resulted from nearly two decades of failed merger attempts by
       Richmond to combine with Chesterfield and Henrico. In December 1970, Judge Robert
       Merhige enjoined the three localities into a lawsuit facing Richmond’s (Bradley v.
       Richmond, 1970) refusal to integrate its public schools. Judge Merhige later ordered the
       three localities to form one unitary or combine public school district in 1971. Richmond
       white leaders desired this outcome because the courts could do for them what they could
       not do for themselves: merge with their ultra-white suburban neighbors through a
       taxpayer-funded government service. However, the Fourth Circuit Court of Appeals
       overturned the decision in June 1972 based on the famous Dillon Rule. Under this
       precedent established by John F. Dillon of Iowa in 1868, and adopted in Virginia as early
       as 1896, the Dillon Rule contends that local governments have only as much power as
       their state grants them, as they are subsidiaries of their state legislatures. Under this logic,
       neither Richmond nor the federal courts could force Richmond’s suburban neighbors into
       interjurisdictional cooperation with Richmond; that power rested with the state. The
       subsequent U.S. Supreme Court’s 4-4 tie, with Justice Lewis F. Powell abstaining,
       temporarily ended white Richmond leaders’ hopes of a majority white and suburban
       metropolitan Richmond. Cementing this was the Virginia Legislature’s perpetual
       moratorium on annexations, which is still in effect today. By the late 1970s, the Richmond
       areas was solidly segregated by residence. 22 With the Chesterfield and Henrico suburbs
       being protected from future mergers and annexations, real estate values rose, and
       Richmond’s white real estate community helped white families relocate. Residentially,
       Richmond’s inner city was identifiably black, working to middle class, while the suburban
       counties were identifiably white and middle to working class.
               A combination of federal law and local activism helped curb systemic residential
       segregation between the 1960s and 1980s. Congress passed the Fair Housing Act of 1968
       (FHA), Home Mortgage Disclosure Act of 1975 (HMDA), and Community Reinvestment
       21 Dr. James A. Sartain meeting with Milton Randolph, undated, Mss1S4772a, James A. Sartain Papers,

       Virginia Museum of History and Culture, Richmond, Virginia; and “Scare Tactics Cited In Area House
       Sales,” Richmond News Leader, November 23, 1968, 9.
       22 Progress Report on Planning the Consolidation of the Richmond, Chesterfield, and Henrico School

       Divisions, April 7, 1972, Consolidation, 1961- 1972; “Reversal of the Richmond Busing Decision,”
       Education Summary, June 23, 1972, 1-3, Busing 1970-1972; Bradley v. Richmond School Board, 834-75;
       CEPS Newsletter, January 1972, Box 2;“Reversal of the Richmond Busing Decision,” Education Summary,
       June 23, 1972, Box 1, M283, Virginia Alden Crockford Papers, Virginia Commonwealth University,
       Richmond, Virginia.

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       Act of 1977 (CRA).23 Combined, these laws prohibited the use of race to determine the
       financing, insuring, renting, purchase and sale of any dwelling by both private and public
       agencies (via FHA); outlawed racial zoning (otherwise known as redlining) by requiring
       federally-insured mortgage lenders—those covered under Federal Deposit Insurance
       Corporation and Federal Savings and Loan Insurance Corporation—to keep and make
       public record of every mortgage they approved (via HMDA); and required banking
       regulators to encourage real estate communities to invest mortgage and business loans in
       moderate and low-income urban areas (via CRA). Atop this triangle was the Federal
       Reserve System which provided the necessary forms for record, and should it be
       necessary, levied fines to ensure compliance. 24 Most importantly, any mortgage lender
       found in violation of the FHA, HMDA, and CRA were subject to fines, having their
       charters revoked, and being blocked from mergers with other compliant financial
       institutions. 25
              Between 1978 and 1981, a grassroots organization named the Richmond Urban
       Institute (RUI) petitioned Congress to block the merger of Norfolk-based Virginia
       National Bank and First and Merchants Bank from Richmond, claiming that they
       flagrantly violated the FHA, HMDA, and CRA. Richmond’s Federal Reserve Board heard
       RUI’s evidence that showed that while Richmond was “about evenly divided between
       white and black,” more than-80% of mortgage activity was in the majority white Far and
       Near West End and surrounding Chesterfield and Henrico suburbs. Nearly 3/4ths of
       Richmonders (all black) lived in areas with no mortgage activity at all. Majority black
       areas in the East End, Southside, and Northside had virtually no mortgage activity at all.
       Representatives from Richmond’s Board of Realtors claimed that lenders merely met the
       market demands of the white middle and upper classes. 26 Yet the evidence was clear that,
       23 Nicholas Dragen Bloom, Suburban Alchemy: 1960s New Towns and The Transformation of the

       American Dream, (Columbus, OH: Ohio State University Press, 2001); Anny Forsyth, Reforming
       Suburbia: The Planned Communities of Irvine, Columbia and the Woodlands, (Berkley, CA: University of
       California Press, 2005); Ocean Howell, “The Merchant Crusaders: Eichler Homes and Fair Housing,”
       Pacific Historical Review, Vol.85, No.3, (August 2016): 379-407; and “Proxmire Bill Would Require
       Lenders To Open Their Books on Mortgages: And Reveal Where Loans Are Made,” Washington Post,
       April 26, 1975, E14.
       24 Proposed Neighborhood Assistance Act of 1979, Summary, Neighborhood Assistance Act, Box 26,

       M258, Richmond Urban Institute Papers; “Fed Issues Lender ‘Redlining’ Rules,” Washington Post, June
       2, 1976, E2; and Patricia A. McCoy, “The Home Mortgage Disclosure Act: A Synopsis and Recent
       Legislative History,” Journal of Real Estate Research, Vol. 29, No. 4 (2007), 381-98.
       25 “To Stop Redlining,” New York Times, June 14, 1976, 30; “Some Banks Accused of Ignoring U.S. Law

       on Mortgage Disclosure,” New York Times, October 9, 1976, 22; “Mortgage Lenders Apply to Avoid
       Revealing Information on Redlining,” New York Times, September 27, 1976, 19; “Urban Parley Acts To
       Halt Redlining and Blockbusting,” New York Times, April 21, 1975, 23; “Redlining' by Lenders Is Called
       Cause of Old Communities' Decay,” New York Times, May 26, 1975, 20; “Some Banks Accused of Ignoring
       U.S. Law on Mortgage Disclosure,” New York Times, October 9, 1976, 22; “Washington & Business:
       Redlining Fight,” New York Times, October 21, 1976, 67; “Mixed Results Seen for Loan Disclosures,”
       Washington Post, March 5, 1977; and 'Redlining'--Byrne vs. Banks: 'Redlining,” New York Times,
       January 28, 1978, NJ1; Rebecca F. Guy, Louis G. Pol and Randy E. Ryker, “Discrimination in Mortgage
       Lending: The Home Mortgage Disclosure Act,” Population Research and Policy Review Vol. 1, No. 3,
       (October 1982): 283-96; “Redlining Data Is Criticized,” Atlanta Constitution, June 18, 1976, 13D; and
       “S&Ls Change Lending Pattern Mortgage Lenders Putting More Cash in Once 'Redlined' Area of D.C.,”
       Washington Post, October 3, 1976, 1.
       26 Missioner’s Report, August 24, 1981, Co-Missioner, Benjamin Campbell Reports, 1980-1982, Box 3,

       M258, Richmond Urban Institute Papers; Racial Steering by Real Estate Sales Agents in Metropolitan
       Richmond, Virginia, A Research Project Conducted by HOME of Richmond, Virginia, March 1980,

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       as RUI’s comprehensive study found: “metropolitan Richmond contains two separate,
       distinct, and unequal sales housing markets—one for whites and another for blacks.” 27
       RUI’s weaponization of federal law effectively ended racial steering by Richmond’s real
       estate community by the mid-1980s. 28
              Still, the vestiges of Richmond’s history with racial segregation remains etched into
       the city’s landscape and culture. While upwardly-mobile blacks can and have taken
       advantage of federal law and grassroots activism to live wherever their money can afford
       them, the majority of working-class and underclass blacks remain in racially homogenous
       enclaves in Richmond. A major reason is the skills mismatch which separates them from
       the growing biotech, medical, administrative, education, and managerial labor force that
       now dominates Richmond’s middle class in ways that industrial manufacturing did
       decades ago. This skills mismatch is a product of segregated housing in the past. While
       the black middle class fled the city, beginning in the 1980s, working-and-underclass
       blacks remained trapped in Richmond’s underperforming school district. 29 Furthermore,

       Housing Opportunities Made Equal, 1979-1980, Box 20, M258, Richmond Urban Institute Papers;
       Benjamin Campbell Testimony Before Representatives of the Federal Reserve Board, December 5, 1981,
       Federal Reserve Board, Housing Issue, 1981-1982, Box 12, M258, Richmond Urban Institute Papers.
       27 Racial Steering by Real Estate Sales Agents in Metropolitan Richmond, Virginia, A Research project

       Conducted by HOME of Richmond, Virginia, March 1980, Housing Opportunities Made Equal, 1979-
       1980, Box 20, M258, Richmond Urban Institute Papers; Home’s Marketing Program To Let Consumers
       Choose, December 1979, Housing Opportunities Made Equal, 1979-1980, Box 20, M258, Richmond
       Urban Institute Papers; Racial Steering by Real Estate Sales Agents in Metropolitan Richmond, Virginia,
       A Research project Conducted by HOME of Richmond, Virginia, March 1980, Housing Opportunities
       Made Equal, 1979-1980, Box 20, M258, Richmond Urban Institute Papers; Investment Patterns in
       Richmond, 1979, Published May 9, 1981, Home Mortgage Patterns in Richmond, 1979, Box 19, M258,
       Richmond Urban Institute Papers; Community Reinvestment Agreement, October 1, 1983, Community
       Reinvestment Act, Box 19, M258, Richmond Urban Institute Papers; “Lenders Discover Advantages and
       New Market with Community Reinvestment Act,” Journal of Housing, March 1980; “Community Groups
       and CRA: Case Studies of Action Strategies,” Neighborhood Revitalization Project, Vol. 1, No.1, July 1980,
       Community Reinvestment Act, Box 19, M258, Richmond Urban Institute Papers; and Community
       Reinvestment Act Statement of Community Services: Central Fidelity Bank, August 1, 1985, Community
       Reinvestment Act, Box 19, M258, Richmond Urban Institute Papers.
       28 “Average Income Necessary to Purchase an Average House in Richmond,” undated chart made by RUI,

       Federal Reserve Board, Housing Issue, 1981-1982, Box 12, M258, Richmond Urban Institute Papers;
       Community Reinvestment Agreement, October 1, 1983, Community Reinvestment Act, Box 19, M258,
       Richmond Urban Institute Papers; Community Reinvestment Act Statement of Community Services:
       Central Fidelity Bank, August 1, 1985, Community Reinvestment Act, Box 19, M258, Richmond Urban
       Institute Papers.
       29 Julian Maxwell Hayter, “City Profile of Richmond, Virginia,” Thriving Cities, University of Virginia

       Institute for Advanced Studies in Culture, 2015,
       https://static1.squarespace.com/static/5a0f45fad74cff16c9f6e45e/t/5b4fab87f950b72639899c00/153194
       7915667/City-Profile-Richmond.pdf; “Richmond, Virginia, Social Enterprise Feasibility Enterprise
       Analysis: Reducing Poverty and Building Community Wealth Through Social Enterprise,” Final Report
       Submitted to the City of Richmond, June 2016, https://www.rva.gov/sites/default/files/2019-
       10/SocialEnterprise 6-16.pdf; John V. Moeser, Nina Mauney, Evelyn Jeong, and Emily Routman,
       “Unpacking the Census: 2017 Updates--Master Copy,” Poverty in Metropolitan Richmond, Bonner Center
       for Civic Engagement, 2019,
       https://scholarship.richmond.edu/cgi/viewcontent.cgi?article=1038&context=poverty; Marvin T. Chiles,
       “Tough on Conduct: Punitive Leadership in Urban Public Schools, A Case Study of Angry Principal Dr.
       Roy A. West, 1986-1991,” Spectrum: A Journal on Black Men, Fall 2020, Vol.8, No.1, 55-85; Genevieve
       Siegel-Hawley, Kendra Taylor, Kimberly Bridges, Erica Frankenberg, Andrene Castro, Shenita Williams &
       Sarah Haden, “School Segregation by Boundary Line in Virginia: Scope, Significance and State Policy
       Solutions,” Center for Education and Civil Rights, November 2020, 7-10,

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       as Richmond continues to grow more multicultural and economically prosperous in the
       21st century, racially segregated housing and its corollary effects remains an issue.

       Issues with Black Residents and Richmond Police, 1865-Present:

       The Richmond Police Department (RPD) developed throughout the centuries to surveil
       and incarcerate black residents at the behest of white residents. Richmond police were
       not born in opposition to its black residents, rather the burdens of history pitted the two
       against one another. 30
              “Profoundly,” said RPD historian Louis Cei in 1975, nothing “influenced the
       [Richmond Police] force’s attitude and development” more than “the presence of the
       Negro.” 31 That was not always so, as policing in Richmond began in the 1730s with
       Virginia’s Colonial governors forcing white property holders to serve as night watch
       against Indian raiders and poor white thieves. In 1782, after the American Revolution,
       Richmond received both official city governance and a paid police force manned by white
       war veterans. The increased black (slave and free) population in Richmond compelled
       white residents to anoint RPD as the enforcement arm of white supremacy. After the
       failed Gabriel’s Rebellion in 1800 and Nat Turner Rebellion in 1831, the Richmond city
       council, with help from the Virginia militia, expanded RPD from a skeleton night force to
       a tax-funded department who patrolled 24 hours a day. 32 Between 1800 and 1865, white
       residents only supported RPD funding and salary increases during panics over runaway
       slaves and black rebellions. Thus, blacks were the most harassed and arrested people by
       RPD between 1782 and 1865, most of which happened in black communities. 33 This time
       period is important because while RPD was not born as a racist institution per se,
       circumstances shaped them into an anti-black body with a strong anti-black identity. RPD
       officers were compelled to enforce a dual legal code, one for whites and another for blacks.
       Furthermore, the days of slavery revealed a crucial fact about RPD. That was, as Cei once
       claimed: “No matter how important crime control appeared, the true mission of the force
       revolved around suppressing the city’s Negro population.” 34
              The end of slavery only worsened the relationship between black Richmonders and
       RPD. With Confederate General Robert E. Lee’s surrender in April 1865, white
       Richmonders (mainly the local white media) compelled RPD to control the new bumper
       crop of freed people through the passage and enforcement of vagrancy laws. 35 This, along

       https://scholarscompass.vcu.edu/cgi/viewcontent.cgi?article=1013&context=edlp pubs; and “Va.
       Education Disparities - Report: Virginia's High-Poverty Schools Don't Have Same Opportunities For
       Students,” Richmond Times-Dispatch, October 31, 2017 2B.
       30 This report was done without primary source material from the Richmond Police Department. I have

       tried to secure information from them in the past, as recent as 2018, however I was told that they do not
       have archival material or collections that are available for research purposes.
       31 Louis Bernard Cei, “Law Enforcement in Richmond: A History of Police-Community Relations,”1737-

       1974, (PhD diss., Florida State University, 1975), 7.
       32 Tyler-McGraw, At The Falls, 64 and 80.
       33 Tyler-McGraw, At The Falls, 131.
       34 Cei, “Law Enforcement in Richmond,” 2-43. Quote on p.43.
       35 Richmond City Hustings Court Minute Book 27, 127, (Library of Virginia, Richmond Virginia);

       Testimony of Albert Brooks, Alexander Davis, Stephen Jones, Wellington Booker, William Ferguson, and
       Bernard H. Roberts, Statements Relating to Abuses of Freedmen in Richmond,” Records of the Assistant
       Commissioner for the State of Virginia Bureau of Refugees, Freedmen, and Abandoned Lands, 1865-1869,
       M1048, roll 59, (Library of Virginia); and Testimony of Robert W. Johnson, Richard Cooper, and

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       with later laws stripping blacks of their Fifteenth Amendment voting rights for felony and
       petty larceny convictions, resulted in blacks being disproportionately arrested, publicly
       whipped (ended in 1881), and killed by RPD between 1865 and 1900. RPD was even
       accused of voter suppression, as they reportedly assaulted black men who wanted to vote
       in contested city elections in the 1890s. 36 Progressive Era (1890-1929) reforms on police
       malfeasance, as well as civilian crimes of drug distribution, alcohol consumption, and
       prostitution only strengthened RPD’s Negrophobia, as black neighborhoods were primary
       targets for RPD enforcement. In fact, when RPD increased their focus on white crime, the
       white Richmond public openly called to defund them as retaliation. 37
              White desires for RPD to focus primarily on black people is best seen in the
       controversy over hiring a black police officer. In 1936, a cadre of respected black
       Richmond ministers called for then Mayor J. Fulmer Bright to hire black officers and
       assign them to black neighborhoods to ease animosity between RPD and black
       Richmonders. 38 “As long as I am Mayor of Richmond,” Bright told the local media in
       response to the request, “there will be no Negroes on the police force.” 39 He reasoned that
       whites would not support the hiring of black police because it was antithetical to
       everything they believed about policing in Richmond. To them, whites committed crimes,
       but blacks were criminals. This was the baseline understanding behind the popular
       support RPD received in the mid-20th century.
              The post-World War II era bred more resentment between blacks and RPD. While
       this era saw the hiring of the city’s first black policemen in 1946, RPD remained at odds
       with black residents, particularly in their enforcement of segregation law in opposition to
       protests (sit-ins) commonly attributed to the Modern Civil Rights Movement (1954-
       1968). 40

       Madison Carter, Statements Relating to Abuses of Freedmen in Richmond, Records of the Assistant
       Commissioner for the State of Virginia Bureau of Refugees, Freedmen, and Abandoned Lands, 1865-1869,
       M1048, roll 59, (Library of Virginia).
       36 “Jackson Ward Wholesale Robbery-Republicans Counted Out, Contest to Be Made,” Richmond Planet,

       June 6, 1896, 1; “The Jackson Ward Robbery,” Richmond Planet, May 26, 1900, 1; “The Election Today,
       Chairman Ellyson Says The Usual Democratic Victory,” Richmond Dispatch, May 24, 1900, 1; “Jackson
       Ward Cases to be Reviewed,” Richmond Planet, June 2, 1900, 1; “The Question of Jurisdiction,’
       Richmond Planet, June 9, 1900, 1; “Judge Witt Takes His Time,” Richmond Planet, June 16, 1900, 1; “To
       The Supreme Court, Mr. Royall Will Apply,” Richmond Planet, June 26, 1900, 1; and “The Jackson Ward
       Cases,” Richmond Planet, June 30, 1900, 1.
       37 Cei, “Law Enforcement in Richmond,” 64-93, 138-248.
       38 “Richmond Crime Parley,” Richmond Times-Dispatch, September 29, 1936, 4; and “City Pastors Seek

       Negro Policemen,” Richmond Times-Dispatch, October 13, 1936, 1
       39 Quote in “Bright Firm in Opposing Negro Police,” Richmond Times-Dispatch, October 15, 1936, 1; and

       “Richmond’s       Most     Obstinate     Man,”      Richmond        Magazine,   August     5,     2016,
       https://richmondmagazine.com/news/richmond-history/richmonds-most-obstinate-man/.
       40 Marvin T. Chiles, “A Period of Misunderstanding: Reforming Jim Crow in Richmond, Virginia, 1930-

       1954,” Virginia Historical Society: Virginia Magazine of History and Biography, Vol. 129, No.3, (Fall
       2021): 244-78; “Plan Appeal on Jim Crow Fines,” Richmond Afro-American, March 6, 1943, 3; “Supreme
       Court to Review Va. Bus Segregation Case,” Richmond Afro-American, January 26, 1946, 1, 21; “Trailways
       Bus Company Denied Right to Seat Passengers in Violation of Law,” Richmond Afro-American, January,
       25, 1947, 1, 4; “Who Is Now Defying The Law,” Richmond Times-Dispatch, February 24, 1960, 14; “Store Is
       Picketed; Negroes Ask Boycott,” Richmond Times-Dispatch, February 25, 1960, 1 and 3; “Negroes to Spread
       Boycott,” Richmond Times-Dispatch, February 25, 1 and 4; “Anti-Trespass Laws Signed to Meet Sit-Down
       Protests,” Richmond Times-Dispatch, February 26, 1960, 1; “Whites, Negroes Confer on Protests,”
       Richmond Times-Dispatch, February 27, 1960, 2; “Judge Says ‘This Is No Race Issue,’ Richmond Afro-
       American, March 12, 1960, 1; “Va. U. Students to Appeal Fines,” Richmond Afro-American, March 12, 1960,

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                Black Richmonders became more assertive in their demands for equal treatment
       from RPD in the 1960s, given the national criminal justice reforms created by U.S.
       Supreme Court decisions. Gideon v. Wainwright (1963) required states to provide the
       accused with legal counsel while being indicted. 41 The following year, Escobedo v. Illinois
       (1964) ensured that police suspects had the right to legal counsel during interrogations. 42
       Miranda v. Arizona (1966) completed this trinity, as law enforcement were to remind
       suspects of their Fifth Amendment rights to recuse themselves from self-incrimination. 43
                With police tactics now under a national microscope, black Richmonders,
       undoubtedly inspired by the above and the on-going civil rights movement, led a call for
       a Police Review Board in summer 1966. As shaped by the Richmond NAACP, Urban
       League, Gilpin Court Civic Association, Creighton Court Civic Group, and others, the
       Police Review Board would have been a 9-member body (4 police officers chosen by the
       police chief and 5 citizens appointed by the city council) who would field, archive, and
       investigate complaints of police brutality. After that, they would recommend resolutions
       with the complainant or punishment for the accused officer. This was not an extraneous
       request, as police review boards had been in place in cities such as Minneapolis,
       Minnesota; Philadelphia, Pennsylvania; and New York City since the late 1950s, making
       it, at the time, a policy of common sense reform designed to instill and solidify public trust
       in police.
                RPD leadership, the majority white city council, and the City Attorney’s Office
       “unequivocally opposed” the board, citing that it would lower officer morale. Many black
       activists felt, however, that the board was rejected because it promised the
       “underprivileged” with oversight powers to correct the historic injustice inflicted upon
       them by RPD. 44 To be clear: RPD opposed this proposal in light of black leadership asking
       for better policing. “Negroes [in Richmond] want more police protection, not more police
       brutality,” said John M. Brooks of the Richmond NAACP after RPD and elected officials
       in City Hall denied the proposal. RPD leadership reasoned that their opposition to the
       review board was grounded in empirical data, as between 1960 and 1966, they logged just
       121 complaints after 322,000 arrests, with most of the complaints being from whites.
       Black leaders felt that this statistic reflected black fear of retaliation for reporting police
       brutality, as the local NAACP and other organizations fielded the complaints that would
       have become a part of the public record with the Police Review Board. 45
                RPD’s refusal to support citizen oversight strengthened its anti-black identity,
       creating a divide that not even black political leadership could avoid between the 1970s
       and 1990s. In lieu of the failed Police Review Board movement of 1966, the mostly white
       city council militarized RPD—with the purchase of anti-riot weapons and training—in
       anticipation that the riots that engulfed other majority-black cities would touch down in


       19; “Students Fined $20 Each,” Richmond Afro-American, March 19, 1960, 1 and 16; “Sit-In Case
       Conviction Is Upheld,” Richmond Times-Dispatch, April 25, 1961, 1 and 3; and “34 Students in Sit-Ins Plan
       Appeal,” Richmond Times-Dispatch, April 26, 1961, 8.
       41 Gideon v. Wainwright, 372 US 335 (1963).
       42 Escobedo v. Illinois, 378 US 478 (1964).
       43 Miranda v. Arizona, 384 US 436 (1966).
       44 Quotes “Police Group Opposes Review Unit,” Richmond Times-Dispatch, July 12, 1966, 2; and “City

       Attorney’s Office Calls Police Review Board Illegal,” Richmond Times-Dispatch, September 21, 1966, 2.
       45 “Council Kills Police Review Board Bill,” Richmond Times-Dispatch, September 27, 1966, 1-2; and Cei,

       “Law Enforcement in Richmond,” 37, 55-6, 132.

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                                                                                                                11


       Richmond. 46 By the late 1970s and early 1980s, Richmond’s political leadership was
       mostly black, and RPD had more black officers than ever before. Yet, as was said by a
       black police captain about RPD culture in the late 1980s: “We have a black mayor, a black
       city manager, a black assistant city manager, and many high ranking black public officials,
       yet it seems very little has changed.” 47
               Between 1977 and 1990, city leadership and business leadership (mostly white)
       engaged in expansive downtown revitalization plans (Project One and Sixth Street
       Marketplace) to attract white suburban residents and out-of-town industry to
       Richmond. 48 This plan, however, relied heavily on explicit calls from city businessmen
       for RPD to increase their policing of black neighborhoods. 49 Delivering on this request
       were black city managers Emmanuel Deese, and later Robert C. Bobb in the mid-1980s.
       Richmond’s “war on drugs” led to the first ever Narcotics Division created in 1984, the
       Select Neighborhood Action Patrol Division created in 1986, and the Drugs and Firearms
       Strike Force created in 1987. These divisions within RPD worked with the Richmond
       Redevelopment and Housing Authority to enact plans such as Operation Hot Spot, in
       which dozens of RPD officers exclusively patrolled, as was said in a Richmond Times-
       Dispatch editorial, “high-density, low-income areas—notably housing projects—that have
       been breeding grounds for crime.” 50 With plans to repopulate the city with monied whites

       46 The Kiplinger Washington Letter, Circulated Privately to Businessmen, August 4, 1967, Mss1 W5603b

       FA2, Series 1, Racial Problems (1 of 2), 40, James C. Wheat, Jr., Papers; Council Crime Report, Conducted
       by Councilman Phil J. Bagley, B.A. Cephas, and Mayor Morrill M. Crowe, January 21, 1968, Mss1 W5603b
       FA2, Series 1, Racial Problems (1 of 2), 40, James C. Wheat, Jr., Papers; Frank R. Barnett, president of the
       National Strategy Information Center, Inc., to Mr. J.C. Wheat, Jr., J.C. Wheat and Co., Inc., February 21,
       1968, Mss1 W5603b FA2, Series 1, Racial Problems (2 of 2), 41; “The Negro Veteran, Urban Stability and
       The National Purpose,” National Strategy Information Center Third Draft, February 14, 1968, 1, Mss1
       W5603b FA2, Series 1, Racial Problems (2 of 2), 41; “Urban Coalition Formed to Meet Crisis in Cities,”
       United States Municipal News, Vol. 34, No.16, August 15, 1967, Mss1 W5603b FA2, Series 1, Racial
       Problems (2 of 2), 41; Director of Public Safety to City Manager, December 14, 1964, Folder 22, Mss1
       W5603 b FA2, James C. Wheat, Jr., Papers; Meeting of School-Community Coordinators, April 16, 1968,
       Mss1S4772a, James A Sartain Papers; Cei, “Law Enforcement in Richmond,” 235-48
       47 “Subtle Racism is Practiced in Richmond Force, Cop Claims,” Richmond Afro-American, October 3,

       1987.
       48 Marvin T. Chiles, “Here We Go Again: Race and Redevelopment in Downtown Richmond, 1977-

       Present” Journal of Urban History, https://journals.sagepub.com/doi/abs/10.1177/0096144221992374.
       49 Jackson Ward, Summary Tape File 3G, The Neighborhood Revitalization Division of the Department of

       Planning and Community Development, City of Richmond Neighborhood Statistics, November 1985, Box
       5, M303, Richmond Renaissance Papers; For more on crime and perceptions of crime in Jackson Ward,
       see Table 1, Reported Offenses: 1976-1980, Second Street Study Area Richmond, Virginia, 1980,
       Economic and Market Analysis, 1-10; and A Commercial Revitalization Plan for the Second Street
       Commercial Area, 3-7, 2nd Street Commercial Revitalization, 1981, Box 4, M303, Richmond Renaissance
       Papers; Economic and Market Analysis: Second Street Commercial Revitalization Study, Richmond,
       Virginia, by John E. Scott and Associates, January 19, 1981, 2nd Street Commercial Revitalization, 1981,
       Box 4 and 5, M303, Richmond Renaissance Papers; Clarence L. Townes to Mr. Jeff Nowakowski,
       November 13, 1984, Media-Negative TV Reporting, 1984, Box 13, M303, Richmond Renaissance Papers;
       and “Candidates Blame News Media For Downtown’s Image Problem,” Richmond Times-Dispatch, April
       5, 1990, 27.
       50 “Police Forming Narcotics Division,” Richmond Times-Dispatch, February 18, 1984, B1; “Police Help

       Bobb Explain Concept of Overstaffing,” Richmond Times-Dispatch, August 12, 1986; and Quote “SNAP!
       BAM! BOBB!” Richmond Times-Dispatch, August 15, 1986, 10; “Drug Dealer, Beware! City Declares
       ‘War,’ Expanding SNAP,” Richmond Afro-American, December 17, 1988, 1; and “Drug War: Bobb Plans
       All-Out Fight,” Richmond Afro-American, April 8, 1989; “Crackdown Promising, Police Say,” Richmond
       Times-Dispatch, December 17, 1990, B-1.

                                                      JA1613
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                                                                                                          12


       in lieu of the suburban sprawl of the post-World War II period, the new police strategy,
       as dictated by black political leaders, ensured that “it will not take long for the
       neighborhoods to recognize the increased police presence and the more aggressive
       enforcement” in the city’s blackest areas. 51 Increased policing of historically black and
       poor areas was often celebrated and encouraged by the white and black media, as well as
       by black and white Richmond leadership as a sign of progress. This late 20th century
       development was tied directly to RPD history of being sic’d on black people, as
       Richmonders, both new and old, long understood this to be their primary function above
       all else. This did not change with the appointment of Marty Tapscott to be the first black
       RPD chief in city history in 1989, or the increased number of black policemen along with
       him. 52

       Conclusion
       Richmond’s racial history is largely defined by the maintenance of residential segregation
       and over-policing of black residents at the hands of RPD. This report seeks not to indict
       every white Richmonder, or RPD officer, as racist or bigoted. Rather, it argues that
       current issues with residential segregation and RPD-black animus exist within a historical
       ecosystem shaped by people and interests of a bygone era. Furthermore, to understand
       and find common ground in the present requires adherence to the knowable past.




       51 “City Manager Advocates SNAP To Reduce Crime in Richmond,” Richmond Afro-American, August 16,

       1986, 1.
       52 “Richmond Gets First Black Police Chief,” Richmond Afro-American, June 8, 1989, 1; and “More Blacks

       Needed on Police Force,” Richmond Afro-American, March 5, 1988, 1.

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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division

         UNITED STATES OF AMERICA                         )
                                                          )
                        v.                                )   Criminal No. 3:21-cr-42
                                                          )
         KEITH RODNEY MOORE,                              )
                                                          )
                                Defendant.                )

              UNITED STATES’ RENEWED MOTION TO EXCLUDE DEFENSE EXPERT

               The United States of America respectfully renews its Motion to Exclude Defense Expert

        Dr. Marvin Chiles. Dr. Chiles’ expert testimony about the history of Richmond is inadmissible

        under Federal Rule of Evidence 702 because it will not help the Court understand the relevant

        evidence or determine a fact at issue, nor is his opinion supported by the evidence he cites. Because

        Dr. Chiles’ testimony is inadmissible under Rule 702, the Court should exclude his testimony

        without an additional hearing.

        I.     PROCEDURAL BACKGROUND

               The prior procedural history is thoroughly explained in the first motion to exclude Dr.

        Chiles. ECF 82. Since the filing of the first motion, the Court concluded that the defendant’s initial

        expert disclosure did not meet the requirements of Fed. R. Crim. Pro. 16, and instructed the

        defendant to file a new disclosure by August 8, 2022. ECF 99. The defendant’s updated expert

        disclosure, ECF 102-1, claims that Dr. Chiles will express two categories of opinions: those related

        to residential segregation, and those related to tensions between black residents and the Richmond

        Police Department (RPD). In both cases, Dr. Chiles begins in the 1700s, chronicles his view of

        Richmond’s history, and ends in the mid-1980s.

               In response, the United States renews its motion to exclude.



                                                          1


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       II. LEGAL AUTHORITY

               Federal Rule of Evidence 702, which sets forth the requirements for an expert to testify,

       allows the introduction of expert testimony if, in relevant part, “the expert’s scientific, technical,

       or other specialized knowledge will help the trier of fact to understand the evidence or to determine

       a fact in issue.” See Fed. R. Evid. 702(a); see also U.S. v. Crisp, 324 F.3d 261, 265 (4th Cir.

       2003) (outlining the elements of Rule 702 and citing Daubert v. Merrell Dow Pharmaceuticals,

       509 U.S. 579 (1993)); see also Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (“[N]othing in

       either Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence

       that is connected to existing data only by the ipse dixit of the expert. A court may conclude that

       there is simply too great an analytical gap between the data and the opinion proffered.”).

       III.    ARGUMENT

               A. The Proffered Testimony is of “Little Probative Value”

               The defendant is still attempting to satisfy his heavy burden of proving discriminatory

       effect and purpose—or “clear and intentional discrimination” by “clear evidence” 1—by claiming

       that Richmond’s distant political history is relevant to a traffic stop based on a fake temporary tag

       in 2020. The defendant was born in 1987, and there is nothing in Dr. Chiles’ report that occurred

       in his lifetime. As the Court repeatedly stated during July 2022 evidentiary hearing, Richmond is

       simply a different place than it used to be, and long-ago wrongs do not indicate present-day racism

       by the officers who seized and searched the defendant in this case. Indeed, the Supreme Court has

       stated, “unless historical evidence is reasonably contemporaneous with the challenged decision, it

       has little probative value. . . . Although the history of racial discrimination in this country is

       undeniable, we cannot accept official actions taken long ago as evidence of current intent.”


       1
        Central Radio Co. v. City of Norfolk, Va., 811 F.3d 625, 635 (4th Cir. 2016); United States v. Mason, 774 F.3d 824,
       830 (4th Cir. 2014).

                                                                2


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        McCleskey v. Kemp, 481 U.S. 279, 298 n.20 (1987). Based on this precedent, the Fourth Circuit

        disallowed an attempt to prove racist intent in 1988 with facts from the Civil War, the 1880s, and

        the 1960s. Watkins v. Angelone, 133 F.3d 920 (4th Cir. 1998) (unpublished). 2 If a gap from the

        1960s to 1988 was insurmountable in Watkins, so too should the gap from the mid-1980s to 2020

        demonstrate the insufficiency of Dr. Chiles’ proposed testimony.

                 Another significant problem with Dr. Chiles’ testimony is that much of the attributed

        racism is not due to Richmond city officials or RPD. For example, a close reading of Dr. Chiles’

        report reveals that the residential discrimination was significantly driven by private parties,

        including realtors and mortgage lenders, and Dr. Chiles is often ambiguous as to who performed

        discriminatory actions. In a case exclusively about alleged prejudice of Richmond police in 2020,

        the fact that a non-governmental official, at sometime, acted prejudicially does nothing to help the

        defendant meet his burden of proving that he was stopped “because of, not merely in spite of,” his

        race, Wayte v. United States, 470 U.S. 598, 610 (1985) (cleaned up), especially after officers had

        already seen the same fake vehicle tag for the third time on the same shift.

                 Dr. Chiles also does nothing to account for any changes that have happened since the mid-

        1980s. Bygone topics like white flight and annexation receive extensive treatment, but more recent

        topics like whites returning to Richmond in the last 15 years garner barely a mention. This last

        point is significant because the defendant has long claimed that RPD created its police precincts

        in 1977 with “[t]hree of those precincts correspond[ing] to the nearly entirely black neighborhoods

        of Richmond,” ECF 66 at 6, and that “the Richmond Police Department [is] effectively patrolling



        2
          (“Watkins also proffers historical evidence for the proposition that juries in Danville act with racist intent. Among
        the facts cited by Watkins was that Danville was the capital of the Confederacy in the waning days of the Civil War,
        that many black citizens were assaulted in an effort by the Democrat Party to defeat the Readjuster-Republican
        coalition in the 1883 election, and that civil rights activists suffered at the hands of local officials in the 1960s. This
        history cannot support a challenge to a 1988 jury: ‘unless historical evidence is reasonably contemporaneous with a
        challenged decision, it has little probative value.’ McCleskey v. Kemp, 481 U.S. 279, 298 n. 20 (1987).”)

                                                                    3


                                                               JA1617
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       the boundaries of the white neighborhoods.” Id. at 9. But the demographics and racial distribution

       of Richmond have changed so much since 1977, coincidentally the same year when African

       Americans achieved a majority on the City Council and the first black mayor began service, 3 that

       if the police were doing what the defendant claims they would constantly be altering precinct

       boundaries to track the latest movements of minorities. This is absurd. But Dr. Chiles’ intentional

       omission of any recent history is telling. His omission supports that he could identify no evidence

       of recent RPD prejudice or that what evidence he could identify disproves the argument he is

       attempting to press with the Court. Each alternative is detrimental to the defendant’s claim as he

       bears the heavy burden under Armstrong to prove an equal protection violation, and, of course, the

       further in the past Dr. Chiles’ evidence is, the less relevant and probative it is. McCleskey, 481

       U.S. at 298 n.20 (“unless historical evidence is reasonably contemporaneous with the challenged

       decision, it has little probative value”).

               B. Dr. Chiles’ Conclusions are Not Well Supported and Fail to Even Consider
                  Alternative Explanations

               Even if the Court were to deem Dr. Chiles’ decades-old historical support as “reasonably

       contemporaneous,” his testimony would still fail under Rule 702 because his sources do not match

       his rhetoric and he wrongly ascribes all police enforcement to racism.

               Very little of Dr. Chiles’ proposed testimony post-dates 1977 and is thus not reflective of

       the new Richmond that is “seeking to end its complicity with American racism.” Marvin T. Chiles,

       “Here We Go Again: Race and Redevelopment in Downtown Richmond, 1977-Present” Journal

       of Urban History (ECF 86-5 at 1). What little of his report that addresses events that occurred

       during or close to the defendant’s lifetime is unsupported by the sources on which Dr. Chiles relies.



       3
        ECF 102-1, Expert Report of Dr. Chiles (“By the late 1970s and early 1980s, Richmond’s political leadership was
       mostly black, and RPD had more black officers than ever before.”)

                                                              4


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               Moreover, although courts of appeals have not prohibited historians as experts, a historian

        still needs to rely on reliable methods and cannot reasonably purport to opine about the motivations

        of countless people, perform end run around the rules of evidence for proving facts about past

        events, and then use broad generalizations about the past to impugn the motives of officers whose

        conduct the expert has not even examined. “We have no doubt that a historian’s ‘specialized

        knowledge’ could potentially aid a trier of fact in some cases,” but “[t]he appropriate way to

        adduce factual details of specific past events is, where possible, through persons who witnessed

        those events. And the jobs of judging these witnesses’ credibility and drawing inferences from

        their testimony belong to the factfinder.” Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 135–36

        (2d Cir. 2013).

               To understand the import of this, it is helpful to appreciate the logical structure of Dr.

        Chiles’ argument. To bridge the massive gap between the racism and prejudice of 50+ years ago

        to today, Dr. Chiles uses the example of downtown revitalization plans and supposed

        accompanying “explicit calls from city businessmen for RPD to increase their policing of black

        neighborhoods.” ECF 102-1 at 11. He then argues that African American city leaders increased

        their policing of black neighborhoods around the same time as part of the “war on drugs” and as

        part of their “plans to repopulate the city with monied whites.” Id. at 11-12. Thus, he claims,

        criminal enforcement in or around black neighborhoods “was tied directly to RPD history of being

        sic’d on black people, as Richmonders, both new and old, long understood this to be their primary

        function above all else.” Id. at 12.

               Dr. Chiles’ evidence fails to support his accusations that Richmonders understood RPD’s

        “primary function above all else” to be “sic’d on black people,” that black political leaders had

        “plans to repopulate the city with monied whites,” or that the alleged increased enforcement in the



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        1980s was in response to racist calls to rein in African Americans so that downtown revitalization

        projects could move forward.

               Indeed, what few supporting citations Dr. Chiles includes are often wrong or misleading.

        For example, Dr. Chiles places great emphasis on the supposed “explicit calls from city

        businessmen for RPD to increase their policing of black neighborhoods” that black city leaders

        “deliver[ed] on.” Id. at 11. When counsel for the United States spent several hours unearthing the

        supporting documents for this audacious claim from VCU Special Collections, the citation turned

        out to be nothing more than census statistics detailing residents’ education, income, and method

        of heating their house. See Jackson Ward, Summary Tape File 3G, The Neighborhood

        Revitalization Division of the Department of Planning and Community Development, City of

        Richmond Neighborhood Statistics, November 1985, Box 5, M303, Richmond Renaissance

        Papers, as cited in ECF 102-1 at 11 n.49 (attached as Exhibit A). Dr. Chiles may attempt to claim

        this as a simple citation error, but it forms an unfortunate pattern of the defense experts claiming

        far more than the data support, and this alone casts substantial doubt on the viability of the

        defendant’s historical expert. With or without supporting evidence for this claim, Dr. Chiles’

        testimony falls squarely within the Supreme Court’s clear statement that expert testimony is

        inadmissible when “there is simply too great an analytical gap between the data and the opinion

        offered.” Joiner, 522 U.S. at 146.

               Dr. Chiles’ complete failure to consider other explanations, similar to Dr. Coston’s failure

        to do so, further exemplifies the wide chasm between evidence and his opinion. While Dr. Chiles

        appears to attribute all enforcement of the law in black neighborhoods to racism reaching back

        centuries, another far more plausible explanation is that criminal activity is unfortunately

        disproportionately concentrated in Richmond’s minority neighborhoods and RPD is attempting to



                                                         6


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       provide the crime protection that all Richmonders deserve with limited resources and officers.

                As evidence that criminal activity is disproportionately occurring in the first, second, and

       fourth precincts—the precincts the defendant has repeatedly stated are primarily comprised of

       African Americans, the United States presents the locations of Richmond city murders, both since

       1999 when crime data is first consistently available for Richmond and over the last several years. 4




                  These data on murders are particularly instructive because homicides bear undeniable

           physical evidence that a crime was committed, and thus are both less likely to be biased and



       4
         The short time constraints prohibited any expert analysis and/or mapping, but these public maps are published by
       LexisNexis, and are available at https://communitycrimemap.com/map. The data were filtered to show only homicides
       and manslaughters, the density map option was selected, and RPD’s police precincts were overlaid. The date range
       for the first map is January 1, 1999 to August 16, 2022, the former of which is the first year for which crime data is
       consistently available from RPD. Richmond Police Department, Crime Incident Information Center,
       apps.richmondgov.com/applications/CrimeInfo. The date range for the second is January 1, 2018 to August 16, 2022.
       The data are reliable in that they closely correspond to the data that RPD itself publishes. For example, the LexisNexis
       site contains a record of 302 homicides for 2018 to the present, while the RPD crime data website shows 300. This
       minor discrepancy could be due to murders that occur within Richmond but are not within RPD’s jurisdiction, such
       as murder investigations handled by the Virginia State Police.

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        more indicative of the presence of criminal activity. 5 Note that there is little variation in the general

        distribution of the murders over the last 20+ years; 89% of the murders in Richmond since January

        1, 2018 occurred in precincts 1, 2, and 4. 6

                   As noted by Dr. Smith, the government’s expert and one of the foremost authorities in the

        country on racial disparities in law enforcement, police go where the crime is, and given the

        evidence above about where crime is occurring in Richmond, it is little surprise that the above

        maps bear a striking resemblance to Dr. Coston’s map showing traffic stop locations in 2020. See

        ECF 66-1 at 9, Figure 1.


        5
         Beck, A.J. & Blumstein, A. “Racial disproportionality in U.S. state prisons: Accounting for the effects of racial and
        ethnic differences in criminal involvement, arrests, sentencing, and time served.” Journal of Quantitative
        Criminology, 34, 853-883 (2018); Loftin et al. “The accuracy of supplementary homicide reports rates for large U.S.
        cities. Homicide Studies.” 19, 6-27 (2015)..
        6
            Richmond Police Department, Crime Incident Information Center, apps.richmondgov.com/applications/CrimeInfo.

                                                                  8


                                                             JA1622
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               It is not only the case that law enforcement want to stop crime because they are driven and

        motivated to do so, but city and police leaders are accountable to the public to address crime to

        make it safe for law-abiding citizens everyone to be safe in their homes and as they work, travel,

        and pursue recreation.

               These maps, and an understanding of modern policing methods, completely undercuts Dr.

        Chiles’ uninformed assertion that the law is enforced in African American neighborhoods only

        due to racism. Nor does this mean that a multitude of minority and progressive city leaders over

        the last several decades intended to discriminate against blacks in attempting to enforce the law,

        as Dr. Chiles and the defendant claim.

                                                      Conclusion

               The Court should exclude the testimony of Dr. Chiles because, in the words of the Supreme

        Court, historical evidence is likely of “little probative value.” Dr. Chiles also exaggerates the

        evidence in support of his claims, and many of his opinions are based on nothing more than his

        own ipse dixit. Dr. Chiles also fails to consider or address the more likely explanation for additional

        law enforcement in traditionally minority neighborhoods—that’s                   where crimes      are

        disproportionately being committed in Richmond, as evidenced by murders going back decades.

        Further, Dr. Chiles’ historical evidence does nothing to show discriminatory effect or purpose in

        2020, and his testimony bears no relevance given the facts and circumstances of the defendant’s

        particular stop. For these reasons, the Court should exclude the testimony of Dr. Chiles.

                                                        Respectfully submitted,

                                                        JESSICA D. ABER
                                                        UNITED STATES ATTORNEY

                                               By:      ___________/s/______________
                                                        Shea Matthew Gibbons
                                                        Virginia Bar Number 83916


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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

        UNITED STATES OF AMERICA                    )
                                                    )
        v.                                          )       Case No. 3:21cr42
                                                    )
        KEITH RODNEY MOORE,                         )
                 Defendant                          )

                       MR. MOORE’S RESPONSE GOVERNMENT’S RENEWED
                       TO MOTION TO EXCLUDE SECOND DEFENSE EXPERT

               Keith Moore, through counsel, responds as follows to the government’s renewed motion

        to exclude the defense’s expert, Dr. Marvin Chiles, see ECF No. 103:

               I.     Dr. Chiles’s testimony is relevant under Federal Rule of Evidence 401 and
                      admissible under Federal Rule of Evidence 702.

               The government has renewed its motion to exclude Dr. Marvin Chiles, an Assistant

        Professor of African American history at Old Dominion University with specialized knowledge in

        the history of racialized policing and residential segregation in Richmond, Virginia—see ECF No.

        102, from testifying in this case, see ECF No. 103. The government first argues that Dr. Chiles’s

        testimony is not admissible under Federal Rule of Evidence 702.

               The challenge that Mr. Moore has brought in this case is to the Richmond Police

        Department’s selective enforcement of Virginia’s traffic laws against black drivers in Richmond,

        Virginia—which violates the Equal Protection Clause. See ECF Nos. 32, 66, 72, and 73. As the

        parties and the Court have discussed before, the fact that the first, second, and fourth police

        precincts line up almost exactly with the black neighborhoods in Richmond, while the third police

        precinct lines up almost exactly with the white neighborhoods in Richmond is relevant to Mr.

        Moore’s equal protection challenge. See, e.g., ECF No. 72 at 13-14. That the city of Richmond



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        feels it needs to devote three quarters of its police precincts to policing the black neighborhoods

        of Richmond is highly relevant to the Richmond Police Department’s selective enforcement of the

        traffic laws of Virginia against black drivers. As Mr. Moore set forth in ECF No. 72, “when you

        send police out to investigate crime, one can expect to see more traffic stops. Thus, deployment

        of police to high crime areas where minorities live will have the impact of overpolicing racial

        minorities. See, e.g., Ex. K at 28 (“Simply put, minority drivers may be stopped, searched,

        arrested, and charged with a felony because they are more likely to drive in high crime areas where

        they reside and more vigorous law enforcement is a common practice.”).” ECF No. 72 at 14.

                During its work investigating the Richmond Police Department’s selective enforcement of

        the traffic laws in Virginia against black drivers, the defense discovered that the Richmond Police

        Department decentralized its patrol functions and instituted a “Neighborhood Precinct Plan” in

        1977.    See City of Richmond, History of the Richmond Police Department: 1900-1999,

        https://www.rva.gov/police/department-history (last visited Mar. 8, 2022). Thus, on February 1,

        2022, the defense submitted a FOIA request to the Richmond Police Department asking for:

                “1) all proposed maps and planning and implementation documents relating to the

                designation of the boundaries for the four police precincts within the Richmond Police

                Department;

                2) a copy of the Neighborhood Precinct Plan from 1977; and

                3) any amendments or modifications of the Neighborhood Precinct Plan from 1977.”

        See ECF No. 86-1. It was only when the Richmond Police Department failed to respond to this

        FOIA request—even to ask for more time to respond to the FOIA request—that the defense sought

        a subpoena from the Court for the same materials. See, e.g., ECF No. 86-2 (ex parte motion to

        enforce subpoena duces tecum).



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               On May 27, 2022, in response to the Court’s Order that the Richmond Police Department

        comply with the subpoena and file a document explaining why the Court should not hold Ms.

        Peters in contempt for failing to comply with the subpoena, the Richmond Police Department’s

        Senior Assistant Attorney wrote a letter to the Court. The defense has provided a copy of this

        letter to the government. In the letter, the Senior Assistant reported that the Richmond Police

        Department does not have any documents responsive to the subpoena. See ECF No. 86-3. The

        police department did not maintain a copy of the Neighborhood Precinct Plan from 1977, any

        amendments or modifications thereto, or any planning and implementation documents relating to

        the designation of the boundaries for the four police precincts within the Richmond Police

        Department. Id. Rather, what the police department had were maps of the current police precincts

        that the defense has already submitted as evidence in this case, see 7/26/21 Exs. X-1, X-2, X-3,

        and X-4, and a history of the police department that includes a reference to the creation of the

        police precincts in 1977. The defense has also provided these documents to the government.

               It was after learning that the Richmond Police Department had not kept any records that

        would assist the Court in more directly understanding the relationship between the racial

        segregation of Richmond’s neighborhoods and the location of the police precincts that the defense

        contacted Dr. Chiles. Dr. Chiles’s report clearly and thoroughly summarizes his findings:

               Using newspaper accounts, court cases, archival collections, and peer-reviewed
               articles and monographs, this report makes the historical finding that in Richmond,
               Virginia, racial segregation has been systemically implemented to the detriment of
               black residents through public policy at the federal, state, and local levels.
               Byproducts of this are the separation of black and white people into distinct legal
               castes; unequal treatment under law inflicted upon black people; residential
               segregation of whites and blacks; endurance of systemic poverty among blacks; and
               historical animus between black residents and local law enforcement.

        ECF No. 102-1 at 1. That evidence is not only relevant, but critical to this Court’s resolution of

        the selective enforcement challenge in this case.

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               The government’s citation to Watkins v. Angelone, 133 F.3d 920 (4th Cir. 1998)

        (unpublished), does not indicate otherwise. In Watkins, the defendant had been convicted of

        capital murder and sentenced to death. For the first time on appeal challenging the district court’s

        denial of his habeas challenge to his state court conviction, Mr. Watkins asked to present evidence

        he alleged “would support a finding of systematic discrimination and establish a prima facie case

        under both the Sixth and Fourteenth Amendments. This new evidence consists mainly of statistical

        data that purports to demonstrate a pattern of discriminatory sentencing of black capital defendants

        in Danville. The district court declined to review this evidence because it was not presented to the

        state court during the two evidentiary hearings it held on the venire discrimination claim.” Id. at

        *5. It is not that the Fourth Circuit found that such historical evidence of racism could not be

        considered if presented in a timely fashion. Rather, the Fourth Circuit found that “Watkins cannot

        offer these new facts for the first time on federal collateral review, so we must decline to review

        that evidence here as well.” Id. at *6 n.3. Mr. Moore is offering Dr. Chiles’s testimony while this

        Court is still developing the trial record in this case. Thus, Watkins is inapposite.

               As to the legal relevance of Dr. Chiles’s testimony, as the defense has stated before and as

        the Supreme Court has made quite clear, because discriminatory intent is rarely explicit, evaluating

        whether discriminatory intent exists requires an expansive inquiry and permits courts to consider

        cumulatively different kinds of evidence—direct and circumstantial, statistical and anecdotal, as

        well as historical and contemporaneous evidence. Determining whether intent was discriminatory

        requires “a sensitive inquiry into such circumstantial and direct evidence of intent as may be

        available.” Village of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S.

        252, 266 (1977). Arlington Heights gave a non-exhaustive list of relevant factors to consider in

        this determination, including: (1) the impact of the official action and whether it bears more heavily



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       on one race than another; (2) the historical background of the decision; (3) the specific sequence

       of events leading to the challenged action; (4) the legislature’s departures from normal procedures

       or substantive conclusions; and (5) the relevant legislative or administrative history. 429 U.S. at

       266¬68; United States v. Fordice, 505 U.S. 717, 728 (1992) (“Our decisions establish that a State

       does not discharge its constitutional obligations until it eradicates policies and practices traceable

       to its prior de jure dual system that continue to foster segregation.”); Washington v. Davis, 426

       U.S. 229, 239-42 (1976) (discussing historical cases involving laws enacted with the purpose of

       racial discrimination); Ramos v. Louisiana, 140 S. Ct. 1390, 1400-01 (2020) (discussing broader

       history of racially discriminatory law in constitutional challenge). Dr. Chiles’s testimony is thus

       relevant.

               The Court is, of course, free to determine what weight to assign to Dr. Chiles’s testimony 1.

       But, the Court should do so keeping in mind that the reason that we do not have the most direct

       evidence of how the police precincts came to be how they currently are is because the Richmond

       Police Department did not keep that information.              Thus, the defense has to present more

       circumstantial evidence to demonstrate its point. See, e.g., California v. Trombetta, 467 U.S. 479,

       486 (1984) (“Whenever potentially exculpatory evidence is permanently lost, courts face the

       treacherous task of divining the import of materials whose contents are unknown and, very often,

       disputed.”); Arlington Heights, 429 U.S. at 266 (observing that determining whether intent was




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         The government has tried to make much of a footnote in McClesky v. Kemp, 481 U.S. 279, 298 n.20
       (1987). In that footnote, the Supreme Court observed: “Of course, the ‘historical background of the decision
       is one evidentiary source’ for proof of intentional discrimination. Arlington Heights v. Metropolitan
       Housing Dev. Corp., 429 U.S., at 267, 97 S.Ct., at 564. But unless historical evidence is reasonably
       contemporaneous with the challenged decision, it has little probative value.” What the government appears
       perhaps to not appreciate is that the evidence Dr. Chiles has through his careful study of the history of the
       Richmond Police Department and the history of residential segregation in Richmond is the only evidence
       undersigned counsel is aware of since the police department did not keep the relevant records. This loss of
       evidence thus makes Dr. Chiles’s circumstantial evidence much more probative than it might otherwise be.

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        discriminatory requires “a sensitive inquiry into such circumstantial and direct evidence of intent

        as may be available”) (emphasis added).

               II.     Dr. Chiles’s report is a summary of his anticipated testimony, not a treatise.

               The government next argues that Dr. Chiles’s conclusions are not well-supported. See ECF

        No. 103 at 4-9. First, the government takes issue with Dr. Chiles’s conclusion that “Richmond’s

        racial history is largely defined by the maintenance of residential segregation and over-policing of

        black residents at the hands of RPD. This report seeks not to indict every white Richmonder, or

        RPD officer, as racist or bigoted. Rather, it argues that current issues with residential segregation

        and RPD-black animus exist within a historical ecosystem shaped by people and interests of a

        bygone era.” See ECF No. 19-1 at 12. Dr. Chiles has reached this conclusion through years of

        careful study of African American history, and specifically how racism has shaped the city of

        Richmond and its police force.

               For instance, while the government cites, see ECF No. 103 at 4, a line from the first

        sentence of one of Dr. Chiles’s articles, see ECF No. 86-5 at 1, describing Richmond as a “city

        seeking to end its complicity with racism,” the government’s reliance on that phrase obfuscates

        Dr. Chiles’s work in that article. In 2021, Dr. Chiles authored the article that the defense has

        produced to the government and the Court in ECF No. 86 entitled “Here We Go Again”: Race and

        Redevelopment in Downtown Richmond, Virginia, 1977-Present. The Journal of Urban History,

        a peer-reviewed journal, chose to publish Dr. Chiles’s work, which began as a part of his

        dissertation several years before. See ECF No. 86-5 at 27. And what the article goes on to explain

        is that modern Richmond has tried to separate from its racist past through public policy reform but

        has consistently failed to do so.




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                For example, Dr. Chiles describes in detail how historical revitalization plans failed to

        change the systemic racism that has defined Richmond since its inception. In the 1970s and 1980s,

        white business owners “wanted to use redevelopment—a tactic formerly used to reinforce white

        supremacy—as a mechanism for racial and economic healing.” Id. at 8. Those efforts failed, in

        part because “Black Richmonders clamored for better city services and the political success of

        their newly elected city councilmembers. However, they did not believe that shoveling thinly

        stretched tax dollars to white developers satisfied those desires.” Id. at 10. Disagreements about

        how to go about making effective changes led to efforts to redraw voting district boundaries and

        white councilmembers conducting “secret investigations with the hopes of ousting their black

        colleagues from office. While their efforts failed to unseat a single black councilmember, they

        helped further the racial divide at one of the most critical times in city history.” Id. at 12. Later

        revitalization efforts fared no better: “Jackson Ward residents noticed that a large brick wall

        separated them from the Marketplace. This was no protective barrier from construction: it was a

        design separation between Jackson Ward and the growing Marketplace.” Id. at 14.

                Dr. Chiles’s investigations revealed that Richmond’s more recent revitalization attempts

        have fared no better.     In December 2018, the city of Richmond announced a $1.5 billion

        revitalization project in Navy Hill. Richmond residents “learned that the wealthiest capitalists in

        Virginia crafted the Navy Hill Project and sold it to the majority black city council. Like Project

        One and the Sixth Street Marketplace, the council promised to allocate current (an undisclosed

        portion of the around $800 million in capital improvement surplus) and future tax revenue (an

        estimated $476 million) to sustain the ‘financing district’ until it turned a profit. If the project took

        the full thirty years to become solvent, the city would owe at least $600 million to its bondholders.

        Even worse, the projected revenue for the city would be less than the amount spent on maintaining



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      the project over the next twenty years.” Id. at 17. And so, while Navy Hill had been a majority

      black middle-class neighborhood in the 1900s before it was bull-dozed to make way for Interstate-

      95, “instead of investing in its majority black (97%) and impoverished public school system,

      leaders in Richmond and elsewhere continue to court white corporations who have done next to

      nothing to improve the cemented patters of racial segregation and disparate levels of poverty.” Id.

              The point is that Dr. Chiles is extremely qualified because of his years of training and

      historical investigation to present evidence that makes patently clear the relationship between

      Richmond’s overtly racist past and the discriminatory effects black Richmonders acutely feel

      today. The government’s observation that one of Dr. Chiles’s footnotes did not encompass every

      source Dr. Chiles is aware of in support of a particular statement mistakes not only the purpose of

      Dr. Chiles’s report in this case—to summarize his anticipated testimony—but vastly

      underestimates the depth of Dr. Chiles’s knowledge on the subjects at hand. For instance, if asked

      on the stand about the government’s criticism of footnote 49 in ECF No. 102-1, Dr. Chiles would

      point the government to: the Table of Reported Offenses: 1976-1980, Second Street Area

      Richmond, 1980, Economic and Market Analysis, pp.1-10; A Commercial Revitalization Plan for

      Second Street Commercial Area, pp.3-7, 2nd Street Commercial Revitalization, 1981, Box 4,

      M303, Richmond Renaissance Papers; and “Jackson Ward,” a paper presented at the Liaison

      Committee of Richmond Renaissance, Box 16, M283, Clarence Townes Papers, Virginia

      Commonwealth University—all of which Dr. Chiles has seen and reviewed with his own eyes and

      is quite qualified to rely on as an expert.

              These documents, along with the information in footnote 49 of ECF No. 102-1, use Jackson

      Ward specifically to explain Richmond’s 1980s crime problem as rooted in systemic black

      poverty; systemic black poverty rooted in systemic racial segregation; and most importantly, the



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       calls for more policing in the 1980s, which did in fact come. These economic and crime reports

       were done to reverse white flight, which required the Richmond Police Department to commit both

       rhetoric and forces to anti-crime measures. To argue that the reports are irrelevant because they

       do not mention policing specifically is like taking a piece out of a jigsaw puzzle and claiming that

       because the piece is not the entire puzzle, the puzzle does not exist. And that is essentially the

       heart of the government’s argument here: the government attempts this puzzle trick over and over

       to make the larger claim that past events have no connection to the present. Dr. Chiles’s work

       makes clear that that is just not so.

               The government’s second criticism of Dr. Chiles’s work is that Dr. Chiles’s report does

       not discuss criminal activity that the government alleges is disproportionately happening in the

       black precincts in Richmond. See ECF No. 103 at 7-9. In so arguing, the government relies on

       murder statistics in Richmond from 1999 to 2022 to justify why 77% of the drivers Richmond

       Police Department officers stopped in the five months before stopping Mr. Moore were black.

       Given that 59% of the stops were for traffic violations and another 36% of the stops were for

       equipment violations, see ECF No. 66-1 at 6, Table 1, and that the government’s own expert

       conceded at the earlier evidentiary hearing that there is no evidence that black people commit

       traffic offenses more than white people, the government’s argument about murders in Richmond

       belies the truth. The truth is that Richmond Police officers were in 2021, and have been for

       decades, selectively enforcing Virginia’s traffic laws against black drivers in Richmond at such

       disproportionately high rates that this Court can infer discriminatory intent in such enforcement.

               Richmond Police Department homicide detectives or even line patrol officers are not

       pulling black drivers over five times more than white drivers because they are trying to advance

       active homicide investigations. They are not pulling black drivers over five times more than white



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        drivers because the Richmond Police Department sends more officers to the black parts of town

        than the white parts of town. We know that the Richmond Police Department pulls over black

        drivers far more often than white drivers even in the white part of town. See ECF No. 66-1 at 9,

        Figure 2. The truth is that the Richmond Police Department is pulling over black drivers five times

        more often than white drivers because those drivers are black. The history and expertise that Dr.

        Chiles has to share with this Court corroborate that.

                                                    Conclusion

               The Court should deny the government’s motion. Dr. Chiles’s testimony is the best

        evidence available, albeit circumstantial, of the relationship between the city of Richmond’s

        history of racialized policing and the existing police precinct locations. It is relevant and must be

        considered by the Court in evaluating Mr. Moore’s selective enforcement challenge.

                                                                Respectfully submitted,
                                                                KEITH RODNEY MOORE

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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division

        UNITED STATES OF AMERICA                         )
                                                         )
                       v.                                )   Criminal No. 3:21-cr-42
                                                         )
        KEITH RODNEY MOORE,                              )
                                                         )
                               Defendant.                )

                            UNITED STATES’ REPLY IN SUPPORT OF
                        RENEWED MOTION TO EXCLUDE DEFENSE EXPERT

              The United States of America respectfully files this reply in support of its Renewed Motion

       to Exclude Defense Expert Dr. Marvin Chiles. The Court should grant the motion to exclude the

       defendant’s historical expert because his testimony is not relevant and probative to the defendant’s

       attempted traffic stop in 2020, nor does it come close to meeting the defendant’s burden of proof.

       I.     ARGUMENT

              As an initial matter, and despite the defendant’s technical arguments about why this Court

       should ignore statements from the Supreme Court and the Fourth Circuit about the lack of

       relevance and probative value of decades-old historical evidence, the defendant’s expert witness

       evidence is of no evidentiary value. Indeed, the statements the defendant urges the Court to ignore

       represent common sense and echo the Court’s repeated statement that Richmond is a different

       place than it used to be, and merely restating old wrongs is not a blank check for dismissing

       present-day crimes. The relevant question before the Court is whether the attempted stop of the

       defendant on December 5, 2020 was the result of “clear and intentional discrimination.” Central

       Radio Co. v. City of Norfolk, Va., 811 F.3d 625, 635 (4th Cir. 2016) (party asserting equal

       protection violation “must show not only that similarly situated individuals were treated

       differently, but that there was ‘clear and intentional discrimination.’”) (citing Sylvia Dev. Corp. v.

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        Calvert Cnty., Md., 48 F.3d 810, 825 (4th Cir. 1995); Washington v. Davis, 426 U.S. 229, 239

        (1976)). Dr. Chiles’ evidence by its very nature is ill-suited to answer this question.

                 One of the main reasons his testimony is ill-suited is that, according to his expert report,

        the connection between past racism and alleged present-day racism by RPD in general—much less

        the officers involved in this case in particular—is tenuous at best. For example, Dr. Chiles relies

        on decades-old revitalization efforts that have nothing to do with the officers in this case, political

        squabbles that do not involve these officers, moving patterns that do not involve these officers,

        and architectural choices to argue that the specific officers involved in the stop in this case in 2020

        attempted a racially discriminatory traffic stop. But even for the past events that Dr. Chiles claims

        are discriminatory, there is at best a limited connection to city leaders or to RPD itself—much less

        the officers in this case. Neither city leaders nor RPD control residential moving patterns, and they

        were not involved in the construction of a brick wall between the Jackson Ward neighborhood and

        the Sixth Street Marketplace. See ECF 86-5 at 14 (the defendant failed to mention that the “wall

        was later torn down after discussions between Jackson Ward residents and Richmond

        Renaissance,” the interracial nonprofit revitalization group behind the Sixth Street Marketplace

        project). The extreme distance between these events and the attempted stop of the defendant

        exemplifies the uselessness of Dr. Chiles’ testimony. 1

                 Nor should the limited evidentiary value of Dr. Chiles’ testimony be ignored simply

        because RPD did not retain 45-year-old records the defendant claims would be helpful to his case.

        The defendant’s assertion that documents related to 1977 precinct boundaries are instrumental to



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                   The same is true of attempts to link the failed Navy Hill project to any sort of discrimination by RPD. The
        defendant claims that the Navy Hill neighborhood was a majority-black neighborhood over 100 years ago, but fails
        to link the proposed project to discrimination of any kind, let alone by RPD. The defendant also fails to mention that
        project was rejected by seven of the nine members of the city council over Mayor Stoney’s recommendation that the
        project continue. Kate Andrews, “Richmond’s $1.5B Navy Hill Project is Dead” (Feb. 11, 2020),
        https://www.virginiabusiness.com/article/richmonds-1-5b-navy-hill-project-is-dead/.

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        his case simply assumes that 1977 precinct boundaries aligned with racial boundaries and have

        somehow continued to align with racial boundaries through to the present day despite significant

        shifts in the racial distribution of the residential population. There is no evidence of this in the

        record, and the defendant’s arguments about the extra relevance of Dr. Chiles’ testimony is based

        on the unproven assumption that whatever 45-year-old documents RPD allegedly failed to

        maintain support the defendant’s argument.

               In seeking to rely on historical evidence that the defendant fails completely to connect to

        the decisions of the officers in his case, the defendant invokes Village of Arlington Heights v.

        Metropolitan Housing Dev. Corp., 429 U.S. 252 (1977). In that case, in evaluating a legislative

        body’s or zoning board’s decisions, the Court noted that “[t]he historical background of the

        decision is one evidentiary source” of “invidious discriminatory purpose” when the historical

        background “reveals a series of official actions taken for invidious purposes.” Id. at 266. But while

        this rule might support looking at these officers’ prior actions to evaluate their intent behind their

        actions in this case or—possibly—other reasonably recent actions by other Richmond police

        officers, Arlington Heights cannot reasonably be stretched to allow the defendant to impute the

        motivations of others from decades ago, who have no connection to the officers in this case, to the

        officers’ decisions in this case. The defendant’s argument relies on inferences that are even worse

        than the guilt-by-association theory of culpability that has no home in American law, given that

        the officers in this case are not even associated with the long-ago decisions the defendant invokes.

        Defendant relies on an extraordinarily expansive notion of collective guilt that has no basis in law.

               The defendant’s burden in this case is very high, and the testimony of Dr. Chiles does not

        help the defendant meet this burden. The defendant must prove that the officers in this case

        “selected or reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in



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        spite of,’ its adverse effects upon an identifiable group.” Wayte v. United States, 470 U.S. 598, 610

        (1985) (citing Personnel Administrator of Massachusetts v. Feeney, 442 U.S. 256, 279 (1979)).

        The government has shown repeatedly that crime rates and calls for service are one of the key

        determinants for where police patrol, and that is the most likely explanation for whatever raw

        statistical disparity exists with regard to race and traffic stops. 2 The persistent failure of the

        defendant’s experts to even consider the possibility that factors other than racism explain the raw

        disparity in whole or in part demonstrates the unreliability and the unhelpfulness to the Court of

        their testimony, and the defendant’s inability to meet his heavy burden under Armstrong. See

        United States v. Hare, 820 F.3d 93, 99 (4th Cir. 2016) (“‘absent an appropriate basis for

        comparison, statistical evidence of racial disparity alone cannot establish any element of a

        discrimination claim.’”) (quoting United States v. Olvis, 97 F.3d 739, 745 (4th Cir. 1996)); United

        States v. Venable, 666 F.3d 893, 903 (4th Cir. 2012) (defendant cannot tout “unexplained evidence

        of racial disparity” to prove “racial animus”); Johnson v. Holmes, 782 F. App’x 269, 281 (4th Cir.

        2019) (“Crucially, in [Armstrong, Hare, and Olvis], the proffered statistics faltered because they

        said nothing about individuals of other races who committed the same crimes but were treated

        more favorably”).




        2
          The defendant keeps repeating that blacks are five times more likely to be pulled over than white drivers. See, e.g.,
        ECF 107 at 9-10. The defendant ignores Dr. Coston’s admission during the evidentiary hearing that adjusting the date
        range for traffic stops to include more than just the first five months of flawed data collection significantly reduces
        the raw statistical disparity. According to the data publicly available on the Commonwealth of Virginia’s site, simply
        adjusting end date for the time frame to June 30, 2021 instead of December 6, 2020 as Dr. Coston does, the raw
        statistical disparity significantly reduces—from 76% of stops being of black drivers, 15% of white drivers, and 8%
        unknown race—to 64% of stops being of black drivers, 24% of white drivers, and 6% unknown race. Virginia Open
        Data Portal, “Community Policing Act Data Collection,” https://data.virginia.gov/stories/s/Virginia-Community-
        Policing-Act-Data-Collection/rden-cz3h/; see also United States v. Raynor, No. CRIM. 3:13MJ215, 2013 WL
        5770529, at *8 (E.D. Va. Oct. 24, 2013) (Novak, M.J.) (rejecting an equal protection claim regarding a traffic stop in
        part because the defendant had “cherry-picked a statistical time frame to suit the conclusion that they wanted to
        reach—that Officer Purdy stopped vehicles due to the race of the driver.”). That a simple adjustment to the timeframe
        to include more reliable data slashes the raw statistical disparity by nearly half demonstrates the fickle nature of the
        defendant’s claimed raw disparity.

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                 Because crime rates 3 and calls for service correlate so strongly with traffic stop data, it is

        simply incredible to believe that for decades African American and progressive city leaders (some

        of whom are prominent civil rights leaders), chiefs of police, and individual officers would

        consistently and intentionally choose policies “because of” their disparate impacts on African

        Americans. Dr. Chiles and the defendant argue that the racism of the 1960s endures in an

        unbreaking chain at least to December 5, 2020, but making that argument requires the complicity

        of generations of political and police leaders, which is absurd.

                                                            Conclusion

                 The Court should exclude the testimony of Dr. Chiles because, in the words of the Supreme

        Court, historical evidence unconnected to the facts at issue is of “little probative value.” There is

        no indication it is probative of the decision of Fourth Precinct officers to attempt a traffic stop on

        December 5, 2020, and the defendant’s ill-fated attempt to prove intentional discrimination has

        lingered long enough. The Court should exclude the testimony of Dr. Chiles.

                                                              Respectfully submitted,

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        3
         In its previous filing, the government used murders as indicative of crime rates generally. ECF 103 at 7-9; see also
        ECF 70 at 16 (showing traffic stops correlate with other types of crime rates).

                                                                  5


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